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                          22-1015
           United States Court of Appeals
               for the Second Circuit

                          JEROME NORTON,
                                                            Plaintiff-Appellant,
                                 -against-

       TOWN OF BROOKHAVEN, COUNTY OF SUFFOLK,
    ROBERT QUINLAN, DAVID J. MORAN, JENNIFER LUTZER,
  JUSTIN FOLBER, WILLIAM POWELL, and VALERIE BASCARDI,
            all individually and in their official capacity,
                                                     Defendants-Appellees.



ON APPEAL FROM THE UNITED STATES DISTRICT COURT
     FOR THE EASTERN DISTRICT OF NEW YORK
                            APPENDIX

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                                      Attorneys for Plaintiff-Appellant
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9/13/22, 1:00 PM                                        Eastern District of New York - LIVE Database 1.7 (Revision 1.7.1)

                                                                                                                                      APPEAL

                                                       U.S. District Court
                                           Eastern District of New York (Central Islip)
                                     CIVIL DOCKET FOR CASE #: 2:13-cv-03520-JMA-AYS


 Norton v. Town of Brookhaven et al                                                        Date Filed: 06/20/2013
 Assigned to: Judge Joan M. Azrack                                                         Date Terminated: 04/04/2022
 Referred to: Magistrate Judge Anne Y. Shields                                             Jury Demand: Plaintiff
 Demand: $1,000,000                                                                        Nature of Suit: 440 Civil Rights: Other
 Cause: 42:1983 Civil Rights Act                                                           Jurisdiction: Federal Question
 Plaintiff
 Jerome Norton                                                             represented by Bryan L. Arbeit
                                                                                          Morgan & Morgan, P.A.
                                                                                          8151 Peters Road, 4th Floor
                                                                                          Plantation, FL 33324
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                                                                                          ATTORNEY TO BE NOTICED

                                                                                           Anne C. Leahey
                                                                                           (See above for address)
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                                                                                           David H. Arntsen
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                                                                                           Kelly E Wright
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                                                                                           David H. Arntsen
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 Jennifer Lutzer                                                           represented by Scott J. Kreppein
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                                                                                           David H. Arntsen
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                                                                                           Kelly E Wright
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                                                                                           Theodore D. Sklar


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9/13/22, 1:00 PM                                        Eastern District of New York - LIVE Database 1.7 (Revision 1.7.1)
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                                                                                           David H. Arntsen
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                                                                                           Jeltje DeJong
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                                                                                           Kelly E Wright
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                                                                                           David H. Arntsen
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                                                                                           David H. Arntsen
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                                                                                           Jeltje DeJong
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                                                                                           Kelly E Wright
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                                                                                           Theodore D. Sklar
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  Date Filed        #    Docket Text
  06/20/2013         1 COMPLAINT against All Defendants Disclosure Statement on Civil Cover Sheet completed -No,, filed by Jerome
                       Norton. (Attachments: # 1 Civil Cover Sheet) (McMahon, Carol) (Entered: 06/24/2013)
  06/24/2013             The case of Norton v. Town of Brookhaven, et al, has been opened in the Eastern District of New York. The case
                         number is 13cv3520(ADS)(GRB).
                         PLEASE NOTE: You must pay the case filing fee within seven (7) days. Select the event (Civil Case Filing Fee) and
                         pay online. (McMahon, Carol) (Entered: 06/24/2013)
  06/24/2013         2 In accordance with Rule 73 of the Federal Rules of Civil Procedure and Local Rule 73.1, the parties are notified that if
                       all parties consent a United States magistrate judge of this court is available to conduct all proceedings in this civil
                       action including a (jury or nonjury) trial and to order the entry of a final judgment. Attached to the Notice is a blank
                       copy of the consent form that should be filled out, signed and filed electronically only if all parties wish to consent.
                       The form may also be accessed at the following
                       link:http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf. You may withhold your consent without
                       adverse substantive consequences. Do NOT return or file the consent unless all parties have signed the consent.
                       (McMahon, Carol) (Entered: 06/24/2013)
  06/24/2013             CIVIL CASE FILING FEE: $ 400, receipt number 0207-6276279 (Ostrove, Rick) (Entered: 06/24/2013)
  06/25/2013         3 Summons Issued as to All Defendants. (Attachments: # 1 Rider) (Talbott, Thomas) (Entered: 06/25/2013)
  10/09/2013         4 AMENDED COMPLAINT against All Defendants, filed by Jerome Norton. (Ostrove, Rick) (Entered: 10/09/2013)
  10/21/2013         5 SUMMONS Returned Executed by Jerome Norton. Daniel Belano served on 10/15/2013, answer due 11/5/2013;
                       Valerie Biscardi served on 10/15/2013, answer due 11/5/2013; County of Suffolk served on 10/15/2013, answer due
                       11/5/2013; Jason Folber served on 10/18/2013, answer due 11/8/2013; Jennifer Lutzer served on 10/18/2013, answer
                       due 11/8/2013; David J. Moran served on 10/18/2013, answer due 11/8/2013; William Powell served on 10/18/2013,
                       answer due 11/8/2013; Town of Brookhaven served on 10/15/2013, answer due 11/5/2013. (Attachments: # 1
                       Affidavit) (Arbeit, Bryan) (Entered: 10/21/2013)
  10/24/2013         6 SUMMONS Returned Executed by Jerome Norton. Robert Quinlan served on 10/18/2013, answer due 11/8/2013.
                       (Arbeit, Bryan) (Entered: 10/24/2013)
  11/04/2013         7 Letter MOTION for Extension of Time to File Answer by County of Suffolk. (Mitchell, Brian) (Entered: 11/04/2013)
  11/05/2013         8 ORDER Re: 7 Motion for an extension of time until 12/13/13 for the defendant County to respond to the Complaint.
                       Request granted. So Ordered by Judge Arthur D. Spatt on 11/5/13. (Coleman, Laurie) (Entered: 11/06/2013)
  11/11/2013         9 Letter MOTION for Extension of Time to File Answer by Daniel Belano, Valerie Biscardi, Jason Folber, Jennifer
                       Lutzer, David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven. (DeJong, Jeltje) (Entered:
                       11/11/2013)
  11/11/2013        10 STIPULATION to extend time to answer or move to January 4, 2014 by Daniel Belano, Valerie Biscardi, Jason
                       Folber, Jennifer Lutzer, David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven (DeJong, Jeltje)
                       (Entered: 11/11/2013)
  11/12/2013        11 ORDER granting 9 Motion for an extension of time to and including 1/3/14 for Defendants Daniel Belano; Valerie
                       Biscardi; Jason Folber; Jennifer Lutzer; David J. Moran; William Powell; Robert Quinlan; and Town of Brookhaven
                       to Answer. So Ordered by Judge Arthur D. Spatt on 11/12/13. (Coleman, Laurie) (Entered: 11/13/2013)
  12/02/2013        12 Second MOTION for Extension of Time to File Answer by County of Suffolk. (Mitchell, Brian) (Entered:
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?621067647217473-L_1_1-1                                                                      5/19
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                         12/02/2013)
  01/09/2014        13 Second MOTION for Extension of Time to File Answer by Valerie Biscardi, Jason Folber, Jennifer Lutzer, David J.
                       Moran, William Powell, Robert Quinlan, Town of Brookhaven. (DeJong, Jeltje) (Entered: 01/09/2014)
  01/09/2014        14 STIPULATION agreeing to second amended complaint and a thirty day period to respond by Valerie Biscardi, Jason
                       Folber, Jennifer Lutzer, David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven (DeJong, Jeltje)
                       (Entered: 01/09/2014)
  01/10/2014        15 ORDER granting 14 Stipulation to extend time for all defendants to appear and to answer or make any motion with
                       relation to the second amended complaint in this action to (30) days from the filing date of the second amended
                       complaint. So Ordered by Judge Arthur D. Spatt on 1/10/14. (Coleman, Laurie) (Entered: 01/13/2014)
  01/14/2014        16 AMENDED COMPLAINT against Valerie Biscardi, County of Suffolk, Jason Folber, Jennifer Lutzer, David J.
                       Moran, William Powell, Robert Quinlan, Town of Brookhaven, filed by Jerome Norton. (Ostrove, Rick) (Entered:
                       01/14/2014)
  02/13/2014        17 Third MOTION for Extension of Time to File Answer and for permission to file a brief in excess of 25 pages by
                       Daniel Belano, Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J. Moran, William Powell, Robert Quinlan,
                       Town of Brookhaven. (DeJong, Jeltje) (Entered: 02/13/2014)
  02/13/2014        18 STIPULATION to extend defendants' time to answer or bring a motion by Valerie Biscardi, Justin Folber, Jennifer
                       Lutzer, David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven (DeJong, Jeltje) (Entered:
                       02/13/2014)
  02/14/2014        19 ORDER Re: 18 Stipulation to extend all defendants time to appear and to anwer or make any motion with relation to
                       the second amended complaint to 2/21/14. So Ordered by Judge Arthur D. Spatt on 2/14/14. (Coleman, Laurie)
                       (Entered: 02/18/2014)
  02/21/2014        20 Motion to Dismiss for Failure to State a Claim by Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J. Moran,
                       William Powell, Robert Quinlan, Town of Brookhaven. (Attachments: # 1 Declaration in support, # 2 Exhibit A part
                       1, # 3 Exhibit A part 2, # 4 Exhibit A part 3, # 5 Exhibit B, # 6 Memorandum in Support, # 7 Affidavit of service)
                       (DeJong, Jeltje) (Entered: 02/21/2014)
  03/05/2014        21 MOTION for Extension of Time to File Response/Reply as to 20 Motion to Dismiss for Failure to State a Claim and
                       Request for a Conference Regarding Dunton by Jerome Norton. (Attachments: # 1 Exhibit 1-2) (Arbeit, Bryan)
                       (Entered: 03/05/2014)
  03/10/2014        22 RESPONSE to Motion re 21 MOTION for Extension of Time to File Response/Reply as to 20 Motion to Dismiss for
                       Failure to State a Claim and Request for a Conference Regarding Dunton filed by Valerie Biscardi, Justin Folber,
                       Jennifer Lutzer, David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven. (Attachments: # 1 Exhibit)
                       (DeJong, Jeltje) (Entered: 03/10/2014)
  03/11/2014        23 ORDER granting 21 Motion for Extension of Time. The plaintiff's request for a conference to resolve any Dunton
                       issues is denied. Absent a motion to disqualify, the Court declines to intervene in this respect. The plaintiff shall have
                       until Thursday 4/10/14 to respond to the motion to dismiss and, if it chooses, to make a disqualification motion. So
                       Ordered by Judge Arthur D. Spatt on 3/11/14. (Coleman, Laurie) (Entered: 03/11/2014)
  03/24/2014        24 First Motion to Dismiss for Failure to State a Claim by County of Suffolk. (Attachments: # 1 Affidavit in Support, # 2
                       Memorandum in Support, # 3 Affidavit of Service) (Mitchell, Brian) (Entered: 03/24/2014)
  04/02/2014        25 MOTION for Extension of Time to File Response/Reply as to 20 Motion to Dismiss for Failure to State a Claim , 24
                       First Motion to Dismiss for Failure to State a Claim by Jerome Norton. (Arbeit, Bryan) (Entered: 04/02/2014)
  04/03/2014        26 ORDER Re: 25 Motion to request 1) permission to submit a 60 page combined memorandum of law in
                       opposition/response to the two motions to dismiss made by the Town of Brookhaven and Individual Defendants and
                       by the County of Suffolk; 2) an adjournment to 4/30/14 for the time to file the combined opposition and to 5/14/14 for
                       any replies. Request granted. So Ordered by Judge Arthur D. Spatt on 4/3/14. (Coleman, Laurie) (Entered:
                       04/04/2014)
  04/24/2014        27 Letter To Judge Spatt Second Combined Brief Extension 4-24-14 by Jerome Norton (Ostrove, Rick) (Entered:
                       04/24/2014)
  04/25/2014        28 ORDER Re: 27 Letter requesting an adjournment to 5/30/14 for the time to file the combined opposition to both
                       defendants' motion to dismiss and that defendants' replies be due 6/14/14. Request granted. So Ordered by Judge
                       Arthur D. Spatt on 4/25/2014. (Coleman, Laurie) (Entered: 04/25/2014)
  05/23/2014        29 Letter Request Adjournment by Jerome Norton (Ostrove, Rick) (Entered: 05/23/2014)
  05/23/2014        30 Letter Request for Adjournment-corrected by Jerome Norton (Ostrove, Rick) (Entered: 05/23/2014)
  05/24/2014        31 ORDER Re: 30 Letter requesting the proposed revised briefing schedule: Plaintiff's Combined Opposition due 6/6/14;
                       Town Defendants and County's Reply due 6/22/14. Request granted. So Ordered by Judge Arthur D. Spatt on 5/24/14.
                       (Coleman, Laurie) (Entered: 05/27/2014)


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9/13/22, 1:00 PM                                        Eastern District of New York - LIVE Database 1.7 (Revision 1.7.1)
  06/06/2014        32 MEMORANDUM in Opposition re 20 Motion to Dismiss for Failure to State a Claim , 24 First Motion to Dismiss for
                       Failure to State a Claim , AFFIDAVIT/DECLARATION in Opposition re 20 Motion to Dismiss for Failure to State a
                       Claim , 24 First Motion to Dismiss for Failure to State a Claim filed by Jerome Norton. (Attachments: # 1 Declaration
                       of Rick Ostrove, # 2 Exhibit 1-7) (Arbeit, Bryan) (Entered: 06/06/2014)
  06/12/2014        33 Letter MOTION for Extension of Time to File Response/Reply as to 32 Memorandum in Opposition, Affidavit in
                       Opposition to Motion,, by Daniel Belano, Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J. Moran, William
                       Powell, Robert Quinlan, Town of Brookhaven. (DeJong, Jeltje) (Entered: 06/12/2014)
  06/12/2014        34 Letter MOTION for Extension of Time to File Response/Reply by County of Suffolk. (Mitchell, Brian) (Entered:
                       06/12/2014)
  06/13/2014        35 ORDER Re: 34 Motion for an extension of time from 6/22/14 to 7/14/14 for the Suffolk County defendants to file
                       their reply papers. Request granted. So Ordered by Judge Arthur D. Spatt on 6/13/14. (Coleman, Laurie) (Entered:
                       06/16/2014)
  06/13/2014        36 ORDER Re: 33 Motion requesting an extension of time from 6/22/14 to 7/14/14 for the Town of Brookhaven to file
                       their reply papers. Request granted. So Ordered by Judge Arthur D. Spatt on 6/13/14. (Coleman, Laurie) (Entered:
                       06/16/2014)
  07/11/2014        37 Letter MOTION for Extension of Time to File Response/Reply to July 18, 2014 by Daniel Belano, Valerie Biscardi,
                       Justin Folber, Jennifer Lutzer, David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven. (DeJong,
                       Jeltje) (Entered: 07/11/2014)
  07/11/2014        38 Letter MOTION for Extension of Time to File Response/Reply by County of Suffolk. (Mitchell, Brian) (Entered:
                       07/11/2014)
  07/12/2014        39 ORDER Re: The County's 38 Motion requesting an extension of time from 7/12/14 until 7/18/14 to file their reply
                       papers. Request granted. So Ordered by Judge Arthur D. Spatt on 7/12/14. Movant to serve parties by fax. (Coleman,
                       Laurie) (Entered: 07/14/2014)
  07/12/2014        40 ORDER Re: 37 Motion for an extension of time from 7/12/14 to 7/18/14 for defendants to file reply papers. Request
                       granted. So Ordered by Judge Arthur D. Spatt on 7/12/14. Movant to serve parties by fax. (Coleman, Laurie)
                       (Entered: 07/14/2014)
  07/17/2014        41 REPLY to Response to Motion re 24 First Motion to Dismiss for Failure to State a Claim filed by County of Suffolk.
                       (Mitchell, Brian) (Entered: 07/17/2014)
  07/18/2014        42 REPLY in Support of Defendant Town of Brookhaven's motion to dismiss filed by Valerie Biscardi, Justin Folber,
                       Jennifer Lutzer, David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven. (Attachments: # 1
                       Memorandum in Support, # 2 Affidavit of Service) (Shteierman, Joshua) (Entered: 07/18/2014)
  07/30/2014        43 MEMORANDUM OF DECISION AND ORDER - In sum, the Court grants in part and denies in part the 20 motion
                       to dismiss by the Brookhaven Defendants and grants the 24 motion to dismiss by the County. As to the motion to
                       dismiss by the Brookhaven Defendants, the Court denies the motion with respect to the (1) the Section 1983 First
                       Amendment Intimate Association, Fourth Amendment, and Procedural Due Process claims; (2) the corresponding
                       Monell claims against the Town; (3) the claim under Section 8 of the New York Civil Rights Law; and (4) the requests
                       for declaratory relief as against the Town. The Court otherwise grants the motion to dismiss by the Brookhaven
                       Defendants. As there no claims remaining against Lutzer, the Second Amended Complaint is dismissed in its entirety
                       as to her. So Ordered by Judge Arthur D. Spatt on 7/30/2014. (Coleman, Laurie) (Main Document 43 replaced on
                       8/8/2014) (Coleman, Laurie). Modified on 8/8/14 to replace the Decision which was updated to include the
                       appearance of attorney Bryan L. Arbeit, Esq. for the Plaintiff. The Decision remains the same in all other respects.
                       (Coleman, Laurie). (Entered: 08/07/2014)
  07/30/2014             Incorrect Case/Document/Entry Information. The #43 Memorandum of Decision and Order has been deleted from the
                         above-referenced and re-entered due to a docketing error. (Coleman, Laurie) (Entered: 08/07/2014)
  08/07/2014        44 Letter recognition of Counsel by Jerome Norton (Ostrove, Rick) (Entered: 08/07/2014)
  08/13/2014        45 MOTION for Reconsideration re 43 Order on Motion to Dismiss for Failure to State a Claim,,,,,,,,, by Jerome Norton.
                       (Attachments: # 1 Memorandum in Support, # 2 Declaration, # 3 Exhibit) (Arbeit, Bryan) (Entered: 08/13/2014)
  08/15/2014        46 Letter MOTION for Extension of Time to File Answer re 4 Amended Complaint by Valerie Biscardi, Justin Folber,
                       David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven. (DeJong, Jeltje) (Entered: 08/15/2014)
  08/18/2014        47 ORDER Re: 46 Motion for an extension of time to 9/5/14 for the Town of Brookhaven and its employees to answer
                       plaintiff's second amended complaint. Request granted. Valerie Biscardi, Jennifer Lutzer, David J. Moran, William
                       Powell, Robert Quinlan, and Town of Brookhaven answer due 9/5/2014. So Ordered by Judge Arthur D. Spatt on
                       8/18/14. Movant to serve parties by fax. (Coleman, Laurie) (Entered: 08/20/2014)
  08/27/2014        48 RESPONSE in Opposition re 45 MOTION for Reconsideration re 43 Order on Motion to Dismiss for Failure to State
                       a Claim,,,,,,,,, filed by Valerie Biscardi, Justin Folber, David J. Moran, William Powell, Robert Quinlan, Town of
                       Brookhaven. (Attachments: # 1 Affidavit of service) (DeJong, Jeltje) (Entered: 08/27/2014)


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  08/28/2014        49 Letter MOTION for Extension of Time to File Response/Reply until 9/5/14 by County of Suffolk. (Mitchell, Brian)
                       (Entered: 08/28/2014)
  08/28/2014        50 ORDER Re: County defendants 49 Motion for an extension of time to respond to the plaintiff's motion to reconsider
                       until 9/5/14. Plaintiff's time to reply to the County defendants response will be extended until 9/12/14. Request
                       granted. So Ordered by Judge Arthur D. Spatt on 8/28/14. (Coleman, Laurie) (Entered: 08/29/2014)
  09/05/2014        51 MEMORANDUM in Opposition to plaintiff's motion to reconsider filed by County of Suffolk. (Mitchell, Brian)
                       (Entered: 09/05/2014)
  09/12/2014        52 REPLY in Support re 45 MOTION for Reconsideration re 43 Order on Motion to Dismiss for Failure to State a
                       Claim,,,,,,,,, filed by Jerome Norton. (Arbeit, Bryan) (Entered: 09/12/2014)
  09/15/2014        53 ANSWER to 16 Amended Complaint (second) by Daniel Belano, Valerie Biscardi, Justin Folber, Jennifer Lutzer,
                       David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven. (DeJong, Jeltje) (Entered: 09/15/2014)
  09/17/2014        54 ORDER: An initial conference is scheduled on 10/21/2014. See order and attachment. Ordered by Magistrate Judge
                       Gary R. Brown on 9/17/2014. (Attachments: # 1 GRB Individual Rules) (Posillico, Lauren) (Entered: 09/17/2014)
  09/18/2014        55 DECISION & ORDER granting 45 Motion for Reconsideration - For the foregoing reasons, the Court grants the
                       Plaintiffs motion pursuant to Local Civil Rule 6.3 and/or Fed. R. Civ. P. 54(b) for reconsideration reinstating the
                       Plaintiffs First Amendment retaliation claim, the New York State malicious prosecution claims against the Town of
                       Brookhaven and the Individual Defendants, and the declaratory judgment claim against the County. So Ordered by
                       Judge Arthur D. Spatt on 9/18/14. (Coleman, Laurie) (Entered: 09/22/2014)
  09/30/2014        56 NOTICE of Appearance by Kelly E Wright on behalf of Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J.
                       Moran, William Powell, Robert Quinlan, Town of Brookhaven (aty to be noticed) (Wright, Kelly) (Entered:
                       09/30/2014)
  09/30/2014        57 NOTICE of Appearance by David H. Arntsen on behalf of Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J.
                       Moran, William Powell, Robert Quinlan, Town of Brookhaven (aty to be noticed) (Arntsen, David) (Entered:
                       09/30/2014)
  10/10/2014        58 Letter MOTION for Extension of Time to File Answer by County of Suffolk. (Mitchell, Brian) (Entered: 10/10/2014)
  10/10/2014        59 ORDER Re: 58 Motion for a thirty day extension of time for the County to file their Answer to the Amended
                       Complaint. Request granted. So Ordered by Judge Arthur D. Spatt on 10/10/14. C/F. Movant to serve parties by fax.
                       (Coleman, Laurie) (Entered: 10/15/2014)
  10/21/2014        60 Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Initial Conference Hearing held on
                       10/21/2014. Scheduling order entered. (Posillico, Lauren) (Entered: 10/21/2014)
  10/21/2014        61 SCHEDULING ORDER: Discovery deadlines have been set. See order for details. Status conference scheduled on
                       3/24/2015. Ordered by Magistrate Judge Gary R. Brown on 10/21/2014. (Posillico, Lauren) (Entered: 10/21/2014)
  11/07/2014        62 ANSWER to 16 Amended Complaint Second Amended Complaint by County of Suffolk. (Mitchell, Brian) (Entered:
                       11/07/2014)
  12/31/2014             NOTICE - Please be advised that Judge Spatt's Individual Rules Effective January 1, 2015 have been uploaded to the
                         Eastern District of New York website. Please note the changes to previous rules, including those regarding courtesy
                         copies under Rule I(A). (Coleman, Laurie) (Entered: 12/31/2014)
  03/24/2015        63 Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Status Conference held on 3/24/2015.
                       Status conference held. The Town and County have 30 days to respond to plaintiffs settlement proposal. A Status
                       Conference is set for 5/14/15 at 11:00 a.m. (McMorrow, Karen) (Entered: 03/24/2015)
  04/15/2015        64 NOTICE of Appearance by Anne C. Leahey on behalf of Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J.
                       Moran, William Powell, Robert Quinlan, Town of Brookhaven (aty to be noticed) (Leahey, Anne) (Entered:
                       04/15/2015)
  05/12/2015        65 MOTION to Adjourn Conference on May 14, 2015 by Jerome Norton. (Arbeit, Bryan) (Entered: 05/12/2015)
  05/13/2015             ELECTRONIC ORDER granting 65 Motion to Adjourn Conference. The parties' application to adjourn the status
                         conference in order to continue settlement discussions is granted. The conference scheduled for May 14, 2015 is
                         adjourned to June 9, 2014 at11:30 a.m. Ordered by Magistrate Judge Gary R. Brown on 5/13/2015. c/ecf (Johnston,
                         Linda) (Entered: 05/13/2015)
  06/03/2015        66 Letter Motion regarding conference by Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J. Moran, William
                       Powell, Robert Quinlan, Town of Brookhaven (Leahey, Anne) Modified on 6/4/2015 (McMorrow, Karen). (Entered:
                       06/03/2015)
  06/04/2015             ORDER granting 66 Motion to Adjourn Conference. The 6/9 status conference is adjourned to 7/17/2015 at 11:30
                         a.m.. Ordered by Magistrate Judge Gary R. Brown on 6/4/2015. (McMorrow, Karen) (Entered: 06/04/2015)
  07/14/2015        67 Letter regarding conference by Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J. Moran, William Powell,
                       Robert Quinlan, Town of Brookhaven (Leahey, Anne) (Entered: 07/14/2015)
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  07/15/2015             ELECTRONIC ORDER re 67 Letter filed by Valerie Biscardi, William Powell, Town of Brookhaven, Jennifer Lutzer,
                         Robert Quinlan, Justin Folber, David J. Moran. The status conference scheduled for July 17, 2015 is adjourned to
                         8/3/2015 at 11:30 a.m Ordered by Magistrate Judge Gary R. Brown on 7/15/2015. c/ecf (Johnston, Linda) (Entered:
                         07/15/2015)
  08/03/2015             Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Status Conference held on 8/3/2015. Rick
                         Ostrove for plaintiff, Anne Leahey and Brian Mitchell for defendants. Settlement negotiations still in progress. A
                         status report is due the end of September. ( Settlement Conference set for 10/2/2015 02:00 PM in Courtroom 840
                         before Magistrate Judge Gary R. Brown.) (McMorrow, Karen) (Entered: 08/04/2015)
  08/14/2015             SCHEDULING ORDER: On consent, settlement conference scheduled for October 2, 2015 is hereby ADJOURNED
                         to October 6, 2015 at 10:00am. Parties are directed to follow the undersigned's individual rules on settlement
                         conferences. Ordered by Magistrate Judge Gary R. Brown on 8/14/2015. (Yim, Kevin) (Entered: 08/14/2015)
  09/11/2015        68 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 8/3/2015, before Magistrate Judge Gary
                       R. Brown. Transcriber Tracy Gribben Transcription LLC, Telephone number 732-263-0044. Email address:
                       Tracy@tgribbentranscription.com. Transcript may be viewed at the court public terminal or purchased through the
                       Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained through
                       PACER. Redaction Request due 10/2/2015. Redacted Transcript Deadline set for 10/12/2015. Release of Transcript
                       Restriction set for 12/10/2015. (Cox, Dwayne) (Entered: 09/11/2015)
  10/05/2015             ELECTRONIC ORDER. On consent, the settlement conference scheduled for October 6, 2015 is hereby
                         ADJOURNED without date. By October 12, 2015, the parties are directed to meet and confer and submit a letter to
                         the Court regarding proposed dates for a settlement conference. Ordered by Magistrate Judge Gary R. Brown on
                         10/5/2015. (Yim, Kevin) (Entered: 10/05/2015)
  10/12/2015        69 Letter re settlement conference adjourned date by Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J. Moran,
                       William Powell, Robert Quinlan, Town of Brookhaven (Leahey, Anne) (Entered: 10/12/2015)
  10/13/2015             SCHEDULING ORDER: re 69 Letter filed by Valerie Biscardi, William Powell, Town of Brookhaven, Jennifer
                         Lutzer, Robert Quinlan, Justin Folber, David J. Moran Settlement Conference set for 12/2/2015 02:00 PM in
                         Courtroom 840 before Magistrate Judge Gary R. Brown.. Ordered by Magistrate Judge Gary R. Brown on
                         10/13/2015. (McMorrow, Karen) (Entered: 10/13/2015)
  12/02/2015             Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Settlement Conference held on 12/2/2015.
                         Rick Ostrove, Anne Leahy and Brian Mitchell present with clients. Case not settled at this time. The parties will
                         submit a letter to reschedule the continued settlement conference. (McMorrow, Karen) (Entered: 12/03/2015)
  12/03/2015             SCHEDULING ORDER: On consent, a Settlement Conference is hereby scheduled for 1/13/2016 at 10:30 AM before
                         Magistrate Judge Gary R. Brown. The parties are directed to follow the undersigned's individual rules on settlement
                         conferences. Ordered by Magistrate Judge Gary R. Brown on 12/3/2015. (Yim, Kevin) (Entered: 12/03/2015)
  01/13/2016             Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Settlement Conference held on 1/13/2016.
                         Rick Ostrove and Anne Leahy present with clients. Settlement conference continued to 3/16/16 at 2:00 p.m.
                         (McMorrow, Karen) (Entered: 01/14/2016)
  01/19/2016        70 NOTICE of Appearance by Jonathan Christopher Messina on behalf of All Plaintiffs (aty to be noticed) (Messina,
                       Jonathan) (Entered: 01/19/2016)
  03/14/2016             SCHEDULING ORDER: Because of a conflict on the Court's calendar, the settlement conference scheduled for
                         March 16, 2016 is hereby ADJOURNED to April 26, 2016 at 02:00 PM in Courtroom 840 before Magistrate Judge
                         Gary R. Brown. The parties are directed to follow the undersigned's individual rules on settlement conferences.
                         Ordered by Magistrate Judge Gary R. Brown on 3/14/2016. (Yim, Kevin) (Entered: 03/14/2016)
  04/26/2016             Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Settlement Conference held on 4/26/2016.
                         Rick Ostrove and Anne Leahy present with clients. Case not settled at this time. (McMorrow, Karen) (Entered:
                         05/03/2016)
  06/09/2016        71 Letter confirming settlement conference on June 23, 2016 by Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J.
                       Moran, William Powell, Robert Quinlan, Town of Brookhaven (Leahey, Anne) (Entered: 06/09/2016)
  06/10/2016             SCHEDULING ORDER: A Settlement Conference set for June 23, 2016 at 10:30 AM in Courtroom 840 before
                         Magistrate Judge Gary R. Brown The parties shall follow the undersigned's individual rules on settlement
                         conferences. Ordered by Magistrate Judge Gary R. Brown on 6/10/2016. (Yim, Kevin) (Entered: 06/10/2016)
  06/23/2016             Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Settlement Conference held on 6/23/2016.
                         Rick Ostrove for plaintiff; Anne Leahey for defendants. Clients present. Case not settled. Parties will continue
                         discussions. A joint status report is due within 30 days. (McMorrow, Karen) (Entered: 06/24/2016)
  07/20/2016        72 Letter regarding settlement negotiations by Jerome Norton (Ostrove, Rick) (Entered: 07/20/2016)
  07/21/2016             STATUS REPORT ORDER re 72 Letter filed by Jerome Norton. A joint status report is due by 8/22/2016. Ordered by
                         Magistrate Judge Gary R. Brown on 7/21/2016. c/ecf (Johnston, Linda) (Entered: 07/21/2016)

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  07/29/2016        73 NOTICE of Appearance by Theodore D. Sklar on behalf of Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J.
                       Moran, William Powell, Robert Quinlan, Town of Brookhaven (aty to be noticed) (Sklar, Theodore) (Entered:
                       07/29/2016)
  08/22/2016        74 STATUS REPORT Letter to Judge Brown by Jerome Norton (Ostrove, Rick) (Entered: 08/22/2016)
  08/23/2016             SCHEDULING ORDER: Based on the parties' representations, a Settlement Conference is hereby scheduled
                         September 23, 2016 at 2:00 PM in Courtroom 840 before Magistrate Judge Gary R. Brown. Clients or other persons
                         with full settlement authority must be present at this conference. Prior to the conference, each party shall fax a brief,
                         1-2 page ex parte settlement position statement to chambers at (631) 712-5705. These statements must specify the
                         terms on which the party is willing to settle the case, whether those terms are negotiable, and an explanation of that
                         position. As these statements will be treated as confidential and will not be docketed, they should include a realistic
                         statement of the party's settlement position. Ordered by Magistrate Judge Gary R. Brown on 8/23/2016. (Yim, Kevin)
                         (Entered: 08/23/2016)
  09/13/2016        75 Letter to adjourn conference by Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J. Moran, William Powell,
                       Robert Quinlan, Town of Brookhaven (Leahey, Anne) (Entered: 09/13/2016)
  09/14/2016             SCHEDULING ORDER: re 75 Letter filed by Valerie Biscardi, William Powell, Town of Brookhaven, Jennifer
                         Lutzer, Robert Quinlan, Justin Folber, David J. Moran. The Settlement Conference scheduled for September 23, 2016
                         is adjourned to October 25, 2016at 2:00 PM in Courtroom 840 before Magistrate Judge Gary R. Brown. The parties
                         are reminded that clients or other persons with full settlement authority must be present at this conference. Prior to the
                         conference, each party shall fax a brief, 1-2 page ex parte settlement position statement to chambers at (631) 712-
                         5705. These statements must specify the terms on which the party is willing to settle the case, whether those terms are
                         negotiable, and an explanation of that position. As these statements will be treated as confidential and will not be
                         docketed, they should include a realistic statement of the party's settlement position. Ordered by Magistrate Judge
                         Gary R. Brown on 9/14/2016. c/ecf (Johnston, Linda) (Entered: 09/14/2016)
  10/25/2016             Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Settlement Conference held on
                         10/25/2016. Counsel for all sides present. Status conference set for 1/4/2017 at 10:00 a.m. (McMorrow, Karen)
                         (Entered: 10/26/2016)
  12/27/2016        76 Letter MOTION to Adjourn Conference by Jerome Norton. (Ostrove, Rick) (Entered: 12/27/2016)
  12/28/2016             ELECTRONIC ORDER granting 76 Motion to Adjourn Conference. The status conference scheduled for January 4,
                         2016 is hereby adjourned until January 23, 2017 at 2:30PM in Courtroom 840. Ordered by Magistrate Judge Gary R.
                         Brown on 12/28/2016. c/ecf (Meehan, James) (Entered: 12/28/2016)
  01/16/2017        77 Letter MOTION to Adjourn Conference of January 23, 2017 by Jerome Norton. (Ostrove, Rick) (Entered:
                       01/16/2017)
  01/17/2017             ELECTRONIC ORDER granting 77 Motion to Adjourn Conference. Application granted. The status conference
                         scheduled for January 23, 2017 is hereby adjourned. On or before January 20, 2017, the parties shall provide in
                         writing three alternative dates and times on which the undersigned may conduct the adjourned status conference. In
                         addition, in their request for adjournment the parties indicate they "continue to engage in settlement negotiations."
                         Should the parties wish to convert the status conference into a settlement conference, they may so inform the
                         undersigned in their letter motion providing alternative dates for the conference. Ordered by Magistrate Judge Gary R.
                         Brown on 1/17/2017. c/ecf (Meehan, James) (Entered: 01/17/2017)
  01/20/2017        78 Letter MOTION to Adjourn Conference by Jerome Norton. (Messina, Jonathan) (Entered: 01/20/2017)
  01/23/2017             ELECTRONIC ORDER granting 78 Motion to Adjourn Conference. A settlement conference has been scheduled for
                         March 27, 2017 at 2:00 p.m. to be held in Courtroom 840 of the Long Island Courthouse. Clients or other persons
                         with full settlement authority must be present at the conference. No less than two business days before the settlement
                         conference, each party must submit a one to two page, ex parte statement of its settlement position. The statements
                         may be faxed to (631) 712-5705 or mailed, and must specify the terms on which the party is willing to settle the case,
                         whether those terms are negotiable, and an explanation of that position. As these statements will be treated as
                         confidential and will not be docketed, they should include a realistic statement of the party's settlement position.
                         Ordered by Magistrate Judge Gary R. Brown on 1/23/2017. c/ecf (Johnston, Linda) (Entered: 01/23/2017)
  03/21/2017        79 Letter MOTION to Adjourn Conference Settlement Conference by Jerome Norton. (Messina, Jonathan) (Entered:
                       03/21/2017)
  03/22/2017             ELECTRONIC ORDER granting 79 Motion to Adjourn Conference. Application granted. The parties shall submit
                         three alternate dates from which to reschedule the settlement conference. Ordered by Magistrate Judge Gary R. Brown
                         on 3/22/2017. c/ecf (Johnston, Linda) (Entered: 03/22/2017)
  03/28/2017        80 Letter MOTION to Adjourn Conference by Jerome Norton. (Messina, Jonathan) (Entered: 03/28/2017)
  03/29/2017             ORDER granting 80 Motion to Adjourn Conference; ( Settlement Conference set for 5/24/2017 02:30 PM in
                         Courtroom 840 before Magistrate Judge Gary R. Brown.). Ordered by Magistrate Judge Gary R. Brown on 3/29/2017.
                         (McMorrow, Karen) (Entered: 03/29/2017)
  05/18/2017        81 Letter MOTION request adjourning settlement conference by Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J.
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                         Moran, William Powell, Robert Quinlan, Town of Brookhaven (Leahey, Anne) Modified on 5/18/2017 (McMorrow,
                         Karen). (Entered: 05/18/2017)
  05/19/2017             ELECTRONIC ORDER granting 81 Motion to Adjourn Conference. Application granted. The settlement conference
                         scheduled for May 24, 2017 is adjourned to July 24, 2017 at 2:00 p.m.. Ordered by Magistrate Judge Gary R. Brown
                         on 5/19/2017. c/ecf (Johnston, Linda) (Entered: 05/19/2017)
  05/24/2017        82 Letter motion requesting adjournment/continuance of conference by Valerie Biscardi, Justin Folber, Jennifer Lutzer,
                       David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven (Leahey, Anne) Modified on 5/25/2017 to
                       correct event type to motion to continue. (Coleman, Laurie). (Entered: 05/24/2017)
  05/25/2017             ELECTRONIC ORDER granting 82 Motion to Continue. Application granted. The settlement conference scheduled
                         for July 24, 2017 is adjourned to August 3, 2017 at 2:00 p.m. Ordered by Magistrate Judge Gary R. Brown on
                         5/25/2017. c/ecf (Johnston, Linda) (Entered: 05/25/2017)
  07/31/2017        83 Letter MOTION to Adjourn Conference on consent of both parties by Jerome Norton. (Messina, Jonathan) (Entered:
                       07/31/2017)
  08/01/2017             ELECTRONIC ORDER granting 83 Motion to Adjourn Conference. The settlement conference scheduled for August
                         3, 2017 is adjourned to September 8, 2017 at 2:00 p.m. Ordered by Magistrate Judge Gary R. Brown on 8/1/2017.
                         c/ecf (Johnston, Linda) (Entered: 08/01/2017)
  09/06/2017        84 Letter requesting adjournment of conference by Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J. Moran,
                       William Powell, Robert Quinlan, Town of Brookhaven (Leahey, Anne) (Entered: 09/06/2017)
  09/07/2017             SCHEDULING ORDER: re 84 Letter filed by Valerie Biscardi, William Powell, Town of Brookhaven, Jennifer
                         Lutzer, Robert Quinlan, Justin Folber, David J. Moran. The settlement conference scheduled for September 8, 2017 is
                         adjourned to October 16, 17 at 2:00 p.m. Ordered by Magistrate Judge Gary R. Brown on 9/7/2017. c/ecf (Johnston,
                         Linda) (Entered: 09/07/2017)
  10/12/2017        85 STATUS REPORT regarding filing of third amended complaint by County of Suffolk (Mitchell, Brian) (Entered:
                       10/12/2017)
  10/16/2017             Minute Entry for proceedings held before Magistrate Judge Gary R. Brown: Settlement Conference held on
                         10/16/2017. Rick Ostrove for plaintiff; Anne Leahey for Town defendants, Brian Mitchell for County defendants.
                         Amended complaint will be filed on consent of all parties. The County defendants will have 45 days from the date of
                         filing to move to dismiss or otherwise respond to the amended complaint. A status conference is set for 1/11/2018 at
                         2:00 p.m..(FTR Log #2:11-2:35.) (McMorrow, Karen) (Entered: 10/16/2017)
  10/17/2017        86 Letter to Judge Brown and Judge Spatt by Jerome Norton (Attachments: # 1 Exhibit Settlement, # 2 Exhibit Third
                       Amended Complaint) (Messina, Jonathan) (Entered: 10/17/2017)
  10/17/2017        87 AMENDED COMPLAINT Third Amended Complaint against All Defendants, filed by Jerome Norton. (Messina,
                       Jonathan) (Entered: 10/17/2017)
  10/18/2017        88 PARTIAL ORDER re 86 -1 Letter filed by Jerome Norton directed to the Department of State. Counsel for the Town
                       Defendants are to serve a copy of this order on the Department of State and file proof of service on ECF. Ordered by
                       Magistrate Judge Gary R. Brown on 10/18/2017. (McMorrow, Karen) (Entered: 10/18/2017)
  10/18/2017        89 ORDER re 86 Stipulation of Partial Settlement. SEE ATTACHED ORDER for details. So Ordered by Judge Arthur
                       D. Spatt on 10/18/2017. (Coleman, Laurie) (Entered: 10/23/2017)
  11/20/2017        90 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 10/16/2017, before Magistrate Judge
                       Gary R. Brown. Transcriber Tracy Gribben Transcription, LLC, Telephone number 732-263-0044. Email address:
                       tracy@tgribbentranscription.com. Transcript may be viewed at the court public terminal or purchased through the
                       Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained through
                       PACER. Redaction Request due 12/11/2017. Redacted Transcript Deadline set for 12/21/2017. Release of Transcript
                       Restriction set for 2/19/2018. (Cox, Dwayne) (Main Document 90 replaced on 11/20/2017) (Cox, Dwayne). (Entered:
                       11/20/2017)
  11/29/2017        91 Letter MOTION for Extension of Time to File Answer or move per FRCP 12b6 by County of Suffolk. (Mitchell,
                       Brian) (Entered: 11/29/2017)
  11/30/2017             Electronic ORDER granting 91 Motion for Extension of Time to Answer re 87 Amended Complaint by County of
                         Suffolk. The County of Suffolk is instructed to move, answer or otherwise respond to the amended complaint by
                         3/1/2018. Ordered by Judge Arthur D. Spatt on 11/30/2017. (Roberts, Joshua) (Entered: 11/30/2017)
  12/18/2017        92 Letter by Jerome Norton (Messina, Jonathan) (Entered: 12/18/2017)
  12/29/2017        93 Letter re compliance with stipulation in response to Plaintiff's 12/18/17 letter by Town of Brookhaven (Leahey, Anne)
                       (Entered: 12/29/2017)
  01/05/2018        94 Letter by Jerome Norton (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit 1st attachment to Exhibit 1, # 3 Exhibit 2nd
                       attachment to Exhibit 1) (Messina, Jonathan) (Entered: 01/05/2018)


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  01/05/2018        95 MOTION to Adjourn Conference scheduled for January 11, 2018 by Town of Brookhaven. (Leahey, Anne) (Entered:
                       01/05/2018)
  01/08/2018             ELECTRNIC ORDER granting 95 Motion to Adjourn Conference. The status conference scheduled for January 11,
                         2018 is adjourned to January 25, 2018 at 2:00 p.m. Ordered by Magistrate Judge Gary R. Brown on 1/8/2018. c/ecf
                         (Johnston, Linda) (Entered: 01/08/2018)
  01/25/2018             Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Discovery Hearing held on 1/25/2018.
                         Jonathan Messina for plaintiff; Anne Leahey for Town defendants, Brian Mitchell for County defendant. Conference
                         held. A status letter is due within 1 week detailing what was discussed and agreed upon. Status Conference set for
                         3/30/2018 at 02:00 PM in Courtroom 840 before Magistrate Judge Gary R. Brown. (FTR Log #2:13-2:36; 3:07-3:17.)
                         (McMorrow, Karen) (Entered: 01/26/2018)
  01/30/2018        96 Letter re: adjournment to file the status letter to February 9, 2018 by Jerome Norton (Messina, Jonathan) (Entered:
                       01/30/2018)
  01/31/2018             ELECTRONIC ORDER re 96 Letter filed by Jerome Norton. Application granted, on consent. Ordered by Magistrate
                         Judge Gary R. Brown on 1/31/2018. c/ecf (Johnston, Linda) (Entered: 01/31/2018)
  02/06/2018        97 Letter re adjournment to file status letter to February 20, 2018 by Valerie Biscardi, Justin Folber, Jennifer Lutzer,
                       David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven (Leahey, Anne) (Entered: 02/06/2018)
  02/07/2018             ELECTRONIC ORDER re 97 Letter filed by Valerie Biscardi, William Powell, Town of Brookhaven, Jennifer Lutzer,
                         Robert Quinlan, Justin Folber, David J. Moran. Application granted, on consent. Ordered by Magistrate Judge Gary R.
                         Brown on 2/7/2018. C/ECF (Johnston, Linda) (Entered: 02/07/2018)
  02/20/2018        98 STATUS REPORT Letter to the Honorable Gary R. Brown by Jerome Norton (Attachments: # 1 Exhibit Exhibits 1-4
                       re: letter dated February 20, 2018) (Messina, Jonathan) (Entered: 02/20/2018)
  02/23/2018             SCHEDULING ORDER: re 98 Status Report filed by Jerome Norton. Inasmuch as the parties intend to request an
                         adjournment of the March 30, 2018 conference, the parties are directed to meet and confer and provide three alternate
                         dates for the next Court Conference by March 2, 2018. Ordered by Magistrate Judge Gary R. Brown on 2/23/2018.
                         c/ecf (Johnston, Linda) (Entered: 02/23/2018)
  03/01/2018        99 Letter MOTION for Extension of Time to File Answer to Third Amended Complaint by County of Suffolk. (Mitchell,
                       Brian) (Entered: 03/01/2018)
  03/02/2018             Electronic ORDER granting 99 Motion for Extension of Time to Answer. The County of Suffolk is directed to answer
                         or otherwise respond to the third amended complaint on or before 4/2/2018. Ordered by Judge Arthur D. Spatt on
                         3/2/2018. (Roberts, Joshua) (Entered: 03/02/2018)
  03/02/2018       100 Letter MOTION to Adjourn Conference by Town of Brookhaven. (Leahey, Anne) (Entered: 03/02/2018)
  03/05/2018             ELECTRONIC ORDER RE 100 Motion to Adjourn Conference. Status Conference set for 5/1/2018 10:00 AM before
                         Magistrate Judge Gary R. Brown. The undersigned will discuss settlement at that time. Ordered by Magistrate Judge
                         Gary R. Brown on 3/5/2018. C/ECF (Johnston, Linda) (Entered: 03/05/2018)
  03/08/2018       101 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on January 25, 2018, before Magistrate
                       Judge Gary R. Brown. Transcriber TypeWrite Word Processing Service, Telephone number 518-581-8973. Email
                       address: transcripts@typewp.com. Transcript may be viewed at the court public terminal or purchased through the
                       Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained through
                       PACER. Redaction Request due 3/29/2018. Redacted Transcript Deadline set for 4/9/2018. Release of Transcript
                       Restriction set for 6/6/2018. (Kanellopoulos, John) (Entered: 03/08/2018)
  04/02/2018       102 ANSWER to 87 Amended Complaint Third by County of Suffolk. (Mitchell, Brian) (Entered: 04/02/2018)
  04/05/2018       103 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on October 21, 2014, before Magistrate
                       Judge Gary R. Brown. Transcriber TypeWrite Word Processing Service, Telephone number 518-581-8973. Email
                       address: transcripts@typewp.com. Transcript may be viewed at the court public terminal or purchased through the
                       Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained through
                       PACER. Redaction Request due 4/26/2018. Redacted Transcript Deadline set for 5/7/2018. Release of Transcript
                       Restriction set for 7/4/2018. (Kanellopoulos, John) (Entered: 04/05/2018)
  04/05/2018       104 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on December 2, 2015, before Magistrate
                       Judge Gary R. Brown. Transcriber TypeWrite Word Processing Service, Telephone number 518-581-8973. Email
                       address: transcripts@typewp.com. Transcript may be viewed at the court public terminal or purchased through the
                       Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained through
                       PACER. Redaction Request due 4/26/2018. Redacted Transcript Deadline set for 5/7/2018. Release of Transcript
                       Restriction set for 7/4/2018. (Kanellopoulos, John) (Entered: 04/05/2018)
  05/01/2018             Minute Entry for proceedings held before Magistrate Judge Gary R. Brown: Settlement Conference held on 5/1/2018.
                         APPEARANCES: Jonathan Messina for plaintiff; Anne C. Leahey for defendants. Brian Mitchell for Suffolk
                         defendants. Case stayed for all purposes until 6/19/18. Status conference set for 6/19/2018 at 2:00 p.m. (McMorrow,
                         Karen) (Entered: 05/01/2018)

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9/13/22, 1:00 PM                                        Eastern District of New York - LIVE Database 1.7 (Revision 1.7.1)
  05/29/2018       105 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on May 1, 2018, before Magistrate Judge
                       Gary R. Brown. Transcriber AA Express Transcripts, Telephone number 888-456-9716. Email address:
                       AAExpress@Court-Transcripts.net. Transcript may be viewed at the court public terminal or purchased through the
                       Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained through
                       PACER. Redaction Request due 6/19/2018. Redacted Transcript Deadline set for 6/29/2018. Release of Transcript
                       Restriction set for 8/27/2018. (Kanellopoulos, John) (Entered: 05/29/2018)
  06/19/2018             Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Settlement Conference held on 6/19/2018.
                         APPEARANCES: Jonathan Messina for plaintiff; Anne Leahey present with Town representatives; Brian Mitchell for
                         County defendants. Settlement discussions ongoing. Plaintiff will submit a status report on the amended code by the
                         end of September. (McMorrow, Karen) (Entered: 06/20/2018)
  07/23/2018       106 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on June 19, 2018, before Magistrate Judge
                       Gary R. Brown. Transcriber Tracy Gribben Transcription, LLC, Telephone number 732-263-0044. Email address:
                       tgribben@comcast.net. Transcript may be viewed at the court public terminal or purchased through the Transcriber
                       before the deadline for Release of Transcript Restriction. After that date it may be obtained through PACER.
                       Redaction Request due 8/13/2018. Redacted Transcript Deadline set for 8/23/2018. Release of Transcript Restriction
                       set for 10/22/2018. (Kanellopoulos, John) (Entered: 07/23/2018)
  08/13/2018       107 Letter MOTION for Extension of Time to File Status Report by County of Suffolk. (Mitchell, Brian) (Entered:
                       08/13/2018)
  08/15/2018             ORDER granting 107 Motion for Extension of Time to File. Status Report due by 9/14/2018. Ordered by Magistrate
                         Judge Gary R. Brown on 8/15/2018. (McMorrow, Karen) (Entered: 08/15/2018)
  09/17/2018       108 STATUS REPORT JOINT by Jerome Norton (Attachments: # 1 Exhibit A, # 2 Exhibit B) (Messina, Jonathan)
                       Modified on 9/24/2018 (McMorrow, Karen). Added MOTION for Discovery on 9/24/2018 (McMorrow, Karen).
                       (Entered: 09/17/2018)
  09/24/2018             ELECTRONIC ORDER denying 108 Motion for Hearing; granting 108 Motion for Discovery. The parties are
                         directed to meet and confer and submit a proposed discovery plan to the undersigned. Ordered by Magistrate Judge
                         Gary R. Brown on 9/24/2018. c/ecf (Johnston, Linda) (Entered: 09/24/2018)
  10/01/2018       109 STATUS REPORT by Jerome Norton (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                       Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit) (Messina, Jonathan) (Entered: 10/01/2018)
  10/09/2018             STATUS REPORT ORDER re 109 Status Report filed by Jerome Norton. The parties are directed to submit a further
                         status report regarding the amended Town of Brookhaven code by November 13, 2018. In addition, the parties'
                         application for a joint status conference is granted. The Court is unable, however, to accommodate the parties'
                         requested dates to schedule the conference due to prior matters scheduled for those dates. Accordingly, the parties are
                         directed to confer and provide in writing three alternative dates in which the Court may conduct the conference as
                         well as submit a proposed discovery plan.Ordered by Magistrate Judge Gary R. Brown on 10/9/2018. c/ecf (Johnston,
                         Linda) (Entered: 10/09/2018)
  11/05/2018       110 Letter MOTION to Continue /adjourn submission of discovery schedule and request for a status conference by
                       Jerome Norton. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, #
                       7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                       Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18) (Messina, Jonathan) (Entered:
                       11/05/2018)
  11/06/2018       111 Letter to J. Brown re conference by Daniel Belano, Valerie Biscardi, County of Suffolk, Justin Folber, Jennifer Lutzer,
                       David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven (Leahey, Anne) (Entered: 11/06/2018)
  11/13/2018       112 Letter MOTION to Vacate Plaintiff's Portion of the October 9, 2018 Minute Order Requiring Joint Status Report by
                       Jerome Norton. (Attachments: # 1 Exhibit A, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5)
                       (Messina, Jonathan) (Entered: 11/13/2018)
  11/13/2018       113 Letter to USMCJ Brown re Stipulation by Daniel Belano, Valerie Biscardi, County of Suffolk, Justin Folber, Jennifer
                       Lutzer, David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven (Leahey, Anne) (Entered: 11/13/2018)
  11/15/2018             ELECTRONIC ORDER denying 110 Motion to Continue; denying 112 Motion to Vacate. The plaintiff's applications
                         are denied. It is clear from the applications and responses, that the parties have not made a meaningful effort to meet
                         and confer prior to filing the within applications. Local Rule 37.3 and the undersigned's individual rules require the
                         attorneys for the parties to confer in good faith in person or by telephone in an effort to resolve and/or narrow these
                         issues prior to seeking judicial intervention, including scheduling matters. Such a meet and confer requires actual
                         human contact as well as a clear indication of the movant's intended application to the court should the meet and
                         confer fail to resolve such issues. Moreover, counsel are reminded of their obligation of professional cooperation and
                         courtesy and are directed to review Local Civil Rule 26.4 "Cooperation Among Counsel in Discovery. The parties are
                         directed to meet and confer and submit a further status report regarding the amended Town of Brookhaven Code as
                         well as a joint proposed discovery plan by December 17, 2018. Finally the parties are directed to confer and provide
                         in writing three alternative dates beginning December 18, 2018 in which the Court may conduct the status conference
                         during normal business hours. Ordered by Magistrate Judge Gary R. Brown on 11/15/2018. c/ecf (Johnston, Linda)
                         (Entered: 11/15/2018)
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  11/20/2018       114 Letter re: set status conference dates by Jerome Norton (Messina, Jonathan) Modified on 11/21/2018 (McMorrow,
                       Karen). (Entered: 11/20/2018)
  11/21/2018             ELECTRONIC ORDER granting 114 Motion. Status Conference set for 1/4/2019 10:30 AM before Magistrate Judge
                         Gary R. Brown.Ordered by Magistrate Judge Gary R. Brown on 11/21/2018. c/ecf (Johnston, Linda) (Entered:
                         11/21/2018)
  11/27/2018       115 Letter to Judge Brown re joint report by Daniel Belano, Valerie Biscardi, County of Suffolk, Justin Folber, Jennifer
                       Lutzer, David J. Moran, William Powell, Robert Quinlan, Town of Brookhaven (Leahey, Anne) (Entered: 11/27/2018)
  11/28/2018             ELECTRONIC ORDER re 115 Letter filed by County of Suffolk, Robert Quinlan, Justin Folber, Town of
                         Brookhaven, William Powell, Valerie Biscardi, Jennifer Lutzer, David J. Moran, Daniel Belano. Application granted.
                         Ordered by Magistrate Judge Gary R. Brown on 11/28/2018. c/ecf (Johnston, Linda) (Entered: 11/28/2018)
  12/21/2018       116 Letter Jointly filed re: meet and confer and discovery by Jerome Norton (Messina, Jonathan) (Entered: 12/21/2018)
  01/02/2019       117 Letter re: Status Report by Jerome Norton (Attachments: # 1 Exhibit Ex. 1, # 2 Exhibit Ex. 2, # 3 Exhibit Ex. 3, # 4
                       Exhibit Ex. 4) (Messina, Jonathan) (Entered: 01/02/2019)
  01/04/2019       118 Minute Entry for proceedings held before Magistrate Judge Gary R. Brown:Status Conference held on 1/4/2019. (FTR
                       Log #10:54-11:52.) (McMorrow, Karen) (Entered: 01/07/2019)
  02/06/2019       119 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on January 4, 2019, before Magistrate
                       Judge Gary R. Brown. Transcriber Fiore Reporting and Transcription Service, Inc., Telephone number (203) 929-
                       9992. Email address: cmfiore@sbcglobal.net. Transcript may be viewed at the court public terminal or purchased
                       through the Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained
                       through PACER. Redaction Request due 2/27/2019. Redacted Transcript Deadline set for 3/11/2019. Release of
                       Transcript Restriction set for 5/7/2019. (Kanellopoulos, John) (Entered: 02/06/2019)
  02/28/2019       120 Letter Requesting Conference by Jerome Norton (Ostrove, Rick) Modified on 3/1/2019 (McMorrow, Karen).
                       (Entered: 02/28/2019)
  03/01/2019       121 MOTION for Judgment on the Pleadings for order denying request for declaratory relief by County of Suffolk.
                       (Attachments: # 1 Declaration, # 2 Memorandum in Support, # 3 Exhibit A, # 4 Exhibit B) (Mitchell, Brian) (Entered:
                       03/01/2019)
  03/05/2019       122 NOTICE of Appearance by Andrew G. Costello on behalf of Jerome Norton (aty to be noticed) (Costello, Andrew)
                       (Entered: 03/05/2019)
  03/14/2019       123 MOTION for Judgment on the Pleadings CORRECTED Memorandum of Law in Support of Motion for Judgment on
                       the pleadings Docket Entry 121 by County of Suffolk. (Mitchell, Brian) (Entered: 03/14/2019)
  03/15/2019             ELECTRONIC ORDER granting 120 :Plaintiff's application for a discovery conference is granted. The Court is
                         unable, however, to accommodate the requested dates due to prior matters scheduled for those dates. Accordingly, the
                         parties are directed to meet and confer and provide in writing three alternative dates, beginning mid April, in which
                         the Court may schedule a conference. In addition, the parties are directed to meet and confer regarding any
                         outstanding discovery issues prior to the submission of the proposed dates to determine whether they can narrow
                         and/or resolve the disputed issues without judicial intervention. The parties shall provide in their letter application for
                         a conference, if needed, a joint status report regarding what is any discovery issues remain. Ordered by Magistrate
                         Judge Gary R. Brown on 3/15/2019. c/ecf (Johnston, Linda) (Entered: 03/15/2019)
  04/23/2019       124 Consent MOTION for Extension of Time to File Response/Reply by Jerome Norton. (Costello, Andrew) (Entered:
                       04/23/2019)
  04/24/2019             ELECTRONIC ORDER granting 124 Motion for Extension of Time to File Response/Reply re 123 MOTION for
                         Judgment on the Pleadings CORRECTED Memorandum of Law in Support of Motion for Judgment on the pleadings
                         Docket Entry 121. Responses due by 5/14/2019. Replies due by 5/29/2019.Ordered by Judge Arthur D. Spatt on
                         4/24/2019. (Roberts, Joshua) (Entered: 04/24/2019)
  05/14/2019       125 MEMORANDUM in Opposition to County's 12(c) Motion to Dismiss filed by Jerome Norton. (Attachments: # 1
                       Amicus Brief of NY AG, # 2 Albany County DA Complaint, # 3 Transcript of January 4, 2019 Conference) (Costello,
                       Andrew) (Entered: 05/14/2019)
  05/29/2019       126 REPLY in Support re 121 MOTION for Judgment on the Pleadings for order denying request for declaratory relief
                       filed by County of Suffolk. (Attachments: # 1 Exhibit C email from Jonathan Messina Esq.) (Mitchell, Brian)
                       (Entered: 05/29/2019)
  08/02/2019       127 Letter to Judge Spatt re: Recent Development in Soares matter by Jerome Norton (Attachments: # 1 Exhibit Motion
                       for Summary Judgment filed by DAASNY) (Costello, Andrew) (Entered: 08/02/2019)
  08/02/2019       128 REPLY in Opposition to letter submitted on August 2, 2019 by plaintiff (DE 127) filed by County of Suffolk.
                       (Mitchell, Brian) (Entered: 08/02/2019)
  11/27/2019       129 STATUS REPORT re: Remaining Discovery Issues and Request for Conference by Jerome Norton (Costello, Andrew)

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                         (Entered: 11/27/2019)
  12/02/2019             SCHEDULING ORDER: re 129 Status Report filed by Jerome Norton. A status conference has been scheduled for
                         January 10, 2020 at 10:30 a.m. before the undersigned in Courtroom 840 of the Central Islip Courthouse at which
                         time the Court will address outstanding discovery issues and the status of the case. The parties are directed to meet
                         and confer prior to the conference in an effort to narrow and/or resolve the disputed issues in DE 129 without Court
                         intervention. The parties shall submit a joint status report regarding what, if any, discovery issues remain, and, if
                         needed, a proposed revised joint discovery schedule by January 6, 2020. Ordered by Magistrate Judge Gary R. Brown
                         on 12/2/2019. c/ecf (Johnston, Linda) (Entered: 12/02/2019)
  01/06/2020       130 Joint MOTION for Extension of Time to File Status Report by Jerome Norton. (Costello, Andrew) (Entered:
                       01/06/2020)
  01/07/2020             ELECTRONIC ORDER granting 130 Motion for Extension of Time to File. Application granted. Ordered by Judge
                         Gary R. Brown on 1/7/2020. c/ecf (Johnston, Linda) (Entered: 01/07/2020)
  01/07/2020             ELECTRONIC ORDER re 130 Joint MOTION for Extension of Time to File Status Report filed by Jerome Norton,
                         129 Status Report filed by Jerome Norton. The conference scheduled for 1/10/20 is adjourned without date. Ordered
                         by Judge Gary R. Brown on 1/7/2020. c/ecf (Johnston, Linda) (Entered: 01/07/2020)
  01/09/2020       131 NOTICE of Appearance by Scott J. Kreppein on behalf of Valerie Biscardi, Justin Folber, Jennifer Lutzer, David J.
                       Moran, William Powell, Robert Quinlan, Town of Brookhaven (aty to be noticed) (Kreppein, Scott) (Entered:
                       01/09/2020)
  01/21/2020             Case Reassigned to Magistrate Judge Anne Y. Shields. Magistrate Judge Gary R. Brown no longer assigned to the
                         case. Please download and review the Individual Practices of the assigned Judges, located on our website. Attorneys
                         are responsible for providing courtesy copies to judges where their Individual Practices require such. (Toritto, Jim)
                         (Entered: 01/21/2020)
  01/21/2020       132 MEMORANDUM OF DECISION & ORDER: For the foregoing reasons, the Court grants the 121 Rule 12(c) motion
                       for judgment on the pleadings by the Defendant Suffolk County. The Third Amended Complaint is dismissed as to the
                       Defendant Suffolk County. County of Suffolk terminated. SEE ATTACHED DECISION for details. It is SO
                       ORDERED by Judge Arthur D. Spatt on 1/22/2020. (Coleman, Laurie) (Entered: 01/22/2020)
  01/23/2020             STATUS REPORT ORDER: Counsel for the parties shall file a joint status report on February 6, 2020, as previously
                         directed by Judge Brown. Status Report due by 2/6/2020. So Ordered by Magistrate Judge Anne Y. Shields on
                         1/23/2020. (Minerva, Deanna) (Entered: 01/23/2020)
  02/04/2020       133 Consent MOTION for Extension of Time to File Status Report by Jerome Norton. (Costello, Andrew) (Entered:
                       02/04/2020)
  02/05/2020             ORDER granting 133 Motion for Extension of Time to File: Counsel for the parties shall file their joint status report
                         on or before February 13, 2020. So Ordered by Magistrate Judge Anne Y. Shields on 2/5/2020. (Minerva, Deanna)
                         (Entered: 02/05/2020)
  02/13/2020       134 Consent MOTION for Extension of Time to File joint status report until 2.27.20, with interim status report, by Town
                       of Brookhaven. (Kreppein, Scott) (Entered: 02/13/2020)
  02/14/2020             ORDER granting 134 Motion for Extension of Time to File: Counsel for the parties shall submit a joint status letter,
                         as well as a proposed discovery plan for Tier II Discovery, by February 27, 2020. So Ordered by Magistrate Judge
                         Anne Y. Shields on 2/14/2020. (Minerva, Deanna) (Entered: 02/14/2020)
  02/27/2020       135 Letter re: Proposed Tier II Discovery Plan by Jerome Norton (Costello, Andrew) (Entered: 02/27/2020)
  02/28/2020       136 Letter with joint status report by Town of Brookhaven (Kreppein, Scott) (Entered: 02/28/2020)
  03/02/2020             SCHEDULING ORDER re 136 Letter filed by Town of Brookhaven: An in-person status conference will be held on
                         March 10, 2020 at 10:30 a.m. in Courtroom 830, Alfonse M. D'Amato U.S. Courthouse, Central Islip, New York. All
                         counsel shall appear. So Ordered by Magistrate Judge Anne Y. Shields on 3/2/2020. (Minerva, Deanna) (Entered:
                         03/02/2020)
  03/05/2020       137 Consent MOTION to Adjourn Conference by Jerome Norton. (Costello, Andrew) (Entered: 03/05/2020)
  03/05/2020             ORDER granting 137 Motion to Adjourn Conference: The status conference scheduled for March 10, 2020 is
                         adjourned to March 16, 2020 at 11:00 a.m. All counsel shall appear in person for the conference. So Ordered by
                         Magistrate Judge Anne Y. Shields on 3/5/2020. (Minerva, Deanna) (Entered: 03/05/2020)
  03/14/2020             SCHEDULING ORDER: The in-person status conference scheduled for March 16, 2020 at 11:00 a.m. is converted to
                         a telephone conference. Counsel for both parties are directed to call into ATT audio-conferencing. The toll free
                         number is 877-810-9415. Please use the access code 9005911. SoOrdered by Magistrate Judge Anne Y. Shields on
                         3/14/2020. (Minerva, Deanna) (Entered: 03/14/2020)
  03/16/2020       138 Minute Order for proceedings held before Magistrate Judge Anne Y. Shields:Status Conference held on 3/16/2020.
                       See Minute Order for details. So Ordered by Magistrate Judge Anne Y. Shields. (FTR Log #11:08-11:45.) (Torres,
                       Jasmine) (Entered: 03/18/2020)
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  03/20/2020       139 STATUS REPORT , jointly by all parties, with proposed briefing schedule by Town of Brookhaven (Kreppein, Scott)
                       (Entered: 03/20/2020)
  03/21/2020             SCHEDULING ORDER re 139 Status Report filed by Town of Brookhaven: The briefing schedule for Plaintiff's
                         motion to compel will be as follows: (1) Plaintiff shall serve, but not file, his motion on May 7, 2020; and (2)
                         Defendant shall serve, and each party shall electronically file their own motion papers, on June 8, 2020. No reply will
                         be permitted. No motion papers shall be filed on ECF prior to June 8, 2020. As the moving party, Plaintiff is
                         responsible for providing chambers with a courtesy copy of the entire fully-briefed motion, including Defendant's
                         opposition, once the motion is electronically filed. So Ordered by Magistrate Judge Anne Y. Shields on 3/21/2020.
                         (Minerva, Deanna) (Entered: 03/21/2020)
  04/15/2020       140 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on March 16, 2020, before Magistrate
                       Judge Anne Y. Shields. Transcriber Tracy Gribben Transcription, LLC, Telephone number 732-263-0044. Email
                       address: Tracy@tgribbentranscription.com. Transcript may be viewed at the court public terminal or purchased
                       through the Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained
                       through PACER. Redaction Request due 5/6/2020. Redacted Transcript Deadline set for 5/18/2020. Release of
                       Transcript Restriction set for 7/14/2020. (Rodin, Deanna) (Entered: 04/15/2020)
  04/28/2020       141 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on March 24, 2015, before Magistrate
                       Judge Gary R. Brown. Transcriber AA Express Transcripts, Telephone number 888-456-9716. Email address:
                       aaexpress@court-transcripts.net. Transcript may be viewed at the court public terminal or purchased through the
                       Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained through
                       PACER. Redaction Request due 5/19/2020. Redacted Transcript Deadline set for 5/29/2020. Release of Transcript
                       Restriction set for 7/27/2020. (Rodin, Deanna) (Entered: 04/28/2020)
  05/01/2020       142 Consent MOTION for Extension of Time to File Motion to Compel by Jerome Norton. (Costello, Andrew) (Entered:
                       05/01/2020)
  05/04/2020             ORDER granting 142 Motion for Extension of Time to File: Plaintiff shall serve, but not file, his motion on May 21,
                         2020. Defendant shall serve, and each party shall electronically file their own motion papers, on June 22, 2020. No
                         reply will be permitted. No motion papers shall be filed on ECF prior to June 22, 2020. As the moving party, Plaintiff
                         is responsible for providing chambers with a courtesy copy of the entire fully-briefed motion, including Defendant's
                         opposition, once the motion is electronically filed. So Ordered by Magistrate Judge Anne Y. Shields on 5/4/2020.
                         (Minerva, Deanna) (Entered: 05/04/2020)
  05/17/2020       143 Joint MOTION for Extension of Time to File Discovery Motion by Jerome Norton. (Costello, Andrew) (Entered:
                       05/17/2020)
  05/18/2020             ORDER granting 143 Motion for Extension of Time to File: Plaintiff shall serve, but not file, his motion on August
                         21, 2020. Defendant shall serve, and each party shall electronically file their own motion papers, on September 21,
                         2020. No reply will be permitted. No motion papers shall be filed on ECF prior to September 21, 2020. As the moving
                         party, Plaintiff is responsible for providing chambers with a courtesy copy of the entire fully-briefed motion, including
                         Defendant's opposition, once the motion is electronically filed. So Ordered by Magistrate Judge Anne Y. Shields on
                         5/18/2020. (Minerva, Deanna) (Entered: 05/18/2020)
  06/30/2020             Case Reassigned to Judge Joan M. Azrack. Judge Arthur D. Spatt no longer assigned to the case. Please download and
                         review the Individual Practices of the assigned Judges, located on our website. Attorneys are responsible for providing
                         courtesy copies to judges where their Individual Practices require such. (McMahon, Carol) (Entered: 06/30/2020)
  08/14/2020       144 Consent MOTION for Extension of Time to File Motion to Compel Discovery by Jerome Norton. (Costello, Andrew)
                       (Entered: 08/14/2020)
  08/17/2020             ORDER granting 144 Motion for Extension of Time to File: Plaintiff shall serve, but not file, his motion on
                         September 21, 2020. Defendant shall serve its opposition, and each party shall electronically file their own motion
                         papers, on October 21, 2020. No reply will be permitted. No motion papers shall be filed on ECF prior to October 21,
                         2020. As the moving party, Plaintiff is responsible for providing chambers with a courtesy copy of the entire fully-
                         briefed motion, including Defendant's opposition, once the motion is electronically filed. So Ordered by Magistrate
                         Judge Anne Y. Shields on 8/17/2020. (Minerva, Deanna) (Entered: 08/17/2020)
  09/15/2020       145 Joint MOTION for Extension of Time to File and for Setting of Conference by Jerome Norton. (Costello, Andrew)
                       (Entered: 09/15/2020)
  09/16/2020             ORDER granting 145 Motion for Extension of Time to File: At the parties' request, the briefing schedule previously
                         set with respect to Plaintiff's motion to compel is suspended. A telephone status conference will be held on November
                         17, 2020 at 10:30 a.m. All counsel shall call the AT&T Teleconference Center at (877) 810-9415 at the time of the
                         conference and enter Access Code 9005911 when prompted. So Ordered by Magistrate Judge Anne Y. Shields on
                         9/16/2020. (Minerva, Deanna) (Entered: 09/16/2020)
  11/17/2020             SCHEDULING ORDER: As stated on the record during the conference held today, Plaintiff shall review the
                         documents previously provided by Defendants and determine whether the production is sufficient and, if not, why it is
                         insufficient. Plaintiff shall serve any new document requests on Defendants by February 19, 2021. Defendants shall


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                         respond to those document requests by April 19, 2021. Counsel for the parties shall then confer and create a schedule
                         for depositions.

                         With respect to Defendants' motion to dismiss the declaratory judgment action, the following briefing schedule is set:
                         (1) Defendants shall serve, but not file, their motion on February 19, 2021; (2) Plaintiff shall serve, but not file, his
                         opposition on March 19, 2021; and (3) Defendants shall serve their reply, and each party shall electronically file their
                         own motion papers, on April 2, 2021. No motion papers shall be filed on ECF prior to April 2, 2021. While the
                         motion to dismiss shall be made to the assigned District Judge, the parties are advised that they can consent to
                         magistrate jurisdiction solely for purposes of the motion to dismiss. So Ordered by Magistrate Judge Anne Y. Shields
                         on 11/17/2020. (Minerva, Deanna) (Entered: 11/17/2020)
  11/17/2020       146 Minute Entry for proceedings held before Magistrate Judge Anne Y. Shields:Status Conference held on 11/17/2020
                       (FTR Log #10:30-11:17.) (Torres, Jasmine) (Entered: 11/20/2020)
  12/21/2020       147 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on November 17, 2020, before Magistrate
                       Judge Anne Y. Shields. Transcriber Writer's Cramp, Inc., Telephone number 609-588-8043. Email address:
                       wtrscramp@verizon.net. Transcript may be viewed at the court public terminal or purchased through the Transcriber
                       before the deadline for Release of Transcript Restriction. After that date it may be obtained through PACER.
                       Redaction Request due 1/11/2021. Redacted Transcript Deadline set for 1/21/2021. Release of Transcript Restriction
                       set for 3/22/2021. (Rodin, Deanna) (Entered: 12/21/2020)
  03/16/2021       148 MOTION for Hearing by Jerome Norton. (Attachments: # 1 Exhibit Transcript of 11-17-20 Conference, # 2 Exhibit
                       Motion Papers) (Costello, Andrew) (Entered: 03/16/2021)
  03/17/2021       149 RESPONSE to Motion re 148 MOTION for Hearing objecting to Plaintiff's request to suspend the briefing schedule
                       but consenting to 30 days or such other reasonable extension as the Court deems appropriate, filed by Town of
                       Brookhaven. (Attachments: # 1 Rule 56.1 Statement) (Kreppein, Scott) (Entered: 03/17/2021)
  03/17/2021       150 REPLY to Response to Motion re 148 MOTION for Hearing filed by Jerome Norton. (Costello, Andrew) (Entered:
                       03/17/2021)
  03/18/2021             ORDER denying 148 Motion for Hearing. Plaintiff is directed to respond to the motion as filed and may raise his
                         arguments in the opposition. The Court grants the request for an extension. Plaintiff shall serve, but not file, his
                         opposition on April 19, 2021; and Defendants shall serve their reply, and each party shall electronically file their own
                         motion papers, on May 3, 2021. No motion papers shall be filed on ECF prior to May 3, 2021. Ordered by Judge Joan
                         M. Azrack on 3/18/2021. (Walsh, Catherine). (Entered: 03/18/2021)
  03/19/2021       151 Consent MOTION for Extension of Time to File Response/Reply by Jerome Norton. (Costello, Andrew) (Entered:
                       03/19/2021)
  03/23/2021             ORDER granting 151 Motion for Extension of Time to File Response/Reply. Plaintiff's opposition shall be served by
                         5/19/2021 and Defendant's reply shall be served by 6/2/2021. Ordered by Judge Joan M. Azrack on 3/23/2021.
                         (Walsh, Catherine). (Entered: 03/23/2021)
  06/02/2021       152 MEMORANDUM in Opposition to Defendants' Rule 12(c) and Rule 56 Motion filed by Jerome Norton.
                       (Attachments: # 1 Rule 56.1 Statement Plaintiff's Counterstatement of Material Facts, # 2 Declaration in Support of
                       Plaintiff's Opposition, # 3 Exhibit 1 - Local Law Amendments to Ch. 82, # 4 Exhibit 2 - SEQRA Resolution, Ch. 82, #
                       5 Exhibit 3 - Town Law 82-13, # 6 Exhibit 4 - Town Law 85-12) (Costello, Andrew) (Entered: 06/02/2021)
  06/02/2021       153 MOTION to Dismiss for Lack of Jurisdiction , failure to state a claim, and based upon undisputed facts by Town of
                       Brookhaven. (Attachments: # 1 Rule 56.1 Statement, # 2 Declaration, # 3 Memorandum in Support, # 4 Exhibit A -
                       Correspondence from Suffolk County Planning Commission, # 5 Exhibit B - 2017 Stipulation of Settlement, # 6
                       Exhibit C - Third Amended Complaint, # 7 Exhibit D - Correspondence from Department of State) (Kreppein, Scott)
                       (Entered: 06/02/2021)
  06/02/2021       154 REPLY in Support of motion to dismiss and for summary judgment filed by Town of Brookhaven. (Kreppein, Scott)
                       (Entered: 06/02/2021)
  10/22/2021             ORDER REFERRING MOTION: The pending MOTION to Dismiss for Lack of Jurisdiction 153 is respectfully
                         referred to Magistrate Judge Shields for a Report and Recommendation.

                         In accordance with Rule 73 of the Federal Rules of Civil Procedure and Local Rule 73.1, the parties are notified that,
                         if all parties consent, a United States magistrate judge of this court is available to: (1) conduct all proceedings in this
                         civil action (including a jury or nonjury trial) and to order the entry of a final judgment; or (2) conduct all proceedings
                         and enter a final order on a particular motion. The applicable consent forms should be signed and filed electronically
                         only if all parties wish to consent and it is signed by all parties. These applicable consent forms may be accessed at
                         the following links:
                         http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf AND
                         http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085A.pdf.
                         You may withhold your consent without adverse substantive consequences. DO NOT return or file a consent form
                         unless all parties have signed the consent.Ordered by Judge Joan M. Azrack on 10/22/2021. Motions referred to Anne
                         Y. Shields. (Walsh, Catherine) (Entered: 10/22/2021)

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  10/25/2021             SCHEDULING ORDER re 153 MOTION to Dismiss for Lack of Jurisdiction , failure to state a claim, and based
                         upon undisputed facts filed by Town of Brookhaven: In light of the referral of the pending motion to dismiss, counsel
                         are directed to provide courtesy copies of all motion documents to this Court on or before November 8, 2021. In
                         accord with Rule 1(E) of this Court's Individual Rules, counsel are reminded that all copies must be marked "courtesy
                         copy" "original filed ECF" and that courtesy copies of exhibits and appendices must be clearly labeled and tabbed.
                         Voluminous documents should be submitted in clearly tabbed binders and should not be "velobound." So Ordered by
                         Magistrate Judge Anne Y. Shields on 10/25/2021. (Minerva, Deanna) (Entered: 10/25/2021)
  12/07/2021             SCHEDULING ORDER: By Order dated October 25, 2021, this Court directed all counsel to provide courtesy copies
                         of all motion documents with respect to Defendants' motion to dismiss and for summary judgment to this Court on or
                         before November 8, 2021. To date, the Court has only received a courtesy copy of Plaintiff's opposition papers.
                         Defendants' counsel is directed to provide the Court with a courtesy copy of its moving papers and reply papers by
                         overnight mail. So Ordered by Magistrate Judge Anne Y. Shields on 12/7/2021. (Minerva, Deanna) (Entered:
                         12/07/2021)
  01/21/2022       155 Fully Briefed MOTION to Compel , with Plaintiff's Letter Motion and Defendant's Opposition, by Town of
                       Brookhaven. (Attachments: # 1 Exhibit 1 - 2.19.21 demand, # 2 Exhibit 2 - 3.11.21 response, # 3 Exhibit 3 - 8.21.21
                       letter from P to D, # 4 Exhibit 4 - 10.20.21 letter from P to D, # 5 Exhibit 5 - 5.26.20 letter from P to DOS, # 6
                       Memorandum in Opposition Defendant's Opposition, # 7 Exhibit A - Response to Demand and related
                       correspondence) (Kreppein, Scott) (Entered: 01/21/2022)
  01/27/2022       156 REPORT AND RECOMMENDATIONS re 153 MOTION to Dismiss for Lack of Jurisdiction , failure to state a
                       claim, and based upon undisputed facts filed by Town of Brookhaven: For the reasons contained in the attached
                       Report and Recommendation, this Court respectfully recommends that Defendant's motion to dismiss be denied with
                       respect to the argument that the Court lacks subject matter jurisdiction over the action, but granted overall as one of
                       the remaining claims asserted is deemed abandoned and the other is time-barred. Accordingly, the only claims
                       remaining in the Third Amended Complaint should be dismissed, without leave to replead. Objections to R&R due by
                       2/10/2022. So Ordered by Magistrate Judge Anne Y. Shields on 1/27/2022. (Minerva, Deanna) (Entered: 01/27/2022)
  01/27/2022             ORDER finding as moot 155 Motion to Compel: In light of this Court's recommendation to the District Court that
                         Defendant's motion to dismiss be granted and that all remaining claims be dismissed, without leave to replead,
                         Plaintiff's motion to compel is moot. So Ordered by Magistrate Judge Anne Y. Shields on 1/27/2022. (Minerva,
                         Deanna) (Entered: 01/27/2022)
  02/03/2022       157 Consent MOTION for Extension of Time to File Objections by Jerome Norton. (Costello, Andrew) (Entered:
                       02/03/2022)
  02/03/2022             ORDER granting 157 Motion for Extension of Time to File. Ordered by Judge Joan M. Azrack on 2/3/2022. (Walsh,
                         Catherine) (Entered: 02/03/2022)
  02/24/2022       158 OBJECTION to 156 Report and Recommendations filed by All Plaintiffs. (Costello, Andrew) (Entered: 02/24/2022)
  03/10/2022       159 MEMORANDUM in Opposition re 158 Objection to Report and Recommendations, 156 REPORT AND
                       RECOMMENDATIONS re 153 MOTION to Dismiss for Lack of Jurisdiction , failure to state a claim, and based
                       upon undisputed facts filed by Town of Brookhaven filed by Town of Brookhaven. (Kreppein, Scott) (Entered:
                       03/10/2022)
  03/31/2022       160 ORDER ADOPTING REPORT AND RECOMMENDATIONS for 153 Motion to Dismiss/Lack of Jurisdiction, filed
                       by Town of Brookhaven, 156 . The Court adopts Judge Shields's R&R in its entirety as the opinion of this Court.
                       Accordingly, the Court grants Defendant's motion for judgment on the pleadings. The Clerk of the Court is directed to
                       close this case. Ordered by Judge Joan M. Azrack on 3/31/2022. (Walsh, Catherine). (Entered: 03/31/2022)
  04/04/2022       161 CLERK'S JUDGMENT: ORDERED AND ADJUDGED that Plaintiff Jerome Norton take nothing of Defendants
                       Town of Brookhaven, County of Suffolk, Robert Quinlan, David J. Moran, Jennifer Lutzer, Justin Folber, William
                       Powell, and Valerie Biscardi; that Defendants' motions for judgment on the pleadings are granted; and that this case is
                       closed. Ordered by Clerk of Court on 4/4/2022. (Toritto, Jim) (Entered: 04/04/2022)
  05/04/2022       162 NOTICE OF APPEAL as to 160 Order Adopting Report and Recommendations,, Order on Motion to Dismiss/Lack
                       of Jurisdiction,, Order on Report and Recommendations, 161 Clerk's Judgment, by Jerome Norton. Filing fee $ 505,
                       receipt number ANYEDC-15533066. Appeal Record due by 5/4/2022. (Ostrove, Rick) (Entered: 05/04/2022)
  05/04/2022             Electronic Index to Record on Appeal sent to US Court of Appeals. 162 Notice of Appeal; Documents are available
                         via Pacer. For docket entries without a hyperlink or for documents under seal, contact the court and we'll arrange for
                         the document(s) to be made available to you. (Landow, Concetta) (Entered: 05/04/2022)



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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
 JEROME NORTON,

                  Plaintiff,
                                                                   MEMORANDUM OF
         -against-                                                 DECISION AND ORDER
                                                                   13-CV-3520 (ADS) (GRB)
 TOWN OF BROOKHAVEN, COUNTY OF
 SUFFOLK, ROBERT QUINLAN, DAVID J.
 MORAN, JENNIFER LUTZER, JUSTIN
 FOLBER, WILLIAM POWELL, and
 VALERIE BISCARDI, all individually and in
 their official capacity,

                   Defendants.
 --------------------------------------------------------------X

 APPEARANCES:

 Leeds Brown Law, P.C.
 Attorneys for the Plaintiff
 One Old Country Road, Ste. 347
 Carle Place, New York 11514
        By:     Rick Ostrove, Esq., Of Counsel

 Devitt Spellman Barrett LLP
 Attorneys for Defendants Town of Brookhaven, Robert Quinlan, David J. Moran,
 Jennifer Lutzer, Justin Folber, William Powell, and Valerie Biscardi
 50 Route 111
 Smithtown, New York 11787
        By:     Jeltje deJong, Esq.
                Joshua S. Shteierman, Esq., Of Counsel

 The Suffolk County Attorney’s Office
 Attorneys for the Defendant County of Suffolk
 100 Veterans Memorial Highway
 P.O. Box 6100
 Hauppauge, New York 11788
        By:     Brian C. Mitchell, Assistant County Attorney, Of Counsel




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 SPATT, District Judge.

        On June 20, 2013, the Plaintiff Jerome Norton (the “Plaintiff”) commenced this

 action against the Defendants the Town of Brookhaven (the “Town” or “Brookhaven”),

 Robert Quinlan (“Quinlan”), David J. Moran (“Moran”), Jennifer Lutzer (“Lutzer”),

 Daniel Belano (“Belano”), Jason Folber (“Folber”), William Powell (“Powell”), Valerie

 Biscardi (“Biscardi,” and collectively the “Brookhaven Defendants”) and the County of

 Suffolk (the “County”) pursuant to 42 U.S.C. § 1983, 28 U.S.C. § 2201, the United States

 Constitution, the New York State Constitution, New York State statutory law, and the

 common law.

        In the Original Complaint, the Plaintiff brought thirteen causes of action.

 Thereafter, on October 9, 2013, the Plaintiff filed an Amended Complaint, and on

 January 14, 2014, the Plaintiff filed a Second Amended Complaint.

        In the Second Amended Complaint, the Plaintiff omitted Belano as a defendant

 and brought the following fourteen causes of action: (1) a First Amendment intimate

 association claim under § 1983; (2) a retaliation claim for a First Amendment

 speech/right to petition claim under § 1983; (3) a malicious prosecution claim under New

 York State Law; (4) a respondeat superior liability claim for the malicious prosecution

 claim under New York State Law; (5) a substantive due process claim under § 1983; (6)

 an equal protection claim under § 1983; (7) a procedural due process claim under § 1983;

 (8) a Fourth Amendment claim under § 1983; (9) a Civil Rights claim under the New

 York Civil Rights Law § 8; (10) a claim against the Town under Monell v. Dep't of

 Social Servs. of City of N.Y., 436 U.S. 658, 694–95, 98 S. Ct. 2018, 56 L. Ed. 2d 611

 (1978) for violating the Plaintiff’s Fourth Amendment rights under § 1983; (11) a Monell


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 liability claim for violating the Plaintiff’s First Amendment rights, and also based on

 substantive due process, equal protection, and procedural due process; (12) a claim for

 declaratory judgment and injunctive relief against the Town; (13) a claim for declaratory

 judgment and injunctive relief against the County; and (14) a claim for attorney’s fees

 under 42 U.S.C. § 1988. The only claim against the County is the claim for declaratory

 relief.

           Presently before the Court are the respective motions by the Brookhaven

 Defendants and the County to dismiss the Second Amended Complaint pursuant to

 Federal Rule of Civil Procedure (“Fed. R. Civ. P.”) 12(b)(6) for failure to state a claim

 upon which relief can be granted. For the reasons set forth below, the Court grants in

 part and denies in part the motion to dismiss by the Brookhaven Defendants and grants

 the motion to dismiss by the County.

                                      I. BACKGROUND

 A. Factual History

           Unless otherwise stated, the following facts are drawn from the Second Amended

 Complaint and are construed in a light most favorable to the non-moving party, the

 Plaintiff.

           The Plaintiff is a 50% owner of residential real property located at 66 Norfleet

 Lane, Coram, New York (the “Norfleet Property”). The Norfleet Property is located

 within the Town. In 1978, the Brookhaven Town Building Department issued a

 certificate of occupancy for a single-family dwelling containing three bedrooms and a

 cellar on the Norfleet Property. The Plaintiff’s brothers, Howard Norton (“Howard”) and

 Richard Norton (“Richard”) owned the remaining 50% of the Norfleet Property.



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        Howard has been involved in both criminal and civil litigation against the Town

 of Islip (“Islip”). In 2003, he commenced a “successful prosecution of a Federal action to

 vindicate his constitutional rights under the Fourteenth Amendment” against Islip.

 (Second. Amend. Compl. ¶ 240.) On June 9, 2011, a New York State court dismissed

 two separate criminal actions brought against Howard by Islip, one of which was brought

 under Islip’s rental permit law. Folber’s mother was and is the Executive Director of the

 Town of Islip Youth Bureau, which is part of the Brookhaven Department of Housing

 and Human Services (“DHHS”). (Id. at ¶ 76.)

        Within two weeks of the dismissal of the criminal actions against Howard, Folber,

 a housing inspector with DHHS visited the Northfleet Property to inspect it for violations.

 The inspection was not planned and a FOIL request for Folber’s files regarding the

 inspection did not identify any complaints against the Norfleet Property that could have

 resulted in an inspection. (Id. at ¶ 77.) The Plaintiff alleges that Folber’s inspection was

 initiated by or at the request of Islip officials. He further alleges that Folber’s inspection

 was approved and condoned by Brookhaven officials, including Quinlan, who was the

 Town Attorney of Islip during Howard’s litigations against Islip.

        On June 22, 2011, Folber sent a letter order addressed to Howard, Richard and

 Jerome Norton (the “Owners”) to Jerome’s Syosset Address. The Northfleet Property

 deed, which is filed in the Suffolk County Clerk’s Office, listed Howard’s only residence

 as being in Lynbrook, New York, during all relevant times and Richard’s only residence

 as being in Topanga, California. The letter order was on Town letterhead and at the

 bottom stated, “BY DIRECTION OF COMMISSIONER VALERIE BISCARDI.” (Id. at

 ¶ 79). In the letter, Folber ordered the Owners to correct the following three alleged



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 violations: “(1) renting with a valid rental permit; (2) overhang on right of dwelling needs

 a permit; and (3) certificate of occupancy required for side overhang.” (Id.) The letter

 claimed to be sent in accordance with the Town Code and Property Maintenance Code of

 New York State. The letter stated that the violations “must be addressed no later than

 July 6, 2011” and explained,

         “Following your compliance an inspection will be conducted after the time
         listed above. However, if it is found that the violation(s) still exist, or that
         an inspection has not been requested an appearance ticket(s) will be
         issued. An extension of time may be requested only by contacting the
         undersigned. Please note: Only non health and safety violations will be
         considered for an extension of time for compliance.” (emphasis in
         original).

 The letter further stated,

         “YOU ARE GIVEN NOTICE THAT FAILURE TO COMPLY WITH THIS
         ORDER CONSTITUTES AN OFFENSE PURSUANT TO THE NEW YORK
         STATE UNIFORM FIRE PREVENTION AND BUILDING CODE OR THE
         CODE OF THE TOWN OF BROOKHAVEN AND SHALL BE PUNISHABLE
         BY A FINE OR IMPRISONMENT OR BOTH” (emphasis in original).

         On June 30, 2011, Howard sent a letter to Folber, DHHS Commissioner Biscardi

 and then-DHHS Deputy Commissioner Roberta Owens (“Owens”) responding to the

 June 22, 2011 letter order. Howard’s letter addressed the legality of the alleged

 violations, complained that the Town’s rental permit law was illegal and unconstitutional,

 and threatened suit against the Town and individuals involved in the enforcement of the

 law. He further stated that Folber’s first letter order was improperly mailed to him at the

 Syosset address and directed future correspondence regarding the letter order be sent to

 his attorney.

         Subsequently, Folber met with Moran, the Deputy Town Attorney for the Law

 Department, and possibly Biscardi, to discuss the investigation of the Norfleet Property.



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 The Plaintiff alleges that Moran encouraged and advised Biscardi to instruct and/or direct

 Folber to expand the investigation by searching the Norfleet Property without seeking

 consent of the Owners or obtaining a warrant. The Plaintiff further alleges that Biscardi

 instructed and directed Folber to follow Moran’s instructions. (Id. at ¶¶ 84–85.)

        On July 11, 2011, Folber returned and entered the Northfleet Property without a

 warrant. To gain access to the property, Folber falsely advised the then occupants of the

 property that Folber was at the Norfleet Property to do an interior and exterior inspection

 at the request of “Mr. Norton”. (Id. at ¶ 88.) Folber took photographs of the inside and

 outside of the Norfleet Property dwelling.

        The following day, Folber met with Moran to discuss the information he obtained

 from his search of the Norfleet Property. After this meeting, Folber sent a second letter

 order dated July 12, 2011 to the Plaintiff’s Syosset address. In that letter, Folber re-

 ordered the correction of the three original alleged violations in the first letter order and

 ordered the correction of an additional sixteen alleged violations, for a total of nineteen

 alleged violations. The July 12, 2011 letter order was similar in all respects to the first

 letter order and stated that a compliance inspection would take place after July 26, 2011.

 On July 13, 2011, Folber notified Moran that he sent the second letter order and said he

 would update Moran if he heard from Howard or his attorney.

        On July 26, 2011, the Plaintiff responded to the second letter order by mailing to

 Folber a letter and attachments. In his letter and attachments, the Plaintiff objected to

 Folber’s authority to administer and enforce the Town and Uniform Code. The Plaintiff

 also objected to the Town Rental Code as invalid and unconstitutional. On August 3,

 2011, the Plaintiff sent Folber a letter with a copy of an electrical inspection certificate,



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 which stated the Norfleet Property was in compliance with the Residential Code and

 Building Code of New York.

        On August 26, 2011, Folber amended and reissued the June 22, 2011 letter order

 by advising that this letter was the “final notice before tickets” and requiring the owners

 to schedule a compliance inspection by September 6, 2011. (Id. at ¶ 99.)

        On September 6, 2011, the Plaintiff informed Folber and Biscardi via letter that

 the Plaintiff would permit an inspection by the Town Chief Building Inspector or an

 authorized subordinate if the Town Chief Building Inspector found the inspection

 necessary. The following day, Folber met with Moran to discuss the Norfleet Property

 investigation. Folber discussed this meeting with Biscardi and later had a second meeting

 with both Moran and Biscardi.

        On an unspecified date, Folber issued fourteen appearance tickets solely to the

 Plaintiff, all with a violation date and time on July 11, 2011 at 11:51 a.m. and an

 appearance date of December 22, 2011 at 9:00 a.m. The Plaintiff alleges that at the time

 the tickets were issued, the Town did not authorize Folber to issue and serve appearance

 tickets. (Id. at ¶¶ 35–36.) After issuing the appearance tickets, the Town hired a process

 server, who served the appearance tickets upon the gatehouse guard of the gated

 community where the Plaintiff resides. Copies of the appearance tickets were also mailed

 to the Plaintiff. The Plaintiff alleges that the process server was not authorized by state

 law or local law to serve the appearance tickets. (Id. at ¶ 114.)

        On September 19, 2011, the Plaintiff met with Deputy Commissioner Owens

 regarding the Norfleet Property. The Plaintiff offered Owens an opportunity to inspect

 the property but she declined. Owens allegedly declined because Biscardi instructed her



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 to “stand down” from any further involvement regarding the Plaintiff and the Norfleet

 Property. Owens allegedly told the Plaintiff that Biscardi wanted the Plaintiff criminally

 prosecuted. Owens further told the Plaintiff that certain Town property owners

 sometimes took and sent photographs of their property to Town personnel to document

 the conditions of their property.

         The next day, the Plaintiff mailed Folber a letter with a compact-disc containing

 fifty-six photographs of the Norfleet Property taken on September 19 and 20, 2011.

 These photographs concerned the alleged violations in Folber’s previous letter orders.

 The Plaintiff also attached a fire underwriter’s certificate of compliance. In his letter, the

 Plaintiff reiterated his willingness to allow the Town Building Inspector, or an authorized

 subordinate, to inspect the Norfleet property, if the Town Building Inspector found the

 inspection necessary. Copies of the September 20, 2011 letter, attachments, and

 photographs were sent to Biscardi and Owens. After receiving the letter, Folber asked

 Moran to meet with him and Biscardi to discuss the situation.

         On December 8, 2011, the Plaintiff received a DHHS envelope containing an

 unsigned notice adjourning his Town Ordinance Court appearance. Four days later, the

 Plaintiff sent nine notices of claim to both the Town Clerk and to Town Attorney

 Quinlan. In the notices, the Plaintiff alleged wrongdoing by the Town and the Town

 officers in regards to nine of the fourteen Appearance Tickets that Folber issued to the

 Plaintiff.

         On December 18, 2011, the Plaintiff’s criminal counsel, Bryan Van Cott (“Van

 Cott”), a partner at the law firm of Twomey, Latham, Shea, Kelly, Dubin & Quartararo

 LLP (“Twomey Latham”), wrote Quinlan regarding the legal deficiencies concerning the



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 Norfleet Property and the Appearance Tickets. Neither the Town nor Quinlan took any

 corrective actions in response to Van Cott’s letter. Prior to December 22, 2011, the

 Plaintiff visited the court to determine whether the Accusatory Instruments were filed for

 the December 22, 2011 appearance date. He was advised that they had not yet been filed.

        On January 3 and 4, 2012, Folber signed and issued a total of fourteen accusatory

 instruments (the “Accusatory Instruments”) regarding the Norfleet Property solely to the

 Plaintiff. The Accusatory Instruments dated January 3, 2012 accused the Plaintiff of the

 three violations appearing in the initial June 22, 2011 letter order. The Accusatory

 Instruments dated January 4, 2012 accused the Plaintiff of the violations appearing in the

 July 12, 2011 letter order.

        Powell, who at all relevant times was a Senior Housing Inspector for the DHHS,

 was Folber’s immediate supervisor. The Plaintiff alleges that Powell supervised and

 assisted Folber in the drafting and issuance of the Accusatory Instruments. (Id.
                                                                              -- at 139.)

 Six of the Accusatory Instruments charged the Plaintiff with violating the Uniform Code,

 all of which, the Plaintiff contends, the Town lacked the authority to prosecute.

 Furthermore, the Plaintiff alleges that Folber lied regarding the deadlines for compliance;

 ignored the Plaintiff’s attempts to demonstrate compliance; and instead demanded that

 the Plaintiff submit to a warrantless inspection. All the Accusatory Instruments stated

 that the information contained therein was based on personal knowledge of Folber and

 upon information and belief derived from a search of records contained in the Town’s

 Assessor’s office. However, the Plaintiff contends that the Town lacked probable cause

 for the prosecutions because the Accusatory Instruments did not identify the factual

 portions based on Folber’s personal knowledge; no records or supporting depositions



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  were attached to the Accusatory Instruments; and the instruments were otherwise facially

  insufficient. (Id. at ¶¶ 158–162.)

         On January 11, 2012, the appearance date was adjourned to February 2, 2012.

  The Plaintiff did not receive direct notice of the adjournment, but rather learned of the

  adjournment because his attorney inquired about the matter. On the following day, the

  Accusatory Instruments were filed with the State Court.

         On February 2, 2012, prior to the start of the State Court proceedings, Van Cott

  delivered to the State Court a letter detailing the insufficiencies of the Accusatory

  Instruments and the ineffectiveness of any alleged service of the Appearance Tickets

  upon the Plaintiff. A copy was also delivered to Jennifer Lutzer, who was an Assistant

  Town Attorney in the Law Department, prior to the start of the State Court proceedings.

  The Plaintiff was not present at the State Court proceedings. Van Cott appeared instead,

  although he was not authorized to consent to any arraignment or adjournment.

         When the State Court proceedings began, the judge, the Hon. James P. Flanagan

  (“Judge Flanagan”), acknowledged receipt of Van Cott’s letter but refused to read it

  stating he could not grant a dismissal based on the letter “no matter how true the contents

  may be.” (Id. at ¶ 175.) Moran silently acquiesced and allegedly did not inform Judge

  Flanagan that the State Court had an independent duty to review the Accusatory

  Instruments. Judge Flanagan directed Moran to bring an arrest warrant for the next

  scheduled appearance and if the Plaintiff did not appear, Judge Flanagan would sign the

  arrest warrant for immediate execution. Judge Flanagan further threatened that if the

  Town did not receive the opportunity to re-inspect the property, he would sign an order to

  show cause to “shut down the place.” (Id. at ¶ 178.) Lastly, Judge Flanagan announced



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  “NAD”, or “no appearance defendant”, and ordered that the cases be placed on the

  February 9, 2012 calendar.

         On February 9, 2012, Van Cott delivered to the State Court a second letter

  attached with the August 3, 2011 Inspection Certificate and an Inspection Certificate

  dated February 8, 2012. Both certificates stated that the Norfleet Property was in

  compliance with the Residential Code and Building Code of New York. The Plaintiff

  was not present but again Van Cott was present on the Plaintiff’s behalf. Judge Flanagan

  reiterated that he would not read Van Cott’s letter and requested that Moran, who

  appeared on behalf of the People, provide the court with an arrest warrant. Assistant

  Town Attorney Belano applied for two arrest warrants the same day and a hearing on the

  warrant applications was scheduled for February 16, 2012.

         A week later, on the day of the hearing, Van Cott delivered to the State Court

  another letter concerning the Plaintiff and the Norfleet Property. In the letter, Van Cott

  complained that the Accusatory Instruments were invalid and the Law Department did

  not have authority to prosecute the Accusatory Instruments. A copy of the letter was

  faxed to the Law Department. Although the Plaintiff did not appear at the hearing, the

  hearing was adjourned because the files were not in the courtroom.

         On February 22, 2012, Quinlan telephoned John Shea (“Shea”), a partner at

  Twomey Latham, and requested that Twomey Latham withdraw as Plaintiff’s defense

  counsel. The next day, Quinlan met with Judge Flanagan about Van Cott’s letters.

  Shortly after the meeting, there was a hearing regarding the warrant applications. Again,

  the Plaintiff did not appear at the hearing. Judge Flanagan returned Van Cott’s letters and

  attachments to Van Cott and restated he would not read them. The Judge instructed Van



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  Cott not to send him any more letters. On February 24, 2012, a court notice was mailed

  to the Plaintiff advising him to appear on March 8, 2012. The Plaintiff alleges that the

  notice was “materially misleading.” (Id. at ¶ 199.)

         On March 6, 2012, the Plaintiff’s other counsel, Leeds Brown, sent a letter to a

  new judge complaining on behalf of the Plaintiff that the Accusatory Instruments were

  jurisdictionally defective. A copy of the letter was sent to both Moran and to the County

  District Attorney.

         On March 8, 2012, Lutzer made applications for two criminal summonses. The

  Plaintiff alleges that within the applications, Lutzer falsely claimed that the Plaintiff was

  previously served with a summons on September 16, 2011 at his Syosset address. (Id. at

  ¶ 202.) Later that day, an arraignment was held on the Accusatory Instruments but the

  Plaintiff did not appear. Moran appeared on behalf of the People and asked to amend the

  pending applications for arrest warrants to applications for criminal summonses. Judge

  Flanagan stated that he mistakenly signed the arrest warrants but that the warrants were

  not approved. Judge Flanagan returned the arrest warrant applications to Moran and

  ordered, sua sponte, that a notice be sent to the Plaintiff.

         The proceedings were adjourned to March 22, 2012 and a letter was mailed to the

  Plaintiff advising him that his failure to appear on March 22, 2012 may result in the

  issuance of a criminal summons. The Plaintiff alleges that this notice was neither

  authorized nor permitted. (Id. at ¶ 209.)

         On March 19, 2012, Leeds Brown sent letters to Moran and the District Attorney

  complaining that the Town lacked the authority to prosecute the Plaintiff and the

  Accusatory Instruments against the Plaintiff were jurisdictionally defective. Within a few



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  days, the District Attorney directed Quinlan to dismiss the Accusatory Instruments that

  alleged violations of the Uniform Code.

         On March 22, 2012, an arraignment was held. Again, the Plaintiff did not appear

  and Moran appeared on behalf of the People. The State Court Judge approved both

  criminal summons applications for all fourteen Accusatory Instruments. Moran then

  moved to dismiss the six Uniform Code Accusatory Instruments on the basis that they

  were deemed insufficient. The State Court granted Moran’s motion on Criminal

  Procedure Law (“CPL”) § 170.35 grounds “in spite of the fact that Plaintiff had never

  been arraigned on any of the six Uniform Code Accusatory Instruments.” (Id. at ¶ 215.)

  The Plaintiff alleges that a § 170.35 dismissal is permitted only after arraignment and

  only on motion of the defendant. (Id.) The State Court proceeded to set a service date

  for the criminal summonses for April 19, 2012. This date was more than 90 days after

  the Accusatory Instruments were filed. Although the two criminal summonses were to be

  served by “COMPLAINANT: INVESTIGATOR, BROOKHAVEN TOWN

  ATTORNEY OFFICE”, a private investigation firm was hired to serve the two

  summonses. The private investigator failed to successfully serve the summonses on the

  Plaintiff and instead served the summonses upon a person who was not the Plaintiff. (Id.

  at ¶¶ 219–222.)

         On April 17, 2012, Van Cott wrote to Moran advising him that the Town

  prosecutors failed to be ready for trial within 90 days of the issuance of the remaining

  Accusatory Instruments and were in violation of the Plaintiff’s right to a speedy trial.

         On April 19, 2012, Lutzer moved to dismiss the remaining eight Accusatory

  Instruments based on CPL “170.40 failure to serve a criminal summons,” even though the



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  Plaintiff had never been arraigned. The Plaintiff alleges that the State Court granted the

  motion to dismiss without providing the reasons for the dismissal on the record as

  required by § 170.40(2). Furthermore, according to the Plaintiff, the failure to serve the

  remaining instruments would not alone be a “compelling factor, consideration or

  circumstance clearly demonstrating that conviction or prosecution of the defendant upon

  such accusatory instrument or count would constitute or result in injustice.” (Id. at ¶¶

  227–228.)

  B. Procedural History

         On April 11, 2012, the Plaintiff filed and served six separate notices of claims

  against the Town and against the County for claims arising out of the investigation and

  prosecution of the Uniform Code Accusatory Instruments. On June 13, 2012, the

  Plaintiff filed and served fourteen notices of claims, six of which were clarifications of

  the Plaintiff’s April 11, 2012 notices of claims, against the Town and against the County.

         Thereafter, on June 20, 2013, the Plaintiff commenced this action against the

  named Defendants. As stated above, the Plaintiff named as Defendants the Town, the

  county, and Quinlan, Moran, Lutzer, Belano, Folber, Powell, and Biscardi (the

  “Individual Defendants”).

         As previously stated, in the Second Amended Complaint, the Plaintiff asserts the

  following fourteen causes of action: (1) a First Amendment claim to intimate association

  claim under § 1983; (2) a retaliation claim for First Amendment speech/right to petition

  claim under § 1983; (3) a malicious prosecution claim under New York State Law; (4) a

  respondeat superior liability claim for malicious prosecution under New York State Law;

  (5) a substantive due process claim under § 1983; (6) an equal protection claim under §



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  1983; (7) a procedural due process claim under § 1983; (8) a Fourth Amendment claim

  under § 1983; (9) a Civil Rights claim under the New York Civil Rights Law § 8; (10) a

  claim under Monell against the Town for violating the Plaintiff’s Fourth Amendment

  rights under § 1983; (11) a Monell claim against the Town for violating the Plaintiff’s

  First Amendment rights, substantive due process, equal protection, and procedural due

  process; (12) a claim for declaratory judgment and injunctive relief against the Town;

  (13) a claim for declaratory judgment and injunctive relief against the County; and (14) a

  claim for attorney’s fees under 42 U.S.C. § 1988. The only claim against the County is

  the claim for declaratory relief.

         On February 21, 2014, the Brookhaven Defendants moved, pursuant to Fed. R.

  Civ. P. 12(b)(6), to dismiss the Second Amended Complaint for failure to state a claim

  upon which relief can be granted. However, the Brookhaven Defendants make no

  argument against the Plaintiff’s Section 1983 Fourth Amendment claim, and the motion

  to dismiss that claim is denied. See Paulino v. Carrion, 07 CIV. 5773 (LAK)(GWG),

  2008 WL 2627767, at *4 (S.D.N.Y. July 1, 2008)(“The State defendant makes no

  argument that the federal claim under 42 U.S.C. § 1983 is frivolous . . . Accordingly, the

  arguments regarding the merits of this claim need not be considered.”).

         On March 24, 2014, the County also moved pursuant to Fed. R. Civ. P. 12(b)(6)

  to dismiss the Second Amended Complaint for failure to state a claim upon which relief

  can be granted.

         In opposition to the motions to dismiss, the Plaintiff withdrew his claim under

  Substantive Due Process.




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                                            II. DISCUSSION
  A. The Standard for a Rule 12(b)(6) Motion
          In reviewing a motion to dismiss pursuant to Rule 12(b)(6), the Court must accept

  the factual allegations set forth in the complaint as true and draw all reasonable

  inferences in favor of the plaintiff. See e.g., Cleveland v. Caplaw Enters., 448 F.3d 518,

  521 (2d Cir. 2006); Nechis v. Oxford Health Plans, Inc., 421 F.3d 96, 100 (2d Cir. 2005).

  “In order to survive a motion to dismiss under Rule 12(b)(6), a complaint must allege a

  plausible set of facts sufficient ‘to raise a right to relief above the speculative level.’”

  Operating Local 649 Annuity Trust Fund v. Smith Barney Fund Mgmt. LLC, 595 F.3d

  86, 91 (2d Cir. 2010) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct.

  1955, 167 L. Ed. 2d 929 (2007)). This standard does not require “heightened fact

  pleading of specifics, but only enough facts to state a claim to relief that is plausible on

  its face.” Twombly, 550 U.S. at 570.

          The Supreme Court clarified the appropriate pleading standard in Ashcroft v.

  Iqbal, setting forth two principles for a district court to follow in deciding a motion to

  dismiss. 556 U.S. 662, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009). The Court instructed

  district courts first to “identify[ ] pleadings that, because they are no more than

  conclusions, are not entitled to the assumption of truth.” Id. at 679. “While legal

  conclusions can provide the framework of a complaint, they must be supported by factual

  allegations.” Id. Second, if a complaint contains “well-pleaded factual allegations, a

  court should assume their veracity and then determine whether they plausibly give rise to

  an entitlement to relief.” Id.

          Finally, the Court notes that, in adjudicating a motion to dismiss under Rule

  12(b)(6), it is entitled to consider the following: (1) facts alleged in the complaint and

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  documents attached to it or incorporated in it by reference; (2) documents integral to the

  complaint and relied upon in it, even if not attached or incorporated by reference; (3)

  documents or information contained in defendant's motion papers if plaintiff has

  knowledge or possession of the material and relied on it in framing the complaint; (4)

  public disclosure documents required by law to be, and that have been, filed with the

  Securities and Exchange Commission; and (5) facts of which judicial notice may properly

  be taken under Rule 201 of the Federal Rules of Evidence. See Jones v. Nickens, 961 F.

  Supp. 2d 475, 483 (E.D.N.Y. 2013); David Lerner Assocs., Inc. v. Phila. Indem. Ins. Co.,

  934 F. Supp. 2d 533, 539 (E.D.N.Y. 2013), aff'd, 542 F. App'x 89 (2d Cir. 2013); SC

  Note Acquisitions, LLC v. Wells Fargo Bank, N.A., 934 F. Supp. 2d 516, 524 (E.D.N.Y.

  2013), aff'd, 548 F. App'x 741 (2d Cir. 2014).


  B. Immunity to Suit
         As an initial matter, the Court notes that the Defendants have not sought qualified

  immunity and therefore that defense is waived for purposes of this motion. Yeshiva

  Chofetz Chaim Radin, Inc. v. Vill. of New Hempstead by its Bd. of Trs. of Vill. of New

  Hempstead, 98 F. Supp. 2d 347, 357 (S.D.N.Y. 2000).

         With regard to absolute immunity, the Court notes that the Defendants draw no

  distinction between federal and state-law claims, “nor do they recognize the distinction

  between New York's common law immunity principles and the very different guidelines

  that govern immunity under federal civil rights claims.” Id. at 356; see Cornejo v. Bell,

  592 F.3d 121, 130 (2d Cir. 2010) (noting that the “issue of immunity . . . differs as

  between the state and federal law”); S. Carolina v. Baker, 485 U.S. 505, 518 n. 11, 108 S.

  Ct. 1355, 99 L. Ed. 2d 592 (1988) (noting the “sources of the state and federal immunities


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  are, of course, different”). Thus, at this stage of the litigation, the Court declines to

  recognize absolute immunity against the Plaintiff’s state law claims.

          Turning to the Defendants’ arguments in favor of immunity under federal law,

  “[i]t is by now well established that ‘a state prosecuting attorney who acted within the

  scope of his duties in initiating and pursuing a criminal prosecution’ ‘is immune from a

  civil suit for damages under § 1983.’” Shmueli v. City of New York, 424 F.3d 231, 236

  (2d Cir. 2005) (quoting Imbler v. Pachtman, 424 U.S. 409, 410, 431, 96 S. Ct. 984, 47 L.

  Ed. 2d 128 (1976)). “[D]istrict courts are encouraged to determine the availability of an

  absolute immunity defense at the earliest appropriate stage, and preferably before

  discovery. This is because ‘[a]n absolute immunity defeats a suit at the outset, so long as

  the official's actions were within the scope of the immunity.’” Deronette v. City of New

  York, No. 05–CV–527 (SJ), 2007 WL 951925, at *4, 2007 U.S. Dist. LEXIS 21766, at

  *12 (E.D.N.Y. Mar. 27, 2007) (citing Mitchell v. Forsyth, 472 U.S. 511, 526, 105 S. Ct.

  2806, 86 L. Ed. 2d 411 (1985) and quoting Imbler, 424 U.S. at 419 n. 13, 96 S. Ct. 984

  (additional citations omitted)).

          “[T]he official seeking absolute immunity bears the burden of showing that such

  immunity is justified for the function in question”, Burns v. Reed, 500 U.S. 478, 486, 111

  S. Ct. 1934, 114 L. Ed. 2d 547 (1991), and “[t]he ultimate question [ ] is whether the

  prosecutors have carried their burden of establishing that they were functioning as

  advocates when they engaged in the challenged conduct.” Doe v. Phillips, 81 F.3d 1204,

  1209 (2d Cir. 1996) (internal quotation marks omitted).

          However, the Second Circuit has held that, in the context of a motion to dismiss

  under Rule 12(b)(6), “when it may not be gleaned from the complaint whether the



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  conduct objected to was performed by the prosecutor in an advocacy or an investigatory

  role, the availability of absolute immunity from claims based on such conduct cannot be

  decided as a matter of law on a motion to dismiss.” Hill v. City of New York, 45 F.3d

  653, 663 (2d Cir. 1995).

         “In determining whether absolute immunity obtains, [the courts] apply a

  ‘functional approach,’ looking to the function being performed rather than to the office or

  identity of the defendant.” Hill, 45 F.3d at 660 (quoting Buckley v. Fitzsimmons, 509

  U.S. 259, 269, 113 S. Ct. 2606, 125 L. Ed. 2d 209 (1993)). In applying this functional

  approach, the Second Circuit has held that prosecutors are entitled to absolute immunity

  for conduct “‘intimately associated with the judicial phase of the criminal process.’”

  Fielding v. Tollaksen, 257 F. App’x. 400, 401 (2d Cir. 2007) (citation omitted); Hill, 45

  F.3d at 661 (same). In particular, “[s]uch Imbler immunity . . . extends to acts undertaken

  by a prosecutor in preparing for the initiation of judicial proceedings or for trial, and

  which occur in the course of his role as advocate for the State.” Smith v. Garretto, 147

  F.3d 91, 94 (2d Cir. 1998)(citation and quotation marks omitted).

         On the other hand, “[w]hen a district attorney functions outside his or her role as

  an advocate for the People, the shield of immunity is absent. Immunity does not protect

  those acts a prosecutor performs in administration or investigation not undertaken in

  preparation for judicial proceedings.” Hill, 45 F.3d at 661; see also Carbajal v. Cnty. of

  Nassau, 271 F. Supp. 2d 415, 421 (E.D.N.Y. 2003) (“[W]hen a prosecutor supervises,

  conducts, or assists in the investigation of a crime, or gives advice as to the existence of

  probable cause to make a warrantless arrest — that is, when he performs functions




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  normally associated with a police investigation — he loses his absolute protection from

  liability.”)(citation omitted).

          The Second Circuit has noted that “[t]he line between a prosecutor’s advocacy

  and investigating roles might sometimes be difficult to draw.” Zahrey v. Coffey, 221 F.3d

  342, 347 (2d Cir. 2000). However, the Court “may rely on certain established

  distinctions between these roles.” Conte v. Cnty. Of Nassau, 06-CV-4746 (JFB)(ETB),

  2010 WL 3924677, at *23 (E.D.N.Y. Sept. 30, 2010). For example, the Supreme Court

  has explained that “[t]here is a difference between the advocate's role in evaluating

  evidence and interviewing witnesses as he prepares for trial, on the one hand, and the

  detective's role in searching for the clues and corroboration that might give him probable

  cause to recommend that a suspect be arrested, on the other hand.” Buckley, 509 U.S. at

  273, 113 S. Ct. 2606.

          In addition, the Second Circuit has identified the juncture in the criminal process

  before which absolute immunity may not apply. Specifically, “[t]he majority opinion in

  [Buckley] suggests that a prosecutor's conduct prior to the establishment of probable

  cause should be considered investigative: ‘A prosecutor neither is, nor should consider

  himself to be, an advocate before he has probable cause to have anyone arrested.’”

  Zahrey, 221 F.3d at 347 n. 2 (quoting Buckley, 509 U.S. at 274, 113 S. Ct. 2606, 125 L.

  Ed. 2d 209); see also Hill, 45 F.3d at 661 (“Before any formal legal proceeding has begun

  and before there is probable cause to arrest, it follows that a prosecutor receives only

  qualified immunity for his acts.”).

          Thus, in interpreting Buckley, the Second Circuit has distinguished between

  “preparing for the presentation of an existing case,” on the one hand, and attempting to



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  “furnish evidence on which a prosecution could be based,” on the other hand — only the

  former entitles a prosecutor to absolute immunity. Smith, 147 F.3d at 94. Furthermore,

  “a determination of probable cause does not guarantee a prosecutor absolute immunity

  from liability for all actions taken afterwards. Even after that determination . . . a

  prosecutor may engage in ‘police investigative work’ that is entitled to only qualified

  immunity.” Id. at 274 n. 5, 113 S. Ct. 2606; see Zahrey, 221 F.3d at 347 n. 2 (“All

  members of the Court [in Buckley] recognized . . . that a prosecutor’s conduct even after

  probable cause exists might be investigative.”).

         Applying the functional test to the allegations contained in the Second Amended

  Complaint, the Court considers federal absolute immunity with respect to each of the

  Individual Defendants.

         As to Folber, the Brookhaven Defendants claim absolute immunity for his

  preparation of the accusatory instruments. In opposition, the Plaintiff contends that

  Folber acted in the “clear absence of all jurisdiction” or “without any colorable claim of

  authority,” Barr v. Abrams, 810 F.2d 358, 361 (2d Cir. 1987), and, therefore, he does not

  enjoy absolute immunity for this act.

         However, the Court need not decide whether Folber acted in the “clear absence of

  all jurisdiction” because his swearing to facts in a criminal accusatory instrument is not a

  function for which absolute immunity is afforded. Kalina v. Fletcher, 522 U.S. 118, 130–

  31, 118 S. Ct. 502, 139 L. Ed. 2d 471 (1997) (holding that the prosecutor was not entitled

  to absolute immunity for acting as a complaining witness). Accordingly, Folber’s actions

  taken as part of his preparation and execution of the accusatory instruments are not

  entitled to absolute immunity.



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         As to Moran and Lutzer, the Court recognizes, and the Plaintiff does not contest,

  their entitlement to absolute immunity for their appearances in State Court, requests to

  amend the applications for arrest warrants to criminal summonses, and motions to

  dismiss the accusatory instruments. However, insofar as the remainder of the Plaintiff’s

  allegations as to Moran and Lutzer concern investigatory work – including Moran’s

  alleged encouraging of Folber to file a complaint against the Plaintiff – the Court finds

  that these acts do not receive absolute immunity.

         As to Quinlan, the Second Amended Complaint asserts that he failed to take any

  corrective action in response to the Plaintiff’s notices of claim or Van Cott’s letter, and

  that Quinlan was involved in the investigation of the Plaintiff’s property. The Plaintiff

  maintains that because these acts occurred before probable cause existed and before any

  formal legal proceeding was commenced, absolute immunity cannot attach.

         Relying on Van de Kamp v. Goldstein, 555 U.S. 335, 129 S. Ct. 855, 172 L. Ed.

  2d 706 (2009), the Brookhaven Defendants argue that Quinlan is entitled to absolute

  immunity for this pre-prosecution conduct. In Van de Kamp, the plaintiff claimed that

  the district attorney and his chief assistant failed to adequately train and supervise their

  deputies on the production of impeachment material to defendants, and failed to create an

  information system for their deputies handling such cases to access such information.

  The Supreme Court found that absolute immunity barred the claims, reasoning that the

  failure to supervise and train claims relied upon underlying misconduct by the deputy

  prosecutors at trial, who were themselves entitled to absolute immunity.

         Here, by contrast, the Court finds that, aside from Quinlan’s role in connection

  with the issuance of the Appearance Tickets, none of the pre-prosecution functions for



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  which Quinlan claims absolute immunity involved a supervisory role of a prosecutor’s

  conduct at trial. Thus, Quinlan is not entitled to absolute immunity for these pre-

  prosecution actions.

         As to Quinlan’s actions taken after the criminal prosecutions, the Plaintiff

  contends that Quinlan is not entitled to absolute immunity for his ex parte conversations

  with the State Court judge because it is against New York State Judicial ethical rules to

  partake in ex parte communications concerning a pending proceeding outside the

  presence of the opposing parties or their attorneys. However, a prosecutor's wrongful act,

  such as ex parte communications with a judge, “is certainly not something that is

  properly within the role of a prosecutor,” but that “is immaterial, because [the] immunity

  attaches to his function, not to the manner in which he performed it.” Dory v. Ryan, 25

  F.3d 81, 83 (2d Cir. 1994) (internal quotation marks and citation omitted). The absolute

  character of absolute immunity is that it “protects a prosecutor from § 1983 liability for

  virtually all acts, regardless of motivation, associated with his function as an advocate.”

  Id.

         In Dory, a prosecutor who allegedly participated in a conspiracy to present false

  evidence at trial was held to be absolutely immune, id., because the “professional

  evaluation of the evidence . . . and appropriate preparation for its presentation at trial” are

  prosecutorial acts. Buckley, 509 U.S. at 271, 113 S. Ct. 2606, 125 L. Ed. 2d 209 ; see also

  Brodnicki v. City of Omaha, 75 F.3d 1261, 1267 (8th Cir. 1996) (the prosecutor who

  allegedly violated the plaintiff's right to due process by examining evidence prior to trial

  and discussing charges with the defense counsel was entitled to absolute immunity).




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         In Pinaud v. County of Suffolk, 52 F.3d 1139, 1148 (2d Cir. 1995), the Second

  Circuit granted absolute immunity to prosecutors who allegedly violated the plaintiff's

  rights under the Fourth, Fifth, Sixth and Eighth Amendments by: seeking improperly to

  increase the plaintiff's bail; making false representations to prompt a plea agreement, and

  then breaching that agreement; manufacturing a bail jumping charge; making

  misrepresentations to the Bureau of Prisons; and unnecessarily transferring the plaintiff

  from county to state jail. 52 F.3d at 1149. These alleged acts, while “unethical, deviant,

  and violative of the plaintiffs’ constitutional rights, were ‘components of the initiation

  and presentation of a prosecution, and therefore . . . protected by absolute immunity.’”

  Phillips, 81 F.3d at 1213 (citing Pinaud).

         “In short, absolute immunity insulates prosecutorial misconduct — however

  outrageous — so long as the misconduct is prosecutorial.” Phillips, 81 F.3d at 1213.

  Thus, Quinlan’s ex parte conversation with the State Court judge is protected by absolute

  immunity.

         Finally, as to Powell and Biscardi, the Second Amended Complaint alleges that

  Biscardi was a department head and chief policy-maker and that Powell acted in a

  supervisory capacity over Folber.

         The Defendants maintain that Van de Kamp confers absolute immunity for

  Biscardi’s and Powell’s supervisory “approval and directions.” (Defs. Mem. at 11).

  However, Van de Kamp does not afford immunity for supervisory decisions unless they

  relate to conduct during the prosecution. The record indicates that Biscardi and Powell

  supervised Folber during his investigations. Such conduct is unlikely to lead to an error

  “in the midst of trial.” Van de Kamp, 129 S. Ct. at 863.



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          Contrary to the Brookhaven Defendants’ contention, Spear v. Town of West

  Hartford, 954 F.2d 63 (2d Cir. 1992), cert. denied, 506 U.S. 819, 113 S. Ct. 66, 121 L.

  Ed. 2d 33 (1992) is also distinguishable. There, a municipal resolution authorized the

  Corporation Counsel to take legal action to prevent illegal protest activities in West

  Hartford. Id. at 65. After an anti-abortion protest at a women's health care facility, the

  Corporation Counsel commenced an action, alleging Racketeer Influenced and

  Corruption Organizations Act, 18 U.S.C. §§ 1961 et seq. and nuisance claims to prevent

  future protest activities. One defendant in the action, Spear, had written an editorial

  criticizing police efforts to disband the protest, giving rise to the Corporation Counsel's

  suit.

          After the claims against Spear were dropped by the town, he commenced an

  action under § 1983 claiming that the lawsuit against him was based solely on his

  editorial in contravention of his First Amendment rights. Id. Concluding that absolute

  immunity barred Spear's action, the court held that absolute immunity extends “to the

  initiation of civil lawsuits as well as to administrative proceedings. . . . Thus, when a high

  executive officer of a municipality authorizes a civil lawsuit in pursuit of that

  municipality's governmental interests, absolute immunity attaches.” Id. at 66; see also

  Mendenhall v. Goldsmith, 59 F.3d 685, 691 (7th Cir. 1995) (holding that the prosecutor's

  conduct in filing for an injunction in civil forfeiture case was entitled to absolute

  immunity because the prosecutor “acted pursuant to the authority vested in him under

  [state] law, functioning purely in his capacity as an advocate for the state.”), cert. denied,

  516 U.S. 1011, 116 S. Ct. 568, 133 L. Ed. 2d 492 (1995); Schrob v. Catterson, 948 F.2d




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  1402, 1416 (3d Cir. 1991) (holding that the prosecutor seeking a seizure warrant in a civil

  forfeiture action was entitled to absolute immunity).

         However, unlike in Spear, it is alleged that Biscardi and Powell lacked authority

  to initiate criminal actions and that their causing the initiation of the criminal actions was

  a complaining witness function. Spears, 954 F.2d 66 (“Were [defendant], who was not

  only acting Town Manager but also Police Chief, involved in this matter as a

  complaining witness rather than as an executive officer authorizing suit, he would not

  receive absolute immunity.”) At this stage of the litigation, the Court declines to

  recognize Biscardi and Powell’s entitlement to absolute immunity.


  C. The First Amendment Intimate Association Claim
         The Plaintiff alleges that the Brookhaven Defendants interfered with his right to

  intimate association. In essence, the Plaintiff alleges that the Brookhaven Defendants’

  retaliatory conduct in subjecting him to investigation and criminal actions as a result of

  his brother Howard’s litigation against Islip interfered with the Plaintiff’s right to

  associate with Howard.

         “The right to intimate association protects the close ties between individuals from

  inappropriate interference by the power of the state.” Chi Iota Colony of Alpha Epsilon

  Pi Fraternity v. C.U.N.Y., 502 F.3d 136, 143 (2d Cir. 2007). To determine whether

  certain familial relationships warrant protection, a court must “assess such factors as

  cohabitation and the precise degree of kinship.” Patel v. Searles, 305 F.3d 130, 136 (2d

  Cir. 2002). The sibling relationship is one recognized as warranting protection. Id. (“the

  relationships at issue in this case — those between [plaintiff] and his father, siblings,

  wife, and children — receive the greatest degree of protection because they are among


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  the most intimate of relationships”); Berrios v. State Univ. of New York at Stony Brook,

  518 F. Supp. 2d 409, 418 (E.D.N.Y. 2007) (“the right of intimate association

  encompasses the husband/wife relationship . . . as well as the familial relationships

  between parents, siblings and children”).

          Here, the Brookhaven Defendants argue that the intimate association claim should

  be dismissed because there is no nexus between Howard’s protected activities and the

  alleged retaliatory conduct, and the sibling relationship between Howard and the Plaintiff

  was neither targeted nor impaired. The Court disagrees.

          As to the nexus, the Second Amended Complaint alleges that (1) Quinlan was the

  Islip Town Attorney immediately before becoming the Brookhaven Town Attorney and

  (2) Folber’s mother was an Executive Director in Islip in the same department that Folber

  worked for in Brookhaven. Further buttressing the allegations of a nexus between

  Howard’s protected activities and the alleged retaliatory conduct is the temporal

  proximity of the underlying events — that is, less than two weeks between the dismissal

  of Howard’s criminal actions and the beginning of the alleged retaliatory conduct. The

  Court also notes that the Plaintiff alleges that there were no legitimate reasons why his

  property was selected for investigation, particularly given that FOIL requests revealed

  there were no complaints about the property.

          As to the supposed lack of targeting or impairment of the relationship between the

  Plaintiff and Howard, the “[Second] Circuit has never held that a challenged action must

  be directed at a protected relationship for it to infringe on the right to intimate

  association.” Patel, 305 F.3d at 137. Further, the “Defendants cite no authority

  supporting their argument that where a defendant’s conduct was allegedly undertaken for



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  the very purpose of harming or impairing an intimate relationship, said defendant’s

  efforts must be alleged to have been successful in order for a plaintiff to state a claim. In

  fact, the cases reviewed by the Court seem to suggest the opposite.” Agostino v.

  Simpson, 08-CV-5760 (CS), 2008 WL 4906140 (S.D.N.Y. Nov. 17, 2008); see e.g.,

  Adler, 185 F.3d at 45 (“If simple vindictiveness against the plaintiff on account of his

  wife's lawsuit was the defendants’ true motive, a First Amendment violation would be

  established.”); Sutton v. Vill. of Valley Stream, N.Y., 96 F. Supp. 2d 189, 193 (E.D.N.Y.

  2000)(“If . . . it is proven that ‘simple vindictiveness’ was defendants’ true motive, the

  First Amendment will have been violated.”).

         The Brookhaven Defendants’ reliance on Garten v. Hochman, No. 08 Civ.

  9425(PGG), 2010 WL 2465479, at *4 (S.D.N.Y. June 16, 2010) is misplaced. In Garten,

  the plaintiff alleged that the forced transfer of his two children to a different school

  within the school district was intended to punish him and to interfere in his relationship

  with his children. However, the court found that since the complaint acknowledged that

  the transfer stemmed a change in residence, the plaintiff did not allege an “arbitrary or an

  undue intrusion” of a protected relationship. Id. at *5. Here, unlike in Garten, the

  Plaintiff asserts that there was no legitimate reason supporting the allegations with

  respect to the protected relationship.

         Taking the Plaintiff’s allegation as true, as the Court must on a motion to dismiss,

  the Plaintiff's intimate association claim survives. Stated otherwise, the Plaintiff has

  adequately pled an intimate association claim, and the Brookhaven Defendants' motion to

  dismiss that claim is denied.




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  D. The First Amendment Retaliation Claims: Speech and Petition
         A First Amendment retaliation claim requires that the plaintiff show “(1) that the

  speech or conduct at issue was protected, (2) that the defendant took adverse action

  against the plaintiff, and (3) that there was a causal connection between the protected

  speech and the adverse action.” Dawes v. Walker, 239 F.3d 489, 492 (2d Cir. 2001),

  overruled on other grounds by Swierkiewicz v. Sorema N .A., 534 U.S. 506, 122 S. Ct.

  992, 152 L. Ed. 2d 1 (2002).

         The Defendants argue that since the Plaintiff was not denied access to engage in a

  protected activity, no First Amendment violation occurred. However, “[t]he right of

  access to the courts and to petition the government includes the right to be free from

  retaliation for the exercise of such right.” Gusler v. City of Long Beach, 823 F. Supp. 2d

  98, 133 (E.D.N.Y. 2011), citing Berrios v. State Univ. of N.Y. at Stony Brook, 518 F.

  Supp. 2d 409, 417 (E.D.N.Y. 2007).

         Here, the Court finds that the Plaintiff has plead protected speech and complaints

  against the Town on his part. Further, the Brookhaven Defendants do not dispute that

  they took adverse actions against the Plaintiff.

         As to whether there was a causal connection between the alleged protected speech

  and the adverse actions, the Court finds that the Plaintiff has satisfied this element for

  pleading purposes. “To establish a causal connection sufficient to survive a motion to

  dismiss, the ‘allegations must be sufficient to support the inference that the speech played

  a substantial part in the adverse action.’” Kempkes v. Downey, No. 07-CV-1298

  (KMK)(GAY), 2008 WL 852765, at *3 (S.D.N.Y. Mar. 31, 2008) (quoting Davis v.

  Goord, 320 F.3d 346, 354 (2d Cir. 2003)). A causal connection is often shown

  circumstantially, through allegations that the retaliation occurred in “close temporal

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  proximity” to the protected activity. See id.; Morey v. Somers Cent. Sch. Dist., No. 06-

  CV-1877 (WCC), 2007 WL 867203, at *11 (S .D.N.Y. Mar. 21, 2007) (collecting cases).

          The Plaintiff appears to assert this claim based upon the fact that the Brookhaven

  Defendants continued the prosecution against the Plaintiff notwithstanding his

  protestations. However, “although plaintiff's burden in establishing a prima facie case of

  retaliation is ‘a light one’[,] it still requires that ‘the protected activity precede[ ] the

  adverse action in order to satisfy the causation requirement.” Raniola v. Bratton, 243 F.3d

  610, 624 (2d Cir. 2001)(citation omitted). In this case, the Second Amended Complaint

  makes clear that the Brookhaven Defendants began prosecuting the Plaintiff’s alleged

  Town Code violations prior to his alleged protected activities.

          Undeterred, the Plaintiff appears to assert this claim based upon the fact that

  Brookhaven Defendants continued on their course notwithstanding the Plaintiff’s

  protestations. Even if such a claim could support a First Amendment Retaliation claim,

  the Plaintiff has not alleged that he desired to exercise his First Amendment rights, but

  was chilled by the Brookhaven Defendants. “The allegation of a chill is indispensable for

  private plaintiffs.” Ford v. Reynolds, 167 F. App’x 248, 250 (2d Cir. 2006), citing

  Morrison v. Johnson, 429 F.3d 48, 51 (2d Cir. 2005).

          The Second Amended Complaint states that the Defendants “desired their conduct

  to have a chilling effect upon the Plaintiff’s exercise of his First Amendment rights.”

  (Second Am. Compl., at ¶ 260). Simply put, the Court finds that the Plaintiff has failed

  to plausibly set forth facts that would support the claim that the Brookhaven Defendants’

  actions chilled his First Amendment rights. See also Kuck v. Danaher, 600 F.3d 159, 168

  (2d Cir. 2010) (finding that the plaintiff's First Amendment retaliation claim was properly



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  dismissed when “nothing in the complaint suggests that [plaintiff’s] speech was ‘actually

  chilled’ as a result of” the defendants’ alleged conduct); Curley v. Vill. of Suffern, 268

  F.3d 65, 73 (2d Cir. 2001) (“Where a party can show no change in his behavior, he has

  quite plainly shown no chilling of his First Amendment right to free speech.”); Ford v.

  Reynolds, 326 F. Supp. 2d 392, 403 (E.D.N.Y. 2004) (“Because Plaintiffs have failed to

  allege any actual chill or deterrence, this Court must conclude that [plaintiffs] did not

  suffer the harm necessary to support their retaliation claim.”), aff’d,167 F. App'x. 248 (2d

  Cir. 2006); Rosendale v. Brusie, No. 07-CV-8149 (CS), 2009 WL 778418, at *11

  (S.D.N.Y. Mar. 25, 2009) (“Because the Complaint shows that Plaintiff continued to

  exercise his First Amendment rights despite Defendants' alleged retaliatory conduct,

  Plaintiff fails to allege actual chilling of his speech.”); Balaber–Strauss v. Town/Vill. of

  Harrison, 405 F. Supp. 2d 427, 433–34 (S.D.N.Y. 2005) (dismissing a First Amendment

  retaliation claim when the complaint failed to allege that the plaintiff refrained from

  speaking at the public Town meeting after the defendants engaged in a “smear

  campaign”).

         Indeed, the Court notes that, during and after the alleged protected activity, the

  Plaintiff continued to write letters to various departments within the Town and to the

  Criminal Court, both the trial judge and administrative judge.

         For the foregoing reasons, the Plaintiff’s First Amendment retaliation claim is

  dismissed. Although the Plaintiff may be able to plead a “chilling effect,” given that the

  complaint has been amended twice already, the Court declines to afford the Plaintiff an

  additional opportunity to re-plead this claim.




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  E. The New York State Law Malicious Prosecution Claims
         To prevail in an action for malicious prosecution under New York law, the

  Plaintiff must show: “1) the initiation of an action by the defendant against [her], 2)

  begun with malice, 3) without probable cause to believe it can succeed, 4) that ends in

  failure or, in other words, terminates in favor of the plaintiff.” Engel v. CBS, Inc., 145

  F.3d 499, 502 (2d Cir. 1998) (quoting O’Brien v. Alexander, 101 F.3d 1479, 1484 (2d

  Cir. 1996), certified question accepted, 92 N.Y.2d 867, 700 N.E.2d 310 (1998) and

  certified question answered, 93 N.Y.2d 195, 711 N.E.2d 626 (1999).

         Here, the Brookhaven Defendants argue that the Plaintiff cannot meet the fourth

  element – favorable termination. In particular, the Brookhaven Defendants contend there

  has not been a favorable termination because a dismissal under CPL § 170.35 does not

  reach the merits of the charges and thus the “question of plaintiff’s guilt or innocence

  remains unanswered.” (Brookhaven Defs. Mem. at 17).

         However, “New York law does not require a malicious prosecution plaintiff to

  prove his innocence, or even that the termination of the criminal proceeding was

  indicative of innocence.” Anilao v. Spota, 774 F. Supp. 2d 457, 507 (E.D.N.Y. 2011).

  Instead, the plaintiff’s burden is to demonstrate a final termination that is not inconsistent

  with innocence. See e.g., Cantalino v. Danner, 96 N.Y.2d 391, 729 N.Y.S.2d 405, 754

  N.E.2d 164 (2001) (“[T]he question is whether, under the circumstances of each case, the

  disposition was inconsistent with the innocence of the accused.”).

         That said, in MacFawn v. Kresler, 88 N.Y.2d 859, 644 N.Y.S.2d 486, 666 N.E.2d

  1359 (1996), the Court of Appeals of New York held that dismissal without prejudice of

  an information for insufficiency under CPL 170.35(1)(a) could not serve as the basis for a

  malicious prosecution claim. “The principal rationale is that dismissals of these types

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  may not end the state’s pursuit of the accused on the same charges, for a renewed

  prosecution may be commenced in a proper court on a facially sufficient pleading . . . .”

  Colon v. City of New York, 09 CV 0008 (JBW), 2012 WL 691544, at *7 (E.D.N.Y. Feb.

  9, 2012), report and recommendation adopted, 09-CV-8, 2012 WL 686878 (E.D.N.Y.

  Mar. 2, 2012).

         The Plaintiff acknowledges that six of the accusatory instruments were dismissed

  pursuant to CPL §170.35 as they were deemed to be insufficient. Therefore, based on

  controlling precedent, this Court finds that this dismissal cannot serve as the basis for a

  malicious prosecution claim under New York law.

         Similarly, “[a] dismissal in the interest of justice under CPL 170.40 is not a

  ‘judicial determination of the accused’s innocence on the merits.’” DiCecilia v. Early,

  234 A.D.2d 335, 336, 651 N.Y.S.2d 94 (2d Dep’t 1996); Lynch v. Suffolk Cnty. Police

  Dep’t, Inc., 348 F. App’x 672, 674 (2d Cir. 2009)(a “plaintiff cannot state a § 1983 claim

  for malicious prosecution in connection with the misdemeanor charges because the

  charges were dismissed ‘in the interest of justice’ under New York Criminal Procedure

  Law § 170.40”). Thus, the eight accusatory instruments that were dismissed pursuant to

  CPL 170.40 also cannot serve as the basis for a malicious prosecution claim under New

  York law.

         In sum, as the underlying criminal charges upon which the Plaintiff bases his

  malicious prosecution claims were dismissed pursuant to statutes that did not reach the

  merits, the Court dismisses these claims.

         Unlike claims brought pursuant to Section 1983, under New York State law,

  municipalities may be held vicariously liable for false arrest and malicious prosecution



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  under a theory of respondeat superior. Williams v. City of White Plains, 718 F. Supp. 2d

  374, 381 (S.D.N.Y. 2010). However, having determined that the Plaintiffs fail to state a

  New York State malicious prosecution claim against the Individual Defendants, the Court

  finds that such a claim against the Town based on respondeat superior necessarily fails as

  a matter of law. See Shapiro v. Kronfeld, No. 00 CIV. 6286 (RWS), 2004 WL 2698889,

  at *24 (S.D.N.Y. Nov. 24, 2004) (where state law claims were dismissed against

  individual defendants, claims against municipal defendants based on respondeat superior

  were dismissed “as there can be no imposition of vicarious liability in the absence of

  underlying liability”)(citing Wende C. v. United Methodist Church, 6 A.D.3d 1047, 1052,

  776 N.Y.S.2d 390 (4th Dep’t 2004) (collecting cases)).


  F. The Procedural Due Process Claims


         The Brookhaven Defendants move to dismiss the Plaintiff’s Procedural Due

  Process claim, arguing that he was afforded sufficient notices and access to a tribunal.

         The Due Process Clause protects against deprivations of “constitutionally

  protected interests in life, liberty, or property . . . without due process of law.” Rivera–

  Powell v. New York City Bd. of Elections, 470 F.3d 458, 464–65 (2d Cir. 2006).

  “Review of a procedural due process question involves two steps: the first asks whether

  there exists a liberty or property interest which has been interfered with by the State; the

  second examines whether the procedures attendant upon that deprivation were

  constitutionally sufficient.” Martine’s Serv. Ctr., Inc. v. Town of Wallkill, 554 F. App’x.

  32, 34 (2d Cir. 2014) (internal quotations and references omitted).

         Here, as to the liberty or property interest affected, the Plaintiff identifies an

  interest under CPL § 100.15 in not being accused of an alleged crime or offense until a

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  facially sufficient accusatory instrument exists. The New York Court of Appeals has

  explained that this additional showing is required because of the “unique function that an

  information serves” for prosecuting a misdemeanor or petty offense because there is no

  preliminary hearing and no grand jury. People v. Alejandro, 70 N.Y.2d 133, 138, 511

  N.E.2d 71 (1987).

          “Generally, due process requires that a state afford persons some kind of hearing

  prior to depriving them of a liberty or property interest.” DiBlasio v. Novello, 344 F.3d

  292, 302 (2d Cir. 2003) (internal citations and quotation marks omitted). However,

  “[w]here a deprivation at the hands of a government actor is ‘random and unauthorized,’

  hence rendering it impossible for the government to provide a pre-deprivation hearing,

  due process requires only a post-deprivation proceeding.” Id. (citation omitted). Still,

  “[w]hen the deprivation occurs in the more structured environment of established state

  procedures, rather than random acts, the availability of postdeprivation procedures will

  not, ipso facto, satisfy due process.” HANAC v. City of New York, 101 F.3d 877, 880

  (2d Cir. 1996) (citing Hudson v. Palmer, 468 U.S. 517, 532, 104 S. Ct. 3194, 82 L. Ed. 2d

  393 (1984)).

          For example, in Kraebel v. New York City Dep’t of Housing Preservation and

  Dev., 959 F.2d 395, 404 (2d Cir. 1992), the Second Circuit held that since the plaintiff

  attacked “established state procedures that cause[d] the delays and burdens which

  deprive[d] her of her property . . . the mere availability of redress in state court [did not

  satisfy plaintiff’s] right to due process.”

          Here, as to the procedures attendant upon that deprivation, the Plaintiff alleges

  that the letter orders and appearance tickets were inadequate because the content of the



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  notices contained vague and general descriptions of the alleged crimes and offenses

  which were insufficient to reasonably apprise property owners what specifically needed

  to be fixed. In this regard, the letter orders allegedly gave imprecise information as to

  when a compliance inspection would be conducted and did not inform the Plaintiff of his

  appellate rights, including the right to appeal to the Board of Appeals of the Town of

  Brookhaven. Brookhaven Code § 85-28, 86A-15; N.Y. Town Law § 267-a. Moreover,

  the Plaintiff points to the fact that sections of the eleven of the Appearance Tickets were

  left blank and that none of the Tickets provided him with sufficient notice of the actual

  charges against him. Ultimately, the Plaintiff alleges, the Town and the State Court

  failed to review the accusatory instruments for facial sufficiency.

         Drawing all reasonable inferences in the Plaintiff’s favor, as must be done for

  purposes of this motion, and reviewing the applicable case law, the Court concludes that

  the Plaintiff has plead facts that a Procedural Due Process violation resulted from

  “established state procedures,” rather than random authorized acts. For this reason, the

  availability of post-arraignment motion practice and appeals does not necessarily cure the

  alleged deprivations of liberty interests.

         Based on the foregoing, the motion by the Brookhaven Defendants to dismiss is

  denied with respect to the Plaintiff’s Procedural Due Process claims.


  G. The Equal Protection Claims


         The Fourteenth Amendment states in pertinent part: “No State shall . . . deny to

  any person within its jurisdiction the equal protection of the laws.” U.S. Const. amend.

  XIV § 1. According to the Second Circuit, “there are several ways for a plaintiff to plead

  intentional discrimination that violates the Equal Protection Clause.” Pyke v. Cuomo, 258

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  F.3d 107, 109 (2d Cir. 2001) (quoting Brown v. City of Oneonta, 221 F.3d 329, 337 (2d

  Cir. 1999)).

           Here, the Plaintiff alleges selective prosecution or selective enforcement of the

  law among other similarly situated properties for inspection of Town Code violations. To

  prevail on a claim of selective enforcement of the law in violation of the Equal Protection

  Clause, a plaintiff must prove that (1) “compared to others similarly situated, [he or she]

  was selectively treated,” and (2) “such selective treatment was based on impermissible

  considerations such as race, religion, intent to inhibit or punish the exercise of

  constitutional rights, or malicious or bad faith intent to injure a person.” Diesel v. Town

  of Lewisboro, 232 F.3d 92, 103 (2d Cir. 2000) (quoting LeClair v. Saunders, 627 F.2d

  606, 609–10 (2d Cir. 1980)); accord Zahra v. Town of Southold, 48 F.3d 674, 683 (2d

  Cir. 1995). “A plaintiff generally must satisfy both elements to establish a claim of

  selective enforcement.” LaTrieste Rest. v. Vill. of Port Chester, 188 F.3d 65, 70 (2d Cir.

  1999).

           District courts in this circuit have noted that “[s]imilarly situated does not mean

  identical, but rather ‘a reasonably close resemblance of the facts and circumstances of

  plaintiff’s and comparator’s cases,’ to the extent that an ‘objectively identifiable basis for

  comparability’ exists.” Walker v. City of New York, No. 05–CV–1283 (RER), 2010 WL

  5186779, at *7 (E.D.N.Y. Dec. 15, 2010) (quoting Graham v. Long Island R.R., 230 F.3d

  34, 39 (2d Cir. 2000). In other words, a plaintiff “must identify comparators whom a

  ‘prudent person would think . . . [were] roughly equivalent.’” Abel v. Morabito, No. 04

  Civ. 07284 (PGG), 2009 WL 321007, at *5 (S.D.N.Y. Feb. 11, 2009) (quoting Estate of

  Morris v. Dapolito, 297 F. Supp. 2d 680, 686 (S.D.N.Y. 2004)).



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         That said, the Second Amended Complaint is devoid of a single similarly situated

  property which purportedly received different treatment than the “Norfleet Property.”

  Rather, the Second Amended Complaint merely states that “[u]pon information and

  belief, the Norfleet Property was selected for investigation among other similarly situated

  properties for inspection of latent Town Code violations.” (Second Amend. Compl. at ¶

  290.). Because this is a conclusory reference to unspecified similarly situated persons

  without accompanying examples, the Plaintiff has failed to satisfy the first element of a

  selective enforcement claim. Ruston v. Town Bd. for Town of Skaneateles, 610 F.3d 55,

  59 (2d Cir. 2010) (the plaintiffs failed to state viable equal protection claim where they

  merely alleged less favorable treatment than “similarly situated” persons but did not

  plead specific examples); MacPherson v. Town of Southampton, 738 F. Supp. 2d 353,

  371 (E.D.N.Y. 2010) (conclusory references to unspecified “similarly situated” persons

  without examples is insufficient to withstand a motion to dismiss for selective

  enforcement).

         To the extent the Plaintiff attempts to compare himself to his two brothers –

  Howard and Richard, who were joint owners of the Norfleet Property but were not

  criminally prosecuted – to substantiate his selective enforcement claim, such a

  comparison fails to satisfy the first element of a selective enforcement claim. As the

  Plaintiff concedes, he is the majority owner of record (50% interest) in the “Norfleet”

  property, whereas his brothers own only 25% interest each.

         To be sure, whether people are similarly situated, “[a]s a general rule . . . is a

  factual issue that should be submitted to the jury.” Harlen Assocs. V. Inc. Village of

  Mineola, 273 F.3d 494, 499 n. 2 (2d Cir. 2001). However, where, as here, the Plaintiff



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  fails in his pleadings to point to any examples of similarly situated properties, the Court

  declines to allow this claim to proceed.


  H. The Civil Rights Law Claims – Unlawful Search and Seizure
         The Plaintiff also claims an unlawful search and seizure in violation of Section 8

  of the New York Civil Rights Law. That section provides:

         The right of the people to be secure in their persons, houses, papers and
         effects, against unreasonable searches and seizures, shall not be violated;
         and no warrants can issue but upon probable cause supported by oath or
         affirmation, and particularly describing the place to be searched, and the
         persons or things to be seized.

         In opposition, the Defendants contend that this is, in fact, a claim under the New

  York State Constitution and must be dismissed, and that courts in this circuit have held

  that there is no private right of action under the New York State Constitution where

  remedies are available under 42 U.S.C. §1983. However, the Defendants cite no case law

  for the proposition that claims under Section 8 of the New York Civil Rights Law are

  duplicative of, or in essence, claims under the New York State Constitution. Indeed, case

  law regarding this statutory provision is sparse at best. Under these circumstances, at this

  stage of the litigation, the Court declines to dismiss the cause of action under Section 8 of

  the New York Civil Rights Law.


  I. The Requests for Declaratory Relief


     The Declaratory Judgment Act provides:

         In a case of actual controversy within its jurisdiction, . . . any court of the
         United States, upon the filing of an appropriate pleading, may declare the
         rights and other legal relations of any interested party seeking such
         declaration, whether or not further relief is or could be sought.




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  28 U.S.C. § 2201(a). “[T]he phrase ‘case of actual controversy’ in the [Declaratory

  Judgment] Act refers to the type of ‘Cases’ and ‘Controversies’ that are justiciable under

  Article III.” MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127, 127 S. Ct. 764, 166

  L. Ed. 2d 604 (2007) (quoting Aetna Life Ins. Co. v. Haworth, 300 U.S. 227, 240, 57 S.

  Ct. 461, 81 L. Ed. 617 (1937)). “It is a basic principle of Article III that a justiciable case

  or controversy must remain ‘extant at all stages of review, not merely at the time the

  complaint is filed.’” United States v. Juvenile Male, –––U.S. ––––, 131 S. Ct. 2860,

  2864, 180 L. Ed. 2d 811 (2011) (quoting Arizonans for Official English v. Arizona, 520

  U.S. 43, 67, 117 S. Ct. 1055, 137 L. Ed. 2d 170 (1997)); see also Alvarez v. Smith, 558

  U.S. 87, 92, 130 S. Ct. 576, 175 L. Ed. 2d 447 (2009) (“The Constitution permits this

  Court to decide legal questions only in the context of actual ‘Cases’ or ‘Controversies.’

  An ‘actual controversy must be extant at all stages of review, not merely at the time the

  complaint is filed.’”)(quoting Preiser v. Newkirk, 422 U.S. 395, 401, 95 S. Ct. 2330, 45

  L. Ed. 2d 272 (1975) (internal citation omitted)). “[T]he question in each case is whether

  the facts alleged, under all the circumstances, show that there is a substantial controversy,

  between parties having adverse legal interests, of sufficient immediacy and reality to

  warrant the issuance of a declaratory judgment.” MedImmune, Inc., 549 U.S. at 127, 127

  S. Ct. 764.

         “Throughout the litigation, the party seeking relief must have suffered, or be

  threatened with, an actual injury traceable to the defendant and likely to be redressed by a

  favorable judicial decision.” Juvenile Male, 131 S. Ct. at 2864. “As with any federal

  action, courts may not entertain actions for declaratory judgment ‘when the parties are

  asking for an advisory opinion, when the question sought to be adjudicated has been



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  mooted by subsequent developments, and when there is not standing to maintain the

  action.’” Velvet Underground v. Andy Warhol Found. For the Visual Arts, Inc., 890 F.

  Supp. 2d 398, 403 (S.D.N.Y. 2012) (quoting Flast v. Cohen, 392 U.S. 83, 95, 88 S. Ct.

  1942, 20 L. Ed. 2d 947 (1968)).

         In this case, the Plaintiff seeks declaratory relief against the Town to, among other

  things, stop the Town’s allegedly unlawful practices and declare the Rental Law as

  violative of New York Town Law § 262. The Brookhaven Defendants argue that (1)

  there is no case or controversy against the Town; (2) an Article 78 proceeding is the more

  appropriate vehicle for the Plaintiff to seek declaratory relief; and (3) the Rental Law is

  presumed valid. The Court addresses each argument in turn.

         First, the Court finds that the Second Amended Complaint pleads an actual case

  or controversy to support a claim for declaratory relief against the Town. For instance,

  the Plaintiff seeks to stop the Town’s allegedly unlawful practices, including granting

  housing inspectors assigned to the DHHS the authority to issue and serve certain

  appearance tickets.

         Relatedly, since the Plaintiff seeks declaratory relief after he has been criminally

  prosecuted as a result of the practices he challenges, his claim is ripe for adjudication.

  Dow Jones & Co., Inc. v. Harrods, Ltd., 237 F. Supp. 2d 394, 406-07 (S.D.N.Y. 2002)

  (stating that “a touchstone to guide the probe for sufficient immediacy and reality is

  whether the declaratory relief sought relates to a dispute where the alleged liability has

  already accrued”)(emphasis added), aff’d, 346 F.3d 357 (2d Cir. 2003)

         Second, “a proceeding under article 78 is not the proper vehicle to test the

  constitutionality of legislative enactments.” Matter of Kovarsky v. Hous. & Dev. Admin.



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  Of City of N.Y., 31 N.Y.2d 184, 191, 335 N.Y.S.2d 383, 286 N.E.2d 882 (1972). Rather,

  a declaratory judgment action, as here, is appropriate. Bloom v. Mayor of City of New

  York, 35 A.D.2d 92, 97 (2d Dep’t 1970), aff’d, 28 N.Y.2d 952 (1971) (stating that “in a

  declaratory judgment action the court may not only review the constitutionality of the

  statute, but also determine whether a public official acted in regard to the statutory

  standard, or in excess of the grant of authority, or in violation of due process”). In any

  event, the Defendants concede that the existence of an alternative remedy for the

  Plaintiff, such as a proceeding under Article 78, does not nullify his ability to request a

  declaratory judgment.

         Third, even if the Rental Law is presumed valid, that does not immunize it from

  challenge. As stated above, the Plaintiff alleges that the Rental Law is invalid in that it

  violates New York Town Law § 262’s uniformity requirement. Among other things,

  Town Law § 262 requires that all land use regulations within a designated zoning district

  “shall be uniform for each class or kind of buildings, [sic] throughout such district.” This

  uniformity mandate “is intended to assure property holders that all owners in the same

  district will be treated alike and that there will be no improper discrimination.” Matter of

  Augenblick v. Town of Cortlandt, 104 A.D.2d 806, 814 (2nd Dep’t 1984) (Lazer, J.P.,

  dissenting) revd 66 N.Y.2d 775, 777, 66 N.Y.2d 775488 N.E.2d 109 (1985) (“Order

  reversed . . . and petition granted for the reasons stated in the dissenting memorandum by

  Justice Leon D. Lazer at the Appellate Division”).

         Here, the Plaintiff alleges discriminatory treatment against dwellings that are

  rented in that they are subject to, among other things, on-site inspections, application for

  and renewal of rental permits, and the signing of an affidavit attesting to certain



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  information. These allegations are sufficient to state a claim for declaratory relief

  challenging the Town Rental Law.

          However, the Court reaches a different conclusion with respect to the desired

  declaratory relief against the County. In essence, the County argues that it cannot be

  subjected to liability here because the District Attorney’s actions were undertaken in a

  prosecutorial capacity. According to the County, when a district attorney acts in a

  prosecutorial capacity, the district attorney acts as an officer of the state, and thus, the

  County cannot be held liable for the district attorney’s actions because the district

  attorney is acting on behalf of the state, not the county.

          “District attorneys are generally considered to be local officers of their respective

  counties.” Conte, 2010 WL 3924677, at *27. Thus, “where a district attorney acts as the

  manager of the district attorney’s office, the district attorney acts as a county

  policymaker.” Pinaud, 52 F.3d at 1153–54 n. 14 (internal quotation marks and alterations

  omitted). However, a county cannot be liable for the acts of a district attorney related to

  the decision to prosecute or not prosecute an individual. See id. at 1153–54 (finding no

  municipal liability for actions of an Assistant District Attorney unless related to

  management of office or history of negligence). “When prosecuting a criminal matter, a

  district attorney in New York State, acting in a quasi-judicial capacity, represents the

  State, not the county.” Baez v. Hennessy, 853 F.2d 73, 77 (2d Cir. 1988). Thus, “the

  County cannot be said to be responsible for the conduct at issue.” Id.

          However, when “a plaintiff’s claims center[ ] not on decisions whether or not, and

  on what charges, to prosecute but rather on the administration of the district attorney’s

  office, there can be liability against a New York county for an alleged malicious



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  prosecution.” Pinaud, 52 F.3d at 1153–54 n. 14 (internal quotation marks and citation

  omitted). Thus, “an allegation of deficiencies in the ‘management of the [district

  attorney’s] office’ would appear to be necessary . . . in order for any claim of malicious

  prosecution against the County . . . to stand.” Id. at 1153 (citation omitted).

         To the extent the Plaintiff argues that the alleged current practices of the District

  Attorney is administrative in nature and not related to his prosecutorial function, the

  Supreme Court has examined, in an immunity context, the issue of supervisory liability

  and failure to adequately train within the office of a prosecutor, and has held that matters

  of supervision and training with the prosecutor’s basic trial advocacy duties will be

  considered prosecutorial in nature and not administrative. Van de Kamp, 555 U.S. 335,

  129 S. Ct. 855, 172 L. Ed. 2d 706.

         As noted above, in Van de Kamp, the plaintiff claimed that the district attorney

  and his chief assistant failed to adequately train and supervise their deputies on the

  production of impeachment material to defendants, and failed to create an information

  system for their deputies handling such cases to access such information. The Supreme

  Court found that absolute immunity barred the claims. While these claims addressed

  administrative functions, they focused on “a certain kind of administrative obligation — a

  kind that itself is directly connected with the conduct of a trial.” Id. at 344. These

  functions are distinct from “administrative duties concerning . . . workplace hiring,

  payroll administration, the maintenance of physical facilities, and the like.” Id. The

  Court reasoned that the failure to supervise and train claims relied upon underlying

  misconduct by the deputy prosecutors at trial, who were themselves entitled to absolute

  immunity. Id.



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         In support of its decision, the Court cited the need to limit the “ease with which a

  plaintiff could restyle a complaint charging a trial failure so that it becomes a complaint

  charging a failure of training or supervision would eviscerate Imbler [and its rule of

  prosecutorial immunity].” Id. at 347; see also Gil v. Cty. of Suffolk, No. 06–cv–

  1683(LDW)(ARL), 2007 WL 2027736, at *3 (E.D.N.Y. Jul. 9, 2007) (allegations of

  failure to train by the district attorney cannot “circumvent the bar of absolute immunity”

  applied to the actions of assistant district attorneys). In rejecting the information system

  claim, a “more purely administrative task” operable by less “technically qualified

  individuals other than prosecutors,” the Court went further. Van de Kamp, 555 U.S. at

  348. It found that absolute immunity applied there as well, because “determining the

  criteria for inclusion or exclusion [of data in an information system] requires knowledge

  of the law” and expressed its recalcitrance “to review the [District Attorney’s] office’s

  legal judgments.” Id.

         Here, although the County does not seek to avoid declaratory relief on the

  grounds of absolute prosecutorial immunity, the Court nonetheless finds that such relief

  is inappropriate under Van de Kamp. In the Court’s view, the Plaintiff’s allegation that

  the District Attorney delegates the prosecution of petty Town offenses to the Town

  Attorney, without sufficient oversight, is simply another way of claiming that the District

  Attorney has failed to adequately supervise or train those attorneys in their basic trial

  advocacy duties. As the practice the Plaintiff challenges is directly related to the District

  Attorney’s discretion to prosecute, the County cannot be held to dictate such policies.

  Accordingly, the Plaintiff’s request for declaratory relief against the County is denied and

  the Second Amended Complaint as against the County is dismissed in its entirety.



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  J. The Monell Claims Against the Town
         “A municipality cannot be held liable under § 1983 for the acts of its employees

  solely on a theory of respondeat superior.” Vessa v. City of White Plains, 12-CV-6989

  (ER), 2014 WL 1271230, at *5 (S.D.N.Y. Mar. 27, 2014). Rather, in order to sustain a

  claim for relief pursuant to § 1983 against a municipal defendant, a plaintiff must show

  the existence of an official policy or custom that caused injury and a direct causal

  connection between that policy or custom and the deprivation of a constitutional right.

  Monell, 436 U.S. at 694–95, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (“[A] local government

  may not be sued under § 1983 for an injury inflicted solely by its employees or agents.

  Instead, it is when execution of a government’s policy or custom . . . inflicts the injury

  that the government as an entity is responsible under § 1983.”); see Torraco v. Port Auth.

  Of N.Y. & N.J., 615 F.3d 129, 140 (2d Cir. 2010) (“[T]o hold a city liable under § 1983

  for the unconstitutional actions of its employees, a plaintiff is required to plead and prove

  three elements: (1) an official policy or custom that (2) causes the plaintiff to be

  subjected to (3) a denial of a constitutional right.”), quoting Wray v. City of New York,

  490 F.3d 189, 195 (2d Cir. 2007).

         Here, the Second Amended Complaint alleges that the acts by Quinlan, Moran

  and Biscardi were acts of policymakers (Second Amend Compl., at ¶ 8-9,11.) A policy

  or custom may be established by any of the following: (1) a formal policy officially

  endorsed by the municipality; (2) actions or decisions made by municipal officials with

  decision-making authority; (3) a practice so persistent and widespread that it constitutes a

  custom through which constructive notice is imposed upon policymakers; or (4) a failure

  by policymakers to properly train or supervise their subordinates, such that the

  policymakers exercised “deliberate indifference” to the rights of the plaintiff. See Parker

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  v. City of Long Beach, ––– F. App’x ––––, 2014 WL 1507707, at *2 (2d Cir. Apr.18,

  2014), as amended, (Apr. 21, 2014) (failure to train); Hines v. Albany Police Dep’t, 520

  F. App’x 5, 7 (2d Cir. 2013) (actions of policymakers); Missel v. Cnty. Of Monroe, 351

  F. App’x 543, 545 (2d Cir. 2009) (formal policy and act of a person with policymaking

  authority for the municipality). Therefore, the Court finds that the Plaintiff has set forth

  sufficient allegations to support Monell liability against the Town.

         The Brookhaven Defendants argue that, in the event this Court grants absolute

  immunity to the Individual Defendants, the Monell claims must be dismissed. However,

  “‘municipalities have no immunity from damages for liability flowing from their

  constitutional violations.’” Askins v. Doe, 727 F.3d 248, 254 (2d Cir. 2013)(quoting Lore

  v. City of Syracuse, 670 F.3d 127, 164 (2d Cir. 2012)). Thus, the Brookhaven

  Defendants’ arguments, which “reflect[] a misunderstanding of the relationship between

  the liability of individual actors and municipal liability for purposes of Monell,” should

  be rejected. Askins, 727 F.3d at 253; Norton v. Islip, No. 04–CV–3079 (NGG)(WDW),

  2011 WL 3918220, at *5 (E.D.N.Y. Sept. 2, 2011) (similar argument rejected based on a

  “disturbing lack of legal comprehension surrounding immunity and Monell liability”).


                                         III. CONCLUSION


         In sum, the Court grants in part and denies in part the motion to dismiss by the

  Brookhaven Defendants’ and grants the motion to dismiss by the County. As to the

  motion to dismiss by the Brookhaven Defendants, the Court denies the motion with

  respect to the (1) the Section 1983 First Amendment Intimate Association, Fourth

  Amendment, and Procedural Due Process claims; (2) the corresponding Monell claims

  against the Town; (3) the claim under Section 8 of the New York Civil Rights Law; and

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  (4) the requests for declaratory relief as against the Town. The Court otherwise grants

  the motion to dismiss by the Brookhaven Defendants. As there no claims remaining

  against Lutzer, the Second Amended Complaint is dismissed in its entirety as to her.


  SO ORDERED.
  Dated: Central Islip, New York
  July 30, 2014



                                                                 Arthur D. Spatt ________
                                                                ARTHUR D. SPATT
                                                                United States District Judge




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


        JEROME NORTON,                .      Civil No. 13-CV-03520-GRB
                                      .
                   Vs.                .
                                      .      100 Federal Plaza
                                      .      Central Islip, NY 11722
        TOWN OF BROOKHAVEN, ET ALS., .
                                      .      October 16, 2017
        . . . . . . . . . . . . . . . .

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                                      Leahey/Argument                           11

     1              MR. MITCHELL:     And so that would probably allow us to

     2 do that as well.

     3              THE COURT:    All right.     So I’ll note that for today’s

     4 purpose the amended complaint is filed on consent, and that’s

     5 so-ordered.     The County, and I presume the Town, are you

     6 reserving your Rule 12 rights on the new complaint?

     7              MS. LEAHEY:     No, we’re not, Your Honor, because we

     8 are agreeing to allow this to be filed as part of the

     9 settlement.

    10              THE COURT:    Fair enough.     So, but the County will

    11 have 45 days to move or otherwise respond to that amended

    12 complaint, yes?

    13              MR. MITCHELL:     Yes, thank you, Judge.

    14              MS. LEAHEY:    Just to clarify, the amended complaint

    15 raises one new issue which is whether the Town violated general

    16 Municipal Law 239M, and that issue is one of the issues

    17 reserved for litigation if Mr. Norton so chooses to do so.

    18              THE COURT:    Okay.

    19              MS. LEAHEY:    So we would be contesting that there was

    20 a 239M violation, but we’ve agreed to do that in the confines

    21 of the settlement.

    22              THE COURT:    And I presume that’s all under ancillary

    23 jurisdiction, is that the notion?

    24              MS. LEAHEY:    Yes, Your Honor.

    25              THE COURT:    Okay.   Technically speaking that’s
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                                     Ostrove/Argument                           12

     1 probably a question for Judge Spatt.          But I’m going to say that

     2 to the best of my knowledge of him, which is fairly extensive,

     3 I can’t imagine he’s going to have a problem with that given

     4 the amount.     How far down the road we’ve gone, right, on this

     5 case.     I think we’re okay with that, so I don’t think there’s

     6 going to be a problem.

     7              MS. LEAHEY:    Okay.

     8              MR. MESSINA:    Your Honor, I just want to, I don’t

     9 know if this makes a difference or anything, but to the extent

    10 in the agreement we opine unto the Court to, you know, to try

    11 to keep jurisdiction if that’s what your, you know, the intent

    12 of it is to hope that the Court will --

    13              THE COURT:    Got it.

    14              MS. LEAHEY:    Right.

    15              THE COURT:    Got it, got it, got it.      Yes,   okay,

    16 that’s fine.

    17              MR. OSTROVE:      Your Honor, could I just have one more

    18 comment about Mr. Mitchell’s 12(b)(6)?          It’s just so that the

    19 record is clear.      You know, it will be our position that he

    20 can’t make a 12(b)(6) on things that he already made 12(b)(6)

    21 motions on.     And since none of the new claims that are being

    22 added are against the County, you know, we don’t think he

    23 should be making it.       If he does, we’ll argue that in the

    24 motion.

    25              But I just wanted to make clear that that will be one
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                                      Leahey/Argument                            24

     1              THE CLERK:     Thursday, January 11 at 2:00.

     2              THE COURT:     How about Thursday, January 11 at 2:00.

     3 I’m going to put down for a status conference on that date.               If

     4 you decide shortly there, before that date, that you don’t need

     5 that date, one of you can write me a letter and say we’ve

     6 agreed to put that over for a month, or whatever you need.              I’m

     7 happy to do this whichever way you want.           I’m trying to, you

     8 know, keep costs to a minimum as possible.           Go ahead.

     9              MR. MESSINA:     Can I just clarify for the record?

    10              THE COURT:    Sure.

    11              MR. MESSINA:    The two laws that Ms. Leahey was

    12 referring to was the Town’s proposed replacements for Section

    13 16-8 entitled Penalties for Offenses, and for Sections 30-16 of

    14 the code, and those are the two sections.

    15              MS. LEAHEY:    That is correct.

    16              THE COURT:    Okay, good.    So we have a date which is

    17 the 11th at 2:00.       Let me add one thing, which is this.        Mr.

    18 Ostrove started by saying, you know, this is taking a lot of

    19 time but it’s been very complicated.          This is a case which

    20 we’re settling a case in part by amending the law.            You know, I

    21 think all of you know I get involved in settlements pretty

    22 deeply, I try to come up with every creative solution that I

    23 can think of.

    24              I’ve never done this before.        So this is, this is

    25 cutting edge stuff.
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                                      Leahey/Argument                           25

     1              MR. MESSINA:     It’s a big accomplishment.      I’m very

     2 proud.

     3              THE COURT:     This is, it’s big.     So I hope we keep

     4 going along well and everything works out for everybody.             But

     5 good work.

     6              MS. LEAHEY:     Your Honor, thank you very much because

     7 it truly would not have happened without all of the, without

     8 your extraordinary effort.

     9              THE COURT:     Well, but it’s really interesting, right,

    10 and I think counsel has done a great job.           And so kudos all

    11 around, let’s keep it up.        And if I don’t see you sooner, I’ll

    12 see you in January.

    13              MR. MESSINA:    Thank you, Your Honor.       Can I give this

    14 to your clerk?      It’s a copy of the agreement.

    15              THE COURT:    Happily.    Can you hand that to Karen?

    16              MR. MESSINA:    Thank you, very much.

    17              THE COURT:    All right.

    18                                  * * * * *

    19                      C E R T I F I C A T I O N

    20                    I, TRACY GRIBBEN, court approved transcriber,

    21 certify that the foregoing is a correct transcript from the

    22 official electronic sound recording of the proceedings in the

    23 above-entitled matter.

    24 /S/ TRACY GRIBBEN

    25 TRACY GRIBBEN TRANSCRIPTION, LLC             DATE: November 20, 2017
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
    --------------------------------------------------------------------------------X
    JEROME NORTON,                                                                      THIRD
                                             Plaintiff,                                 AMENDED
                                                                                        COMPLAINT
                              - against -
                                                     Index No. 13-cv-3520
   TOWN OF BROOKHAVEN, COUNTY OF SUFFOLK, ROBERT
   QUINLAN, DAVID J. MORAN, JENNIFER LUTZER, JUSTIN Jury Trial Demanded
   FOLBER, WILLIAM POWELL, and VALERIE BISCARDI, all
   individually and in their official capacity,

                                             Defendants.
    --------------------------------------------------------------------------------X

           Plaintiff, JEROME NORTON, by his attorneys Leeds Brown Law, P.C., as and for his

   Third Amended Complaint against defendants TOWN OF BROOKHAVEN, COUNTY OF

   SUFFOLK, Town Attorney ROBERT QUINLAN, Deputy Town Attorney DAVID J. MORAN,

   Assistant Town Attorney JENNIFER LUTZER, Department of Housing and Human Services

   Housing Inspector JUSTIN FOLBER, Department of Housing and Human Services Senior

   Housing Inspector WILLIAM POWELL and Department of Housing and Human Services

   Commissioner VALERIE BISCARDI, all individually and in their official capacity alleges as

   follows:


                                             NATURE OF ACTION

          1.        Jerome Norton (“Plaintiff”) brings this action under 42 U.S.C. §§ 1983 and 28

  U.S.C. § 2201, along with pendent state law claims, seeking compensatory and punitive damages

  against the Town of Brookhaven (“Town”) and certain of its officers, officials and employees

  (“Individual Defendants”) and against the County of Suffolk (“County”) for their deprivations of

  his rights afforded by the United States Constitution, the New York State Constitution, New York

  State law, and the common law.
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                                    JURISDICTION AND VENUE

         2.        This Court has jurisdiction over Plaintiff’s §§ 1983 and 2201 claims pursuant to 28

  U.S.C. §§ 1331 and 1343. This Court has supplemental jurisdiction over Plaintiff’s state law claims

  pursuant to 28 U.S.C. § 1367 as they form part of the same case and controversy as Plaintiff’s

  § 1983 claims.

         3.        Venue in the Eastern District of New York is proper under 28 U.S.C. § 1391(b) as

  substantially all of the events or omissions giving rise to the claims herein occurred in this District.


                                                PARTIES

         4.        At all times relevant herein, Plaintiff was a resident of Nassau or Suffolk Counties,

  New York and a citizen of the United States and of the State of New York.

         5.        At all times relevant herein, Defendant Town was and is a municipal corporation

  and political subdivision of the State of New York duly organized and existing under the laws of

  the State of New York.

         6.        At all times relevant herein, the local laws, ordinances, adopted legislation and/or

  regulations (“Local Laws”, individually, “Local Law”)) of the Town have been compiled into a

  code (“Town Code”).

         7.        At all times relevant herein, Defendant County was and is a political subdivision of

  the State of New York duly organized and existing under the laws of the State of New York.

         8.        From on or about December 2005 to on or about January 2008 and again from on

  or about January 2010 to on or about January 2013, Defendant Robert Quinlan (“Quinlan”) was the

  Town Attorney in which capacity he was the principal executive officer and administrative head of

  the Town Department of Law (“Law Department”). He was the chief final policy maker of the Law

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  Department and purportedly he was empowered to prosecute alleged violations of Town Code.

  According to Town Code § 20-22, the Town Attorney purportedly had and has the power to

  “prosecute violations of Town local laws; provided, however, that the Town Attorney may negotiate

  dispositions in such matters.”

         9.       At all times relevant herein, Defendant David J. Moran (“Moran”) was a Deputy

  Town Attorney for the Law Department, in which capacity he often acted for and here did act in

  place of the Town Attorney.

         10.      At all times relevant herein, Moran also was the Director of the Town’s Quality of

  Life Task Force, the advertised purpose of which was to aggressively enforce the Town Code and

  collect the maximum fines from alleged violators.

         11.      At all times relevant herein, Moran was a final policy maker of the Law Department

  and/or the chief final policy maker of the Town’s Quality of Life Task Force.

         12.      At all times relevant herein, Defendant Jennifer Lutzer (“Lutzer”) was an Assistant

  Town Attorney in the Law Department, in which capacity she purported to be empowered to act

  for and here did act on the Town Attorney’s behalf in performing such duties as were and are vested

  in and imposed upon the Law Department. These duties purportedly included and include the

  prosecution of alleged violations of the Town Code and the preparation and filing of all litigation

  papers connected thereto.

         13.      At all times relevant herein, Defendant Valerie Biscardi (“Biscardi”) was the

  Commissioner of the Town Department of Housing and Human Services (“DHHS”).

         14.      As Commissioner, Biscardi was the principal executive officer and administrative

  head of the DHHS, making her the chief final policy maker of the DHHS.

         15.      Unless the context indicates to the contrary, wherever the contraction DHHS is used


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  in this Third Amended Complaint, it shall be construed as though followed by the words “including

  any lawful successor thereof”.

         16.      At all times relevant herein, Defendant Justin Folber (“Folber”) was a DHHS

  Housing Inspector. Folber is the son of Joanne Folber, who works directly under the Town of Islip

  Supervisor as the Director of the Youth Bureau of the Town of Islip.

         17.      At all times relevant herein, Defendant William Powell (“Powell”) was a Senior

  Housing Inspector for the DHHS and acted in a supervisory capacity over Folber.

         18.      Unless stated otherwise, any and all acts or omissions by any officer, agent or

  employee (“Personnel”) of the Town and/or County described below were made pursuant to the

  Town’s and/or the County’s policies, practices, customs and usages (“Practice(s)”, individually,

  “Practice”) or were performed by or at the direction and/or instruction of an officer with final

  policy-making authority.

         19.      The Town, in its motion to dismiss dated February 21, 2014, averred that none of

  its Town Personnel at any time(s) relevant to this civil action violated any of Plaintiff's

  rights/immunities as alleged in Plaintiff’s Second Amended Complaint filed in this action; thereby

  adopting, ratifying and/or condoning its Personnel’s actions as Practice(s) of the Town. To the

  extent such claims by Plaintiff remain in this Third Amended Complaint, the Town continues to

  maintain that none of its Town Personnel at any time(s) relevant to this civil action violated any of

  Plaintiff's rights/immunities.

         20.      Unless stated otherwise, all acts or omissions by any Personnel of Sixth District

  Court of the County of Suffolk (“State Court”) described below were made pursuant to the State

  Court’s policies, practices, customs and usages (“State Court Practice(s)”) or by or at the direction

  and/or instruction of a State Court officer with final policy-making authority.


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         21.      The Suffolk County Job Title descriptions on the Suffolk County Civil Service web

  site provide that the full performance knowledges, skills, abilities and abilities and personal

  characteristics for a Town Attorney and a Deputy Town Attorney should include a “[t]horough

  knowledge of the constitutional and municipal laws …”. See http://apps.suffolkcountyny.gov/

  civilservice/specs/6192spe.html; http://apps. suffolkcountyny.gov /civilservice/specs/6191spe.html.


                                      BACKGROUND FACTS

      A. The Norfleet Property

         22.      From prior to 2011 through the present, Plaintiff has been a legal owner of record

  of a non-majority 50% interest in the improved residential real property at 66 Norfleet Lane, Coram,

  New York (the “Norfleet Property”). The Norfleet Property is located within the Town in the largely

  and historically minority community of Gordon Heights.

         23.      Plaintiff’s brothers, Howard Norton (“Howard”) and Richard Norton (“Richard”)

  own the remaining non-majority 50% interest in the Norfleet Property. Where appropriate, Plaintiff,

  Howard, and Richard will be collectively referred to as the “Owners.”

         24.      At all times relevant herein, the Norfleet Property deed, filed in the Office of the

  Suffolk County Clerk, listed Howard’s only residence address as being in Lynbrook, New York,

  and Richard’s only residence address as being in Topanga, California.

         25.      On April 24, 1978, the Town Building Department issued a certificate of occupancy

  for a single-family dwelling containing three bedrooms and a cellar on the Norfleet Property.

         26.      Town records show two overhangs/canopies as part of the Town’s inventory of

  improvements for assessment and taxation purposes; to wit, the Town’s June 2011 assessment

  records showed the overhangs/canopies formed part of the then assessable and taxable

  improvements on the Norfleet Property.

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          27.        At all times relevant herein, the Owners of the Norfleet Property possessed and

  possess the sole and exclusive right to permit, invite or allow, except in exigent circumstances, any

  Town Personnel onto any part(s) of the Norfleet Property, unless and until Town Personnel obtain

  a validly issued court warrant.

       B. Affirmative Obligation to Prevent Discriminatory Practices

          28.        At all times relevant herein, the County and the Town have both determined to

  apply for and to receive certain housing and community development funds distributed by the U.S.

  Department of Housing and Urban Development (“HUD”) either directly as an “entitlement

  jurisdiction” and/or as a sub-recipient of funds disbursed by New York and/or in the case of the

  Town, by the County.

          29.        As a condition of obtaining the above referred to HUD funds, both the County and

  the Town through the Individual Defendants, and other personnel and/or final policy makers, were

  and are required to affirmatively scrutinize all housing related part(s) of the laws in effect in its

  jurisdiction to:

          (i) determine whether any County laws or regulations and/or Town Local Laws:

                     (a) have the effect of creating housing barriers for protected groups and if
                         so, to affirmatively identify and determine whether such housing related
                         part(s) of the County laws or regulations and/or Town Local Laws were
                         and are necessary to achieve an important objective, have a valid
                         enforcement basis and/or objective and

                     (b) to further identify and to implement all available options to mitigate any
                         and all identified negative impacts and

           (ii) enforce such housing related part(s) of the County laws or regulations and/or
                Town Local Laws in effect in its jurisdiction so as to actively promote
                integration and the right to fair housing within the Town and within the County.

       C. The DHHS and other Town Departments



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         30.      From sometime prior to June 2011 to the present, Section 20-28 of the Town Code

  sets forth the powers and duties of the DHHS. The DHHS oversees federal and state housing

  programs and creates programs to alleviate blighted conditions. The DHHS also coordinates state,

  federal, local, and private agencies in the evaluation of problems and in the delivery and integration

  of specific services and advises on the coordination of all federal and state suburban grant programs.

  Within the DHHS are the Youth Bureau, Senior Citizen, and Women’s Services Divisions. The

  Division of Water Resources programs and veteran services fall under the jurisdiction of the DHHS.

         31.      From sometime prior to June 2011 until sometime after May 2012, the Town

  Department of Building and Fire Prevention was divided into the Division of Building and the

  Division of Fire Prevention.

         32.       The Town Department of Planning, Environment and Land Management includes,

  inter alia, the Division of Building.

         33.      The Town Department of Public Safety includes, inter alia, the Division of Code

  Enforcement and the Division of Fire Prevention.

         34.      From sometime prior to June 2011 to the present, the Division of Building has

  possessed the power and duties “to administer, supervise, manage, coordinate and enforce the

  zoning law and applicable local laws, rules and regulations of the Town of Brookhaven and the

  applicable building codes, both local and state, and any other applicable laws of the State of New

  York, as legally required throughout the Town of Brookhaven, and to review, evaluate, judge and

  advise on applications related thereto.” Town Code § 20-39.4(A)

         35.      From sometime prior to June 2011 to the present, the Division of Fire Prevention

  “shall administer and enforce Group 4 of the local laws of the Town, known as the Fire Prevention

  Local Law of the Town of Brookhaven, [Ch. 30, Fire Prevention] and amendments thereto,


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  including the issuance of permits required by said local law and the collection of fees as set forth

  herein.” Town Code § 20-39.4(B)

         36.        From sometime prior to June 2011 to the present, the Division of Code Enforcement

  within the Department of Public Safety “shall be responsible for enforcement of provisions of the

  Code as follows: . . . shall enforce the Code as it regulates the use of parks and/or property of the

  Town or of the Trustees and Freeholders of the Commonalty of the Town of Brookhaven.” Town

  Code § 20-53.

      D. The DHHS’s Law Enforcement Activity

            37.     From sometime prior to June 2011 to the present, neither New York State law nor

  the Town Code authorized or authorizes DHHS to act as Town Code or State Uniform Code law

  enforcement. Notwithstanding, the DHHS maintained and maintains a staff of inspectors that

  purport or purported to possess the power to enforce Town Code and the State Uniform Code.

            38.      From sometime prior to June 2011 to the present, a “housing inspector”, was and

  is “an employee [] involved in [certain special duties regarding the conduct of] field inspections to

  enforce         compliance    with      applicable       housing    codes      and      ordinances”.

  http://apps.suffolkcountyny.gov/civilservice/specs/5131spe.html.

         39.        Other than as stated in paragraph 42 of this Third Amended Complaint, from

  sometime prior to June 2011 to the present, “housing inspectors” have only been and are only

  mentioned in a limited chapter of the Town Code Ch. 82, but such housing inspectors were and are

  required to work under the direction of the Town’s Chief Building Inspector in order to enforce

  Town Code Ch. 82 laws.




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         40.      Town Code § 82-8 grants authority solely to the Town’s Chief Building Inspector

  to “make or cause to be made inspections to determine the condition of dwellings and to safeguard

  the health, safety, morals and welfare of the public.”

         41.      During the period of time from sometime prior to June 2011 through June 30, 2012,

  none of the DHHS “Housing inspectors” performing as DHHS “Housing inspectors” under

  direction of the Commissioner of DHHS were authorized to enforce Ch.16 (Building Code), Ch. 30

  (Fire Prevention), Ch. 45 (Sanitary Code), or Ch. 85 (Zoning).

         42.      During the period of time from July 1, 2012 to the present, none of the DHHS

  “Housing inspectors” have performed as DHHS “Housing inspectors” under direction of the

  Commissioner of DHHS and were and are not authorized to enforce Ch.16 (Building Code), Ch.

  30 (Fire Prevention), Ch. 45 (Sanitary Code), or Ch. 85 (Zoning).

         43.      During a conversation in early 2013, the former deputy commissioner of the DHHS

  Roberta A. Owens (“Owens”) informed Plaintiff that in 2011 and 2012 the DHHS deployed its

  housing inspectors to certain United States census tracts (“Census Tracts”) of the Town to inspect

  and to investigate for alleged violations of New York State Uniform Code, the Town’s Building

  Code (Ch. 16), zoning ordinances (Ch. 85), fire prevention regulations (Ch. 30), Sanitary Code (Ch.

  45) and Housing Code (Ch. 82) but further said that the Census Tract which included the Norfleet

  Property was not among the Census Tracts to which the DHHS housing inspectors were then

  deployed.

         44.      In 2011 and 2012, the Census Tract which included within it the Norfleet Property

  was not among the Census Tracts to which the DHHS housing inspectors were then deployed by

  the DHHS.




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         45.     Sometime prior to June 2011, the Town passed a local law to allow certain public

  servants, including “housing inspectors,” to issue appearance tickets for violations of Local Laws

  of the Town which the public servants are “authorized or required to enforce.” --
                                                                                 See former Town

  Code Ch. 5 and Town Code Ch. 5.

         46.     On April 23, 2013, the Town set forth a resolution for a public hearing to amend §

  5-3 of Town Code Ch. 5 to “authorize building inspectors assigned to the [DHHS] to issue and

  serve appearance tickets for violations of the Brookhaven Town Code.

         47.     On May 21, 2013, Section § 5-3 of Town Code Ch. 5 was amended by L.L. No. 26-

  2013, effective on or about June 5, 2013 to purportedly permit “Housing inspectors and building

  inspectors assigned to the Housing and Human Services Department “to issue and serve an

  appearance ticket … with respect to the violation of any provision of legislation adopted by the

  Town Board”.

         48.     From sometime prior to June 2011 until at least the day in 2013 (when Biscardi’s

  employment with the Town ended), the DHHS housing inspectors, including senior housing

  inspector(s), were supervised, directed and instructed by the Commissioner of DHHS.

         49.     From sometime prior to June 2011 until at least the day in 2013 (when Biscardi’s

  employment with the Town ended), Folber served as a DHHS housing inspector and as such could

  not enforce and issue appearance tickets for alleged Local Law violations under Town Code Ch. 82

  since during said time he did not act at the direction of the Town’s Chief Building Inspector

  pursuant Town Code § 82-8.

         50.      From sometime prior to June 2011 until the day in 2013 (when Biscardi’s

  employment with the Town ended), she did not, within the period of time required by the Uniform




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  Code regulations, take and complete the required basic code training program entitled Minimum

  Standards for Code Enforcement Personnel.

         51.      At all relevant times during all of June 2011through and until the day in 2013 (when

  Biscardi’s employment with the Town ended), she lacked the minimum qualifications required to

  supervise, direct, or instruct others on how and to what extent to enforce the State Uniform Code.

         52.      Folber failed to complete the required basic training program entitled Minimum

  Standards for Code Enforcement Personnel within the time period provided by Uniform Code

  regulations.

         53.      At all relevant times, during the time period between June 2011 and April 2012,

  Folber lacked the minimum qualifications to enforce the State Uniform Code.

         54.      Upon information and belief, during all times relevant herein to Plaintiff’s

  monetary damages claimed herein, the Town’s Chief Building Inspector did not designate Folber,

  Biscardi or any DHHS inspectors as his designated and authorized subordinate officer(s) authorized

  to administer or enforce any or all of Town Code Chs. 16, 30, 45, 82 and or 85 or New York

  Executive Law Article 18 or the State Uniform Code. This was confirmed to Plaintiff by New York

  State Department of State (“DOS”) Regional officer, Richard Smith (“Smith”).

         55.      During all times relevant to Plaintiff’s monetary damages claimed herein, the

  Town’s Chief Building Inspector did not designate Folber, Biscardi or any DHHS inspectors as his

  designated and authorized subordinate officer(s) authorized to administer or enforce any or all of

  Town Code Chs. 16, 30, 45, 82 and or 85 or New York Executive Law Article 18 or the State

  Uniform Code as regards Plaintiff.

         56.      In response to a FOIL request, submitted by Plaintiff for all administrative staff

  manuals and instructions (including those from DHHS) that concern the administration of (i) New


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  York State’s Uniform Fire Prevention and Building Code Act; (ii) the New York State Uniform

  Code; (iii) New York State’s Criminal Procedure Laws, and/or (iv) the Town Code, the Town

  responded: “We do not have any Standard Operating Procedure Manuals that are used by our Town

  Investigators. They follow the New York State and Town Code”. At all times relevant to this action,

  the Town did not have and presently does not have any Standard Operating Procedure Manuals that

  are used by its Town inspectors or investigators.

      E. The State Uniform Fire Prevention and Building Code Act

         57.      The State Uniform Fire Prevention and Building Code Act (New York Executive

  Law Article 18) provides that every local government must administer and enforce the State

  Uniform Fire Prevention and Building Code (“State Uniform Code” or “Uniform Code”) on or after

  January 1, 1984 unless that local government enacted a local law providing that it will not enforce

  the Uniform Code, then the county in which the local government is situated must administer and

  enforce the Uniform Code.

         58.      From June 2011 through to the present, the Uniform Code required and requires

  that the local government clearly identify the “persons, offices, departments, agencies or

  combinations thereof authorized and responsible for administration and enforcement of the

  Uniform Code.” 19 N.Y.C.R.R. 1203.2(f).

         59.      During the time period from June 2011 through to the present, the Town did not

  clearly identify the DHHS as a department or office or agency or combination thereof, or Folber,

  Powell, Biscardi, Quinlan, Lutzer, Moran or Belano as entities or persons authorized and

  responsible for administration and enforcement of the Uniform Code.

         60.      The Uniform Code prohibits a local government from making an agreement “by

  which building permits, certificates, orders or appearance tickets related to administration and


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  enforcement of the Uniform Code are issued by other than public officers.” 19 N.Y.C.R.R.

  1203.2(e)(2).

         61.      Every local government charged with the administration and enforcement of the

  Uniform Code shall provide for such administration and enforcement by local law, ordinance or

  other appropriate regulation. 19 N.Y.C.R.R. 1203.2(a). Any such instrument or combination thereof

  shall include the features described in 19 N.Y.C.R.R. 1203.3(a).

         62.      Every local government charged with the administration and enforcement of the

  Uniform Code shall annually submit to the Secretary of State, on a form prescribed by the Secretary,

  a report (“Enforcement Report”) of its activities relative to administration and enforcement of the

  Uniform Code. 19 N.Y.C.R.R. 1203.3(4).

         63.      While a local government is not prohibited from adopting or enacting any building

  regulations relating to any matter that the Uniform Code does not provide, “no municipality shall

  have the power to supersede, void, repeal or make more or less restrictive any provisions of [Article

  18] or of rules or regulations made pursuant hereto.” Executive Law § 379(3).

         64.      Subject to exceptions not applicable here, Executive Law § 383 preempts general

  New York State laws and Local Laws by providing that the “provisions of this article and of the

  uniform fire prevention and building code shall supersede any other provision of a general, special

  or local law, ordinance, administrative code, rule or regulation inconsistent or in conflict therewith.”

         65.      Executive Law § 382 sets forth the Uniform Code violations and penalties along

  with delegating to local governments and its authorized agents the power to order in writing the

  remedying of any condition found to exist in, on or about any building in violation of the Uniform

  Code and to issue appearance tickets for violations of the Uniform Code.




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         66.        Neither New York Executive Law Article 18 nor the Uniform Code delegates any

  power to local governments or their personnel to prosecute criminal violations of the Uniform Code.

         67.        From sometime prior to June 2011 through the present, there were and are only two

  ways to be criminally in violation of the Uniform Code:

            (a). First, if a defendant is (1) “served, either personally or by registered or certified mail,

   with an order to remedy any condition found to exist in, on, or about any building in violation of

   the uniform fire prevention and building code” and (2) “fail[s] to comply with such order within

   the time fixed by the regulations promulgated by the secretary pursuant to subdivision one of

   section three hundred eighty-one of this article, such time period to be stated in the order.”

         (b). Second, if a defendant (1) is an “owner, builder, architect, tenant, contractor,

   subcontractor, construction superintendent or their agents or any other person,” (2) “tak[es] part

   or assist[s] in the construction of any building,” and (3) “knowingly violate[s] any of the

   applicable provisions of the uniform code or any lawful order of a local government, a county or

   the secretary made thereunder regarding standards for construction, maintenance, or fire protection

   equipment and systems.”

         68.        Until on or about December 2014, no time was fixed by any regulation promulgated

  by the New York State Secretary of State pursuant to subdivision one of Executive Law § 381,

  upon which a person, by an authorized officer, could be served any Executive Law § 382 order to

  remedy.

         69.        During all times relevant herein, Executive Law § 382(2) set forth the criminal

  punishments for violating the Uniform Code: to wit, a violation “shall be punishable by a fine of

  not more than one thousand dollars per day of violation, or imprisonment not exceeding one year,

  or both.”


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          70.     DOS Uniform Code Practice(s) in part were and are detailed in: (a) a DOS

  publication entitled “Administration and Enforcement of the Uniform Fire Prevention and

  Building Code and the Energy Conservation Construction Code”, Revision Date: January 2008;

  available at:

  http://www.dos.ny.gov/lg/publications/Administration_and_Enforcement_of_the_Uniform_Code.

  pdf and (b) a DOS Office of General Counsel Legal Memorandum entitled “The Uniform Code

  and Local Authority” dated July 2007 and available at http://www.dos.ny.gov/cnsl/lg07.htm

       F. Town Code Relating to New York Executive Law Article 18 and the Uniform Code

          71.     Brookhaven has not opted out of enforcement of the Uniform Code.

          72.     From sometime prior to June 2011 through on or about January 2014 Town Code

  § 16-2(A) provided:

                         The Division of Building shall be responsible for the administration
                         and enforcement of the New York State Uniform Fire Prevention
                         and Building Code and all other applicable laws, ordinances, rules
                         and regulations relating to the use, occupancy and/or construction of
                         real property or buildings or structures located thereon, and such
                         other matters as may from time to time be referred to such Division.
                         Such general powers and duties shall be administered under the
                         general supervision of the Commissioner of Building and Fire
                         Prevention.

          73.     Town Code § 16-2(A) presently provides:

                         The Division of Building shall be responsible for the administration
                         and enforcement of the New York State Uniform Fire Prevention
                         and Building Code and all other applicable laws, ordinances, rules
                         and regulations relating to the use, occupancy and/or construction of
                         real property or buildings or structures located thereon, and such
                         other matters as may from time to time be referred to such Division.
                         Such general powers and duties shall be administered under the
                         general supervision of the Commissioner of Planning, Environment
                         and Land Management.




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         74.       From sometime prior to June 2011 to on or about January 2014, Town Code § 16-

  2(B) provided:

                          The Chief Building Inspector, any Building and Zoning Inspector or
                          any Building Inspector as designated by the Commissioner of
                          Building and Fire Prevention shall have the full power, authority and
                          responsibility to undertake and perform all acts and duties
                          performed by the Chief Building Inspector in accordance with the
                          Town Code. The Chief Building Inspector and any Building and
                          Zoning Inspector and any Building Inspector as designated by the
                          Commissioner pursuant to this subsection shall be subject to the
                          supervision and direction of the Commissioner of Building and Fire
                          Prevention.


         75.       Town Code § 16-2(B) presently provides:

                          The Chief Building Inspector, any Building and Zoning Inspector or
                          any Building Inspector as designated by the Commissioner of
                          Building and Fire Prevention shall have the full power, authority and
                          responsibility to undertake and perform all acts and duties
                          performed by the Chief Building Inspector in accordance with the
                          Town Code. The Chief Building Inspector and any Building and
                          Zoning Inspector and any Building Inspector as designated by the
                          Commissioner pursuant to this subsection shall be subject to the
                          supervision and direction of the Commissioner of Planning,
                          Environment and Land Management.

         76.       From sometime prior to June 2011 to on or about January 2014, Town Code § 16-

  2(C) required a “Chief Building Inspector, any Building and Zoning Inspector and any Building

  Inspector as designated by the Commissioner of Building and Fire Prevention in § 16-2B [to]

  possess the minimum experience and qualifications as established by the Suffolk County

  Department of Civil Service for the position of "Chief Building Inspector.”

         77.       Town Code § 16-2(C) presently requires a “Chief Building Inspector, any Building

  and Zoning Inspector and any Building Inspector as designated by the Commissioner of Planning,

  Environment and Land Management in § 16-2B [to] possess the minimum experience and



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  qualifications as established by the Suffolk County Department of Civil Service for the position of

  "Chief Building Inspector.”

         78.      From sometime prior to June 2011 to the present, the minimum qualifications for

  the Suffolk County Department of Civil Service for the position of “Chief Building Inspector” are

  as follows:

                       (a) Graduation from a New York State or Regionally accredited
                           college or university with a Bachelor of Science Degree in
                           Architecture, Civil Engineering, Construction Technology or a
                           related field and four (4) years of experience in building
                           construction or inspectional or investigative work enforcing
                           codes and ordinances relating to the safety of building
                           structures and occupancy, three (3) years of which must have
                           been in a supervisory capacity; or,

                       (b) Graduation from a standard senior high school, vocational
                           school or possession of a high school equivalency diploma and
                           eight (8) years of experience as described in (a) above, three (3)
                           years of which must have been in a supervisory capacity.

         79.      From sometime prior to June 2011 to the present, all employees hired or retained

  as a Chief Building Inspector (or other inspector) have been required to successfully complete the

  required basic training program entitled Minimum Standards for Code Enforcement Personnel

  established by the State of New York Fire Fighting and Code Enforcement Personnel Standards

  and Education Commission within the appropriate time period as specified in the regulations, and

  upon completion and have been and are required to attend New York State’s required in-service

  training programs.

         80.      Town Code § 16-8 sets forth “penalties for offenses”:

                  A.      Any violation of the New York State Uniform Fire Prevention and
                          Building Code shall be considered a violation of this chapter.

                  B.      Any person who shall violate any of the provisions of this chapter,
                          including the failure, refusal or neglect to comply with an order
                          issued by the Chief Building Inspector, shall be guilty of a

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                         misdemeanor and upon conviction thereof shall be punishable for a
                         first offense by a fine not less than $1,000 and not to exceed $3,000
                         or a term of imprisonment not to exceed six months, or both; for a
                         second offense by a fine not less than $3,000 and not to exceed
                         $5,000 or a term of imprisonment not to exceed six months, or both;
                         and for a third or subsequent offense within a five-year period, by a
                         fine of not less than $5,000 and not to exceed $10,000 or a term of
                         imprisonment not to exceed six months, or both.

                  C.     Each week, or part thereof, such violation continues following
                         notification by the Town shall constitute a separate offense
                         punishable in like manner.

                  D.     The owner or owners of any building or premises or part thereof, or
                         any person in possession thereof where any violation of this
                         ordinance has been committed or shall exist, and any architect,
                         builder, contractor, agent, person or corporation who knowingly
                         commits, takes part or assists in any such violation, or who
                         maintains any building, structure or premises in which any such
                         violation exists, shall each be guilty of a misdemeanor and upon
                         conviction thereof shall be punishable for a first offense by a fine
                         not less than $1,000 and not to exceed $3,000 or a term of
                         imprisonment not to exceed six months, or both; for a second
                         offense by a fine not less than $3,000 and not to exceed $5,000 or a
                         term of imprisonment not to exceed six months, or both; and for a
                         third or subsequent offense within a five-year period, by a fine of
                         not less than $5,000 and not to exceed $10,000 or a term of
                         imprisonment not to exceed six months, or both.

                  E.     In addition to the above penalty, any appropriate action or
                         proceeding may be instituted or taken to prevent any unlawful
                         construction, erection, alteration, repair, maintenance or use or to
                         restrain, correct or abate any violation or to prevent the occupancy
                         of any such building, structure or premises or to prevent any illegal
                         act, conduct, business or use in or about such building, structure or
                         premises.

         81.      At all times relevant herein, Town Code § 30-8(H) vested and vests in the Division

  of Fire Prevention of the Town of Brookhaven (“Division of Fire Prevention”) the authority “to

  enforce the applicable provisions of the [Uniform Code] in addition to any other laws, rules, codes

  or regulations duly adopted by the Code of the Town of Brookhaven.”



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          82.     At all times relevant herein, the State Fire Prevention and Building Code Council

  (“Code Council”) was and is required to approve Local Laws with a “more restrictive local

  standard” (or “MRLS”). One of the conditions for approval of a MRLS is that the MRLS is

  “reasonably necessary because of special conditions prevailing within the municipality”.

          83.     The Town has never notified and petitioned the Code Council for its approval

  within 30 days of the Town’s passage of any of Town Code Ch. 16 or Ch. 82 Local Laws, nor has

  the Town received approval from the Code Council of any Town Code Ch. 16 or Ch. 82 Local

  Laws.

          84.     The Town has never notified and petitioned the Code Council for its approval

  within 30 days of the Town’s passage of any of Town Code Ch. 30 Local Laws, nor has the Town

  received approval from the Code Council of any Town Code Ch. 30 Local Laws except as otherwise

  provided as per http://www.dos.ny.gov/DCEA/mrls.html.

          85.     All Town Local Laws containing a MRLS not petitioned and notified to the Code

  Council within 30 days of the passage of the Local Law were and are pre-empted by the Uniform

  Code.

          86.     All Local Laws that duplicate the Uniform Code and have not expressly been

  authorized by the Code Council were and are pre-empted by the Uniform Code.

          87.     At all times relevant herein, Town Code § 16-8 was and is inconsistent with and/or

  in conflict with the Uniform Code and was and is legally void.

          88.     At all times relevant herein, Town Code § 30-16 provides for similar penalties for

  offenses as § 16-8 and was and is inconsistent with and/or in conflict with the Uniform Code and

  was and is legally void.

          89.     At all times relevant herein, Town Code § 82-14 provides for similar penalties


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  for offenses as §§ 16-8 and 30-16 and was and is also inconsistent with and/or in conflict with the

  Uniform Code and was and is legally void.

         90.      In its 2011 annual 19 N.Y.C.R.R. 1203.3(4) Enforcement Report to the DOS

  (“Enforcement Report”), the Town did not report Folber, Powell, Biscardi, Guendel, Moran, Lutzer,

  Belano, or Quinlan as among its officers administering and enforcing the Uniform Code.

         91.      In its 2011 annual Enforcement Report, the Town did not list any Law Department

  or DHHS Personnel as administering and enforcing the Uniform Code or report the activities of any

  Law Department or DHHS Personnel as Town actors administering and enforcing the Uniform

  Code. Rather, the Enforcement Report only listed the administration and enforcement authority and

  enforcement activities of the Town’s Chief Building Inspector Arthur Gerhauser (“Gerhauser”) and

  of his subordinate officers.

         92.      In a November 6, 2013 response to a FOIL request to the DOS, the DOS reported

  that the Town had not filed with the DOS the Town’s required under 19 N.Y.C.R.R. 1203.3(4) 2012

  Enforcement Report or any part thereof.



         93.      On information and belief, the Town has not filed with the DOS the Town’s

  required under 19 N.Y.C.R.R. 1203.3(4) 2012 Enforcement Report or any part thereof.

                                         INVESTIGATIONS

      A. Initiation of Investigation

         94.      On June 9, 2011, the District Court of the County of Suffolk, Fifth District

  dismissed two separate criminal actions, commenced and continued by the Town of Islip against

  Howard, one of which was brought under the Town of Islip’s rental permit law.

         95.      From on or about January 2008 to on or about January 2010, defendant Quinlan


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  served as the Town Attorney for the Town of Islip

         96.      Joanne Folber, mother of Defendant Folber, was and is the Town of Islip Youth

  Bureau Executive Director.

         97.      At all times relevant herein, the Town of Brookhaven’s Youth Bureau has been and

  is part of the Town of Brookhaven’s DHHS.

         98.      Within two weeks of the dismissal of the two above referenced criminal actions

  involving the Town of Islip, Folber visited the Norfleet Property.

         99.      In response to a FOIL request from Plaintiff, the Town did not produce any records

  identifying any complaints against the Norfleet Property that could or would have resulted in any

  complaint driven Town inspection or investigation of the Norfleet Property by Folber or by any

  other Town Personnel.

         100.     From some time prior to June 2011 to the present, the Uniform Code required and

  requires local governments to keep records of complaints and investigations.

         101.     Upon information and belief, the investigation of the Norfleet Property was

  initiated or instigated by or on request of Town of Islip officer(s) and was approved and condoned

  by Town officer(s).

      B. Letter Orders

         102.     By letter order dated June 22, 2011, Folber ordered Owners to correct the following

  three alleged violations: (1) renting without a valid rental permit; (2) overhang on right of dwelling

  needs a permit; and (3) certificate of occupancy required for side overhang.

         103.     The June 22, 2011 letter order was on Town letterhead and at the bottom stated,

  “BY DIRECTION OF COMMISSIONER VALERIE BISCARDI.”

         104.     The June 22, 2011 letter order was


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         a.   addressed to “Howard, Richard, & Jerome Norton” and mailed to Plaintiff’s address in
              Syosset, NY (“Syosset Address”);

         b. claimed to be sent in accordance with the Town Code and Property Maintenance Code
            of New York State;

         c. stated that the violations “must be addressed no later than July 6, 2011”;

         d. stated: “Following your compliance an inspection will be conducted after the time listed
            above [July 6, 2011]”;

         e. stated that “if it is found that the violation(s) still exist, OR that an inspection has not
            been requested an appearance ticket(s) will be issued.” (emphasis in original); and

         f. provided the following notice:

                  YOU ARE GIVEN NOTICE THAT FAILURE TO COMPLY WITH
                  THIS ORDER CONSTITUTES AN OFFENSE PURSUANT TO THE
                  NEW YORK STATE UNIFORM FIRE PREVENTION AND
                  BUILDING CODE OR THE CODE OF THE TOWN OF
                  BROOKHAVEN AND SHALL BE PUNISHABLE BY A FINE OR
                  IMPRISONMENT OR BOTH

         105.     The June 22, 2011 letter order used a form that was directed for use and approved

  for use by DHHS Personnel by Biscardi.

         106.     On June 30, 2011, Howard sent a letter addressed to Folber responding to the June

  22, 2011 letter order. The response:

         a. advised in that letter that the June 22, 2011 letter order was improperly mailed to him at
            the Syosset Address;

         b. addressed the legality of the overhangs and advised in the letter and through attachments
            that notwithstanding the legality of the overhangs, the overhang on the left or east side
            of the dwelling had been removed;

         c. complained that the Town’s rental permit law (Town Code § 82-10 (the “Town Rental
            Permit Law”)) was illegal and unconstitutional and threatened suit against the Town and
            individuals involved in the enforcement of that law;

         d. directed that future correspondence regarding the letter order be sent to his attorney; and

         e. was copied and sent by certified mail to Biscardi and Owens.

         107.     After Howard’s June 2011 letter but prior to Folber’s July 11, 2011 visit to the

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  Norfleet Property, a meeting between Folber, Moran, and/or Biscardi took place to discuss the

  investigation of the Norfleet Property.

         108.     Upon information and belief, at the meeting described in Paragraph “107” above,

  Moran advised and encouraged Biscardi to instruct and/or direct Folber to expand the investigation,

  including instructing and/or directing Folber, as a DHHS employee, to physically intrude upon the

  Norfleet Property (including among other areas, the curtilage thereof), although Moran and Biscardi

  knew that no prior search request had been approved by any or all of the Owners of the Norfleet

  Property and without a search warrant duly issued by an appropriate court and in the absence of

  exigent circumstances to obtain information relevant for criminal action(s), including but not

  limited to alleged violation(s) of the Town Code Ch. 82.

         109.     Upon information and belief, at the meeting described in Paragraph “107” above,

  Moran advised and encouraged Biscardi, and Biscardi instructed and/or directed Folber, as a

  subordinate DHHS employee, to expand the investigation and to physically intrude upon the

  Norfleet Property (including, among other areas, the curtilage thereof), although Moran and

  Biscardi knew no prior search request had been approved by any or all of the Owners of the Norfleet

  Property, that a search warrant had not been duly issued by an appropriate court, and that there

  was an absence of exigent circumstances to justify obtaining information relevant for criminal

  action(s), including but not limited to alleged violation(s) of the Town Code Ch. 82.

         110.     On July 11, 2011, Folber physically intruded upon the Norfleet Property without

  receiving the prior consent of any of the Owners of the Norfleet Property, and in the absence of a

  warrant duly issued by an appropriate court, or exigent circumstances. The intrusion was intended

  to obtain information to be used in connection with criminal investigation(s) and/or criminal

  prosecution(s), in violation of, inter alia, then Town Code §§ 82-8(B)-(C) and 82-9.


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         111.     From the time period of June 2011 through April 2012, none of the inspections or

  physical intrusions by Folber upon the Norfleet Property, took place while Folber was acting as a

  subordinate officer of Gerhauser.

         112.     From the time period of June 2011 through April 2012, none of the violation

  notices, appearance tickets or accusatory instruments issued by Folber, took place while Folber was

  acting as a subordinate officer of Gerhauser.

         113.     On July 11, 2011, Rachel Sims and Marc Sims were occupants of the Norfleet

  Property.

         114.     On information and belief, during the fourth quarter of 2010, Folber attended New

  York State’s Department of State’s Introduction to Code Enforcement Practices 1 and 2 training

  class, and he was thereby trained to create and maintain contemporaneous written records detailing:

          (a) how on July 11, 2011, Folber determined whether or not he became authorized by any

         person(s) with sufficient power, dominion and control over the Norfleet Property to lawfully

         authorize Folber to conduct the on-site physical inspections and seizures of the Norfleet

         Property; and

         (b) whatever he communicated on July 11, 2011 to any person(s) who he thought might

         permit him to lawfully conduct any on-site interior and/or exterior inspection(s) of the

         Norfleet Property (in order to potentially become authorized to conduct on-site interior

         and/or exterior inspection(s) and/or seizure(s) of said Norfleet Property).

         115.     Despite his training, Folber did not create and did not maintain any

  contemporaneous written record(s) detailing how he purportedly became authorized by any

  person(s) with sufficient power, dominion and control over the Norfleet Property to lawfully

  conduct the on-site physical inspections and seizures he conducted on July 11, 2011.


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         116.     Despite his training, Folber did not create and did not maintain any

  contemporaneous written record(s) of what he on July 11, 2011 may claim he communicated to

  Marc Sims (“Sims”) to become legally able to conduct the on-site interior and exterior inspections

  of the Norfleet Property he actually conducted on July 11, 2011, wherein he did take, seize and

  retain the photographs he took of the Norfleet Property.

         117.      Despite his training, Folber did not create and maintain any contemporaneous

  written record(s) detailing what (if anything) Folber may claim Sims (in response) communicated

  back to him on July 11, 2011, prior to conducting the on-site interior and exterior inspections of the

  Norfleet Property he actually conducted on July 11, 2011, wherein he did take, seize and retain the

  photographs he took of the Norfleet Property.

         118.     To gain access to the dwelling and entire Norfleet Property, Folber falsely advised

  Sims on July 11, 2011 that he (Folber) was at the Norfleet Property to do an interior and exterior

  inspection at the request of “Mr. Norton”.



         119.     The Sims were not authorized to permit an inspection of the Norfleet Property.

  However, since Folber misrepresented to Sims that the inspection was authorized by “Mr. Norton,”

  Sims acquiesced to Folber’s request to inspect the Norfleet Property.

         120.     On July 11, 2011, Folber searched the Norfleet Property, including the house,

  basement and curtilage, and unlawfully and unconstitutionally seized, took and retained

  photographs of the exterior and interior of the house, basement and the curtilage of the Norfleet

  Property.

         121.     In the morning of July 12, 2011, Folber visited Moran to discuss “new info”

  regarding the Norfleet Property investigation and sought Moran’s direction.


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          122.     As a result of this inspection and the direction and/or instruction of Moran and/or

  Biscardi, Folber sent a letter order dated July 12, 2011 re-ordering the correction of the original

  three June 22, 2011 alleged violations and ordered the correction of an additional sixteen alleged

  violations (for a total of nineteen).

          123.     The July 12, 2011 letter order:

              a. was on Town letterhead and at the bottom stated that “BY DIRECTION OF
                 COMMISSIONER VALERIE BISCARDI.”;

              b. was addressed and sent via certified mail to “Howard, Richard, & Jerome Norton”
                 at Plaintiff’s Syosset Address;

              c.   stated it was sent in accordance with the Town Code and Property Maintenance
                   Code of New York State;

              d. stated that the violations “must be addressed immediately.”;

              e. stated that a compliance inspection would take place after July 26, 2011;

              f. contained the additional notice that, “if it is found that the violation(s) still exist, OR
                 that an inspection has not been requested an appearance ticket(s) will be issued.”
                 (emphasis in original); and

              g. provided the same notice as the prior letter order:

                   YOU ARE GIVEN NOTICE THAT FAILURE TO COMPLY WITH
                   THIS ORDER CONSTITUTES AN OFFENSE PURSUANT TO THE
                   NEW YORK STATE UNIFORM FIRE PREVENTION AND
                   BUILDING CODE OR THE CODE OF THE TOWN OF
                   BROOKHAVEN AND SHALL BE PUNISHABLE BY A FINE OR
                   IMPRISONMENT OR BOTH

          124.     The July 12, 2011 letter order used a form that Biscardi directed to be used and

  approved for use by DHHS Personnel.

          125.     On July 13, 2011, Folber informed Moran that the letter order was sent by certified

  mail and told Moran that he would keep him updated if he hears anything further from Howard or

  his attorney.

          126.     In response to the July 12, 2011 letter order, on July 26, 2011, Plaintiff both mailed

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  to Folber and hand delivered to the Town Clerk’s office (for further delivery to Folber), a letter and

  attachments, including a six (6) page affidavit concerning the Norfleet Property.

         127.     Plaintiff in his affidavit (a) objected to Folber’s authority to administer or enforce

  the Town Code Chs. 16, 30, 45, 82, 85 or the Uniform Code, especially under the Commissioner of

  DHHS; and (b) objected to the Town Rental Permit Law as invalid and unconstitutional.

         128.     A copy of the letter and enclosures were sent to Biscardi, Owens and Town Clerk

  Patricia Eddington (“Eddington”).

         129.     On August 3, 2011, Plaintiff sent Folber a letter, enclosing a copy of an electrical

  inspection certificate dated August 3, 2011 which stated in relevant part “66 Norfleet Lane [w]as

  examined and found to be in compliance with the Residential Code and Building Code of New

  York”. A copy of the letter and enclosure were sent to Biscardi, Owens and Eddington.

         130.     In a August 26, 2011 letter order, Folber reissued the contents of the July 12, 2011

  letter but made these changes (a) added toward the top of the letter it was the “final notice before

  tickets”; (b) substituted violation number two of “[o]verhang on right of dwelling needs a permit”

  with “Engineers report needed for front porch/porch roof”; and (c) required the Owners to schedule

  a compliance inspection no later than September 6, 2011.

         131.     The August 26, 2011 letter was sent via certified mail to “Howard, Richard, &

  Jerome Norton” at Plaintiff’s Syosset Address.

         132.      The August 26, 2011 letter order made use of a form that was then directed for use

  (by DHHS Personnel) and approved by Biscardi..

         133.     On September 6, 2011, in an attempt to show the lack of any violations, Plaintiff

  sent Folber a letter and enclosure in which letter Plaintiff repeated the information he had earlier

  conveyed to Smith, that Plaintiff would permit a warrantless inspection of the Norfleet Property by


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  the Town Chief Building Inspector or an authorized subordinate officer selected by him, if the Town

  Chief Building Inspector found the inspection necessary.

         134.     A copy of this letter and enclosure were sent to Biscardi, Owens and Eddington and

  a copy of the letter and enclosure was faxed to Folber on September 6, 2011.

         135.     On September 7, 2011, Folber again met with Moran to discuss the Norfleet

  Property investigation. Upon information and belief, Folber discussed with Biscardi his meeting

  with Moran and requested and had a second meeting that same day among the three of them.

         g. Appearance Tickets and Attempted Service

         136.     Despite Folber having knowledge that Plaintiff was one of three owners of the

  Norfleet Property (as demonstrated by his multiple letters and Howard’s response to the initial

  letter), in September 2011, Folber issued fourteen purported appearance tickets (“Appearance

  Tickets”) to only Plaintiff.

         137.     Upon information and belief, Folber issued no purported appearance tickets under

  either Town Code § 85-17 or under Town Code § 85-20 in an attempt to avoid any appeal to the

  Town Zoning Board of Appeals by Plaintiff, which was done in response to e-mails Plaintiff sent

  to then Assistant Town Attorney in the Law Department Julie Yodice informing her of his ability

  to make such an appeal.

         138.     The factual section of all but three Appearance Tickets was left blank. Two just had

  the letters “Bm” and the other had the word “porch.”

         139.     All the Appearance Tickets stated that each and every alleged violation occurred at

  11:51 a.m. on July 11, 2011.

         140.     All Appearance Tickets notified Plaintiff that he must appear at the District Court

  of the County of Suffolk, Sixth District, in Patchogue, New York (“State Court”) on December 22,


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  2011. This date was over three months from the date the Appearance Tickets were issued and the

  last session of State Court Town Ordinance Court proceedings before Christmas and the New Year.

         141.     All Appearance Tickets required Plaintiff to arrive at the State Court at 9:00 a.m.

  even though from sometime prior to December of 2011 through April 19, 2012, State Court Town

  Ordinance Court proceedings at least as a general rule and on all days when Plaintiff’s State Court

  criminal proceedings occurred, did not begin until at the earliest 9:30 a.m. (because the State Court

  Judge did not appear until at the earliest 9:30 a.m.). The Law Department typically used this time

  to speak with defendants to convince them to resolve the case(s). These defendants were mostly

  unrepresented by counsel and were unlikely to know whether an information was jurisdictionally

  defective because it, inter alia, contained hearsay, did not cover all exceptions to the statute, or

  lacked particular element(s) of proof. Once the State Court Town Ordinance Court proceedings

  began, the Law Department continued to speak with and negotiate settlement pleas with

  unrepresented defendants both inside and outside the courtroom.

         142.     Any alleged violations of Town Code §§ 82-3E, 82-3F and 82-10 were and are

  legally void because each such Town Code section was and is inconsistent with and/or in conflict

  with the Uniform Code and/or unlawful under New York Town Law § 262 and/or unlawful under

  New York General Municipal Law 239-m and/or the alleged conduct was not unlawful and/or any

  proscribed conduct was not clearly defined (constitutionally void for vagueness) and/or because

  any alleged violations of Town Code §§ 82-3E, 82-3F and 82-10 lacked reasonable or probable

  cause and were facially insufficient under CPL § 100.40, and/or because Folber was an

  unauthorized complainant and/or because any alleged violation of Town Code §§ 82-3E, 82-3F and

  82-10 could not (and cannot be) lawfully criminally prosecuted under any power any defendant(s)

  may claim arose/arise from New York Executive Law Article 18 or from the Uniform Code.


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         143.     On September 9, 2011, Folber requested Moran meet with him and Biscardi and

  informed Moran that the appearance tickets for multiple violations were issued and would be served

  the following week.

         144.     Despite issuing the Appearance Tickets, Folber did not serve them on Plaintiff.

         145.     Instead, Folber (and/or another public officer or officer(s) at the Town) hired or

  delegated the service of the Appearance Tickets to a private investigation firm, Robert Guendel

  Private Investigations, Inc. (“RGPI”), owned by Robert Guendel (“Guendel”).

         146.     Guendel was not a Town public servant, nor was he authorized by state law or local

  law to issue and/or to serve appearance tickets.

         147.     Guendel certified, in a claim voucher he sent on behalf of RGPI, that the Town

  authorized him to serve Plaintiff.

         148.     On September 16, 2011, non-public servant Guendel was not given permission to

  pass through the gatehouse of Plaintiff’s Syosset community to attempt service.

         149.     Notwithstanding, Guendel swore in two affidavits of service he executed on

  September 19, 2011, he, on September 16, 2011 served the Appearance Tickets upon a Kevin

  O’Grady (“O’Grady”), a resident at Plaintiff’s Syosset Address. Guendel swore in the two affidavits

  that he mailed a copy of the Appearance Tickets to Plaintiff’s Syosset Address.

         150.     On September 16, 201, Guendel lacked reasonable cause to believe that Plaintiff

  had committed the crimes alleged in the misdemeanor level Appearance Tickets he allegedly served

  upon O’Grady.

         151.     On September 16, 201, Guendel lacked reasonable cause to believe that Plaintiff

  had committed in his presence, the petty offenses alleged in the violation level Appearance Tickets

  he allegedly served upon O’Grady.


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         152.     Upon information and belief, Grady was a gatehouse guard or attendant at the front

  entrance to Plaintiff’s condominium community, but at no times was he a resident at the Syosset

  Address.

         153.     RGPI was paid $565.00 from the Town for its purported services.

         h. Continued Good Faith Efforts to Show Compliance

         154.     On September 19, 2011, Plaintiff met with Owens in her Town office regarding the

  Norfleet Property.

         155.     During that meeting, Owens advised Plaintiff she had e-mailed and otherwise

  communicated with Biscardi earlier that month about Plaintiff’s desire to resolve any concerns the

  Town might have regarding the Norfleet Property by means other than litigation.

         156.     Plaintiff offered Owens, who Plaintiff knew to be a longtime Gordon Heights

  resident and a daughter of Elsie Owens (a longtime Gordon Heights and Suffolk County civil rights

  leader) an opportunity to inspect the Norfleet Property.

         157.     In response to Plaintiff’s offer, Owens advised Plaintiff that Biscardi had instructed

  her both by e-mail and orally to “stand down” from any further involvement regarding Plaintiff and

  the Norfleet Property.

         158.     Owens advised Plaintiff that Biscardi intended to see Plaintiff criminally

  prosecuted and that if any future criminal charges were ever to be dropped, it would have to be the

  State Court that dismissed them.

         159.     Owens mentioned to Plaintiff, that the Town’s private property owners sometimes

  send photographs to Town personnel to show the conditions of a property.

         160.     On September 20, 2011, Plaintiff mailed Folber a letter that contained a CD

  containing fifty-six photographs of the Norfleet Property taken on September 19 and 20, 2011.


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  These photographs concerned the alleged violations in Folber’s letter orders. Also attached was a

  fire underwriter’s certificate of compliance. On September 20, 2011, Plaintiff also faxed the letter

  to Folber.

         161.     In the September 20, 2011 letter, Plaintiff repeated his earlier offers to permit a

  warrantless inspection of the Norfleet Property, limited to the Town Building Inspector or an

  authorized subordinate officer from his department, if the Town Building Inspector found the

  inspection necessary.

         162.     Copies of the September 20, 2011 letter, with enclosures, including copies of the

  fifty-six photographs were also sent to Biscardi, Owens and Eddington.

         163.     On September 20, 2011, Folber requested Moran to meet with him and Biscardi

  because Biscardi wanted to clarify something regarding the Norfleet Property investigation.

         164.     On October 4, 2011, Folber requested to speak to Moran about a FOIL request

  concerning his files on the Norfleet Property. Folber’s files regarding the Norfleet Property

  inspections and/or investigations were not disclosed in full in response to Plaintiff’s FOIL request.

         165.     On December 8, 2011, Plaintiff received a DHHS envelope containing an unsigned

  notice purportedly adjourning his State Court Town Ordinance Court appearance date.

         166.     On December 12, 2011, Plaintiff sent by first class certified mail, nine separate

  notices of claims alleging wrongdoing by the Town and by Town officer(s) (“Notices”) to both the

  Town Clerk and to Town Attorney Quinlan with regard to, among other, nine of the fourteen

  Appearance Tickets Folber issued to Plaintiff.

         167.     On December 18, 2011, Bryan Van Cott a partner at the law firm of Twomey,

  Latham, Shea, Kelley, Dubin & Quartararo LLP (“Twomey Latham”) wrote Quinlan a letter

  concerning Plaintiff, the Norfleet Property and the Appearance Tickets.


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         168.     The Town and the Town Attorney Quinlan failed to take any necessary corrective

  action(s) in response to Plaintiff’s complaint Notices and/or to Plaintiff’s attorneys December 18,

  2011 letter. Instead, one Town issued, defective notice of examination was sent to Plaintiff.

         169.     Plaintiff, prior to December 22, 2011, visited the State Court to determine whether

  accusatory instruments had been filed in time for the December 22, 2011 appearance date and was

  advised that they were not filed yet.

         170.     On March 22, 2012, Moran advised Van Cott that Lutzer reviewed all of the

  Accusatory Instruments for jurisdictional sufficiency (to determine if each and every one of the

  Accusatory Instruments was jurisdictionally sufficient or not) prior to the time the Accusatory

  Instruments were presented for filing in the State Court.



         171.     On January 11, 2012, Reza Ebrahimi (“Ebrahimi”) an associate at the law firm of

  Twomey Latham called the Law Department to inquire about Plaintiff’s appearance date. In

  response to Ebrahimi’s call, a copy of another purported adjournment notice dated January 3, 2012

  was faxed to Ebrahimi, this time purportedly adjourning the appearance date from January 12, 2012

  to February 2, 2012. It does not appear that the Law Department or Town separately sent this notice

  directly to Plaintiff in connection with the criminal actions.

                                          CRIMINAL ACTIONS

      A. Accustory Instruments

         172.     Months after he issued the Appearance Tickets, Folber signed and swore under the

  penalty of perjury to fourteen separate accusatory instruments, dated January 3 or 4, 2012

  (collectively “Accusatory Instruments”).

         173.     Upon information and belief, Powell was Folber’s immediate supervisor and


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  supervised Folber in the drafting and issuance of the Accusatory Instruments. No investigation

  notes or any other such writings (“Investigative Notes”) detailing the alleged violations found

  during Folber’s visits to the Property were disclosed in response to a FOIL request made by

  Plaintiff. Thus, it can be inferred that either Folber under Powell’s supervision drafted the detailed

  Accusatory Instruments based upon the Letter Orders, Appearance Tickets, some photographs and

  his memory but without the use of any Investigative Notes or that Folber and/or Powell wrongfully

  concealed or destroyed the Investigative Notes and any other documents used to draft the

  Accusatory Instruments.

          174.     Folber (at the direction of Moran and Biscardi and with the assistance of Powell)

  acted in clear absence of jurisdiction with respect to the issuance of the Accusatory Instruments as

  he was not empowered under any local or state law to enforce violations of the Uniform Code or

  Town Code Chs. 16, 30, or 82.

          175.     The Accusatory Instruments dated January 3, 2012 accused Plaintiff of the three

  violations first appearing in the initial June 22, 2011 letter order.

          176.     The Accusatory Instruments dated January 4, 2012 accused Plaintiff of 11

  additional violations.

          177.     Despite Folber knowing Plaintiff was one of three owners of the Norfleet Property,

  Folber issued the Accusatory Instruments against only Plaintiff.

          178.     Six of the Accusatory Instruments charged Plaintiff with violating the Uniform

  Code (“Uniform Code Accusatory Instruments”). At all times these Uniform Code Accusatory

  Instruments were facially insufficient because, among other things: a) they failed to allege that

  Plaintiff did not comply with the letter orders; or (b) that Plaintiff was “taking part or assisting in

  the construction of” the buildings when he “knowingly violated” a provision of the Uniform Code,


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  and (c) there was no time fixed by regulations promulgated by the New York State Secretary of

  State pursuant to subdivision one of § 381 of Article 18 of the Executive Law existed, upon which

  any person could, by an authorized officer, be served an order to remedy under Executive Law §

  382. See also the New York State Technical Bulletin issued January 12, 2015 at

  www.dos.ny.gov/DCEA/pdf/TB_OrderRemedy_01122015.pdf .

         179.     When the phrase “facially insufficient” or “facial insufficiency” appears in this

  Third Amended Complaint such shall mean and include the words “jurisdictionally defective” and

  vice versa.

         180.     Folber falsely included within the Accusatory Instruments that the July 12, 2011

  letter order required compliance by July 26, 2011 when the letter order required compliance

  “immediately” and stated that a compliance inspection would take place after July 26, 2011.

         181.      Folber falsely included within the Accusatory Instruments that the August 26, 2011

  letter order required compliance by September 6, 2011 when the letter order required compliance

  “immediately” and stated that the Owners were required to schedule a compliance inspection no

  later than September 6, 2011.

         182.     Plaintiff’s repeated good-faith efforts to show compliance negate any reasonable

  belief that Plaintiff was in violation of the Uniform Code both at the time compliance inspections

  were demanded of him and when the Accusatory Instruments were issued. Folber never attempted

  to seek a search warrant (and upon information and belief never conducted any re-inspection of the

  Norfleet Property) to determine whether the violations he alleged to have existed in the July 12,

  2011 letter order or in the August 26, 2011 letter order still existed.

         183.     That Folber thought it necessary to detail his efforts at ordering Plaintiff to correct

  or remedy the alleged violations and the alleged failure to correct or remedy because of a lack of


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  an inspection infers that Folber knew under then Town Practice(s) that he could not charge Plaintiff

  for any violation without providing Plaintiff a prior order to correct or remedy.

         184.     Folber falsely asserted in the Accusatory Instruments that a compliance inspection

  could not be performed. Plaintiff specifically and timely advised that he would permit the Chief

  Building Inspector or an authorized representative of the Chief Building Inspector to perform such

  compliance inspection.

         185.     No Town agent, officer or employee ever sought or applied for a search warrant to

  confirm whether the purported violations Folber alleged to have existed in his June 22, 2011 or July

  12, 2011 or August 26, 2011 letter orders ever existed in the first place or were remedied.

         186.     Neither Gerhauser nor any of his subordinate officers ever inspected or physically

  intruded upon the Norfleet Property during the period June 2011 through April 2012.

         187.     Neither Gerhauser nor any of his subordinate officers ever issued Plaintiff any

  violation notice(s), appearance ticket(s) or accusatory instrument(s) regarding the Norfleet Property

  during the period June 2011 through April 2012.

         188.     Neither Gerhauser nor any of his subordinate officers ever requested or demanded

  the Owners or any owner or owners of the Norfleet Property consent to any warrantless or warranted

  inspection of the Norfleet Property during the period June 2011 through April 2012.

         189.     Folber, via letter orders dated June 22, 2011, July 12, 2011 and August 26, 2011

  demanded Plaintiff submit to a warrantless inspection of his Norfleet Property. The submission to

  a required warrantless inspection upon the threat of criminal charges constitutes a circumvention of

  the Fourth Amendment.

         190.     The accusatory instrument that charged Plaintiff with violation of Town Code § 30-

  9 stated no allegation(s) regarding the Division of Fire Prevention or orders by the Town Chief Fire


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  Marshal, despite § 30-9 explicitly requiring actions by the Division of Fire Prevention and orders

  by the Town Chief Fire Marshal.

            191.   For the two accusatory instruments alleging a violation of Town Code § 16-3,

  Folber used a different and older version of Town Code § 16-3 no longer in effect during the period

  July 2011 through April 2012.

            192.   All the Accusatory Instruments stated that the information contained therein was

  based on the personal knowledge of Folber and upon information and belief derived from a search

  of unknown Town of Brookhaven Building Department, Assessor's office and/or Department of

  Motor Vehicles records.

            193.   All the Accusatory Instruments did not identify, let alone clearly identify the parts

  of the factual portion that were based on Folber’s personal knowledge or upon information and

  belief.

            194.   No records were attached to any of the Accusatory Instruments.

            195.   No supporting depositions were attached to any of the Accusatory Instruments.

            196.   All the Accusatory Instruments were facially insufficient.

            197.   Based on the above and other defects described in Plaintiff’s notices of claim

  (incorporated herein and which may not be exhaustive of the defects), there lacked reasonable or

  probable cause for the prosecutions upon the Accusatory Instruments.

            198.   Folber caused the Accusatory Instruments to be submitted to the Law Department.

       B. Commencement of Criminal Actions and a Knowledge of a Lack of Judicial Scrutiny

            199.   On January 12, 2012, the Accusatory Instruments and Guendel’s two signed

  affidavits of service were filed with the State Court.

            200.   Where an accusatory instrument is filed as a result of an appearance ticket issued


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  by a police officer or other public servant, CPL §§ 120.20, 130.30, and 150.50 require a court to

  dismiss a facially insufficient accusatory instrument that cannot be remedied based on available

  facts or evidence.

         201.     The State Court, during all relevant times, systematically failed to review filed

  accusatory instruments for facial sufficiency and to determine whether dismissal under CPL §§

  120.20, 130.30, and 150.50 was appropriate.

         202.     When the State Court issued summons(es) or arrest warrant(s) for a defendant’s

  alleged failure to appear pursuant to CPL § 150.60, the State Court, during all relevant times, also

  systematically failed to review the accusatory instrument(s) for facial sufficiency as required by

  CPL § 120.20 and CPL § 130.30 and/or to determine whether the appearance ticket(s) was/were

  properly issued and/or served as required by CPL § 150.60.

         203.     The State Court, during all relevant times, systematically failed to provide

  individuals accused of violations of New York State laws, Local Laws (carrying a term of

  imprisonment) legal representation as required by County Law Article 18-B and CPL § 170.10.

  County Law § 722 mandates: “The governing body of each county and the governing body of the

  city in which a county is wholly contained shall place in operation throughout the county a plan for

  providing counsel to persons charged with a crime . . .” For purposes of Article 18-B of the County

  Law, the term “crime” includes “the breach of any law of this state or of any law, local law or

  ordinance of a political subdivision of this state, other than one that defines a ‘traffic infraction,’

  for which a sentence to a term of imprisonment is authorized upon conviction thereof.” County Law

  § 722-a.

         204.     Defendants submitted the facially insufficient accusatory instruments with the

  knowledge of the State Court’s Practice(s).


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         205.     The Individual Defendants herein, Daniel Belano (“Belano”), an Assistant Town

  Attorney, and the Law Department knew that if Plaintiff did not settle with the Town, he would be

  forced to undergo time consuming and costly legal practice to have the Accusatory Instruments

  dismissed.

      C. The Criminal Actions

         206.      On February 2, 2012, Plaintiff’s attorney Van Cott hand delivered to the State

  Court a letter with attachments concerning Plaintiff and the Norfleet Property. In that letter and

  attachments, Van Cott complained that the Accusatory Instruments filed in the State Court against

  Plaintiff lacked reasonable (probable) cause, were jurisdictionally insufficient, and also complained

  that any alleged service of the Appearance Tickets upon Plaintiff was ineffective as a matter of law.

  A copy of the letter with attachments was hand delivered to Lutzer on February 2, 2012 prior to the

  commencement of the State Court’s Town Ordinance proceedings.

         207.     On February 2, 2012, prior to the time Judge James P. Flanagan (“Judge Flanagan”)

  appeared in the State Court to commence the State Court’s Town Ordinance proceedings for that

  day, Van Cott, among other things, complained to Lutzer about the Accusatory Instruments. Lutzer

  rejected Van Cott’s complaints.

         208.     Later in the day on February 2, 2012, an arraignment before Judge Flanagan was

  held on the Accusatory Instruments (BRTO 0057A and 0057B). Moran purported to appear on

  behalf of the People. On this date and on the days the State Court held other arraignments regarding

  Plaintiff, the Court’s docket sheet outside the courtroom listed Plaintiff’s name and the criminal

  actions against him.

         209.     Plaintiff did not appear on February 2, 2012. Instead, Van Cott, with Ebrahimi,

  appeared before Judge Flanagan on Plaintiff’s behalf to, among other, further challenge the


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  sufficiency of the charges and the Town’s authority to bring them. Neither Van Cott nor Ebrahimi

  was authorized to consent to any arraignment or adjournment and neither consented to any

  arraignment or adjournment.

         210.     Judge Flanagan, in line with the State Court’s Practice of a lack of judicial scrutiny,

  acknowledged that he had received Van Cott’s February 2, 2012 letter and attachments but said that

  he was not going to read same (although as a precondition to the exercise of any actual judicial

  power Judge Flanagan then possessed to arraign or to issue any criminal summons or arrest warrant

  against Plaintiff: a) the United States Constitution, the New York State Constitution and New York

  law all work together to protect an accused from being compelled to answer for any particular

  alleged offense(s) (in any criminal proceeding(s)) except upon reasonable or probable cause (based

  upon an oath or affirmation) from legally set up, unbiased complainant(s), that said accused has

  committed the particular alleged offense(s) and also that; b) the information used to accuse the

  person of any alleged offense(s) was and is required (under CPL § 100.40) to contain sworn first-

  party allegations on every element of the offense and of the accused’s commission thereof).

         211.     Instead, Judge Flanagan suggested that Plaintiff be arraigned and then make a

  motion. Despite provisions of the CPL to the contrary, Judge Flanagan stated on the record that he

  could not grant a dismissal based on the letter, “no matter how true the contents may be.” Moran

  did not inform the judge that this was untrue and that the State Court had an independent duty to

  review each and every one of the filed Accusatory Instruments.

         212.     Despite not reviewing the Accusatory Instruments for facial sufficiency, Judge

  Flanagan in an off-the-record discussion, and then on the record, told Moran to bring an arrest

  warrant with him at the next appearance and if Plaintiff is not there, he would sign the arrest warrant

  for immediate execution.


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         213.     Judge Flanagan announced in open court that he was accelerating State Court

  procedure in the cases because there were allegations against Mr. Norton that he was threatening

  life because of a lack of smoke detectors, carbon monoxide detectors, and locked doors. Had Folber

  included in or with his Accusatory Instruments Plaintiff’s attempts to show his compliance and the

  evidence Folber had of Plaintiff’s attempts to show his compliance, and/or had the Law Department

  provided Judge Flanagan with Plaintiff’s attempts to show his compliance, then Judge Flanagan’s

  defamatory statements would not have been made (and such charges would not have even been

  brought since Plaintiff was in compliance).

         214.     Judge Flanagan also threatened that if the Town did not get the chance to re-inspect

  the Norfleet Property and dwelling, he would sign an order to show cause to “shut down the place.”

         215.     Judge Flanagan announced “NAD” (no appearance defendant) and ordered the

  cases be placed on the February 9, 2012 State Court Town Ordinance calendar. Judge Flanagan did

  not order any “notice” of the February 9, 2012 date be communicated to Plaintiff, nor did any Town

  prosecutor request the Court send any notice to Plaintiff of the February 9, 2012 date or send any

  notice to Plaintiff of the February 9, 2012 date.

         216.     On February 8, 2012, Judge Flanagan ex-parte called Peter Mott (“Mott”), a partner

  at Twomey Latham to request Mott speak with Van Cott to get Plaintiff to appear in the State Court

  on February 9, 2012. Mott spoke with Van Cott on February 8, 2012 and conveyed to Van Cott the

  substance of Judge Flanagan’s conversation with him concerning Plaintiff.

         217.     On February 9, 2012, Van Cott hand delivered to the State Court a letter with

  enclosures concerning Plaintiff and the Norfleet Property. In his letter, Van Cott, among other

  things, complained that the Accusatory Instruments filed in the State Court were not facially

  sufficient and were not jurisdictionally valid. Van Cott also complained about the validity and lack


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  of due service of the Appearance Tickets. Van Cott also enclosed a copy of two electrical inspection

  certificates dated August 3, 2011 and February 8, 2012 both of which stated in relevant part “66

  Norfleet Lane [w]as examined and found to be in compliance with the Residential Code and

  Building Code of New York”. A copy of the letter with enclosures was hand delivered to Moran

  on February 9, 2012. The August 3, 2011 electrical inspection certificate was the same one sent to

  Folber prior to the issuance of the Accusatory Instruments and the February 8, 2012 electrical

  inspection certificate confirmed that Plaintiff remained in compliance since August 3, 2011.



             218.   On February 9, 2012, an arraignment was held. Moran purported to appear on

  behalf of the People. Plaintiff did not appear, but Van Cott was present to address any issues the

  Judge had with the letters he submitted on behalf of his client.

             219.   Judge Flanagan acknowledged he received the February 9, 2012 letter and handed

  it to the State Court clerk. Judge Flanagan remarked that the “Court will not read or entertain the

  letter.”

             220.   Judge Flanagan requested Moran provide him with “the warrant” but Moran did

  not have it. Moran said he would have the arrest warrant by the close of the business day. Judge

  Flanagan told Moran to track him down in Riverhead and he will sign it.

             221.   On February 9, 2012, Belano applied for two arrest warrants on the Accusatory

  Instruments. The arrest warrants asserted that Plaintiff was personally served with a Field

  Appearance Ticket, that Plaintiff had failed to appear as directed “2/2/12 to 2/9/12 FOR

  WARRANT APPLICATION,” was not likely to respond to a summons, and an arrest warrant was

  requested because Plaintiff had “a history of non-appearance as he failed to appear on February 9,

  2012”.


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         222.      On February 15, 2012, Van Cott wrote, and on February 16, 2012 hand delivered

  to the State Court a letter concerning Plaintiff and the Norfleet Property. In the letter, Van Cott,

  among other things, complained that the Accusatory Instruments filed in the State Court against

  Plaintiff were “clearly facially invalid and jurisdictionally defective for numerous reasons” and that

  Suffolk County District Attorney Thomas J. Spota (“District Attorney”) had not delegated authority

  to the Law Department to prosecute the Accusatory Instruments. A copy of the letter was faxed to

  the Law Department.



         223.     On February 16, 2012, a warrant calendar proceeding was held on the Accusatory

  Instruments. Lutzer purported to appear on behalf of the People. Plaintiff did not appear.

         224.     Judge Flanagan said that the files for the proposed warrant calendar proceedings

  were not in the courtroom. Judge Flanagan adjourned the proposed warrant calendar proceedings

  on the State Court’s calendar for that day until “next week”.

         225.     On February 22, 2012, Van Cott sent an overnight letter and enclosure to Judge

  Flanagan questioning the authority of Moran and the Town Attorney’s office to prosecute any

  criminal matters, including the then pending criminal actions against Plaintiff. Van Cott demanded

  that Quinlan and the other attorneys in the Law Department provide proof of their authority(ies) to

  prosecute the Accusatory Instruments and the violations charged therein. The letter and enclosure

  was also sent to Moran.

         226.     On February 22, 2012, Quinlan telephoned John Shea (“Shea”), a partner at

  Twomey Latham, and complained to him about Twomey Latham’s defense of Plaintiff and

  requested Twomey Latham withdraw as Plaintiff’s defense counsel.

         227.     Within about 24 hours from the end of their above conversation, Shea again spoke


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  with Quinlan and either advised Quinlan in that conversation that his request that Twomey Latham

  withdraw was declined or Quinlan during their later conversation withdrew his request.

         228.     On February 23, 2012, Quinlan met ex-parte with Judge Flanagan at the State Court

  about Van Cott’s complaints and requests that Plaintiff be provided authority showing the Law

  Department’s ability to prosecute the Accusatory Instruments.

         229.      On February 23, 2012, warrant calendar proceedings were held on the Accusatory

  Instruments. Moran purported to appear on behalf of the People. Plaintiff did not appear.

         230.     When Moran called the warrant calendar for Plaintiff, Judge Flanagan questioned

  whether there was a warrant calendar that day. In response, Moran said, “We do, your Honor. Since

  no one's stepping up, your Honor, no call, withdrawn.” Judge Flanagan then told Moran, “Yeah,

  Mr. Moran, I have to do a notify on it.” Moran responded “10-4”.

         231.     Judge Flanagan then stated that “we’ve reviewed the allegations and I'm going to

  do a notify for no appearance and we'll issue the arrest warrant.”

         232.     In Moran’s presence, Judge Flanagan then told Van Cott to step up and returned

  Van Cott’s letters (and attachments) he had sent to the State Court. Again, Judge Flanagan

  acknowledged his belief that that the Court could not recognize the contents of the letters and said

  that they were of no probative value. Judge Flanagan told Van Cott not to send him any more letters.

         233.     On or about February 24, 2012, a written State Court notice (“Court Notice”) to

  appear on March 8, 2012 for the Accusatory Instruments was mailed to Plaintiff at Plaintiff’s

  Syosset Address from Judge Madeleine Fitzgibbon (“Judge Fitzgibbon”).

         234.     At all times relevant herein, Court Notice was sent pursuant to the State Court

  Practice(s) of sending a letter via first class mail containing the following warning:

                  You failed to appear on your scheduled court date. Your case has been
                  adjourned for you to appear on [Weekday, Month, Day, Year], at 9:30AM.

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                  …

                  Failure to appear in court in response to an appearance ticket is itself a
                  separate violation of the Penal Law 215.58 with which you may be charged.

                  Your failure to appear at the time and place indicated above, may result in
                  a warrant being issued for your arrest without further notice. If you are
                  arrested pursuant to such warrant, you will be held in custody without bail
                  until such time that you can be produced before a judge of this court.
                  …

          235.    The above Court Notice was materially misleading because it omitted that: (a)

  Penal Law’s § 215.58 failure to appear in response to any appearance ticket(s) only applies to

  crimes, not violations, and only if the related appearance ticket was timely and properly personally

  served by a public servant authorized under law to serve; (b) no jurisdictionally sufficient

  accusatory instrument and no jurisdictionally sufficient appearance ticket for any alleged crime or

  violation had been filed against Plaintiff in the State Court; (c) no jurisdictionally sufficient

  accusatory instrument and no jurisdictionally sufficient appearance ticket for any alleged crime or

  violation had been properly issued and served upon Plaintiff or filed against Plaintiff in the State

  Court by the December 22, 2011 date listed on the Appearance Tickets; and (d) a court may not

  issue an arrest warrant if a summons can be issued instead (CPL § 120.20).

          236.    While CPL § 120.20(3) permitted and permits the State Court to authorize the

  district attorney to direct a defendant to appear for arraignment upon a jurisdictionally sufficient

  accusatory instrument instead of issuing a summons or arrest warrant itself, nowhere did or does it

  permit or authorize the State Court to provide Court Notice or any other type of court notice upon

  Plaintiff.

          237.    On March 6, 2012, the law firm of Leeds Brown Law, P.C. (f/k/a Leeds Morelli &

  Brown, P.C.) sent a letter with enclosures to Judge Fitzgibbon complaining on behalf of Plaintiff

  that (among other things) the Accusatory Instruments were jurisdictionally defective. A copy of the

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  letter with the enclosures was sent to both Moran and to the County District Attorney.

          238.    On March 8, 2012, Lutzer applied for two criminal summonses on the Accusatory

  Instruments. Lutzer falsely included in the summons application that Plaintiff had been personally

  served a summons as defined in CPL § 130 on September 16, 2011 at his Syosset Address. CPL §

  130 defines a summons as “process issued by a local criminal court directing a defendant designated

  in an information . . . to appear before it at a designated future time in connection with such

  accusatory instrument.” No accusatory instrument existed in September 2011 upon which any judge

  could even direct Plaintiff to appear.

          239.    On March 8, 2012, an arraignment was held on the Accusatory Instruments. Moran

  purported to appear on behalf of the People. Plaintiff did not appear.

          240.    Moran asked to amend the applications for arrest warrants applications to

  applications for criminal summonses. Judge Flanagan stated on the record he had mistakenly signed

  Belano’s two February 9, 2012 arrest warrant applications but that the warrants were not approved.

          241.    The arrest warrant applications were returned to Moran. It appears that portion(s)

  of the arrest warrant applications have been whited-out.

          242.    Instead of entertaining the application for criminal summons, Judge Flanagan sua

  sponte, ordered a notice to Plaintiff. Judge Flanagan noted on the record that apparently a line of

  cases others had been following require it. Judge Flanagan ordered the Town to send a notice to

  Plaintiff.

          243.    Moran requested the proceedings be adjourned to March 22, 2012. The State Court

  adjourned the proceedings to March 22, 2012.

          244.    Lutzer issued and caused to be mailed to Plaintiff a letter dated March 8, 2012 that

  said in part “your failure to appear on March 22, 2012 may result in the issuance of the


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  aforementioned criminal summons.”

         245.     The March 8, 2012 Town notice was not authorized under the CPL or otherwise

  permitted.



         246.     Van Cott, by a letter dated March 19, 2012 addressed to Moran, among other things,

  complained to the Town that the Uniform Code Accusatory Instruments were jurisdictionally

  defective and that the Town lacked the power to prosecute alleged violations of New York State

  laws. Van Cott asked the Law Department to “withdraw or otherwise voluntarily dismiss all six (6)

  NYS Code Violation Accusatory Instruments.”

         247.     On March 19, 2012, Leeds Brown Law sent by overnight mail and by facsimile a

  letter and enclosure to the County District Attorney complaining that the Town lacked the power

  to prosecute Plaintiff, the Accusatory Instruments against Plaintiff were jurisdictionally defective

  and alleged NYS Uniform Code violations that the Town lacked the power to prosecute. A copy of

  the letter without the enclosures was sent to Moran.

         248.     On or about March 22, 2012, in response to the complaints and after follow-up

  telephone calls were placed to the County District Attorney’s office, the County District Attorney

  telephoned Quinlan and directed Quinlan to immediately move to dismiss the Uniform Code

  Accusatory Instruments.

         249.     On March 22, 2012, an arraignment was held. Moran purported to appear on behalf

  of the People. Plaintiff did not appear.

         250.     Moran began the appearance by noting that the State Court approved the criminal

  summonses but it may need some more time to prepare them. The State Court clerk confirmed

  during the March 22, 2012 appearance that the Judge signed the criminal summonses the day before.


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  Therefore, the State Court had approved the criminal summonses for each and all fourteen (14)

  alleged crimes and violations in the Accusatory Instruments.

          251.     Meanwhile, Moran moved to dismiss the six Uniform Code Accusatory

  Instruments on the basis that after “a careful review of those accusatory instruments” they have

  been deemed insufficient. The State Court granted Moran’s motion, which it stated, was on CPL §

  170.35 grounds, despite the fact that Plaintiff had never been arraigned on any of the six Uniform

  Code Accusatory Instruments. A § 170.35 dismissal is permitted only after arraignment and only

  on motion of a defendant.

          252.     The State Court set a date for the criminal summonses. Moran requested a service

  date of April 19, 2012; a date that was more than 90 days after the Accusatory Instruments were

  filed. The State Court clerk questioned Moran whether it needed to be on the following week and

  Moran said no.

          253.     On March 22, 2012, Moran told Van Cott that the Uniform Code Accusatory

  Instruments were being dismissed because (1) Folber did not re-inspect the Norfleet Property and

  confirm noncompliance after his alleged mailing of the letter orders and (2) the accusatory

  instruments did not contain the legally required factual allegations of such re-inspection and of a

  finding of non-compliance.

          254.     The two separate criminal summonses (“Summonses”) were issued by the State

  Court under the name of Judge Fitzgibbon to be served by “COMPLAINANT: INVESTIGATOR,

  BROOKHAVEN TOWN ATTORNEY’S OFFICE”.

          255.     Notwithstanding the State Court criminal summons instructions limiting the person

  authorized to serve the Summonses, the Town through its Law Department contracted with RGPI

  to serve Plaintiff instead.


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         256.     On April 2, 2012, non-public servant Guendel was not given permission to pass

  through the gatehouse of Plaintiff’s Syosset community in an attempt to serve the Summonses.

         257.     Notwithstanding, on April 2, 2012, Guendel purported he served the Summonses

  upon a person who was not the Plaintiff.

         258.     Guendel certified in a claim voucher he sent to the Town on behalf of RGPI that he

  was authorized to serve and did on April 2, 2012 serve Plaintiff.

         259.     RGPI requested and received from the Town $90.00 for its alleged services.

         260.     On April 4, 2012, Van Cott faxed and sent by first class mail a letter to Moran

  regarding the pending criminal actions against Plaintiff. The letter informed Moran that two

  accusatory instruments of the then eight remaining were defective for the same reasons Moran on

  March 22, 2012 had given to Van Cott for the dismissal of the Uniform Code Accusatory

  Instruments.

         261.     At no time relevant herein, did the County District Attorney’s office and/or the

  Law Department announce to the State Court and/or mail to Plaintiff, within the time period

  mandated by CPL § 30.30 its readiness for trial on the Accusatory Instruments.

         262.     On April 17, 2012, Van Cott wrote to Moran and in the letter, inter alia, advised

  Moran that the Town prosecutors had failed to be ready for trial within 90 days of the

  commencement of the remaining Accusatory Instruments and were in violation of Plaintiff’s speedy

  trial rights as guaranteed by CPL §§ 30.20 and 30.30(1)(b).

         263.     On April 19, 2012, Lutzer purported to appear on behalf of the People. Lutzer

  moved to dismiss the remaining eight Accusatory Instruments based on “170.40 failure to serve a

  criminal summons.” Plaintiff was never arraigned on these eight remaining Accusatory

  Instruments. The State Court granted the application but did not, upon issuing the order, provide


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  the reasons on the record for such dismissal as required by CPL § 170.40(2).

         264.     To dismiss an action under CPL § 170.40 requires a court in the order to state the

  “existence of some compelling factor, consideration or circumstance clearly demonstrating that

  conviction or prosecution of the defendant upon such accusatory instrument or count would

  constitute or result in injustice.” The Town’s failure to serve a criminal summons alone is not a

  compelling factor, consideration or circumstance.

                     EFFECTS ON PLAINTIFF’S RIGHTS AND DAMAGES

         265.     Plaintiff suffered damages as a result of opposing the retaliatory and selective

  investigation of the Norfleet Property and the denial of due process. These damages include the

  expenses incurred in responding to the Letter Orders.

         266.     Plaintiff suffered damages as a result of defending criminal actions based on the

  Accusatory Instruments filed as a result of the retaliatory and selective investigation of the Norfleet

  Property and the denial of due process. These damages include the legal fees and consequential

  expenses incurred for appearances at the State Court, letters to the Town and State Court, and other

  actions to defend against the charges.

         267.     Plaintiff suffered nominal damages as a result of the violation of his Fourth

  Amendment rights and also suffered nominal damages as a result of the violation of his New York

  Civil Rights Law § 8 rights.

         268.     Plaintiff suffered emotional distress, humiliation, anxiety, mental anguish, and

  inconvenience as a result of the retaliatory and selective investigation and prosecution, denial of

  due process, unreasonable intrusions on his rights to privacy, security, and self-protection,

  unreasonable threats to his constitutional rights, threat of arrest not based on reasonable or probable

  cause, orders and notices to appear before the State Court, and violation of his right to be free from


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  arbitrary and outrageous governmental action.

            269.   Where authorized by law, Plaintiff is entitled to awards of punitive damages against

  the Individual Defendants as a result of a (i) special animus toward Plaintiff, and/or (ii) wanton,

  reckless, callous, and willful disregard of and indifference to Plaintiff's legal and constitutional

  rights.

                                        NOTICES OF CLAIMS

            270.   Plaintiff filed, on April 11, 2012, six separate notices of claims against the Town

  and against the County for claims arising out of the investigation and prosecution of the Uniform

  Code Accusatory Instruments.

            271.   On April 11, 2012, Plaintiff caused six separate notices of claim in writing, sworn

  to by and on behalf of the Plaintiff to be duly served upon the defendant Town of Brookhaven and

  the defendant County of Suffolk by sending copies thereof to each of (i) the Town of Brookhaven,

  c/o Town Attorney, 1 Independence Hill, Farmingville, New York 11738, (ii) Mr. Thomas J. Spota,

  District Attorney, County of Suffolk, Riverhead Criminal Courts Complex, 200 Center Drive,

  Riverhead, New York 11901, (iii) the Town Clerk, Town of Brookhaven, 1 Independence Hill,

  Farmingville, New York 11738, and (iv) County Clerk, County of Suffolk, 310 Center Drive,

  Riverhead, New York 11901, by certified mail, all six of which notices of claim which set forth the

  name and post office address of the said claimant, i.e., Jerome Norton, the nature of the claims, the

  time when, the place where, and the manner in which all of the six said claims arose and the items

  of damages or injuries claimed to have been sustained so far as then practicable.

            272.   On June 13, 2012, Plaintiff sent fourteen notices of claims (six of which were

  amplifications and clarifications of Plaintiff’s April 11, 2012 notices of claim) against the Town

  and against the County for claims arising out of the investigation and prosecution of the Accusatory


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  Instruments.

         273.      On the June 13, 2012, within ninety days after the claims herein sued upon arose,

  Plaintiff caused each of the fourteen June 13, 2012 notices of claim in writing, sworn to by and on

  behalf of the Plaintiff to be duly served upon the defendant Town of Brookhaven and the defendant

  County of Suffolk by sending copies thereof to each of (i) the Town of Brookhaven, c/o Town

  Attorney, 1 Independence Hill, Farmingville, New York 11738, (ii) Mr. Thomas J. Spota, District

  Attorney, County of Suffolk, Riverhead Criminal Courts Complex, 200 Center Drive, Riverhead,

  New York 11901, (iii) the Town Clerk, Town of Brookhaven, 1 Independence Hill, Farmingville,

  New York 11738, and (iv) County Clerk, County of Suffolk, 310 Center Drive, Riverhead, New

  York 11901, by certified mail, all fourteen of which notices of claim set forth the name and post

  office address of the said claimant, i.e., Jerome Norton, the nature of the claims, the time when, the

  place where, and the manner in which each of the fourteen said claims arose and the items of

  damages or injuries claimed to have been sustained so far as then practicable.

         274.      At least thirty (30) days have elapsed since the service of each and all of the six

  separate April 11, 2012 and of the fourteen June 13, 2012 notices of claims, and payment or

  adjustment thereof with regard to each and every claim has been refused or neglected, and this

  action is commenced within one year and ninety days after the happening of the event upon which

  the claims are based.


                            AS AND FOR A FIRST CAUSE OF ACTION
                    (AGAINST QUINLAN, MORAN, BISCARDI, AND FOLBER)
                (First Amendment Right to Intimate Association under 42 U.S.C. §§ 1983)

         275.      As brothers, there exists an intimate association between the Owners of the Norfleet

  Property.

         276.      The Norfleet Property investigation was initiated to retaliate against Howard for

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  achieving dismissal of certain criminal actions brought against him by the Town of Islip, as well as

  other litigations between Howard and the Town of Islip, including the successful prosecution of a

  Federal action to vindicate his constitutional rights under the Fourteenth Amendment. Norton v.

  Town of Islip et. al, 239 F. Supp. 2d 264 (E.D.N.Y. 2003).

           277.   This decision to target only Plaintiff for appearance tickets and prosecution was

  made despite defendants knowing Howard was an owner of the property and receiving

  acknowledgment (having knowledge) of such ownership through Howard’s June 22, 2011 letter

  order.

           278.   The pursuit against only Plaintiff was motivated by a desire to interfere with

  Plaintiff’s relationship with his brother Howard, or to punish him for such relationship.

           279.   After Biscardi and Folber had received from Howard his June 30, 2011 letter and

  attachments, both conferred with Moran. Moran, Biscardi and Folber agreed at that meeting that

  Biscardi should and Biscardi did instruct and direct Folber (as a subordinate DHHS employee) to

  physically intrude upon the Norfleet Property (including, among other areas, the curtilage thereof)

  to obtain information without receiving the prior consent of the Owners of or of an owner of the

  Norfleet Property and a warrant duly issued by an appropriate court and in the absence of exigent

  circumstances. Upon information and belief, all this was done with the approval of Quinlan, who

  was Town Attorney for the Town of Islip during the time when one of Howard’s litigations against,

  among others, the Town of Islip was pending in the Second Circuit and a second litigation was

  pending before the New York State Appellate Division Second Department.

           280.   Defendants together either caused to be filed and/or continued the malicious

  prosecutions of Plaintiff as described above and below.

           281.   The initial decision to investigate the Norfleet Property was not generated by any


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  legitimate reason or complaint and was designed to cause an undue intrusion on the relationship

  between Plaintiff and Howard.

         282.     Defendants continued to interfere with Plaintiff’s relationship with his brother by

  pursing the inspections and investigations of the Norfleet Property and by bringing and continuing

  criminal charges against Plaintiff despite Plaintiff demonstrating the lack of such violations that

  were alleged to have existed.

         283.     Defendants sought to retaliate (and harass and annoy) Plaintiff by issuing

  Appearance Tickets with an appearance date right before Christmas, and then adjourning (without

  the authority to do so) the appearance date twice without lawful or adequate notice, and through

  other actions described above and below.

         284.     The Town, all of the Individual Defendants and Belano worked to commence

  and/or continue fourteen (later eight) criminal actions against Plaintiff (as provided by Town Code

  § 20-22(C)(13)) “in the name of the Town [of Brookhaven]” until April 19, 2012.

         285.     The Town’s Department of the Town Attorney represented the Town in and with

  regard to the fourteen criminal actions commenced and continued against Plaintiff.

         286.     But for the retaliatory and improper motives of the above Defendants, the

  inspections and investigations of the Norfleet Property would not have occurred and/or the criminal

  actions would not have been commenced and continued until April 19, 2012.

         287.     The above defendants have deprived Plaintiff of and interfered with Plaintiff’s First

  Amendment right to an intimate association and Plaintiff has suffered damages as described above.

                          AS AND FOR A SECOND CAUSE OF ACTION
           (AGAINST QUINLAN, LUTZER, MORAN, BISCARDI, AND FOLBER)
         (Retaliation for First Amendment Speech/Right to Petition under 42 U.S.C. §§ 1983)

         288.     Plaintiff engaged in petition activity to redress Folber’s and the DHHS’s

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  unauthorized and unlawful attempts to enforce certain laws and to coerce Plaintiff to consent to a

  warrantless search of the Norfleet Property.

          289.     Plaintiff petitioned the government regarding the Town’s unlawful and

  unconstitutional rental permit law.

          290.     Plaintiff protested Folber’s demands for a compliance inspection without a warrant.

  Plaintiff also timely told Folber and Biscardi that he would permit inspection by authorized Town

  Personnel and at all times Folber and Biscardi had the ability to seek the issuance of a search warrant

  to cause an on-site inspection of the Norfleet Property, but they did not.

          291.     Plaintiff engaged in other speech related to the inspections and investigations of the

  Norfleet Property such as sending emails, making FOIL requests, and speaking with Town officers.

          292.     Owens, one such Town officer who Plaintiff spoke to and complained to about the

  investigation, and who Biscardi instructed to “stand down” from any further involvement in regard

  to Plaintiff and the Norfleet Property, was removed from her position within the DHHS on or about

  February 7, 2012 and her Town employment was later terminated.

          293.     At a September 2011 meeting(s), Moran, Biscardi and Folber agreed to act with

  malicious intent to retaliate against Plaintiff for his speech and petition activity.

          294.     As a result, the above defendants (Quinlan, Lutzer, Moran, Biscardi and Folber)

  together either caused to be filed and/or continued the malicious prosecutions of Plaintiff as

  described above and below.

          295.     The above defendants retaliated against Plaintiff for his speech and petition activity

  by continuing to pursue the investigation of the Norfleet Property and bringing and continuing

  criminal charges against Plaintiff despite Plaintiff demonstrating the lack of such violations that

  were alleged to have existed.


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          296.     The above defendants sought to retaliate (and harass and annoy) Plaintiff by issuing

  Appearance Tickets with an appearance date right before Christmas, and then unlawfully

  adjourning the appearance twice without lawful or adequate notice, and through other actions

  described above and below.

          297.     But for the retaliatory and improper motives of the above defendants, the actions

  would not have been commenced, or continued through April 19, 2012.

          298.     The above defendants desired their conduct to have a chilling effect upon

  Plaintiff’s exercise of his First Amendment constitutional rights.

          299.     In a letter to the County District Attorney dated March 20, 2012, Quinlan

  commented that instead of appearing in State Court and making a motion to dismiss the Uniform

  Code Accusatory Instruments, Plaintiff has “start[ed] a writing campaign to you, me, and the Courts

  to make his arguments about lack of jurisdiction and insufficiency.”

          300.     Quinlan continued: “Perhaps I am getting old, but I wonder how some of the judges

  and justices we appeared before in the 1970s and 80s would have dealt with his ‘writings.’”

          301.     The above defendants are liable to Plaintiff for retaliating against him for his speech

  and petition activity through the commencement and continuation of retaliatory criminal actions

  that lacked probable cause.


                    AS AND FOR A THIRD CAUSE OF ACTION
      (AGAINST LUTZER, MORAN, QUINLAN, BISCARDI, POWELL, AND FOLBER)
                   (Malicious Prosecution under New York State Law)

          302.     Based on the advice and encouragement of Moran, Biscardi directed and/or

  instructed Folber to investigate and ultimately issue Accusatory Instruments that were in clear

  excess of his, Biscardi’s and Moran’s authority. These Accusatory Instruments formed the basis of

  the criminal actions of Plaintiff.

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         303.     In initiating and continuing the prosecutions of the Accusatory Instruments, the

  above defendants (Lutzer, Moran, Quinlan, Biscardi, Powell and Folber) knew or recklessly and/or

  in bad faith disregarded the fact that they were acting in clear absence of jurisdiction because none

  of them were authorized to administer or enforce alleged Uniform Code violations and the DHHS,

  its commissioner Biscardi, and its inspectors (and any independent contractor(s) hired by any of the

  above defendant(s)) were also not authorized to administer or to enforce alleged Town Code Chs.

  16, 30, or 82 offenses.

         304.     In initiating and continuing the criminal inspections and/or investigations preceding

  the filing in the State Court of the Accusatory Instruments, there was a lack of reasonable or

  probable cause to arrest or to prosecute Plaintiff.

         305.     Plaintiff was charged with failing to comply with orders to correct in spite of the

  evidence Plaintiff provided to the contrary.

         306.     The criminal actions were initiated and continued with a malicious intent to retaliate

  against Plaintiff for his intimate association with his brother Howard and/or for his letters and other

  communications concerning the Norfleet Property made to the State Court, the County District

  Attorney and the Town and its officers and employees.

         307.     Folber through the Accusatory Instruments charged Plaintiff with six separate

  serious crimes that under New York State law he and the other Individual Defendants lacked

  authority to enforce and unlawfully and unconstitutionally enforced. Folber and the other Individual

  Defendants either expressly knew they did not have authority to administer or enforce these laws

  or recklessly disregarded the fact that no state or local law authorized the administration or the

  enforcement of these laws by Folber or by the DHHS.

         308.     Quinlan knew of the Notices and Appearance Tickets by the latest December 19,


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  2011 but gave permission to and/or directed Moran, Lutzer and Belano to proceed to prosecute

  Plaintiff on the Accusatory Instruments. These Individual Defendants and Belano knew or

  recklessly disregarded that they were acting in clear absence of jurisdiction and without colorable

  authority in prosecuting the alleged violations of state law.

            309.   Folber, Biscardi, Lutzer, Moran, and Quinlan knew or recklessly and/or in bad

  faith, disregarded that Plaintiff was not on July 11, 2011 at 11:51 a.m. in violation of any valid

  law upon which Folber charged Plaintiff.

            310.   Powell, among other acts, reviewed and approved and/or helped with regard to the

  drafting of the Accusatory Instruments.

            311.   Powell knew or recklessly and/or in bad faith disregarded that Plaintiff was not on

  July 11, 2011 at 11:51 a.m. in violation of any valid law upon which Plaintiff was charged by

  Folber.

            312.   The DHHS, its commissioner Biscardi, and its inspectors at all relevant times

  lacked authority to:

                    a. administer or to enforce alleged criminal violation(s) of the Town Code or
                       the State Uniform Code against Plaintiff;

                    b. issue and/or serve appearance ticket(s) against Plaintiff;

                    c. hire non-public servant independent contractor(s) to serve any appearance
                       ticket(s);

                    d. make (on behalf of the Town) any law enforcement inspection(s) searching
                       for any violation(s) of the State Uniform Code and/or of the Town Code;

                    e. violate Plaintiff’s First, Fourth, Fifth and/or Fourteenth Amendment rights
                       and/or Plaintiff’s New York State constitutional, statutory and/or common
                       law rights;

                    f. threaten criminal action if an individual did not consent to give up his
                       Fourth Amendment constitutional right, New York State constitutional right
                       and New York Civil Rights Law right to have the Town obtain a duly issued
                       warrant from a court of competent jurisdiction before it searched and/or
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                       seized his real property;

                   g. punish or retaliate against Plaintiff for exercising his First Amendment
                      rights to speech and to petition;

                   h. selectively prosecute Plaintiff for the same acts for which his brothers were
                      issued notices of violations;

                   i. invade or to cause to be invaded Plaintiff’s constitutionally protected zone
                      of privacy;

                   j. issue accusatory instruments for alleged violations of any provisions of the
                      New York State Property Maintenance Code or Town Code;

                   k. to make false and/or misleading statements in any accusatory instrument
                      regarding an individual’s attempts to dispute or to remedy an order to
                      correct and the ability of a compliance inspection to be performed by the
                      governmental entity charged with enforcing the laws;

                   l. to harass and annoy Plaintiff;

                   m. issue or send notices of adjournments for State Court appearances, whether
                      those notices were made through mail or in person.

         313.     Biscardi’s instruction to Owens to “stand down”, her insistence on not dropping

  any charges, and her failure to have any compliance inspection arranged through the Chief Building

  Inspector evidences the arbitrary and outrageous conduct she exhibited toward Plaintiff.

         314.     The Law Department acted in clear absence of its jurisdiction and of its authority

  (including under the Town Code) in causing to be filed accusatory instruments alleging violations

  of State Law.

         315.     It is sufficiently arbitrary and outrageous that the Law Department and the Law

  Department’s final policy makers did nothing after the repeated protests by Plaintiff about the

  insufficiency of the six purported State Law violations Accusatory Instruments and the Law

  Department’s lack of authority to enforce the six purported State Law violations. Only when the

  County District Attorney ordered their dismissal were they dismissed. Even then, Moran did not

  tell the State Court judge the true reason for their dismissal. The remaining eight Accusatory

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  Instruments were dismissed with an admission that further prosecution “would constitute or result

  in injustice.”

          316.     The Law Department at all times lacked the authority under CPL § 170.35 to move

  to dismiss already filed accusatory instruments for insufficiency following an alleged “careful

  review” conducted after the State Court filings occurred.

          317.     A “careful review” of any accusatory instruments received by the Law Department

  prior to arraignment was required to be done before any accusatory instrument coming into the

  possession of the Law Department was caused to be filed by the Law Department in the State Court;

  once an accusatory instrument has been filed in the State Court it is the State Court’s duty to

  independently review and dismiss accusatory instrument(s) for insufficiency and further to dismiss

  accusatory instrument(s) for insufficiency after arraignment if the defendant moves to dismiss on

  that basis.

          318.     The Law Department arbitrarily moved to dismiss the non-State law accusatory

  instruments on the basis of a failure to serve a criminal summons. Since failing to serve a criminal

  summons alone is not a compelling factor, consideration, or circumstance to justify dismissal in the

  interests of justice, the reason provided either was a sham and/or an admission that continued

  prosecution upon the remaining eight accusatory instruments “would constitute or result in

  injustice.”

          319.     Quinlan, Moran and Lutzer breached New York State ethical rules by commencing

  and continuing unfounded charges and also by assisting judges in not following applicable rules,

  including the New York State Criminal Procedure Law (“CPL”).

          320.     No reason exists in the Town’s records for Folber’s June 2011 investigation of the

  Norfleet Property.


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         321.     The initial Letter Order dated June 22, 2011 concerns alleged violations that

  would not be readily apparent to a code enforcement officer and are of the type that would require

  research and/or knowledge of the Norfleet Property records.

         322.     Malice on behalf of the Defendants may be inferred by the lack of reasonable or

  probable cause for the charges, selective enforcement, and the intent to retaliate against Plaintiff

  for exercising his constitutional rights.

         323.     Each and every criminal action finally terminated in Plaintiff’s favor and was sealed

  pursuant to CPL § 160.50 as a result of the criminal actions being terminated in favor of the accused.

  Each and every final termination was not inconsistent with Plaintiff’s innocence and was not as a

  result of a settlement, mercy or any misconduct by Plaintiff.

         324.     As a result of the infringement of Plaintiff’s rights and need to defend against the

  charges, Plaintiff suffered the emotional and financial damages described above.

         325.     Accordingly, the above individual defendants maliciously prosecuted Plaintiff in

  violation of the New York State Constitution and of New York law.


                         AS AND FOR A FOURTH CAUSE OF ACTION
                                    (AGAINST THE TOWN)
            (Respondeat Superior Liability for New York State Law Malicious Prosecution)

         326.     The Town, as employer, is liable for acts (including failure(s) to act) of the

  Individual Defendants described in this Third Amended Complaint, which were performed within

  the scope of employment or in the furtherance of the Town’s interest.



                       AS AND FOR A FIFTH_CAUSE OF ACTION
             (AGAINST FOLBER, BISCARDI, POWELL, MORAN, and QUINLAN)
                       (Procedural Due Process under 42 U.S.C. § 1983)

         327.     Folber, upon the direction and/or assistance of the other above individual

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  defendants (Folber, Biscardi, Powell, Moran and Quinlan), issued Accusatory Instruments

  appearing to charge Plaintiff with failing to comply with orders to correct or remedy.

         328.     Folber charged Plaintiff with failing to comply despite lacking knowledge of

  Plaintiff’s failure to comply and despite being provided with evidence from Plaintiff of compliance.

         329.     Individual defendants (Folber, Biscardi, Powell, Moran and Quinlan), with the

  knowledge that it was incumbent upon each and all of them to ensure compliance with CPL § 100

  before depriving a person of any liberty interests, knowingly and/or recklessly and/or in bad faith

  filed fourteen facially insufficient informations against Plaintiff, knowing that the State Court

  systematically shirked its responsibility to check for facial sufficiency of accusatory instruments.

         330.     CPL §§ 100.15 and 100.40 provide substantive protections of surpassing

  importance, rising to and equivalent to the protections afforded under the Constitution of the United

  States of America: the proscription of any deprivation of liberty without due process of law.

         331.     Plaintiff also timely told Folber and Biscardi that he would permit inspection by

  authorized Town Personnel and at all times Folber and Biscardi had the ability to seek the issuance

  of a search warrant to cause an on-site inspection of the Norfleet Property, but did not.

         332.     Before Plaintiff could be charged with failing to comply with an order to correct,

  due process required the Town and Town officers to have knowledge of his failure to comply. The

  Town and Town officers cannot shift the burden onto Plaintiff to prove that he did comply even

  though he made attempts to demonstrate that he was in compliance.

         333.     Moreover, for an accusatory instrument to be facially sufficient, an information,

  together with any supporting depositions, must meet three requirements: (1) allege facts of an

  evidentiary character supporting or tending to support the charges, pursuant to CPL § 100.15(3);

  (2) provide reasonable cause to believe that the defendant committed the offenses charged in the


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  information; and (3) include non-hearsay factual allegations, which, if true, establish every element

  of the offense charged. See CPL § 100.40(1)(a-c).

         334.     The Accusatory Instruments lacked non-hearsay factual allegations that Plaintiff

  failed to comply with the order to correct because Folber did not attempt to conduct any inspection

  either through an authorized Town officer or by a duly issued search warrant.

         335.     Before a search warrant could be issued, Folber, would be, among other, required

  to demonstrate reasonable cause to believe that a violation existed at the Norfleet Premises.

         336.     The failure to conduct an inspection prior to charging Plaintiff, or to have attempted

  to seek a search warrant to conduct a compliance inspection which would review whether there was

  reasonable cause to believe a violation existed, deprived Plaintiff of due process of law and resulted

  in him being subjected to prosecution without reasonable or probable cause and the expense and

  humiliation of defending against the fourteen criminal actions.

         337.     Folber, and the above individuals, knew an inspection was required before Plaintiff

  could be charged with failing to comply with an order to correct but proceeded to charge him in the

  face of evidence that he was in compliance.

         338.     Folber knowingly put the violation date as July 11, 2011 instead of some date

  thereafter. Thus, it was impossible for Plaintiff to be in violation for failing to comply on July 11,

  2011 with the July 12, 2011 Letter Order and/or with the August 26, 2011 Letter Order—both of

  which were issued and mailed after July 11, 2011.

         339.      Folber, Biscardi, Powell, Moran and Quinlan proceeded to commence and

  continue prosecutions in direct violation of the CPL and Federal law, without reasonable cause and

  without satisfying basic legal sufficiency requirements, which impaired Plaintiff’s liberty interests

  without any process or protections thereby violating Norton’s due process rights.


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         340.     Also based on the foregoing, Plaintiff’s right to due process was violated because

  he was deprived of procedural rights and safeguards before he was charged with a violation that

  required such process to occur. Plaintiff has been damaged, as detailed above, by the lack of process

  which would have thwarted the ability of the above individual defendants (Folber, Biscardi, Powell,

  Moran and Quinlan) to bring the criminal actions.


                           AS AND FOR A SIXTH CAUSE OF ACTION
                         (AGAINST FOLBER, BISCARDI, AND MORAN)
                              (Fourth Amendment under 42 U.S.C. § 1983)

         341.     Property owners retain a reasonable expectation of privacy in the structure and

  fixed portion of their property even if that property is licensed, rented, leased, or is occupied by

  another.

         342.     Further, when the government physically intrudes upon a person’s property or

  constitutionally protected area in order to obtain information, that intrusion constitutes a violation

  of the Fourth Amendment (and in New York is a violation under New York State Constitution

  Article I, Section 12 and under New York Civil Rights Law § 8).

         343.     A warrantless, non-exigent circumstances physical intrusion upon “houses” or

  “effects” for the purposes of obtaining information constitutes an unlawful search pursuant to the

  Fourth Amendment (and in New York is a violation under New York State Constitution Article I,

  Section 12 and under New York Civil Rights Law § 8).

         344.     Property owners retain the right to be “secure” (free of fear) in their “houses” and

  “effects” against unreasonable search and seizure threats by Town agents, officers and employees.

         345.     In pursuit of his retaliatory investigations, Folber, upon the advice and

  encouragement of Moran and/or at the direction and/or instruction of Biscardi, entered Plaintiff’s

  Norfleet Property in order to obtain information of a criminal nature without Plaintiff’s, Howard’s

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  or Richard’s consent or a warrant.

         346.       Any consent was not voluntary as it was obtained through a misrepresentation

  Folber made about his true purpose for entering the Norfleet Property and/or made about his (as a

  DHHS employee) authority to enter, investigate, inspect, search and seize the Norfleet Property.

         347.       Folber’s purpose in entering Plaintiff’s Norfleet Property was to obtain information

  in connection with the enforcement of criminal laws.

         348.       Accordingly, the above individual defendants (Folber, Biscardi and Moran)

  deprived Plaintiff of his right to be free from unreasonable search and seizure.


                         AS AND FOR AN SEVENTH CAUSE OF ACTION
                         (AGAINST FOLBER, BISCARDI, AND MORAN)
                                    (Civil Rights Law § 8)

         349.     Based on the actions described in the sixth cause of action, the above individual

  defendants (Folber, Biscardi and Moran) violated Plaintiff’s rights protected under New York Civil

  Rights Law § 8.


                           AS AND FOR A EIGTH CAUSE OF ACTION
                                         (AGAINST THE TOWN)
                     (Monell liability for Fourth Amendment under 42 U.S.C. § 1983)

         350.       Town Practice(s), including at the Law Department, the Town’s Quality of Life

  Task Force and at the DHHS, were during all times relevant herein, to among other things,

  “aggressively enforce the Town Code” and to “eliminate blight in neighborhoods” and “shutdown

  suburban slumlords.”

         351.       To the extent the above defendants in the sixth cause of action contend that any of

  their acts with regard to Plaintiff (which acts constitute violations of Plaintiff’s Fourth Amendment

  rights) were done pursuant to Town Practice(s), such were a result of a failure to train, or were


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  because of a directive, approval or deliberate indifference of a municipal final policymaker; thus

  the Town is also liable for the violation of Plaintiff’s Fourth Amendment rights.

          352.      Upon information and belief, the Town failed and fails to properly train its

  Personnel regarding property owner’s Fourth Amendment rights and about the need to obtain a

  search warrant if proper consent to a search or seizure from the property owner is lacking. In

  addition, the Town failed and fails to properly train its Personnel who were unlawfully instructed

  to and/or directed to physically intrude upon privately owned residential property in the Town

  without being properly trained on the restrictions of searches without a warrant found in Town Code

  §§ 82-8(B)-(C), 82-9, and 82-14 even though no Town Personnel at any time relevant to this civil

  action had ever received any proper delegation of authority from New York State, of any non

  Uniform Code property maintenance law based administration and enforcement power(s).




                             AS AND FOR A NINTH CAUSE OF ACTION
                                           (AGAINST THE TOWN)
                 (Monell liability for First Amendment Claims and Procedural Due Process)

          353.      Municipal final policymakers participated in and/or the violations of Plaintiff’s

  First and Fourteenth Amendment Due Process rights or the violations of Plaintiff’s First and

  Fourteenth Amendment Due Process rights were the result of a directive, approval or deliberate

  indifference of a municipal final policymaker (as discussed in the facts and individual causes of

  action). Thus, the Town is liable for the violations of Plaintiff’s rights.


                           AS AND FOR AN TENTH CAUSE OF ACTION
                                      (AGAINST THE TOWN)
                            (Declaratory Judgment under 28 U.S.C. § 2201)

       A. Unlawful Practices


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           354.   A justiciable controversy has arisen between Plaintiff and the Town in that Plaintiff

  maintains that by reason of the malicious prosecutions of him for wrongful purposes; the First

  Amendment retaliatory acts against him and interference with an intimate association, the search

  and seizure of Plaintiff’s property without consent or warrant, the unreasonable threats to search

  and seize made by the Town against him and his houses and effects, the failure to provide due

  process of law before having criminal actions commenced and continued, the Town has violated

  Plaintiff’s rights under the United States Constitution, under the New York State Constitution and

  under New York law.

           355.   The Town continues each and all of the above alleged Practice(s) and denies that

  such Practices are unlawful.

           356.   Plaintiff, from prior to 2011 through the present has been a legal owner of record

  in the office of the Suffolk County Clerk of other real property in the Town.

           357.   Under 28 U.S.C. § 2201, Plaintiff seeks declarations from this Court that the

  foregoing conduct continues to be the Practice(s) of the Town and such Practice(s) violated and

  violate the First, Fourth, Fifth and Fourteenth Amendments to the United States Constitution, New

  York State Constitution Article I Section 12, Article IX, Section 2(c) and Article XVI, Section 1,

  New York State Civil Rights Law Article 2, Sections 2, 3 and 8 and New York State Town Law §

  138.

         B. Violation of State Law and Due Process for Filing Jurisdictionally Insufficient
            Accusatory Instruments

           358.   The types of accusatory instruments which may be filed in a New York State

  criminal action are limited to those provided by the legislature in the CPL. Under CPL § 100, New

  York State has provided all persons with rights not to have certain liberty interests interfered with,

  by any criminal action for any alleged misdemeanor or violation of any New York law, local law,

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  ordinance or regulation, until, as and if, a facially sufficient accusatory instrument exists.

         359.     While under CPL § 100, New York law permits the issuance and filing in criminal

  court of misdemeanor complaints, New York law does not authorize the issuance and filing in

  criminal court, of violation complaints (except should an accused, after wrongfully being arraigned

  on a facially insufficient accusatory instrument, waive his/her/its right to move to dismiss the

  accusatory instrument).

         360.       Folber’s allegements, which complained that Plaintiff had violated Town Code §§

  82-3E, 82-3F and 82-10, each constituted allegements of below misdemeanor violations; each of

  the three violation accusatory instruments issued against Plaintiff were required to be based upon

  non-hearsay knowledge.

         361.     Folber’s allegements, which complained that Plaintiff had violated Town Code §§

  82-3E, 82-3F and 82-10, were conclusory and/or lacked certain required factual allegations and/or

  were based upon hearsay.

         362.     Where state law creates a protected liberty interest by placing substantive

  limitations on the discretion of governmental officers that are explicitly mandatory, a § 1983 cause

  of action lies when a person is deprived of that protected liberty interest without due process.

         363.     CPL § 100 et seq. provided and provides citizens with the right to be free from

  criminal action unless there exists a facially sufficient information, which is a jurisdictional or

  statutory prerequisite to a valid criminal action.

         364.     In order to be facially sufficient, an information, together with any supporting

  depositions, must meet with three requirements: (1) allege facts of an evidentiary character

  supporting or tending to support the charges, pursuant to CPL § 100.15(3); (2) provide reasonable

  cause to believe that the defendant committed the offenses charged in the information; and (3)


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  include non-hearsay factual allegations, which, if true, establish every element of the offense

  charged. See CPL § 100.40(1)(a-c).

         365.     The third requirement, non-hearsay factual allegations, is required for reasonable

  (probable) cause to exist and is necessary for an information because unlike a felony complaint (see

  CPL § 180.10), an information is not followed by a preliminary hearing and a Grand Jury

  proceeding. Thus, the People need not, at any time prior to trial, present actual evidence

  demonstrating reasonable (probable) cause, as with an indictment following a felony complaint.

         366.     New York CPL § 70.10(2) defines “[r]easonable cause to believe that a person has

  committed an offense” to be “when evidence or information which appears reliable discloses facts

  or circumstances which are collectively of such weight and persuasiveness as to convince a person

  of ordinary intelligence, judgment and experience that it is reasonably likely that such offense was

  committed and that such person committed it. Except as otherwise provided in this [CPL] chapter,

  such apparently reliable evidence may include or consist of hearsay.” (Bracketed material added).

         367.     Since a facially sufficient information must under CPL §§ 100.40(1) (a)-(c) include

  non-hearsay factual allegations, which, if true, establish every element of the offense charged (and

  thus hearsay is excluded from consideration as per CPL § 70.10(2)), a government officer who

  relies upon hearsay evidence or information for an element of the offense charged lacks reasonable

  (probable) cause to believe that a person committed an offense and reasonable (probable) cause to

  believe that a criminal action against the accused person could succeed.

         368.     As a matter of Town Practice(s), criminal actions against Town improved

  residential private property owners, including Plaintiff, were based upon facially insufficient

  accusatory instruments, including those that were missing required element(s) and/or relied on

  improper hearsay.


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           369.   As a matter of Town Practice(s), criminal actions against Town improved

  residential private property owners, including Plaintiff, were based upon information unlawfully

  and unconstitutionally collected while intruding upon a person’s property or constitutionally

  protected area in order to obtain information.

           370.   As a matter of Town Practice(s), criminal actions against Town improved

  residential private property owners were used to punish the exercise of the constitutional right to

  decline to permit warrantless searches and/or seizures of privately owned property in the Town.

           371.   As a matter of Town Practice(s), the Law Department would prosecute facially

  insufficient accusatory instruments that were missing required element(s) and/or were based upon

  hearsay information and evidence uncovered during unlawful and unconstitutional searches.

           372.   As a matter of Town Practice(s), the Law Department would prosecute facially

  insufficient accusatory instruments knowing that there was a lack of judicial review by the State

  Court.

           373.   As a matter of Town Practice(s), during all times relevant herein, the Town

  intentionally brought and continued the criminal actions against Plaintiff based upon

  jurisdictionally insufficient and facially invalid accusatory instruments relying on the fact that most

  Town private property owners would be unwilling or unable to contest the facial insufficiency and

  facial invalidity of the filed accusatory instruments and subsequently would make a plea with the

  Town.

           374.   The Town has brought other jurisdictionally insufficient accusatory instruments

  against Town private property owners that have been the subject of litigation in the Eastern District

  of New York Federal Court.




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         375.     The Town intentionally or at a minimum recklessly and/or in bad faith, brought and

  continued criminal actions with jurisdictionally insufficient and facially invalid accusatory

  instruments alleging violations of the Uniform Code and/or of the Town Code, relying on the fact

  that most Town private property owners and citizens were and are unaware that appeal was and is

  available to a Hauppauge based NY Board.

         376.     The Town intentionally or at a minimum recklessly and/or in bad faith, brought and

  continued criminal actions with jurisdictionally insufficient and facially invalid accusatory

  instruments alleging violations of the Town Law Chapter 82, relying on the fact that most Town

  private property owners and citizens were and are unaware that appeal was and is available to the

  Town Zoning Board of Appeals.

         377.     The Town intentionally or at a minimum recklessly and/or in bad faith, brought and

  continued criminal actions with jurisdictionally insufficient and facially invalid accusatory

  instruments relying on the fact that the State Court did not exercise certain judicial scrutiny over

  the accusatory instruments or provide individuals with legal representation.

         378.     The Town intentionally or at a minimum recklessly and/or in bad faith, brought

  and continued criminal actions with jurisdictionally insufficient and facially invalid accusatory

  instruments relying on the fact that the County District Attorney abdicated (except as otherwise

  described in paragraph 248) responsibility for prosecution of alleged “serious” crimes and alleged

  violations of New York State law brought by accusatory instruments filed by Town Personnel in

  the State Court and abdicated all responsibility for any criminal actions concerning any provisions

  of the Town Code to the Town and its Law Department.

         379.     These Town Practice(s) often resulted in defendants pleading guilty to the charges

  alleged because either the defendant did not know there existed impediments to the prosecution or


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  it would be too time consuming and costly to challenge the impediments (and it was less time

  consuming and less costly to pay the Town money to “settle” the matters).

         380.     Through a failure to supervise and failure to train, the Town was deliberately

  indifferent to the rights of Plaintiff to be free from having his liberty interests impaired by any

  criminal action(s) unless the criminal action(s) was/were supported by jurisdictionally sufficient

  and facially valid accusatory instrument(s). The Town relies on the law enforcement officers to

  follow the Town Code and New York State laws but does not provide its law enforcement personnel

  any guidance material or manuals on these laws.

         381.     The Town Practice(s), as a result of its failure to supervise and failure to train,

  caused Plaintiff and others to be prosecuted on the basis of jurisdictionally insufficient and facially

  invalid accusatory instruments. This occurred despite Plaintiff’s repeated protests regarding defects

  and deficiencies in the criminal actions.

         382.     The Town, through its Practice(s), failure to supervise and failure to train, was

  deliberately indifferent to the rights of Plaintiff to be free from having his liberty and/or property

  interests impaired by any criminal action(s) unsupported by jurisdictionally sufficient and facially

  valid accusatory instrument(s).

         383.     Under New York law, an alleged accusatory instrument issued by a person not

  authorized under law to issue and/or to file or cause to be filed such an instrument was at all relevant

  times and is jurisdictionally defective and any proceedings commenced as a result of such alleged

  accusatory instrument or continued were at all relevant times and are conducted without jurisdiction

  and are legally void.

         384.     Plaintiff requests that the Court declare the Town’s Practice(s) of filing

  jurisdictionally insufficient and/or facially insufficient accusatory instruments unlawful and in


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  violation of due process and order the Town to, inter alia, provide proper training through in-class

  training and training manuals to help ensure any Town filed accusatory instruments issued meet the

  sufficiency requirements.

      C. Invalid and Unconstitutional Town Code Ch. 82

            385.   Plaintiff remains subject to the arbitrary and capricious criminal enforcement of

  Town Code Ch. 82.

            386.   Plaintiff, during all relevant times, owned and continues to own improved single

  family residential real property in the Town that serves as rental property or as a rental dwelling in

  the Town and which is thus subject to invalid and unconstitutional laws provided for in Town Code

  Ch. 82.

            387.   Because at all relevant times herein, the Town’s Ch. 82 zoning laws (the portions

  of Ch. 82 which contain zoning elements), were intended to apply to and do apply to real property

  within five hundred feet of (inter alia): a) the boundary of a village or town; or b) the boundary of

  an existing or proposed county or state park or other recreation area; or c) the right-of-way of an

  existing or proposed county or state parkway, thruway, expressway, road or highway; or d) the

  existing or proposed boundary of county or state owned land on which a public building or

  institution is situated, the Town has been required at least from 1999 forward to, as a precondition

  to its becoming authorized to pass and to enforce any Town Code Ch. 82 zoning law(s), comply

  with the notice and referral requirements of New York General Municipal Law § 239-m, but has

  failed to do so, including, inter-alia, by failing to submit proper New York General Municipal Law

  § 239-m applications and failing to submit proper environmental impact statements (including

  before making changes, amendments and/or additions to Ch. 82 from 1999 to the present).

            388.   Good order and governance of the Town cannot be and is not enhanced by the


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   enactment of and/or the enforcement of any unlawful law, whether allegedly (see Town Code § 82-

   1) “remedial in nature and effect” or otherwise.

          389.       At all times relevant herein, the Town’s Chief Building Inspector or his designee

  were and are required under Town Code § 82-10 to review each and every Town Code Ch. 82 rental

  occupancy permit application for completeness and to reject any three (3) bedroom dwelling rental

  occupancy permit application lacking the Town Code § 82-5 $350.00 biennial (and purportedly as

  of on or about July 2013, $220.00 fifteen month) nonrefundable permit application fee unless and

  until the fee has been paid.

          390.       At all times relevant herein, the $350.00 biennial (and purportedly as of on or about

  July 2013, $220.00 fifteen month) nonrefundable permit application fee required by the Town upon

  the filing of an application for a three (3) bedroom dwelling rental occupancy permit under Town

  Code § 82-5: (a) was and is invalid as an unauthorized tax, (b) violated and violates § 2(c) of article

  IX of the New York State Constitution as it was and is a revenue raising device, (c) violated and

  violates § 1 of article XVI of the New York State Constitution as the Town lacked and continues to

  lack New York State legislative approval, (d) violated and violates § 2 of Article 2 of the New York

  State Civil Rights Law as the Town lacked and continues to lack, on any pretence whatsoever,

  authority over citizens of New York State such as Plaintiff and those similarly situated, except as

  is or shall be derived from and granted by the people of the State of New York to charge the $350.00

  biennial (and purportedly as of on or about July 2013, $220.00 fifteen month) nonrefundable permit

  application fee.

          391.       Town Code Ch. 82 (including §§ 82-1, 82-3, 82-6, 82-7, 82-10 and 82-14) evidence

  that the Town Code Ch. 82 was enacted pursuant to what the Town purported were the Town’s

  zoning powers.


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           392.   Town Code Ch. 82 violated and violates the uniformity requirement imposed by

  N.Y. Town Law § 262.

           393.   N.Y. Town Law § 262’s uniformity requirement is intended to assure property

  owners that all property owners in the same district will be treated alike and that there will be no

  improper discrimination.

           394.   The Town Code Ch. 82 impermissibly discriminates between owner-occupied

  dwelling units and rental dwelling units by imposing additional regulations upon rental dwelling

  units.

           395.   The Town cannot amend or supersede the application of N.Y. Town Law § 262

  because, for among other reasons, the Town Code Ch. 82 does not relate to the property, affairs, or

  government of the Town; but a private citizen’s property. Even if the Town could amend or

  supersede the application of N.Y. Town Law § 262, it failed to do so properly.

           396.   Instead of just requiring compliance with Town, county and state laws like owner-

  occupied dwellings (see Town Code § 82-8(A)), the Town, among other, mandates on-site New

  York State law and Town Code property maintenance and Town zoning inspections of rental

  dwelling units (§ 82-10(C), requires application for and renewal of rental permits for rental dwelling

  units (§§ 82-5(A), 82-10(C), 82-10(D)) and 82-10(F), requires under 82-10(D)(5) “all applicants

  for a rental registration shall sign an affidavit stating that they have received a copy of and fully

  understand the Brookhaven Town Code concerning the restrictions on the number of unrelated

  persons occupying said residence, exempts under § 82-10(E) certain residential premises’ from the

  Town Rental Permit Law and creates rebuttable presumptions that require property owners to

  present evidence to either a code enforcement officer or the court that the dwelling is not a rental

  dwelling (§§ 82-8(D)).


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         397.     The Town Code Ch. 82 treats dwellings within the same class differently based

  solely on the property status of the property owner. This difference in treatment violates the

  uniformity requirements of N.Y. Town Law § 262, which mandates that regulations issued under it

  be passed without reference to the particular owner.

         398.     Town Code Ch. 82 (including §§ 82-1, 82-3, 82-6, 82-7 and 82-10) evidence that

  the Town Code Ch. 82 was enacted pursuant to what the Town purported were the Town’s New

  York Executive Law Article 18 and/or Uniform Code powers.

         399.     Town Code § 82-10(C) and (F) requires an on-site inspection, as contemplated by

  Executive Law Article 18 and the Uniform Code, (“Uniform Code Inspection”) of the Town’s one

  and two-family rental dwellings in order to obtain a rental permit and then regular, periodic

  inspections to renew that rental permit.

         400.     Executive Law §381(1)(a) states that the Uniform Code sets the minimum standards

  for the “frequency of inspections” of buildings in New York. Executive Law § 381 evidences an

  intent to prohibit such regular, periodic inspections of one and two-family dwellings.

         401.     The regular, periodic Uniform Code Inspections required by Town Code § 82-

  10(C) and (F) are a MRLS, inconsistent with, or in conflict with the Uniform Code and is pre-

  empted since Executive Law § 381 evidences an intent to prohibit such regular, periodic inspections

  of one and two-family dwellings. Even if the Town could request and receive an MRLS, which the

  Town cannot, the Town never notified and petitioned the Code Council for permission to require

  Executive Law Article 18 and Uniform Code based regular, periodic inspections of one and two-

  family dwellings.

         402.     Accordingly, Plaintiff seeks declarations from this Court that the Town Code Ch.

  82 was and is invalid under New York Law and was and is legally void.


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      D. The DHHS’s Lack of Authority to Enforce Town and Uniform Code

         403.     The Town of Brookhaven Town Board has adopted one or more of the following:

  a building code, plumbing code, electrical code, housing code, or ordinances, rules and

  regulations for fire prevention, or for the removal or repair of unsafe buildings or collapsed

  structures (“Regulations”).

         404.     Where a town board has at least in part adopted one or more Regulations, N.Y.

  Town Law § 138 charges that town’s building inspector with the enforcement of that town’s zoning,

  building, plumbing, electrical and housing ordinances and Town rules and regulations for fire

  prevention and for the removal of unsafe buildings and collapsed structures.

         405.      The Town has a building inspector (see Town Code §§ 16-2, 82-2, 82-14 and 85-

  16) who is charged with enforcing the NYS Uniform Code (Town Code § 16-2), the Town’s zoning

  ordinances (Town Code § 85-16, 82-14), building laws (Town Code § 16-2) and housing laws

  (Town Code § 82-14).

         406.     In enacting Town Code § 20-28 (delineating the Town’s delegation of powers and

  duties to its DHHS), the Town provided no power to the DHHS to administer or enforce: a) the

  Uniform Code or b) any Town building, sanitary, plumbing, electrical or housing laws, zoning

  ordinances or Town rules and regulations for fire prevention or c) the removal of unsafe buildings

  and collapsed structures as regards privately owned property in the Town.

         407.     In enacting Town Code § 20-28, the Town did not amend or supersede N.Y. Town

  Law § 138, as required or permitted by New York’s Municipal Home Rule Law or any other law

  (if the Town is even permitted under those laws to amend or supersede New York Town Law §

  138), to in any way provide that the DHHS and certain of its officers any power(s) to administer

  and/or enforce any Town building, sanitary, plumbing, electrical or housing laws, zoning


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  ordinances and Town rules and regulations for fire prevention or the removal of unsafe buildings

  and collapsed structures as regards privately owned property in the Town.

         408.     Plaintiff seeks a declaration from this Court that the DHHS was and is without

  jurisdiction or authority to administer and/or enforce the Uniform Code (and/or Town Code Chs.

  16, 30, 45, 82 and 85) as regards privately owned property in the Town.

         409.     Plaintiff seeks a declaration from this Court that any prior or future administrative

  and/or law enforcement action initiated by the DHHS was and is null and legally void, until such

  time as the Town under a lawful delegation of power from the State of New York, properly

  delegates administration and law enforcement authority to the DHHS.

         410.     Plaintiff also seeks a declaration from this Court that the application fees required

  under Town Code § 82-5 as regards three (3) bedroom single family dwellings in the Town: (a)

  were and are invalid as an unauthorized tax, (b) violated and violate § 2(c) of article IX of the New

  York State Constitution, (c) violated and violate § 1 of article XVI of the New York State

  Constitution, d) violated and violates § 2 of Article 2 of the New York State Civil Rights Law

  because the Town lacked and lacks, on any pretence whatsoever, any authority over citizens of New

  York State such as Plaintiff and those similarly situated, but such as is or shall be derived from and

  granted by the people of New York State and e) violated and violates § 3 of Article 2 of the New

  York State Civil Rights Law as an improper and unlawful revenue raising device.

         411.     Plaintiff further seeks a declaration that no DHHS Personnel possessed at all times

  relevant herein or possess authority under § 5-3 of the Town Code to issue and/or to serve any

  appearance ticket(s) for alleged violation(s) of: a) Chapter 16 of the Town Code; b) the NYS

  Uniform Code; c) Chapter 30 of the Town Code; d) Chapter 45 of the Town Code; e) Chapter 82

  of the Town Code or f) Chapter 85 of the Town Code until such time as the Town, under a lawful


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  delegation of power received from the State of New York, properly delegates administration and

  law enforcement authority to the DHHS.

         412.     Plaintiff further seeks a declaration that the Town lacks the power to authorize any

  non-public servant to lawfully serve appearance ticket(s) for alleged violation(s) of: a) Chapter 16

  of the Town Code; b) the NYS Uniform Code; c) Chapter 30 of the Town Code; d) Chapter 45 of

  the Town Code; e) Chapter 82 of the Town Code or f) Chapter 85 of the Town Code.

      E. Town Code Inconsistent with and/or in Conflict with New York Law and/or with New
         York State Court Procedures and/or with the New York State Constitution

         413.     Plaintiff seeks a declaration that Town Code §§ 16-8, 30-16, 82-3, 82-6, 82-7, 82-

  10, and 82-14 were and are inconsistent with, in conflict with the New York State Executive Law

  Article 18 and/or the Uniform Code and therefore were and are legally void.



                           AS AND FOR A ELEVENTH CAUSE OF ACTION
                                      (AGAINST THE COUNTY)
                              (Declaratory Judgment under 28 U.S.C. § 2201)

         414.     The County District Attorney at all relevant times herein possessed and possesses

  plenary power (and the ultimate, non-delegable responsibility) for prosecuting all crimes and

  offenses occurring within, among other places, the Town and for conducting all phases of any

  criminal prosecutions.

         415.     Only the County District Attorney was and is authorized to criminally prosecute a

  defendant charged with any alleged violation(s) of any New York State law(s).

         416.     A district attorney may delegate fundamental responsibilities in the context of the

  prosecution of petty crimes or offenses but must be kept aware of the conduct of the prosecution

  and retain and take and carry responsibility for it.

         417.     A district attorney may not delegate fundamental responsibilities in the context of

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  the prosecution of “serious” crimes, which includes alleged violations of the Uniform Code.

         418.     Only the County District Attorney was and is authorized to prosecute a defendant

  charged with any “serious” crime(s) where the maximum authorized penalty for the offense

  exceeded or exceeds six months imprisonment.

         419.     The Uniform Code Accusatory Instruments alleged “serious” crimes for violations

  of New York State law where the maximum authorized penalty for each alleged “serious” crime

  exceeded six (6) months imprisonment.

         420.     CPL § 110.20 requires: “When a criminal action in which a crime is charged is

  commenced in a local criminal court, other than the criminal court of the city of New York, a copy

  of the accusatory instrument shall be promptly transmitted to the appropriate district attorney upon

  or prior to the arraignment of the defendant on the accusatory instrument.”

         421.     The County District Attorney’s Office maintained and continues to maintain

  Practice(s) of delegating, either formally or informally, to the local governments in the County of

  Suffolk the prosecution of Local Law petty offenses, and in doing so, abdicated and continues to

  abdicate all responsibility for overseeing criminal actions concerning Town Code provisions to the

  Town and to its Law Department.

         422.     The County District Attorney’s Office disregarded the fact that certain crimes

  alleged by Town Personnel were being prosecuted in the State Court and that no copy or copies of

  the accusatory instrument(s) under which the criminal actions were being prosecuted were being

  promptly transmitted to the County District Attorney upon or prior to the arraignment of the

  defendant on the accusatory instrument.

         423.     The County District Attorney’s Office maintained and continues to maintain

  Practice(s) of abdicating and continues to abdicate all responsibility for prosecution of both alleged


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  “serious” crimes and alleged violations of New York Executive Law Article 18 and/or the Uniform

  Code brought by accusatory instruments filed by Town Personnel in the State Court.

         424.      The County District Attorney’s Office, at all times prior to March 19, 2012 failed

  to prosecute and/or to supervise: (a) the Accusatory Instruments filed against Plaintiff herein or (b)

  any of the Law Department’s criminal actions concerning Plaintiff herein, by failing to monitor and

  review the laws and records upon which the prosecutions were based.

         425.     The County District Attorney’s Office, as a matter of its general and typical

  Practice(s), failed and fails to supervise or control the DHHS and/or the Law Department in its

  initiations and continuations of State Court criminal actions by failing to maintain a system of

  supervision, control or oversight.

         426.     While the County District Attorney’s Office maintains a District Court Bureau,

  which is primarily responsible for prosecuting and disposing of both misdemeanor crimes and

  violations before the District Courts of Suffolk County, this District Court Bureau had during all

  relevant times no involvement with the Town’s criminal actions of alleged misdemeanor crimes

  and violations filed by Town Personnel.

         427.     There existed no County District Attorney’s Office system to review or monitor the

  records upon which criminal actions filed by Town Personnel were based or for the County District

  Attorney’s Office to review or respond to complaints about the enforcement of the laws, the records

  upon which defendants were being prosecuted, or the actions of the Law Department attorneys.

         428.     The Town’s Law Department, prior to the commencement of the prosecutions

  brought against Plaintiff, did not inform the County District Attorney about the Town’s intentions

  re the fourteen criminal actions, made no effort(s) to and did not provide the County District

  Attorney with any records that in any way(s) showed that the Town possessed any valid accusatory


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  instruments, let alone that the Town possessed valid accusatory instruments for all fourteen criminal

  actions brought against Plaintiff, and never sought the County District Attorney’s permission or

  consent to commence or to continue any of the fourteen criminal actions brought against Plaintiff.

          429.     The County District Attorney was not informed, prior to the time that the Town

  commenced its fourteen criminal actions against Plaintiff, of the Town’s intent to commence or to

  continue any of the fourteen criminal actions filed against Plaintiff.

          430.     The County District Attorney as part of general and typical County Practice(s), did

  not consent, review and/or approve and/or permit the Town’s commencement of or the Town’s

  continuation of any of the fourteen criminal actions the Town brought against Plaintiff.

          431.     On or about March 22, 2012, because of a direct letter and multiple follow up calls

  from Plaintiff’s attorney to the County District Attorney, the County District Attorney intervened

  and directed Quinlan to move in State Court to dismiss the Uniform Code Accusatory Instruments.

  However, such type of intervention that occurred was and is not part of general and typical County

  Practice(s).

          432.     The County District Attorney’s and his County District Attorney’s Office

  Practice(s) as described above were a direct and proximate cause of Plaintiff’s injuries.

          433.     A justiciable controversy has arisen between Plaintiff and the County in that

  Plaintiff maintains that by reason of the County District Attorney’s and his County District

  Attorney’s Office Practice(s) described above, the County has caused and is likely to cause further

  violation of Plaintiff’s rights and the rights of others.

          434.     The County continues each and all of the above alleged Practice(s) and continues

  to believe that such Practice(s) were not are not unlawful.

          435.     As a result of the foregoing, and under 28 U.S.C. § 2201, Plaintiff seeks


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  declarations from this Court that the foregoing conduct was and continues to be the Practice(s) of

  the County and such Practice(s) violated and continue to violate state law.

                          AS AND FOR A TWELVTH CAUSE OF ACTION
                                (AGAINST ALL DEFENDANTS)
                                 (Attorney’s Fees under 42 U.S.C. § 1988)

         436.       Plaintiff has been forced to expend, and will continue to be forced to expend,

  substantial sums of money for attorney’s fees, costs and expenses in prosecuting this action

  against the all defendants herein based on the violation of 42 U.S.C. § 1983.


   WHEREFORE, Plaintiff prays the Court render judgment:

            (i)     As to each of Plaintiff’s First, Second, Third, Fifth, Sixth and Seventh Causes of

   Action: awarding Plaintiff compensatory and punitive damages in sums that are not yet known but

   will be determined at trial.

            (ii)    As to each of Plaintiff’s Fourth, Eighth, and Ninth Causes of Action: awarding

   Plaintiff compensatory damages in sums that are not yet known but will be determined at trial.

            (iii)   As to Plaintiff’s Tenth Cause of Action: issuing declaratory judgments as provided

   above.

            (iv)    As to Plaintiff’s Eleventh Cause of Action: issuing a declaratory judgment as

   provided above.

            (v)     As to Plaintiff’s Twelfth Cause of Action: awarding Plaintiff’s attorneys’ fees in an

   amount to be determined.



   WHEREFORE, in addition to the above, Plaintiff prays the Court render judgment:

            (i)     Awarding him costs and disbursements

            (ii)    Awarding him interest, from the earliest date ascertainable; and

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           (iii)      Awarding him such other and further relief as the Court deems just and proper.


                                              JURY DEMAND

           PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 38(b), Plaintiff hereby demands

   a trial by jury.



   Dated: Carle Place, New York
          October 17, 2017
                                                      Respectfully submitted,

                                                      LEEDS BROWN LAW, P.C.,

                                                      By: ____/s/______________________
                                                          Rick Ostrove
                                                          Jonathan Messina
                                                          Attorneys for Plaintiff
                                                          One Old Country Road, Suite 347
                                                          Carle Place, New York 11514
                                                          (516) 873-9550




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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK

     JEROME NORTON,
                                ----------------X
                                                                         STIPULATION OF
                                                                         PARTIAL SETTLEMENT
                                           Plaintiff,

                           -against-

     TOWN OF BROOKHAVEN, COUNTY OF SUFFOLK,                              13 CV 3520
     ROBERT QUINLAN, DAVID J. MORAN, JENNIFER                            (ADS)(m ED
     LUTZER, JUSTIN FOLBER, WILLIAM POWELL,                                    IN CLERK'S OFFICE


                                                                         *
     VALERIE BISCARDI, all individually and in their                     U.S. DISTRICT COURT E.O,N.Y.
     official capacity,
                                                                                OCT 18 2017       *
                                           Defendants.
                                                                         LONG ISLAND OFFICE
     ---------------------------X
            WHEREAS Jerome Norton ("Plaintiff'') has filed a Complaint, an Amended Complaint,

     a Second Amended Complaint and attaches· hereto, a proposed Third Amended Complaint

     ("Exhibit "A'') in this matter, seeking damages and declaratory relief;

            WHEREAS the Town of Brookhaven ("Town") was and is a municipality duly

     incorporated under the laws of the State ofNew York, and

            WHEREAS the Town's Housing and Human Services ("DHHS") currently has three

     Housing Inspectors, two of whom report to the Town Law Department and one of whom reports

     to DHHS. The Housing Inspector who reports to DHHS is 100 % federally funded with Section

     8 money and he therefore performs only Section 8 work which does not include the issuance or

     service of appearance ticket(s) and/or accusatory instrument(s); to receive the funding, he must

     report his hours and only hours that involve Section 8 work will be federally funded; and

            WHEREAS the individual defendants, Robert Quinlan, David J. Moran, Jennifer Lutzer,

     Justin Folber, William Powell, Valerie Biscardi (collectively "Individual Defendants") and the



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    Town (collectively "Town Defendants") filed an Answer to the Second Amended Complaint and

    moved· to dismiss Plaintifrs instant action with prejudice, and

           WHEREAS said motions were denied in part and granted in part by the decisions and

    orders of the United States District Court for the Eastern District of New York, which are

    reported at 33 F.Supp.3d 215 and at 47 F.Supp.3d 152 (Spatt, J.); and

           WHEREAS Plaintiff and Town Defendants (collectively, "the Parties" or individually

    "Party") agree that the Town's real property owners, residents and visitors enjoy the protections

    of the United States Constitution, federal law, the New York State Constitution, state law and

    local law; and

           WHEREAS the Parties have engaged in settlement discussions since on or about

    November 21, 2014; and

           WHEREAS the Parties are desirous of resolving, to the extent provided for in this

    agreement, certain of their differences, thereby avoiding litigation on some matters; and;

            WHEREAS the Parties have been and are represented by counsel, have had all the terms

    and conditions of this stipulation ("Stipulation'') clearly explained, and now freely consent to

    enter this Stipulation, such consent not having been induced by fraud, duress, or any other undue

    influence; and

           .WHEREAS, in consideration of the covenants and undertakings set forth herein and,

    intending to be legally bound the~eby, upon the approval of· the Stipulation by the above-

    captioned Court and upon the Stipulation being so-ordered by a sitting Magistrate or Judge of

    said Court, Plaintiff and the Town Defendants, and each of them, agree to the terms of this

    Stipulation;




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           NOW, THEREFORE, UPON all papers and pleadings submitted in this action, it is

    hereby stipulated, agreed and ordered as follows:

                                    ARTICLE 1: DEFINITIONS

          As used throughout this Stipulation, the following terms sh~l have the following
    meanings:

           a "Department of Housing and· Human Services" ("DHHS") shall mean the department

    fonned by and maintained by the Town, as presently set fo~ in Town Cod_e §§ 20-25 to 20-31,

    including any Town successor agencies, departments, or divisions thereto.

           b. "Housing Inspector" is a title established by the Suffolk County Department of Civil

    Service. A DHHS Housing Inspector ("DHHS Inspector") shall mean any full-time or part-time

    employee of the Town's DHHS acting within the scope of his employment, or stated otherwise,

    in furtherance of the interests of his employer, whose duties involve all or some of the following

    distinguishing features, as presently set forth in a duty statement ·for the ~uffolk County

    Department     of    Civil    Service,    a    copy     of   which      may     be    found      at

    https://apps2.suffolkcountyny.gov/civilservice/specs/5131spe.html:


                   An employee ·in this class is involved in field inspections to
                   enforce compliance with applicable housing codes and ordinances.
                   The inspections include single and multiple residences and are
                   conducted to assure that reasonable standards of living conditions
                   are provided for tenants as required by law. Work assigmnents
                   include inspections ·performed in answer to complaints and also
                   inspections performed in accordance with a regular inspection
                   schedule. The incumbent must deal with landlords, tenants and the.
                   general public in a tactful and firm manner. All work is performed
                   under the supervision of a higher level housing inspector or other
                   administrator. Performs related work as required.

           c. "Town Investigator" is a title established by the Suffolk County Department of Civil

    Service. A Town Investigator shall mean any full-time or part-time employee of the Town actirig


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    within the scope of his employment, or stated otherwise, in furtherance of the interests of his

    employer, whose duties involve all or some of the following distinguishing features, as presently

    set forth in _a duty statement for the Suffolk County Department of Civil Service, a copy of which

    may be found at https://apps2.suffolkcountyny.gov/civilservice/specs/5791 spe.html:

                   Under general supervision, an employee in this class conducts
                   investigations of possible violations of town ordinances in
                   response to complaints received from town departments and the
                   general public, as directed by the Town Attorney's Office. The
                   incumbent gathers information through interviews, surveillance
                   and research of records. Does related work as required.

    Notwithstanding anything ·herein elsewhere in this Agreement to the contrary, "Town

    Investigator,, as that term is defined in Article 1(c) above shall not mean "DHHS Insp~ctor" as

    that tenn is defined in Article 1(b) above.

            d. "Chief Town Investigator" is a title established by the Suffolk County Department of

    Civil Service. A Chief Town Investigator shall mean any full-time or part-time employee of the

    Town acting within the scope of his ~mployment, or stated otherwise, in furtherance of the

    interests of his employer, whose duties involve all or some of the following distinguishing

    features; as presently set forth in the duty statement for the Suffolk County Department of Ci'yil

    Service, a copy of which may be found at

    https://apps2.suffolkcountyny.gov/civilservice/specs/5794spe.html:


                   An employee in this class conducts investigations into particularly
                   complex violations of town ordinances in response to complaints
                   received from town departments and the general public, as directed
                   by the Town Attorney's Office. The incumbent compiles data for
                   specialized reports pursuant to investigative activities, assists the
                   Town Attorney in report preparation and may function as principal
                   liaison for the latter in settlement of cases. Supervision is exercised
                   over subordinate technical personnel subject to direction and
                   control by the Town Attorney. Work is reviewed by conferences

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                   with attorneys in the Town Attorney's office. Does related work as
                   required.


           e. "Town" shall mean the Town of Brookhaven, any of its constituent agencies,

    departments, commissions, boards, except as otherwise provided by law.

           f. "Town Board" shall mean
                                    .. the Town's. ''Supervisor and Councilmen", as constituted

   · pursuant to New York Town Law § 60 and the Town Code.

           g. "Town Code" shall mean the Code of the Town of Brookhaven and any

    unconsolidated laws and/or ordinm1:ces and/or regulations of the Town of Brookhaven.

           h. "Court" shall mean the United States District Court for the Eastern District of New

    York, which shall have jurisdiction over this Stipulation, its Stipulation Order and over the

    Parties to this Stipulation and each of them.

           i. "Date of the Stipulation" shall mean the day the Stipulation becomes effective upon the

    ·court expressly retaining jurisdiction over the entire Stipulation, including incorporating the

    terms of the Stipulation itself into a. final c~urt-ordered Stipulation order ("Stipulation Order")

    pursuant to F.R.C.P. Rule 4l(a)(2). It is an intent of this Stipulation:

               i) to ensure that no Party or Parties here~o are precluded from pursuing appropriate

               Court remedies in the event of any breach; and

               ii) that the Stipulation shall in no event become valid or come into effect, in whole or

               in any part(s) thereofunti~, as and if the Court issues its Stipulation Order.

          j. "State Court" shall mean a New York State court of competentjurisdiction.

          k. "Exigent Circumstances" shall mean circumstances of immediate danger to life, limb or

    property. Exigent Circumstances shall not include evidence of illegal use and/or occupancy

    without other circumstanc~s that threaten immediate danger to life, limb or property.



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         1. Using the singular form of any word includes the plural and vice versa where the sense of

   the document requires same.

            m. To the extent any·statutes, laws, rules, regulations, ordinances, local laws and/or codes

    identified in this Stipulation are renumbered, reordered and/or codified/re-codified -into one or

    more statutes, laws, rules, regulations, ordinances, local laws and/or code(s) section(s) and/or

    into a different chapter(s), and/or remain in violation of law, in whole or in part(s), they are

    deemed to be part of and included within this Stipulation while said Stjpulation remains in effect,

    and all other provisions of this Stipulation shall apply to any such statutes, laws, rules,

    regulations, ordinances, local laws and/or codes.

                                      ARTICLE 2: STIPULATION

    1~ The Town agrees that from the Date of the Stipulation forward that that no DHHS Inspector

    may issue and/or serve any appearance ticket(s) and/or accusatory instrument(s) alleging any

    violation(s) of the New York State Uniform Fire Prevention and Building Code ("Uniform

    Code"). The Town also agrees that within sixty (60) days from the Date of the Stipulation that it

    shall amend its Town Code to clarify that no· DHHS Inspector may issue and/or serve any

    appearance ticket(s) and/or accusatory instrument(s) alleging any violation(s) of the Uniform

    Code.



    2. The Town agrees that from the Date of the Stipulation forward, with respect to DHHS

    Inspectors, as defined in Article 1(b) , above, its DHHS Inspectors, who do not exclusively

    perform duties associated with Section 8· of the Housing Act of 193 7, as amended, shall report

    directly to the Town Department of Law and that the Town and its DHHS Inspectors shall be

    bound by the following: a. Prior to any issuance(s) and/or service(s) of any appearance ticket(s),


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    any DHHS Inspector is first ·required to submit and shall submit the proposed appear~ce

    ticket(s) to the Town's Chief Town Investigator who shall review the same for (i) facial

    sufficiency and (ii) provide the DHHS Inspector with his/her written approval of the appearance·

    ticket(s) for issuance and service, prior to the date and time of any service(s) of process of any

    such appearance ticket(s) by any DHHS Inspector upon any person or his/her/its agent. Any

    written approval(s) of the Town's Chief Town Investigator shall be retained by the Town in .

    accordance with Records ~etention and Disposition Schedule MU-1, set forth at 8 N.Y.C.R.R §

    185 .11 or any successor regulation.



           b. Prior to any filing(s) or any submission(s) for filing in the Suffolk County District

           Court of any accusatory instrument(s), any DHHS Inspector shall first, if the accusatory

           instrument(s) is/are to be issued by any DHHS Inspector, submit the proposed accusatory

           instrument(s) to an authorized Town.Assistant Town Attorney then officially assigned by

           the Town and Suffolk County District Attorney to prosecute petty crimes and offenses

           before Suffolk County District Court. Prior to the date and time of any filing of any such

           DHHS Inspector-issued accusatory instrument(s) by the Town or its persotlllel with the

           Suffolk County District Court, such Assistant Town Attorney is required to, and shall on

           behalf of the Town, (i) review any accusatory instrument(s) for facial sufficiency and (ii)

           provide the DHHS Inspector with his/her written approval of the accusatory instrument(s)

           for issuance and service by initialing a marked copy of any accusatory insb.-Qment(s) and

           shall memorialize the approval of the accusatory instrunient(s) and that each is/are

           facially sufficient, by placing the marked and initialed copy/ies of the accusatory

           instrument(s) in the case file. Any written approval(s) of the authorized Town.Assistant .



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         Town Attorney shall be retained by the Town in accordance with Records Retention and

          Disposition Schedule MU-1, set forth at 8 N.Y.C.R.R. § 185.11 or any successor

          regulation.



          c. Prior to any issuance(s) and/or service(s) of any appearance ticket(s) and prior to any

          issuance(s) and filing(s) of any accusatory instrument(s) in the Suffolk County District

          Court, any DHHS Inspector is first required to complete successfully any then-required

          by the Town in-house training, as set forth in the Stipulation in paragraph 10 below.



          d. Prior to any issuance(s)e and/or service(s) of any appearance ticket(s) and to any

          issuance(s) and filing(s) of any accusatory instrument(s) in the Suffolk County District

          Court, any DHHS Inspector is first required to and shall successfully complete any then-

          required New York State Department of State ("DOS") state-certification classes.



          e. Prior to any issuance(s) and filing(s) of any accusatory instrumeilt(s) in the Suffolk

          County District Court; any DHHS Inspector is first required to use standard fonn Town

          accusatory instruments prepared by the Town Attorney.



   3. The Town agrees that its DHHS Inspectors shall be directly supervised by the Town's Chief

   Town Investigator.




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   4. With respect to the requirement that the Town file reports with the New York State Secretary

   of State in accordance with 19 N.Y.C.R.R. 1203.4(a) ("Part 1203 Reports"), the Town agrees

   that it shall:

            a. complete and submit any required Part 1203 Reports to the DOS within three months

            of the date upon which the DOS first.provides the Town with a copy of or posts its Part

            1203 Reports form for a given year on DOS' website;

            b. within one week of submitting the Part 1203 reports to the DOS, post the iown's

            completed and submitted Part 1203 l_leports on line on the Town's website directly

            available to the general public via a link that shall_be found on the front (main) web page

            of the Town Division of Building or its legal successor(s) under "useful links" (hereafter

            ''the Building Division web page");



            c. within a reasonable time from the Date of the Stipulation, post the Town's completed

            and submitted Part 1203 Reports made to the D(?S for each of the calendar years 2013,

           ·2014 and 2015 on-line on the Building Division web page and shall maintain said records_

            there for a minimum of one (1) year; and



            d. within a reasonable time from the· Date of the Stipulation and in accordance with

            paragraph 4(a) of the Stipulation, po~t the Town's 2016 and all thereafter Part 1203

            Reports on-line on the Building Division web page. Except as otherwise provided in

            paragraph 4(c) of the Stipulation, the Town agrees that for each ne:w posting,·it will also

            maintain the preceding Part 1203 Rep.arts for the past two years on-line on the Building




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           Division. web page, so that a minimum of three Part 2013 Reports shall be posted at all

           times on-line on the Building Division web page.



    5. The Town agrees that from the Date of the Stipulation forward, it shall immediately cease any

    use of non-public servant, outside contractors to serve criminal process anYWhere in Nassau

    County or Suffolk County.



    6. The Parties agree that:

           a. the Town shall:

                   i) from the Date of the Stipulation forward immediately cease any enforcement of

                   Town Code§§ 16-8 and 30-16; and

                   ii) within. a reasonable -time from the Date of the Stipulation, repeal Town Code

                    §§ 16-8 and 30-16;



            b. the Town, within thirty (30) days from the Date of the Stipulation shall submit a fully

           authorized and properly executed Exhibit B (together with all exhibits and attachments)

           to the New York State Pepartment of State, which petitions the Department of State for

           its determinations as to whether and to what extent, Chapter 82 of the Brookhaven Town

           Code is legally enforceable under New York State _Executive Law Article 18 and/or the

           New York State Fire Prevention and Building Code ("DOS Uniform Code

           Interpretation"). The Town agrees to_ promptly provide Plaintiff (via first class mail), with

           a copy of the Town's entire submission.
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             c. if the New York State Department of State agrees to review all or any part(s) of the

             provisions identified in Paragraph 6(b) of the Stipulation and to the extent the New York

             State Department of State ~ecretary and/or her designee(s) ("Secretary") actually issues a

             DOS Unifonn Code Interpretation, Plaintiff and the Town Defendants shall be bound by

             such DOS Uniform Code Interpretation, and the Parties agree not to reargue and/or to

             appeal any such DOS Uniform Code Interpretation. The Parties further agree that the

             State of New York Department of State shall become a third-party beneficiary of the

             Stipulation and of the Stipulation Order to the extent it actually issues a DOS Uniform

             Co~e Interpretation;



             d. if the Secretary finds any part of Ch. 82, or part(s) thereof, submitted to the New York

             State Department of State pursuant to Paragraph 6(b) above, does not constitute a lawful

             exercise by the Town of the-Town's powers under New York Executive Law Article 18

             and is not consistent with the Uniform Code, the Town agrees it shall immediately cease
                                                                              I



             any New York Executive Law Article 18 and/or Uniform-Code based law enforcement of

             said provision(s) or part(s) thereof found to be unlawful and agrees to repeal those

             unlawful provisions within a reasonable time;

      t',




             e. to the extent that the Secretary does not issue any DOS Uniform Code Interpretation,

             as to any of the Town Code provisions submitted to the New York State Department of

             State pursuant to Paragraph 6(b) of the Stipulation, the Parties agree that:




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                          -·          1075                  ..
               i. Plaintiff shall be entitled to, but is not required to, submit to the Court a motion

               for a declaratory judgment seeking a de~ermination of the issue of whether and/or

               to what extent Chapter 82 of the Brookhaven Town Code is legally enforceable

               under New York State Executive Law Article 18 and/or the New York State Fire

               Prevention and Building Code ("Judicial Uniform Co4e Determination").



               ii. to the extent that the Court does not issue a Judicial Uniform Code

               Detennination, Plaintiff shall be entitled to, but is not required· to, submit to a

               State Court a motion for a declaratory judgment seeking a Judicial Uniform Code

               Determination.



               iii. Plaintiff shall have the sole discretion and authority to request a Judicial

               Uniform Code Determination. The Town may not request a Judicial Uniform

               Code Determination Interpretation.



               iv. As all of the herein individual defendants have been removed from this case by

               operation of the Stipulation and the Stipulation Order, only Plaintiff and the TQwn

               shall be permitted to litigate the Judicial. Uniform Code Determination.



               v. the Town agrees that, to the extent that the Court and/or the State Court finds

               any part(s) of any submitted provision(s) of Town Code Ch. 82 or part(s) thereof

               violate(s) New York Executive Law Article 18 and/or violate(s) the Uniform

               Code, that the Town shall immediately cease law enforcement of any such


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                  unlawful provisions and agrees to repeal those provisions within a reasonable

                  time, after all appeals have been exhausted.



   7. The Parties and each of them also agree that:

           a. Town Defendants consent to and shall not oppose, by motion or otherwise, Plaintiff's

           filing and service of the proposed Third Amended Complaint, which contains additions

           and/or corrections and the following claim: that the Town was requirecl to, but has failed

           to, submi~ properly pursuant to New York General Municipal Law 239-m, its Town Code

           Ch. 82 to the Suffolk County .Planning Commission, so that the Suffolk County Planning

           Commission could have had the opportunity to issue any recommendations,. accompanied

           by a statement of the reasons for such recommendations, before the Town passed its

           many Town Code Ch. 82 local laws and/or ordinances. The parties agree that, upon the

           filing of the Third Amended Complaint, it ·shall be deemed that Defendants have

           simultaneously served and filed an answer to the proposed Third Amended Complaint, as

           follows: all allegations in the Third Amended Complaint that were not contained in the

           Second Amended Complaint shall be deemed denied upon knowledge and information

           sufficient to form a belief; with respect to allegations set forth in the Third Amended

           Complaint that were set forth in the Second Amended Complaint, the responses set forth

           in the Answer to the Second Amended Complaint shall be deemed repeated and reiterated

           as though fully set forth; all affirmative defenses set forth in the ~swer to the Second

           Amended Complaint shall be deemed repeated and reiterated as though fully set forth,

       '   except to the extent that each of the Town Defendants, via their notice to admit responses

           (attached hereto and made a part hereof as Exhibit D), have admitted otherwise, in which


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                          ....       1077                ' ,

         cases), each and all defendant's notice to admit response(s) shall control. The ~own

         further agrees that to the extent the Court requires a formal ~wer to the Third

         Amended Complaint, that the Town will fully cooperate, prepare, and file such an

         Answer.



         b. Within sixty (60) days from the Date of the Stipulation, the Town agrees to certify that

         it has conducted and co·mpleted a diligent search for and has provided to Plaintiff a copy

         ·of any and all:



                 i) Town Code Ch. 82 based application submissions, made by the Town from

                 January 1, 1999 through the present, to the Suffolk County Planning Commission,

                 in whole or in any part(s), pursuant to the requirements of New York General

                 Municipal Law §239-m~



                 ii) responses the Town received from the Suffolk County Planning Commission in

                 response to the Town's aforementioned application submissions;



                 iii) Town Code Ch. 82 local laws and ordinances passed by the Town Board and

                 all of those local laws actually filed by the Town with the Secretary of State of the

                 State of New York, indicating the date the local law was actually filed;



         c. Plaintiff shall be entitled to, but is not required to, submit to the Court a motion for a

         declaratory judgment seeking a ·determination of the issue of the extent to which Town



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            Code Ch. 82: constitutes a lawful exercise by the Town of the Town's powers pursuant to

            the       requirements    of New   York   General    Municipal     Law    §239-m     (''239-m

            Determination").



            d. If the Court declines to, in whole o~ in part(s), issue its 239-m Determination on the

            merits, Plaintiff shall be entitled to, but is not required to submit to a State Court a motion

            for a declaratory judgment seeking a 239-m Determination.



            e. As all of the herein individual defendants have been removed from the case by

            operation of this Stipulation, only the Plaintiff and the Town shall be permitted to litigate

            the 239-m Determination.



            f. The TOWJ?- agrees that, to the extent that the Court and/or the State Court finds all or

            any part(s) of Town Code Ch. 82 violate New York General Muni':ipal Law §239-m, the

            Town shall immediately cease law enforcement of any such unlawful provisions and

            agrees to repeal those unlawful provisions within a reasonable time, after all appeals have

            been exhausted.



     8. The Parties and each of them also agree that should this Court or a State Court fssue a 239-m

    Detennination finding that at least some zoning portion(s) of Town Code Ch. 82 constitutes a

    lawful exercise by the Town of the Town's lawmaking powers consistent with the requirements

    of New York General Municipal Law § 239-m:




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                          '-~            1079                  ·
          a. Plaintiff shall be entitled to, but is not ~equired to, submit to the Court a motion for a

             declaratory judgment seeking a detennination of the issue of whether, and the extent

             to which, Town Code Ch. 82 constitutes a lawful exercise by the Town of the Town's

             powers consistent with the requirements of New York Town Law § 262 ("Rental

              Code Determination"). Such submissions shall only be filed for any court

             determination(s) after the Court or State Court first detennines that at least some

              zoning portion(s) of Town Code Ch. 82 constitute a lawful exercise by the Town of

             the Town's lawmaking powers consistent with the requirements of New York

              General Municipal Law 239-m;

          b. If the Court declines, in whole or in part(s), to issue a Rental Code Determination on

             the merits, Plaintiff shall be entitled to, but is not required to, submit to a State Court

              a motion for a de1:laratory judgment seeking a Rental Code Detennination.



          c. Plaintiff shall have the sole discretion and authority to seek a Rental Code

              Determination. The Town may not request a Rental_ Code Determination.



          d. As all of the herein Individual Defendants. have been removed from the case by

              operation of this Stipulation, only the Plaintiff and the Town shall be permitted to

              litigate the Rental Code Determination.



          e. In any action(s) before the Court and/or State Court and/or before any appeals ·

              court(s) relating to any Rental Code Determination and/or to any Judicial Unifonn

              Code Determination, but not relating to any 239-m Determination or to any DOS



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                Uniform Code Interpretation, the prevailing Party shall be entitled to recover from the

                non-prevailing Party his/its reasonable attorneys' fees, capped at a maximum of

                Seventy-Five Thousand ($75,000.00) Dollars ("Reasonable Attorney's Fees"). Once

                either the Town or Plaintiff has been issued a final judgment awarding him/it

                Reasonable Attorney's Fees and all timely appeals concerning said judgment have

                been exhausted, paragraph 8(a) shall no longer apply and there shall be no further

                instance ·requiring the non-prevailing Party to pay legal fees pursuant to this

                Stipulation, other than as is re~uired by paragraph 16 of the Stipulation. Pl~ntiff shall

                be considered.the prevailing Party if prior to a Rental Code Determination and/or any

                Judicial Unifonn Code Determination, the Town moots the then pending action via

                repeal of and/or revision of the law{s) under consideration, but only if Plaintiff has

                prepared and served upon the Town any court brief on the merits of any Rental Code

                Detennination and/or any Judicial Uniform Code Determination. •



           f.   The Town agrees that, to the extent that the Court and/or     the State Court finds any
           zoning provision(s) part(s) of any submitted provision(s)-of Town Code Ch. 82 violate

           New York Town Law· § 262, that the Town shall iµunediately cease law enforcement of

           any such unlawful provisions and agrees to repeal those unlawful within a. reasonable

           time; after all appeals have been exhausted.



    9. The Town agrees that prior to serving any notice(s) to correct or appearance ticket(s)

    involving any alleged zoning law violation(s), the Town shall first require its DHHS Inspectors

    and its Town Investigators to serve a current copy of ~ew York Town Law§ 267-a (5) along



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   with any of its said notice(s) to correct and/or appearance ticket(s) involving any alleged zoning

   law violation(s).



    10. The Town agrees it is required at a minim:u~ to-provide training to its DHHS Inspectors and

   Town Investigators in a~cordance with the following:

           (a) the course outline annexed hereto as Exhibit C;

           (b) the training shall be conducted by a New York State licensed attorney employed by

   the L~w Department;

           (c) the training shall occur on an annual basis;

           (d) the training shall be a minimum of 85% of three (3) hours long;

           (e) the training s~all be mandatory for all DHHS Inspectors and Town Investigators;

           (f) class attendees shall sign in and sign out of the class on a Town-provided form which

   lists the time each attendee arrives and leaves;

           (g) completed sign-in and sign-out forms for training classes shall be retained by the

   Town in accordance with Records Retention and Disposition Schedule MU-I as set forth at 8

   NYCRR § 185.11 or in any successor regulation;

           (h) no test is required to be given;

           (i) the trainees shall be informally evaluated by the Town's attorney-instructor based on

    their participation in the training,
                             ..
            (j) Town employees or agents for whom Ute training is mandated but who fail

    successfully to complete the training shall not be permitted to issue and/or serve any noti~e(s) of

    violation, accusatory instrument(s), or appearance ticket(s) until after the Town employee or

    agent successfully completes the mandated training, and



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           (k) the first training session shall commence and be completed within three (3) months of

   the Date of the Stipulation.

           (1) The Town shall maintain its records regarding its training cour~es in accordanc~ with

    Records Retention and Disposition Schedule MU-1 or any successor regulation.



    11. The Town agrees that DHHS Inspectors and Town Investigators who do not comply with 19

    N.Y.C.RR. § 1208-2.1, entitled Minimum training requtrements for building safety inspectors

    and code enfo~cement officials, or   any successor regulation, shall not be permitted to issue any
    notice(s) of violation, accusatory instrument(s), or appearance ticket(s) wttil after the DHHS

    Inspector or Town Investigator comes into compliance with 19 N.Y.C.R.R. § 1208-2.1 or any

    successor regulation.



    12. The Town agrees to post and to maintain a list of State-certified DHHS Inspectors and Town

    Investigators on the Town's website directly available to the general public via links that shall be

    found on the· front (main) web page of its Department of Law _or legal successor(s) under "useful
                                                          r


    links". Such posting shall occur once a year and the first postings shall be posted within three (3)

    months of the Date of the Stipulation. The lists identified in this paragraph shall identify:



           a. the name of the DHHS Inspector or Town Investigator;

           b. whether the DHHS Inspector or Town Investigator is certified under 19 N.Y.C.R.R. §

           1208-2.l(b); and

           c. the expiration date of the DHHS Inspector or Town Investigator's certification.




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   13. The Town agrees that, prior to making applications for the issuance of arrest warrants or

   criminal summonses in the Suffolk County District Court, the Town and its personnel are

   required to attach, and shall attach, to the afo~esaid applications a true and complete copy of the

   Town's affidavit(s) of service.



   14. Plaintiff and the Town agree: (a) Plaintiff shall appear if properly served with a criminal

   summons i~sued by the Suffolk County District Court; and (b) that Town personnel shall apply

   to the Suffolk County District Court for any arrest warrant regarding Plaintiff only in Exigent

   Circumstances.



   15. The Plaintiff and the Town Defendant, and each of them to the Stipulation, agree that if at

   any time before the expiration of seven (7) years from the Date of the· Stipulation, the Town

   violates any of the above and/or below terms and/or conditions,

           a. Plaintiff may send the Town a sixty (60) day notice to cure; and upon the Town's

           failure to cure within sixty (60) days of Plaintifrs mailing such a notice;



           b. Plaintiff may file with the Court and/or with a State Court any motion(s), action(s)

           and/or appeals seeking: contempt, other equitable reli~f, specific performance and/or

           other relief via federal action(s) and/or via State Court special proceedings and/or

           action(s), as regards the terms and conditions of the Stipulation· and/or the Town's

           compliance therewith.



           c. The Plaintiff and the .Town hereto agree that the Court expressly retains jurisdiction

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           over the Stipulation and further agree to comply with any Court and/or State Court

           Orders and Judgments issued in response to any action{s) provided for in this paragraph
                                         '                                                        '




           15.



    16. The Plaintiff and the Town agree that in any court action relating to the enforcement arid

    interpretation of the Stipulation, the prevailing Party shall be entitled to recove~ from the other

    Party his/its reasonable attorneys' fees. Once any court motion and/or action under paragraph 15

    of the Stipulation has been filed, either Party may, but shall not be required to, send out any

    further 11:otice \o cure to commence any additional or further court motion and/or action and/or to

    amend any court motion and/or action.



    17. When the Co~ issues fts Stipulation Order, all claims alleged. by Plaintiff regarding any

    herein Individual Defendants and/or the Town and all claims alleged by any herein Individual

    Defendants and/or the Town 'regarding Plaintiff, except as otherwise provided for herein shall be

    discontinued and dismissed with prejudice. Neither the County of Suffolk nor the State of New

    York are intended beneficiaries of the Stipula~ion, except to the extent otherwise expre~sly

    provided for in the Stipulation. See paragraph 6(c), above, making the New York State

    Department o( State a beneficiary under the limited circumstance set forth therein.



   . 18. The Plaintiff and the Town Defendants, and each of them to the Stipulation, ~v~nant that

    except for the above-captioned matter and the matters alleg~d therein, he/she/it has no action,

    complaint, proceeding, charge, grievance or arbitration or any other proceeding,·administrative

    or judicial, pending against any other aforenamed Party or Parties.



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    19. Plaintiffhereby covenants and agrees, that upon the Court's issuance of its Stipulation Order,

    that he shall not file any action, complaint, counterclaim, cross-claim, proceeding, charge,

    grievance ·or arbitration, nor commence any other proceeding, administrative or judicial ("Claim,,

    or "Claim[s]"), against any of the herein individual defendants and/or the Town, in any court of.

    law, admiralty or equity or before any administrative agency or arbitrator, seeking damages or

    other remedies regarding the matters alleged herein in the Complaint, Amended Complaint,

    Second Amended Complaint, Third Amended Complaint or in the Answer to the Second

    Amended Complaint or in the Answer to the Third Am~nded Complaint, and/or regarding any

    and all Claim(s) that were, or could have been, alleged or brought in the above-captioned matter;

    and Plaintiff releases and discharges Town Defenqants from any and all claims, liability,

    demands, penalties, costs and causes of action of every nature which concern or are connected

    with the above-captioned matter, except to the extent any Claim(s) are otherwise provided for

    herein and/or concern allegation(s) that any herein Individual Defendant(s) have, and/or that the

    Town has, violated any obligations created by the Stipulation. Except as otherwise provided for

    herein, the Parties and each of them agree that nothing in the Stipulati~n impairs or is in any way

    intended to impair any rights Plaintiff may have to file any F .0.1.L. and/or Open Meetings Law

    requests and actions.



    20. The Town Defendants, and each of them, hereby covenant and agree, that no Town

    Defendants shall file any Claim(s) against Plaintiff in any court of law, admiralty or equity or

    before any administrative agency or arbitrator seeking damages or other remedies on behalf of

    any of the Individual Defendants and/or the Town, ·with respect to matters alleged herein in the



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    Complaint, Amended Complaint, Second Amended Complaint, Third Amended Complaint or in

    the Answer to the Second Amended Complaint or in the Answer to the Third Amended

    Complaint, and/or 'Yith respect to any and all Claim(s) that were or could have been alleged or

    brought in the above-captioned matter; and the Town Defendants release and discharge Plaintiff

    from any an9- all claims, liability, demands, penalties, costs and causes of action of every nature,

    which concern or are connected with the above-captioned matter, or otherwise arising on or prior

    to the date the Third Amended Complaint in this action was filed, except if any Claim is

    otherwise provided for herein and/or concerns an allegation that the Plaintiff has violated any

    qbligations created by the Stipulation.



    21. The Individual Defendants, and each of them, and the Town do not admit, and specifically

    deny, any liapility, wrongdoing or violation of any law, statute, regulation, agreement or policy,

    and are entering into the Stipulation solely for the purposes of (a) amicably resolving certain

    matters in controversy, disputes, causes of action, claims, contentions and differences between

    the Plaintiff and Individual Defendants, and each of them, and the Town, as articulated herein,

    and (b) avoiding attorneys' fees and other expenses that would result from certain continued

    litigation.



    22. Plaintiff does not admit, and specifically denies, any liability, wrongdoing or violation of any

    law, statute, regulation, agreement or policy, and is entering into the Stipulation for the purposes

    of (a) amicably resolving c·ertain matters in controversy, disputes, causes of action, claims,

    contentions and differences b_etween the Plaintiff and any Individual Defendants, and each of

    them, and/or the Town; (b) avoiding attorneys' fees and other expenses that would result from



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    certain continued litigation; and (c) causing the· Town to enter into the Stipulation to cause the

    Town to revise certain Town laws, policies and practices.



    23. The Plaintiff and the Town Defendants, and each of them to the Stipulation, represent and

    acknowledge that to the best of his/her/its knowledge, that he/she/it has not assigned or

    transferred any claim which he/she/it may now have agains~ any other Party or Parties to the

     Stipulation, and/or against any current and past officers, employees, agents, and representatives,

    past and present, in their individual and/or official capacities, of any Party or Parties to the

     Stipulation.




     24. The Plaintiff and the Town Defendants, and each of them to the Stipulation, represent and

     acknowledge that no representation, statement, promise, inducement, threat or suggestion has

     been made by any Party or Parties to the Stipulation to any other person and/or by the attorneys

     for any Party or Parties to the Stipulation to influence any other Party or Parties to sign the

     Stipulation, except such statements as are set forth herein.



     25. The
          .
             Plaintiff and the Town Defendants, and each of them acknowledge that
                                                                              .
                                                                                  the Stipulation

     represents the full, final, and complete resolution of certain matters to the extent provided for

     herein. The Stipulation supersedes all prior agreements, written or oral, if any, by and/or between

     the Parties and each of them to the Stipulation. The Stipulation may not be changed except by an

     instrument in writing signed by the Parties.




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   26. Plaintiff and the Town Defendants, and each of them, agree that if any provision of this

    Stipulatiqn is determined to be contrary to law by a court of competent jurisdiction, it is

    understood and agreed that such provision shall be deemed deleted and that the balance of the

    Stipulation withou~ such deleted provision, if otherwise lawful, shall remain· in full force and

    effect.



    27. The Stipulation shall be governed by and construed and interpreted in accordance with the

    laws of the State ofNew York.



    28. Plaintiff and Town Defendants, and each of them, agree to cooperate fully and to execute the .

    Stipulation and all supplementary docum~nts and promptly to take any and all additional actions

    whic~ ~ay be necessary or appropriate to give full force and effect to the basic terms and intent

    of the Stipulation and Stipulation Order. Plaintiff and the Town Defendants, and each of them

    also agree that Plaintiff shall promptly file a motion with the ·Court concerning his Third-

    Amended Complaint, which motion the Town and all Individual Defendants agree will be

    unopposed by the Town and by all Individual. Defendant. Further, Plaintiff and Town

    Defendants, and each of them, agre~ that, prior to the Court so-ordering this Stipulation, the

    Courtmust issue its order with regard to the Plaintiffs Third Amended Complaint, so as to give

    the Court jurisdiction over all matters in this Stipulation, when the Court issues its Stipulation

    Order.-:-



    29. No~ithstanding anything 1,-erein elsewhere in the Stipulation to the contrary, the Town

    expressly agrees that, for the remainder of the lives of Plaintiff, Howard Norton, and Richard



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   Norton, the Town shall comply with all laws, including all of the laws referred to herein and in

   Plaintiffs Complaint, First Amended Complaint, Second Amended Complaint, and Third

   ~ended Complaint; all laws referr~d to in the Town Defendants' Answer to the Second

    Amended Compl~nt and in the Answer to the Third Amended Complaint; and all of the laws

    which, going forward, relate to any involvement(s) the Town has with Plaintiff and/or with either

    or both of his two brothers, R~chard Norton and/or Howard Norton. The Town hereby covenants

    and agrees it shall not engage in any conduct with any or all of the aforementioned Norton

    brothers in violation of any law and that nothing in the Stipulation and/or in the Stipulation Order

    is intended to immunize or ratify, or may be interpreted as immunizing or ratifying, any

    wrongful and/or improper Town law, policy, practice or custom and/or as constituting any

    concession, waiver· or forfeiture by Plaintiff of any right of Plaintiff and/or of Howard Norton

    ~d/or o{Richard Norton to require the Town to comply w~th all laws. The Plaintiff and Town

    Defendants hereto expressly agree that Howard Norton and Richard Norton are intended

    beneficiaries of the Stipulation and· of the Stipulation Order.


    30. Notwithstanding anything in the Stipulation to the contrary, the Town agrees that it has

    waived and forfeited any right(s) it may have possibly had to claim that Plaintiff by the

    Stipulation has waived and/or forfeited any right whatsoever predicated on any Town act(s) or

    omissfon(s) whatsoever occurring in whole or in part(s) after the execution of the Stipulation to

    commence the following against the· Town: any motion(s) and/or action(s) seeking injunctive

    relief and/or declaratory relief; any federal actions; special proceeding(s), motion(s) and/or

    action(s) such as Article 78's or any contempt of court action. Nothing herein is in any way

    intended to deprive Plaintiff, Howard Norton, and/or Richard Norton of any right(s) by which

    Plaintiff, Howard Norton, and/or Richard Norton can lawfully protect and defend themselves in

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    and against any future Town act(s) or omission(s) occurring in whole or in part(s) after the Date

    of the Stipulation, including but not limited to any act(s) and/or failure(s) to act by Plain:tiff,

    Howard Norton, and/or Richard Norton, occurring prior to the execution of the Stipulation. The

    Town expressly agrees that Plaintiff and/or Howard Norton and/or Richard Norton, in any such

    action based on acts occurring _after the execution of this Stipulation, have expressly reserved the

    rigbt(s) to assc1t the invalidity/unlawfulness of any Town laws and/or ordinances which could

    have, or might have, been litigated in this civil action, btit were not, and to claim affirmatively, in

    any   -subsequent motion and/or action and/or via any counterclaim or crossclaim, the

    invalidity/unlawfu]ncss of such Town laws and/or ordinances as defense to any act(s) or

    omission(s) by the Town occurring before, during the tenn of or after any expiration or

    termination of the Stipulation in any new action or complaint brought by the Town against the

    three Norton brothers or any of them, after the Date of the Stipulation.


    31. Not used.



    32. The Town, consistent with what is set forth in People v. Grimditch, 35 Misc.3d 268, ·274

    (Essex County Court, 2012), agrees that, upon the issuance by the Court of its Stipulation Order,

    it shall promptly review, immediately cease enforcement of, and within a reasonable time repeal,

    any section(s) of the Town Code that provides:



            a. that criminal violation(s) of the Town Code are other than in keeping with the

            provisions of New York Executive Law Article 18 and/or the Uniform Code, such that

            no _scheme of penalties, including increased penalties for repeat offenders, exceeds the

            $1000/day penalty authorized by Executive Law§ 382 (2);


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           b. that "any'' Uniform-Code-related violation of the Town Code by "any" person is a

          misdemeanor; and



           c. that any criminal action can be commenced, and/or that any criminal liability and/or

           criminal or civil penalties can be found, in any instance which is inconsistent with, or in

           conflict with, the requirements of New York Executive Law Article 18 and/or the

           Uniform Code.



    33. Each and every pc.rson signing the Stipulation represents and .warrants that s/he has been

       duly authorized to enter into the Stipulation by the Party or Parties on whose behalf it is

       indicated that the person is signing. The pers~n(s) signing the Stipulation on behalf of the

       Town further represents and warrants that the Town's Town Board has provided

       him/her/them with all necessary written approvals, empowering him/her/them with full

       authority to sign the Stipulation.



    34. For the purposes of this matter and the Stipulation, and of any action to enforce this

       Stipulation, Plaintiff and Town Defendants consent to: a) the Court's exercise of subject

       matter jurisdiction over this matter and Stipulation and b) personal jurisdiction of the Court

       over Plaintiff and over the Town Defendants and each of them.



    35. Except as otherwise provided in the Stipulation, the Stipulation may be modified only upon

       written consent of the Parties and the approval of the Court.



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     36, Plaintiff does not, by consent to the Stipulation, warrant or aver in any manner that

        compliance by any or all of the Town Defendants with the Stipulation shall constitute or

        result in compliance with federal or state law or regulation. Nothing in the Stipulation shall

         be construed to affect or limit in-any way the obligations of the Town Defendants to comply

        with all federal, state, and local laws and regulations governing any activity required by the

         Stipulation or Plaintiffs rights to require Town Defendants to comply with all such laws and

         regulations.



     37. Any Party or Parties to this Stipulation, that intends to initiate court proceedings to enforce

         the Stipulation, shall, prior to initiating court proceedings to enforce the Stipulation, provide

         the other Party or Parties with 72 hours written notice at the addre~s shown below in

         paragraph 44 of the Stipulation.


     38. Except as specifically noted herein; fil?,Y disputes with respect to any of the provisions of the

         Stipulation must follow the following procedure. The Parties t<> this stipulation shall first

         meet and confer to attempt to resolve any dispute arising under the Stipulation. In the event

         that such disputes cannot be resolved through this meet-and-confer process, the Parties shall

         request a settlement meeting before Magistrate Judge Gary R. Brown, or, in the event that

         Judge Brown is no longer available, before Judge Spatt or another magistrate or judge

         selected by the Chief Judge of the Federal District Court for the Eastern District of New

         York. In the event that the Parties cannot resolve the dispute by the conclusion of the

         settlement . mc~·ting with Magistrate Judge Gary R. Brown or another federal judge, the

         parties shall submit the dispute via motion to Magistrate Judge Gary R. Brown.

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     39. The provisions contained herein shall not be construed in favor of or against any Party or

        Parties because that Party or Parties or its counsel drafted the Stipulation, but shall be

        construed as if all Parties prepared ~e Stipulation, and any rules of construction to the

        contrary are ht:rcby specifically waived. The terms of the Stipulation were negotiated at

        arm's length by the Parties hereto. The language in all parts of the Stipulation shall be

        construed accordi1ig to its plain and ordinary meaning, except as to those terms defined by

        law or specifically herein.



     40. The Stipulation may be executed in two or more counterparts, each of which will be deemed

        an oririnal, but all of which together will constitute one and the same instrument. The Parties

        authorize each oth~r to detach and combine original signature pages and consolidate them

        into a single ickntical .original. Any one of such completely executed counterparts shall be

        sufficient proof of the Stipulation. Telecopied, scanned (.pdf), and/or facsimiled copies of

        original signature sh~l be deemed to be originally executed counterparts of the Stipulation.

        Copic~ of the mi ginal Stipulation, whether transmitted by facsimile or other means, shall be

        effect ivc.



     41. The Stipul:iiir,n shall be binding upon, and inure to the benefit of; the Parties and their

        respective representatives, heirs, executors, administrators, successors, officers, directors,

        agents, attorneys, employees and permitted assigns and is enforceable only to the extent

        provided for hc!·cin.



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    42. Whenever under the Stipulation a provision is made for notice of any kind, including

        providing copy(ies) of any document(s), such notice shall be in writing, and signed by or on

        behalf of the Party giving or making the notice, and shall be deemed delivered (i) three days

        after snmc sha ll be sent, by certified mail, postage prepaid, return receipt requested, or (ii)

        one d:i y after ~n me shall be deposited into the custody of a reputable carrier for overnight

        delivery; except that if the day of delivery is a Saturday, Sunday or a public holiday, the time

        for any requh:d response shall be extended in accordance with New York General

        Construction l .r~ w § 25-a. Such notice shall be sent to the following addresses:

            To the Pb inti ff                 220 Summit Way
                                              Syosset, New York 11791

          · To the Town Defendants            Town of Brookhaven
                                              1 Independence Hill
                                              Fanningville, New York 11738
                                              Attn: Town Clerk


    The addresses for :·,ot ice may be changed by either Party by giving notice in accordance with this

    paragraph to the last address specified herein, or in accordance herewith.



    43. It is the inll' nt: ,1 11 o f the Parties to this stipulation, and the plea of the aforesaid Parties to the

        Court , that th· Court interpret as broadly as possible its authority to retain jurisdiction over

        all matters rai sed by the above-captioned matter that have not been resolved by this

        Stipulation .



    44. Notwi thstand :·;~ anything in this Stipulation to the contrary, in no event may the Stipulation

        be construed to co mpel or require Plaintiff to file and/or continue any civil action(s) against


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       Individual Defendants or any of them and/or the Town and/or to engage in any motion

       practice again:-;t Individual Defendants, or any of them, and/or the Town.




                                                                          /(________..
    AS AGREED:

    Dated: Septemb\.·:(, 2017
                                                    c:;;z.-
           Smithtown, New York
                                                -      ----~
                                                Anne C. Leahey, Esq.
                                                 Devitt Spellman Barrett, LLP
                                                 Attorneys for Town Defendants
                                                 On Behalf of the Town of Brookhaven
                                                 And each of the Individual Defendants
                                                 50 Route 111
                                                 Smithtown, NY 11787




    Dated: Scptcm bcr \ Z., 2017
           Cm·lc Pb:~\ New York                        an C. Messina, Esq.
                                                 Lee Brown Law, PC
                                                 Attorneys for Plaintiff
                                                 1 Old Country Road# 347
                                                 Carle Place, NY 11514




     SO ORDERED




      T"SUIVS%4QBUU

     Arthur D. Spatt. U.S.D.J.                                                Date




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------X
  JEROME NORTON,

                                     Plaintiff,                      ORDER
                   -against-                                         CV 13-3520 (ADS) (GRB)

  TOWN OF BROOKHAVEN, COUNTY OF
  SUFFOLK, ROBERT QUINLIN, DAVID J.
  MORAN, JENNIFER LUTZER, JUSTIN
  FOLBER, WILLIAM POWELL, VALERIE
  BISCARDI, all individually and in their official
  capacity,

                                      Defendants.
  ---------------------------------------------------------X
  GARY R. BROWN, United States Magistrate Judge:

           WHEREAS the parties have submitted a letter petition to the Department of State,

  appended hereto, which they have requested this Court to "So Order," and

           WHEREAS the Court recognizes that the Department of State is not a party to this

  action, and not before the Court in this matter, and

           WHEREAS the Court recognizes that the determination requested by the parties in the

  letter petition would facilitate the resolution of this case and by extension be of assistance to the

  Court,

           IT IS HEREBY ORDERED that the Department of State is respectfully requested to

  consider the petition and, if appropriate, provide the determination sought in the letter petition

  consistent with the resources and requirements of the Department.

  Dated: Central Islip, New York                               SO ORDERED:
         October 18, 2017


                                                               /s/ Gary R. Brown
                                                               United States Magistrate Judge
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        Retired                                                                          EMMANUEL KOSSARIS
    JOSEPH P. DEVITT                                                                     GEORGE FREITAG
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                                                                             September/' ·, 2017

    Honorable Ms. Rossana Rosado, Secretary of State
    New York State Department of State
    One Commerce Plaza, 99 Washington Ave
    Albany, NY 12231-0001

    Linda Baldwin, General Counsel
    New York State Department of State
    Counsel's Office
    One Commerce Plaza, 99 Washington Avenue
    Albany, NY 12231-0001

    Raymond Andrews, R.A.,
    Assistant Director for Code Development
    NYS Department of State, Codes Division
    99 Washington Ave., Suite 1160
    Albany, New York 12231.

            Re: Brookhaven Town Code Chapter 82

    Dear Honorable Ms. Rosado, Ms. Baldwin and Mr. Andrews:

           By this letter, the Town of Brookhaven ("Town"), by counsel, petitions the Department
    of State for its determinations as to whether (and if yes), to what extent, Chapter 82 of the
    Brookhaven Town Code is legally enforceable under New York State Executive Law Article 18
    and/or the New York State Fire Prevention and Building Code ("Interpretation Determination").
    This petition is so-ordered by Magistrate Judge Gary R. Brown of.the United States District
    Court for the Eastern District of New York and said petition is being made pursuant to a Court-



                           90 STATE STREET, SUITE 700, ALBANY, NEW YORK 12207
                                               (866)851-1123
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    Re:     Norton v. Town of Brookhaven, et al.
            13 CV 3520 (ADS/GRB)

    Ordered stipulation of settlement in Norton v. Town of Brookhaven, et al., 13-CV-3520
    (ADS/GRB), a copy of which is attached hereto as Exhibit A (see, in particular, Paragraph 6 of
    same). Attached hereto as Exhibit Bis:

                   1. a certified copy of each Town Code Chapter 82 local law or
                   ordinance upon which we seek the New York State Department of
                   State render its determination on the merits (Local Laws --- 12 of
                   1999, 22 of 2002, 18 of 2003, 7 of 2009, 41 of 2010, 2 of 2012, 20
                   of 2012, 19 of 2013, 33 of 2013, 37 of 2013, 14 of 2014, 19 of
                   2015 and 22 of 2015), together with any other Town Code Chapter
                   82 local laws or ordinances passed into law by the Town through
                   the date when the Department of State renders its Interpretation
                   Determination, indicating to you (a) the date of enactment of each
                   of the local laws or ordinances, and (b) (when a local law) the date
                   each local law was filed in the office of the New York State
                   Secretary of State as per the requirements of Municipal Home Rule
                   Law §27;

                   2. a true, complete and unredacted copy of the Town's file on each
                   of the local laws or ordinances and every amendment thereto,
                   setting forth any special conditions prevailing within the Town
                   which warranted the enactment, all Town documentation with
                   respect to the local law or ordinance, all of the Town's analysis
                   with respect to each of the local laws or ordinances; and

                   3. a true, complete and unredacted copy of the Town's meeting
                   minutes and/or transcripts and/or audio recordings, to the extent
                   such are available (from the meetings or hearings during which the
                   local laws or ordinances were discussed and/or adopted).

           The Town of Brookhaven certifies that it has provided the New York Secretary of State,
    Department of State a copy of its Town Code Chapter 82 as it exists and that is in effect on the
    date of this submission and further certifies that during the pendency of this application, the
    Town of Brookhaven will make all reasonable efforts to advise you and Plaintiff of any changes
    or planned changes to Town Code Chapter 82.

           The parties to this litigation greatly appreciate your consideration of this matter and thank
    you in advance for same.

            Should you have any questions and/or require any other or further documents and/or
    information with regard to this sending, please do not hesitate to contact me or the Town
    directly.

                                                         Very truly yours,




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    Re:     Norton v. Town of Brookhaven, et al.
            13 CV 3520 (ADS/GRB)


                                                          Anne C. Leahey

    cc: Messrs. Rick Ostrove and Jonathan Messina, Esq. Leeds Brown Law, Attorney's for Plaintiff

    SO-ORDERED:

    Dated:
    Central Islip, NY                              Gary R. Brown
                                                   United States Magistrate Judge




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                                                                                                         Town of Brookhaven, NY
                                                                                                           Tuesday, April 24, 2018


            Chapter 82. Neighborhood Preservation
            [HISTORY: Adopted by the Town Board of the Town of Brookhaven 12-7-1999 by L.L. No. 12-1999, effective
            12-10-1999. Amendments noted where applicable.]

            ~ENERAL REFERENCES
            Building construction administration - See Ch. 16.
            Fire prevention - See Ch. 30.
            Property maintenance - See Ch. 49.
            Nuisance abatement - See Ch. 498.
            Zoning - See Ch. 85.

            § 82-1. Legislative intent.

            A.   The intent of this chapter is to preserve the aesthetic integrity of our residential neighborhoods, prevent
                 neighborhood blight, protect residential property values, encourage residential property maintenance
                 and enhance the quality of life in our residential neighborhoods.

            B.   This chapter is intended to apply to all dwelling units within the Town of Brookhaven. This chapter shall
                 not apply to property located in th     reat South Beac     ire Island) which will be regulated by§ 85-170.1
                 of the Code of the Town of Brookhaven.               n Board of the Town of Brookhaven has determined
                 that there exists in the Town of Brookhaven serious conditions arising from non-owner occupied rental
                 of dwelling units in one, two and three family and multiple dwellings that are substandard or in violation
                 of the New York State Uniform Fire Prevention and Building Code, Building Rehabilitation Code,
                 Electrical Code, Fire Prevention Code, Plumbing Code, and other codes and ordinances of the Town.
                 Many of these dwellings are inadequate in size, overcrowded and dangerous, and such dwelling units
                 pose hazards to life, limb and property of residents of the Town and others, tend to promote and
                 encourage deterioration of the housing stock of the Town, create blight and excessive vehicle traffic and
                 parking problems and to overburden municipal services. The Board finds that current Code provisions
                 are inadequate to halt the proliferation of such conditions and that the public health, safety, welfare and
                 good order and governance of the Town will be enhanced by enactment of the regulations set forth in
                 this chapter, which regulations are remedial in nature and effect. The Board also finds that owner
                 occupied dwellings can also fall into disrepair and not be adequately maintained, which has a detrimental
                 effect on neighborhoods.
                 [Amended 10-15-2002 by LL. No. 22-2002, effective 10-21-2002]


           § 82-2. Definitions.

           As used in this chapter, the following terms shall have the meanings indicated:

           ~ODE ENFORCEMENT OFFICER
                 Chief Building Inspector, Principal Building Inspector, Senior Building Inspector, Building/Zoning
                 Inspector, Building Inspector, Zoning Inspector, Recycling and Sustainable Materials Management
                 Inspectors, Housing Inspectors, Building Permits Coordinator, Electrical or Plumbing Inspector, Chief
                 Fire Marshal, Assistant Chief Fire Marshal, Senior Fire Marshal, Police Officer, Town Investigator or
                 Ordinance Inspector of the Town of Brookhaven and other law enforcement officers.
                 [Amended 6-29-2017 by LL. No. 16-2017, effective 7-13-2017]


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             DWELLING UNIT
                    A structure or building, one-, two-, or three-family dwelling, or multi-unit apartments, condominiums or
                    cooperatives, occupied orto be occupied by one or more persons as a home or residence.

             !~MEDIATE FAMILY
                    The immediate family of the owner of a housing unit consists of the owner's spouse, children, parents,
                    grandparents or grandchildren, siblings, uncles, aunts, nieces, nephews, cousins and in-laws.

             OWNER
                    Any person, partnership, corporation or other entity who, alone or jointly with others, shall have legal
                    title to any premises, with or without accompanying actual possession thereof; or who shall have charge,
                    care or control of any dwelling unit as a cooperative shareholder or as executor, administrator, trustee,
                    receiver or guardian of the estate or as a mortgagee in possession, title or control; including but not
                    limited to a bank or lending institution, regardless of how such possession, title or control was obtained.
                    [Amended 11-23-2010 by L.L. No. 41-2010, effective 12-7-2010]

             RENT
                    A return, in money, property or other valuable consideration (including payment in kind or for services
                    or other thing of value), for use and occupancy or the right to use and occupancy of a dwelling unit,
                    whether or not a legal relationship of landlord and tenant exists between the owner and the occupant or
                    occupants thereof.

            · RENTAL DWELLING
                    A dwelling unit established, occupied, used or maintained for rental occupancy as a one, two, or three
                    family dwelling or multiple apartment units or condominiums or cooperatives.

             RENTAL OCCUPANCY
                    The occupancy or use of a dwelling unit by one or more persons as a home or residence under an
                    arrangement whereby the occupant or occupants thereof pay rent for such occupancy and use.[1J

            RENTAL REGISTRATION
                    A registration which is issued upon application to the Chief Building Inspector and shall be valid for 15
                    months from the date of issuance.
                    [Amended 11-23-2010 by L.L. No. 41-2010, effective 12-7-2010; 7-2-2013 by L.L. No. 33-2013, effective
                    7-15-2013]
             [1 J     Editors Note: The definition of "rental occupancy permit," which immediately followed this definition, was
                      repealed 11-23-2010 by L.L. No. 41-2010, effective 12-7-2010.


            § 82-3.       Neighborhood preservation requirements.

            [Amended      11-23-2010   by L.L. No. 41-2010, effective 12-7-2010; 7-15-2014 by L.L. No. 14-2014, effective 7-27-2014]

            A.      Surface and subsurface water shall be appropriately drained to protect buildings and structures and to
                    prevent the accumulation of water. Gutters, culverts, catch basins, drain outlets, stormwater sewers,
                    approved combined storm and sanitary sewers or other satisfactory drainage systems shall be utilized to
                    prevent damage to any portion of the subject or adjacent properties or any improvements thereupon.

            B.      Steps, walks, driveways, parking areas and other paved areas shall be maintained in good repair.

            C.      Yards shall be kept clean and free of physical hazards and debris.

            D.      All lawns, common areas and recreation areas shall be maintained in a clean and neat condition, and
                    grass shall be cut periodically to restrict growth in excess of 12 inches in total height. No portion of a
                    lawn shall be damaged or destroyed by overuse or by the parking or driving of motor vehicles on such
                    established lawn area. Carpet, tarps, sand or materials that damage or destroy the lawn shall not be
                    placed anywhere upon a front lawn at any time. No portion of any front lawn shall be used for the
                    parking, placement or storage of motor vehicles, trailers, boats or campers.



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            E.   Exterior surfaces of any and all dwellings, structures and accessory structures, including but not limited
                 to fences that are not inherently resistant to deterioration, shall be periodically treated with a protective
                 coating of paint or other suitable preservative. All surfaces shall be maintained free of deterioration,
                 including but not limited to broken or missing glass, loose or missing shingles or siding, crumbling brick,
                 stone and mortar and peeling, scaling or deteriorated paint.

            F.   Dwellings, structures and accessory structures shall be maintained so as to be free of conditions
                 detrimental to safety or health.

            G.   Dwellings, structures, accessory structures and property shall be maintained free of vermin, rodent
                 harborage and infestation. Methods used for exterminating vermin and rodents shall conform to Suffolk
                 County Health Department standards.

            H.   Adequate sanitary facilities and methods shall be used for the collection, storage, handling and disposal
                 of garbage and refuse and sewage pursuant to Suffolk County Health Department standards.

            I.   Floors, walls, ceilings and fixtures in residential dwellings shall be maintained in a clean and sanitary
                 condition.

           J.    Dwellings, structures and accessory structures shall be free of partitions or locked internal doors barring
                 access between segregated portions of the building or dwelling unit.

            K.   No bedroom or sleeping quarters shall have interior key locks or dead bolt locked doors servicing said
                 bedroom or sleeping quarters.

          · L.   No bedroom shall constitute the only means of access of other bedrooms or habitable spaces, and
                 bedrooms shall not serve as the only means of egress from other habitable spaces.

           M.    Carbon monoxide alarms and detectors shall be installed on every habitable floor of any dwelling,
                 structure or accessory structure with a carbon monoxide source, in accordance with the New York State
                 Uniform Fire Prevention and Building Code and Town Code Chapters 16 and 30.

           § 82-4. (Reserved)

           [1]     Editor's Note: Former§ 82-4, Rental occupancy registration required, as amended, was repealed 11-23-2010 by L.L.
                   No. 41-2010, effective 12-7-2010.


           § 82-5. Fees.

           [Amended 7-22-2003 by L.L. No. 18-2003, effective 7-28-2003]

           A.    A nonrefundable permit application fee shall be paid, upon filing an application for a rental.occupancy
                 permit or for a renewal rental occupancy permit, in accordance with the following schedule of rental
                 dwelling units per structure:
                 [Amended 7-2-2013 by L.L. No. 33-2013, effective 7-15-2013]

                 Type of Dwelling                             Fee
                  One bedroom                                 $95
                 Two bedrooms                                 $160
                 Three bedrooms                               $220
                  Four bedrooms                               $285
                 More than four bedrooms                      $345, plus $100 for each bedroom in excess of four

           8.    The fee required by this section shall be waived for any applicant which demonstrates that it is a not-for-
                 profit housing development corporation organized under the laws of the State of New York, and that it is



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                  providing housing for senior citizens or other designated special populations subject to income
                  guidelines established by either federal or state regulation.

             C.   Any owner who operates a multi-unit apartment complex shall pay a biennial fee based upon the number
                  of rental units as follows:

                                    Number of Units                                               Fee
                                          4to50                                                 $1,000
                                         51 to 100                                              $1,500
                                        101 to 200                                              $2,500
                                        Over200                                                 $5,000


             § 82-6. Smoke detectors.

             [Amended 10-15-2002 by L.L. No. 22-2002, effective 10-21-2002]
             Each rental dwelling shall be equipped with a functioning smoke detector device, in compliance with New
             York State Uniform Fire Prevention and Building Code.


             § 82-7. Required space for occupancy.

             [Amended 11-23-2010 by L.L. No. 41-2010, effective 12-7-2010; 1-19-2012 by L.L. No. 2-2012, effective 1-31-2012]
             No person shall occupy or let to another for occupancy any dwelling or dwelling unit for the purpose of living
             therein which does not comply with the following requirements:

             A    Every dwelling unit shall contain at least 150 square feet of floor area per occupant, the floor areas to be
                  calculated on the basis of total usable floor area of habitable rooms.

             B.   There shall be no more than four persons per bedroom.

             C.   No unfinished basement or bathroom space shall be used to calculate the minimum total usable floor
                  area.

             D.   Each rental dwelling unit shall have a dining area and recreation area in the dwelling structure.


             § 82-8. Inspections.

             [Amended 10-15-2002 by L.L. No. 22-2002, effective 10-21-2002; 7-15-2014 by LL. No. 14-2014, effective 7-27-2014]

             A    No permit shall be issued under any application unless all the provisions of the Code of the Town of
                  Brookhaven, the laws and sanitary and housing regulations of the County of Suffolk and the laws of the
                  State of New York have been complied with.

             B.   The Chief Building Inspector of the Town of Brookhaven is authorized to make or cause to be made
                  inspections, to determine the condition of dwellings and to safeguard the health, safety, morals and
                  welfare of the public. The Chief Building Inspector or his designated representative is authorized to
                  enter, upon the consent of the owner, any dwelling, dwelling unit, rooming house, rooming unit or
                  premises at any reasonable time during daylight hours or at such other time as may be necessary in an
                  emergency, without consent of the owner, for the purpose of performing his duties under this chapter.

             C.   Search without warrant restricted. Nothing in this chapter, except for provisions concerning emergency
                  inspections, shall be deemed to authorize the Chief Building Inspector of the Town of Brookhaven or his
                  authorized representative to conduct an inspection of any premises subject to this chapter without the
                  consent of the owner of the premises or without a warrant duly issued by an appropriate court.




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             D.   Conflict with other chapters or law. Nothing in this chapter shall be construed to negate the authority
                  for inspections pursuant to any other section of law or court-ordered inspection.

             E.   Presumption of rent. Any dwelling, dwelling unit, rooming house, rooming unit or any other premises
                  subject to this chapter shall be presumed to be rented for a fee and a charge made if said premises are
                  not occupied by the legal owner thereof. This presumption shall be rebuttable.


             § 82-9. Application for search warrant.

              [Amended 10-15-2002 by L.L. No. 22-2002, effective 10-21-2002]
             The Chief Building Inspector of the Town of Brookhaven or his designated representative is authorized to
             rlilake application to the District Court or Supreme Court of Suffolk County, or any court of competent
             j1,1risdiction, for the issuance of a search warrant in order to conduct an inspection of any premises covered
             by this chapter where the owner refuses or fails to allow an inspection of its rental premises and where there
             is reasonable cause to believe that a violation of this chapter has occurred. The application for a search
             warrant shall in all respects comply with the applicable laws of the State of New York.


             § 82-10. Rental registration required.

             [Amended 11-23-2010 by L.L. No. 41-2010, effective 12-7-2010; 8-28-2012 by L.L. No. 20-2012, effective 9-11-2012;
             7-2-2013 by L.L. No. 33-2013, effective 7-15-2013; 10+2015 by L.L. No. 19-2015, effective 10-15-2015; 10-29-2015 by
             LL. No. 22-2015, effective 11-16-2015]
         /   A.   It shall be unlawful for any rental occupancy to exist in any dwelling without the owner's first having
                  obtained a rental registration from the Chief Building Inspector.


                                                                                                                                        tJ:5-1
             /(,)       It shall be an affirmative def              ·   ion of Subsection A of this section that the rental
                        _occupant or occuR        1s are immediate family mem rs of the owner of the subject premises, as
                        defined in this cha!)tl:~-============---==,::--~

                  Entities including, but not limited to, limited-liability companies, corporations, small corporations,
                  partnerships and professional corporations shall have a valid rental registration in effect at any time the
                  dwelling is occupied.

             C.   Application review; inspection of premises.

                        The Chief Building Inspector or his designee shall review each application for completeness and
                        reject incomplete applications. The Chief Building Inspector shall create and approve the application
                        requirements in accordance with this chapter.

                        Upon properly filing a complete application with the Building Division, the Chief Building Inspector
                        shall issue a temporary rental registration valid for 90 days.

                        Inspection report. Within 90 days of receiving a temporary rental registration, the owner of the
                        rental dwelling unit shall (1) arrange for an inspection of the unit or units and the premises on which
                        the same are located by the Chief Building Inspector or his designee employed by the Town of
                        Brookhaven, or (2) provide to the Chief Building Inspector an inspection report, designed and
                        approved by the Chief Building Inspector, signed by either a New York State licensed professional
                        engineer, New York State licensed architect or home inspector who has a valid New York State
                        Uniform Fire Prevention Building Code certification that the structure and the dwelling units
                        contained therein meet all applicable housing, sanitary, building, electrical and fire codes, rules and
                        regulations. Upon receipt of the approved inspection report, the Chief Building Inspector shall issue
                        a rental registration valid for 15 months from the date of the issuance of the temporary rental
                           istration.

                        No rental registrations may be issued after the expiration date of the temporary rental registration.



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            D.   Rental registration requirements.

                      Rental registration applications shall be in writing on a form designed and approved by the Chief
                  __...Btttld1TTE:iftS?f~O!;?!_r and shall include the owner's name, address and I hone number.

                        Rental registratio ~ o -· elude the maximum number of persons that are allowed to occup
                                 .                   .
                        Rental r strat                   ain a description of the unit, including the number of rooms in the
                        rental dwelling unit, and the dimensions and use of each such room shall be included. The name,
                        address and telephone number, if any, of the managing agent or operator of each such intended
                        rental dwelling unit shall be included.

           /     (4)    All applicants must submit a sworn statement that there are no existing or outstanding violations of
                        any federal, state or county laws or rules or regulations or of any Town of Brookhaven local laws or
                        ordi    ces-pertaintng o e property.

                        All applicants for a rental registration shall sign an affidavit stating that they have received a copy of
                        and fully understand the Brookhaven Town Code concerning the restrictions on the number of
                        unrelated persons occupying said residence.

                 (6)

                        a    A property survey of the premises prepared by a licensed surveyor drawn to sea             eater
                             than 40 feet to one inch, or, if not shown on the survey, a site plan prepared by a licens
                             surveyor or engineer, drawn to scale, showing all buildings, structures, walks, drives and other
                             physical features of the premises and the number, location and access of existing and proposed
                             on-site vehicle parking facilities; said survey to be dated not more than one year prior to the
                              ate of the application.                                          -

                            A building permit application, properly prepared, for all proposed buildings, improvements and
                            alterations to existing buildings on the premises, if any.

                            Copies of all certificates of occupancy and/or certificates of existing use for all buildings and
                            structures on the property.

                            An affidavit setting forth the address to be used as the last known address of the owner for
                            service pursuant to all applicable laws and rules. The owner shall n~the Building Division of
                            any change of address submitted pursuant to this section withi five usiness days of any
                            change thereto.

                        Each application shall be executed and sworn to by the owner of the premises.

                         ny additional information required by the Chief Building Inspector.

                 (9) All rental properties containing eight or more rental units shall provide for a designated site
                     manager, who shall be available to address and resolve any issues with the property 24 hours a day.
                     The owner of the property must file the manager's address, telephone number and other contact
                     information with the Building Division within five days of the designation of the manager or any
                     changes thereto.

         /E.     Notwithstanding the above, no rental occupancy registration shall be required for a residential care
                 facility licensed under federal, New York State or Suffolk County guidelines.

           F.    Renewal of rental registrations.

                       The Chief Building Inspector shall design and approve a renewal rental registration application form.
                       A renewal rental registration application signed by the owner shall be completed and filed with the
                       Building Department on or 90 days prior to the expiration date of any valid rental registration. A
                       renewal rental registration application shall contain a copy of the prior rental registration.




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                   J
                        Af'°newal rental regist<ation application shall contain a signed swam statement setting forth the
                          llowing:

                          ) That there are no existing or outstanding violations of any federal, state or county laws or rules
                            or regulations or of any Town of Brookhaven local laws or ordinances pertaining to the
                            property; and

                             That there are no changes to any information as provided on the prior valid rental registration


                 (3)    Prior to the issuance of a renewal rental registration, the owner shall cause an inspection of the unit
                                               remises on which the same are located to take place pursuant to Subsection C(3)
                            ~~.....,........,.~~


                        The Town of Brookhaven shall not accept, review or approve any renewal rental applications for
                        dwellings wherein the prior rental registration expiration date has passed. If the expiration date has
                        passed, the owner must file a new application.



                        Each rental dwelling shall be entitled to have one registered motor vehicle for each legally
                        designated bedroom, as determined by the Chief Building Inspector, as well as one additional
                        registered motor vehicle located thereat.

                        An owner seeking to have additional registered motor vehicles located at said rental property
                        pursuant to this subsection may make an application to the Board of Zoning Appeals by written
                        request for such relief.

           § 82--1-1.:R:--e-v-oc- a~t-:--
                                      io_n_of;:-p- e_r_m--.i-:-
                                                            t.- - - - - - - - - - - - - -

                 The Chief Building Inspector shall revoke a rental occupancy permit where he or she finds that the
                 permit holder has caused, permitted, suffered or allowed to exist and remain upon the .premises for
                 which such permit has been issued, for a period of 14 business days or more after written, return receipt
                 requested notice and opportunity to be heard has been given to the permit bQfder, or the managing
                 agent of such rental dwelling unit, a violation of the Multiple Residence Law and/or New York State
                 ll!!!_form Fire Prevention and Build"11ig Code or a viol ~tion of this chapter or other chapter of the·Town
                 Code. Revocation of a permit under this subsection can not be done by a devisee or assistant of the Chief
                 Building Inspector.

           B.    An                      revocation may be taken by the permit holder to the Board of Zoning Appeals, by
                 written request, made within 30 days from the date of such revocation. The Zoning Board of Appeals
                 shall hold a public hearing on such appeal after receipt of written request of such appeal, and after such
                 hearing shall make written findings and conclusions and a decision either sustaining such permit
                 revocation or reinstating such permit within 30 days after close of such public hearing. Unless the Town
                 Board directs otherwise in circumstances constituting serious threats to health and safety,)Re filing of
                 an appeal shall stay the effectiveness of a permit revocation until the Zoning Board of Appeals has
                 considered and r.u,led..up611 ti 1e issue.                                  -..
           [1]     Editor's Note: Original§ 82-11, Confidentiality of rental registration, was repealed 9-12-2013 by L.L. No. 37-2013,
                   effective 10-11-2013, which local law also renumbered former§§ 82-12 through 82-17 as§§ 82-11 through 82-16,
                   respectively


           § 82-12. Broker's/Agent's responsibility.

           [Amended     11-23-2010   by LL. No.   41-2010,   effective 12-7-2010]

           A.    Broker's/Agent's responsibility prior to listing. It shall be unlawful and a violation of this chapter and an



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                                                                    https://ecode360.com/print'BR0012?guid=8596302&children=true


                 offense within the meaning of the Penal Law of the State of New York for any broker or agent to list;;      ~
                 solicit, advertise, exhibit, show or otherwise offer for lease, rent or sale on behalf of the owner an                '/
                 dwelling un;t for wh;ch a ,u,,ent rental perm0 has not been issued by the Chief Building Inspector. /'                     \
                 shall be the broker's or agent's duty to verify the existence of a valid rental registration before acting n
                 behalf of the owner.                                                                                                   '

            B.   It shall be unlawful and a violation of this chapter to accept a deposit of rent or security, or a
                 commission, in connection with the rental of a rental dwelling unit located within the Town of
                 Brookhaven where no valid rental registration has been issued as required under this chapter.

            C.   In the event that a person convicted of a violation of this section shall have been a real estate broker or
                 salesperson licensed by the State of New York, at the time such violation was committed, the Town Clerk
                 shall transmit a record of such conviction to the Division of Licensing Services of the Department of
                 State and make complaint thereto against such licensee on behalf of the Town of Brookhaven, pursuant
                 to the provisions of Article 12-A of the Real Property Law.

            § 82-13. Enforcement.

            This chapter shall be enforced by the Code Enforcement Officer as defined by this chapter.

            § 82-14. Penalties for offenses.

            [Amended 4-16-2009 by L.L. No. 7-2009, effective 4-27-2009; 4-23-2013 by LL. No. 19-2013, effective 5-8-2013]

            A.   Any person, association, firm or corporation which violates any provision of this chapter or assists in the
                 violation of any provision of this chapter shall be guilty of a violation, punishable:

                 (1)    By a fine not less than $500 and not exceeding $5,000 or by imprisonment for a period not to
                        exceed 15 days, or both, for conviction of a first offense.

                 (2) By a fine not less than $1,000 nor more than $10,000 or by imprisonment for a period not to exceed
                     15 days, or both, for conviction of the second of the two offenses, both of which were committed
                     within a period of five years.

            B.   Each week's continued violation shall constitute a separate additional violation.

            C.   This section is enacted pursuant to Municipal Home Rule Law § 10(1)(ii) a(9-a) and § 10(1)(ii)d(3) and
                 pursuant to § 10(5) of the Statute of Local Governments, and is intended to supersede Town Law § 268
                 and any other statute or local law to the extent necessary to increase the minimum and maximum
                 penalties contained therein.

           § 82-15. Implementation.

           This chapter shall be effective immediately or upon filing with the Secretary of State, whichever is later. No
           violation of this chapter will be charged prior to April 1, 2000.

           § 82-16. Severability.

           lfi any clause, sentence, paragraph, section or part of this chapter shall be adjudged by any court of competent
           j1,1risdiction to be invalid, such judgment shall not affect, impair or invalidate the remainder thereof, but shall
           b.e confined in its operation to the clause, sentence, paragraph, section or part thereof directly involved in
           said judgment.




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                                                                                EMMANUEL KOSSARIS
      Retired                                                                   GEORGE FREITAG
  JOSEPH P. DEVITT (1923-2017)                                                  JOHN T. TRACY
  WILLIAM J. BARRETT




                                                      November 13, 2018

  VIA ECF

  Hon. Gary R. Brown, U.S.M.C.J.
  United States District Court
  Eastern District of New York
  100 Federal Plaza
  P.O. Box 9014
  Central Islip, NY 11722-9014

                                    Re:    Norton v. Town of Brookhaven, et al.
                                           13 CV 3520 (ADS/GRB)
  Dear Judge Brown:

          By this letter, the Town responds to this Court’s directive that the parties file a joint
  status report on November 13, 2018 regarding the implementation of the partial stipulation of
  settlement herein that was So Ordered by Judge Spatt on October 17, 2017 (“Stipulation”).
  Because, as shown below, Plaintiff is demanding compliance with terms that are not in the
  Stipulation and because the Town has substantially complied with all the terms in the
  Stipulation, the parties have reached an impasse.

         Plaintiff, in a letter to the Court dated November 5, 2018, complained that the Town must
  change the following provisions in its Code to comply with the Stipulation:

      x    Chapter 5-3;
      x    Chapter 16-1;
      x    Chapter 16A-1, 16A-2;
      x    Chapter 30-138;
                            ___________________________________

                    200 GARDEN CITY PLAZA, SUITE 225, GARDEN CITY, NEW YORK 11530
                          90 STATE STREET, SUITE 700, ALBANY, NEW YORK 12207
                                              (866) 851-1123
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   Hon. Gary R. Brown, U.S.M.C.J.                    33                          November 13, 2018
   United States District Court
   Eastern District of New York

                                 Re:     Norton v. Town of Brookhaven, et al.
                                         13 CV 3520 (ADS/GRB)


           The Stipulation resolved all terms in the complaint except the following three discrete,
   legal issues:

                  A. The legality of its Rental Code, Chapter 82: The Stipulation provided in
                  Stipulation ¶ 6(b) that the Town would send the State Department of State,
                  Exhibit B attached to the Stipulation, which was a letter asking for a
                  determination whether Town Code Chapter 82 is legally enforceable under the
                  State Uniform Code. The parties agreed, in ¶ 6(e), that if DOS declined review,
                  Plaintiff could seek a declaratory judgment regarding “the issue of whether and/or
                  to what extent Chapter 82 of the Brookhaven Town Code is legally enforceable
                  under New York State Executive Law Article 18 and/or the New York State Fire
                  Prevention and Building Code.

                  B. New York General Municipal Law 239-m: The Stipulation provided in
                  Stipulation ¶ 7(c) that Plaintiff could, but was not required, to seek a declaratory
                  judgment regarding whether “Town Code Ch. 82: constitutes a lawful exercise by
                  the Town of the Town's powers pursuant to the requirements of New York
                  General Municipal Law §239-m.”

                  C. New York Town Law § 262: The Stipulation provided in ¶ 8(a) that if a court
                  should find that Chapter 82 was legal pursuant to New York General Municipal
                  Law §239-m, then Plaintiff could, but was not required to, seek a declaratory
                  judgment, as to “whether, and the extent to which, Town Code Ch. 82 constitutes
                  a lawful exercise by the Town of the Town’s powers consistent with the
                  requirements of New York Town Law § 262.”

   All three of these issues involve questions of pure law for which discovery is not necessary.
   Plaintiff’s insistence upon discovery with respect to these matters attempts to read terms into the
   Stipulation which are not there.

           Based on the fact that that the Stipulation resolved al questions except for thee questions
   of law, the Town has repeatedly informed Plaintiff for months that it is not required to engage in
   discovery and will not do so.

           In conclusion, based on the status of compliance set forth in this report, the Town has
   reached the point of exasperation. It will continue to abide by and implement the Stipulation but
   takes the position that it is fruitless to continue to cooperate with Plaintiff regarding terms that
   are not in the contract.
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------X
  JEROME NORTON,

                            Plaintiff,                             MEMORANDUM OF
                                                                   DECISION & ORDER
                   -against-                                       2:13-cv-3520 (ADS) (GRB)

  TOWN OF BROOKHAVEN, COUNTY OF
  SUFFOLK, ROBERT QUINLAN, DAVID J.
  MORAN, JENNIFER LUTZER, JUSTIN
  FOLBER, WILLIAM POWELL, VALERIE
  BISCARDI,

                             Defendants.
  ---------------------------------------------------------X
  APPEARANCES:

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         By:    Brian C. Mitchell, Assistant County Attorney.


  SPATT, District Judge:

  I.      BACKGROUND

       A. Underlying Dispute and Procedural History

          Plaintiff Jerome Norton (the “Plaintiff”) brought this 42 U.S.C. § 1983, 28 U.S.C. § 2201,

  and state law action against Defendants Suffolk County (the “County”), the Town of Brookhaven

  (the “Town”), and several Town employees. This opinion concerns a motion filed by the County

  seeking to dismiss the action as to the County. Accordingly, this opinion primarily describes the

  present action as it relates to the County.

          The action arises out of a dispute over a series of tickets for Town Code and New York

  State Uniform Fire Prevention and Building Code violations at a residential property the Plaintiff

  co-owned. The Town, and not the County, charged the Plaintiff with those violations. The

  Plaintiff prevailed in those proceedings, with the state court judge dismissing all of the

  accusatory instruments on procedural grounds.

          The Plaintiff brought the present action in June 2013. He amended his complaint two

  times. In the second amended complaint, the Plaintiff asked for, inter alia, declaratory and


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  injunctive relief against the County, arguing that (1) only the County could charge individuals

  with violations of state law; (2) the County improperly delegated to the Town the responsibility

  for overseeing the prosecution of petty offenses; (3) the County disregarded the procedural

  violations occurring during the proceedings against the Plaintiff; and (4) the County failed to

  supervise the accusatory instruments that the Town brought against the Plaintiff. ECF 16 at 68–

  71.

          On July 30, 2014, the Court granted the County’s motion to dismiss the action as to the

  County under Federal Rule of Civil Procedure (“FED. R. CIV. P.”) 12(b)(6), ruling that the

  County could not be held to dictate the policies of the District Attorney’s Office when the

  practices challenged by the Plaintiff directly bore upon the District Attorney’s discretion to

  prosecute. ECF 43 at 43–45. The Court refers the parties to the July 30, 2014 opinion for a full

  recitation of the facts in this case.

          The Plaintiff moved for reconsideration. ECF 45. In September 2014, the Court granted

  the Plaintiff’s motion. ECF 55. As to the County, the Court granted the motion to reinstate the

  declaratory judgment claim. Id. at 19. The Court reasoned that the issue was not the district

  attorney’s discretion to prosecute—over which the County could not be responsible, as the

  district attorney represents the state when prosecuting a criminal matter—it was “the

  administration of the district attorney’s office,” over which a county can be held liable. Id. at 17.

  The Court relied on an Eastern District Court decision by United States District Judge Nicholas

  G. Garaufis, in a case involving the Plaintiff’s brother. Norton v. Town of Islip, No. 04-CV-

  3079, 2009 WL 804702, at *10 (E.D.N.Y. Mar. 27, 2009) (internal quotation marks omitted),

  rev’d in part on other grounds by 378 F. App’x 85 (2d Cir. 2010) (Summary Order). In that

  case, Judge Garaufis ruled as follows:


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         The County overlook[ed] the accompanying rule that a DA acts as a County
         official in his administration and management of the district attorney’s office.
         Decisions regarding supervision and training relate to the DA’s role as the
         manager of the district attorney’s office, and in that role, the district attorney acts
         as a county policymaker whose actions may give rise to municipal liability.
         Under this framework, the Second Circuit has limited the DA’s role as a New
         York State official to specific decision[s] of the District Attorney to prosecute.

  Id. (internal quotation marks and citation omitted). Judge Garaufis further held in Norton that

  the Plaintiff’s claims that a county maintained a policy or custom of delegating to town attorneys

  the prosecution of petty offenses and abdicating responsibility for supervision and oversight of

  Town zoning prosecutions did not concern the district attorney’s discretion to prosecute. Id. at

  *27.

         B. The Third Amended Complaint and the Pending Rule 12 Motion

          In October 2017, in a hearing before then United States Magistrate Judge Gary R.

  Brown, the parties consented to the Plaintiff’s filing of a third amended complaint.             ECF

  10/16/17 entry. The Plaintiff filed the third amended complaint the following day. ECF 87. In

  the third amended complaint, the Plaintiff alleged that the Town charged him with the above-

  noted violations in 2011, and that the court dismissed those charges in 2012. Id. at 28, 49. He

  does not allege that he is currently facing charges for Town Code violations, or that he expects

  additional charges in the future.

         With regard to the County, the Plaintiff no longer asked for injunctive relief, but he

  reiterated his request for a declaratory judgment. Id. at 79–83. The Plaintiff again alleges that

  the County District Attorney’s Office delegated to the Town attorney the prosecution of petty

  offenses; abdicated to the Town Law Department responsibility for criminal actions concerning

  the Town Code; and failed to supervise the Town “in its initiations and continuations of State




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  Court criminal actions by failing to maintain a system of supervision, control or oversight.” Id.

  at 81.

           In April 2018, the County answered the third amended complaint. ECF 102. Having

  filed their answer, the County now moves under FED. R. CIV. P. 12(c) for a judgment on the

  pleadings as to the claim against it. ECF 121 (original motion), 123 (corrected motion).

  II.      DISCUSSION

        A. Legal Standard For a Judgment on the Pleadings

           Courts apply the same procedure to evaluate motions for judgment on the pleadings

  under Rule 12(c) as for motions to dismiss under FED. R. CIV. P. 12(b)(6). Altman v. J.C.

  Christensen & Assoc’s, Inc., 786 F.3d 191, 193 (2d Cir. 2015); Johnson v. Rowley, 569 F.3d 40,

  43 (2d Cir. 2009). In so doing, courts “draw all reasonable inferences in [the non-movant’s]

  favor, ‘assume all well-pleaded factual allegations to be true, and determine whether they

  possibly give rise to an entitlement to relief.’” Faber v. Metro Life Ins. Co., 648 F.3d 98, 104

  (2d Cir. 2011) (quoting Selevan v. N.Y. Thruway Auth., 584 F.3d 82, 88 (2d Cir. 2009). The non-

  movant is entitled to relief if she alleges “enough facts to state a claim to relief that is plausible

  on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); see also In re Elevator

  Antitrust Litig., 502 F.3d 47, 50 (2d Cir. 2007) (“While Twombly does not require heightened

  fact pleadings of specifics, it does require enough facts to nudge [the non-movant’s] claims

  across the line from conceivable to plausible.” (internal quotation marks and citation omitted)).

           On a Rule 12(c) motion, the court considers “the complaint, the answer, any written

  documents attached to them, and any matter of which the court can take judicial notice for the

  factual background of the case.” Roberts v. Babkiewicz, 582 F.3d 418, 419 (2d Cir. 2009). “A

  complaint is [also] deemed to include any written instrument attached to it as an exhibit,


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  materials incorporated by reference, and documents that, although not incorporated by reference,

  are ‘integral’ to the complaint.” Sira v. Morton, 350 F.3d 57, 67 (2d Cir. 2004) (internal

  citations omitted) (quoting Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002)).

     B. Application to the Facts of This Case

         In its Rule 12(c) motion, the County argues that the Court should rule on this motion,

  even though the Court has already ruled on a motion to dismiss in this action, because the

  arguments raised in the motion are similar to those made in the motion to dismiss the second

  amended complaint, and they relate to Second Circuit case law that has arisen since the Court

  granted reconsideration. ECF 123 at 5–6. The County also notes that the parties had previously

  attempted to settle the case, and, as part of those negotiations, the County consented to the

  Plaintiff’s filing a third amended complaint, and it reserved its right to move to dismiss the

  complaint under Rule 12(b)(6). Id. at 4–5. The County further notes that after the filing of that

  complaint, the Plaintiff requested that the County interpose an answer so as to not delay

  proceedings against the Town. Id. The County agreed to answer, and the Plaintiff in turn agreed

  that the County did not waive its right to dismiss the complaint. Id.

          The County also argues that the Court should deny the Plaintiff’s declaratory judgment

  claim as to it, because (1) the Plaintiff has not established that he faces a real and immediate

  injury, and thus, he lacks Article III standing to maintain a claim for declaratory relief; and (2)

  the underlying basis for the Plaintiff’s request for declaratory relief lacks merit. ECF 123 at 6–

  16. As to standing, the County contends that in the third amended complaint, the Plaintiff

  alleged that the Town Code violations brought against him were dismissed, rendering moot any

  claim for declaratory relief. Id. at 10. The County also states that the Plaintiff fails to allege that

  he is currently being prosecuted or facing criminal charges, which makes his request speculative,


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  remote, and insufficient to merit declaratory relief. Id. In addition, the County asserts that the

  Court’s granting of reconsideration on the motion to dismiss the second amended complaint does

  not create a controversy of sufficient ripeness for the Court to consider declaratory relief,

  because the legal consequences feared by the Plaintiff are speculative, and he has not pleaded a

  continuing or imminent concrete injury. Id. at 11–13.

          As to the merits, the County asserts that the Second Circuit—in an appeal filed by the

  Plaintiff’s brother in an action against the Town of Islip and the County—recently affirmed the

  Rule 12(c) dismissal of an action alleging that the County had a responsibility to supervise the

  actions of Assistant Town Attorneys. Id. at 14–16 (citing Norton v. Town of Islip, 678 F. App’x

  17, 20 (2d Cir. 2017) (summary order)). Accordingly, they argue, the Court should not award

  the Plaintiff declaratory relief when there is no basis for the Plaintiff’s underlying theory of

  liability. Id. at 16.

          The Plaintiff opposes the Rule 12(c) motion. He first argues that in June 2014, when the

  Court first ruled on the County’s motion to dismiss the second amended complaint, the Court

  ruled that an actual controversy existed in the action. ECF 125 at 17. The Plaintiff also notes

  that in granting reconsideration, the Court left that part of the June 2014 opinion undisturbed;

  thus, it remains the law of the case. Id. He argues that although the County relies on the Norton

  v. Town of Islip ruling, that case is not controlling, and he further notes that the County does not

  submit any new evidence or allege a need to correct a clear error or prevent manifest injustice.

  Id. In addition, the Plaintiff claims that the Defendant is effectively moving for reconsideration

  five years after the fact, which the Court should not permit, on both timeliness grounds and based

  on the law of the case doctrine. Id. at 18–19.




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         In the alternative, the Plaintiff contends that the Norton v. Town of Islip holding is legally

  distinct from the issues in this case, namely in the sense that the Court here has not dismissed the

  Plaintiff’s underlying substantive claims against the Town, and, that unlike in this action, the

  plaintiff in the Norton v. Town of Islip action brought a claim against the County under Monell v.

  New York City Department of Social Services, 436 U.S. 658, 98 S. Ct. 2018, 56 L. Ed. 2d 611

  (1978). Id. at 19–22.

         In addition, the Plaintiff submits an amicus curiae brief filed by the New York State

  Attorney General in an unrelated case before the New York Court of Appeals, which provided

  that a district attorney may allow others to prosecute cases, but there must be a system whereby

  the district attorney consents to others appearing on her behalf in those cases. Id. at 22–23.

         He also argues that in April 2019, the President of the District Attorney’s Association of

  the State of New York (“DAASNY President”), filed a complaint in Albany County Supreme

  Court in the case of Soares, et al. v. New York, et al., where he argued that a district attorney has

  exclusive discretionary power to determine whom, whether, and how to prosecute a criminal

  matter, and that a district attorney may not transfer that responsibility to anyone else. Id. The

  Plaintiff also attaches the transcript of a January 2019 status conference before then Magistrate

  Judge Brown, where the parties discussed the briefing schedule for the pending Rule 12(c)

  motion. ECF 125-3.

         In reply, the County asserts that its Rule 12(c) motion is timely and made pursuant to the

  above-noted agreement with the Plaintiff. ECF 126 at 2. It claims that its Rule 12(c) motion

  asks the Court to consider constitutional and substantive reasons as to why there should be a

  judgment on the pleadings; it does not seek reconsideration of the Court’s earlier order. Id. at 5.

  It also challenges the Plaintiff’s argument that this Court had already ruled that a controversy


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  existed as to the County, contending that the section of the opinion cited by the Plaintiff

  pertained only to the Plaintiff’s action as to the Town. See id. at 3–4.

         After the County replied, the Plaintiff sent a letter to the Court updating it on new

  developments in the Soares case. ECF 127. The County argues that the Court should not

  consider this information because it is inadmissible hearsay with no relevance to the fully briefed

  motion to dismiss, and because it constitutes an attempt to file an impermissible sur-reply

  without the Court’s permission. The Court addresses each of these issues in turn.

         1. Timeliness of the Motion

         The Court rules that the County timely filed the Rule 12(c) motion. Rule 12(c) provides

  for the filing of such motions “[a]fter the pleadings are closed—but early enough not to delay

  trial.” FED. R. CIV. P. 12(c); see Hoefer v. Bd. of Educ. of Enlarged City Sch. Dist. of

  Middletown, No. 10-Civ-3244, 2014 WL 1357334, at *3 (S.D.N.Y. Apr. 7, 2014) (denying party

  permission to file Rule 12(c) motion six months after date court had set for trial). When a Rule

  12(c) motion “has no effect on the trial schedule, it need not be barred as untimely.” See City of

  Almaty, Kaz. v. Ablyazov, No. 15-CV-5345, 2019 WL 1430155, at *3 (S.D.N.Y. Mar. 29, 2019).

         Here, the Plaintiff does not allege that the County’s Rule 12(c) motion has delayed trial

  proceedings. In fact, the January 2019 status conference transcript reveals that the County filed

  the Rule 12(c) motion according to a briefing schedule established by Judge Brown. ECF 125-3

  at 24–28. Thus, the Court deems that the County timely filed the Rule 12(c) motion. See City of

  Almaty, 2019 WL 1430155, at *3.

         2. The Law of the Case Doctrine

         The Court also rules that the pending Rule 12(c) motion is not precluded by the law of

  the case doctrine. “The law of the case doctrine commands that when a court has ruled on an


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   issue, that decision should generally be adhered to by that court in subsequent stages of the same

   case unless cogent and compelling reasons militate otherwise.” Hernandez v. Sessions, 731 F.

   App’x 51, 55 (2d Cir. 2018) (summary order) (quoting Johnson v. Holder, 564 F.3d 95, 99 (2d

   Cir. 2009)). Compelling reasons include “an intervening change in law, availability of new

   evidence, or the need to correct a clear error or prevent manifest injustice.” Johnson, 564 F.3d at

   99–100 (internal quotation marks omitted); see Sheet Metal, Air, Rail and Transp. Workers Local

   Union No. 137 v. Frank Torrone & Sons, Inc., No. 15-CV-2224, 2018 WL 4771897, at *6

   (E.D.N.Y. Oct. 3, 2018). The law of the case doctrine is “discretionary and does not limit a

   court’s power to reconsider its own decisions.” Virgin Atlantic Airways , ltd. v. Nat’l Mediation

   Bd., 956 F.2d 1245, 1255 (2d Cir. 1992).

          The doctrine does not apply to the pending motion to the extent that it raises challenges to

   the Court’s subject matter jurisdiction. See Chen-Oster v. Goldman, Sachs & Co., No. 10-Civ-

   6950, 2015 WL 4619663, at *3 (S.D.N.Y. Aug. 3, 2015); Allah v. Juchnewioz, No. 93-Civ-8813,

   2003 WL 1535623, at *3 (S.D.N.Y. Mar. 24, 2003) (“While the ‘law of the case’ doctrine might

   counsel against reversing that ruling now, it does not apply where subject matter jurisdiction is

   implicated.”) (citing Marcella v. Capital Dist. Physician’s Health Plan, Inc., 293 F.3d 42, 47 (2d

   Cir. 2002)). The parties disagree as to whether the Court ruled that a controversy, and thus,

   subject matter jurisdiction, existed as to the claim against the County. The Court need not

   resolve that dispute in order to consider, anew or for the first time, whether it has subject matter

   jurisdiction over this portion of the action. See, e.g., Allah, 2003 WL 1535263, at *3; see Walsh

   v. McGee, 918 F. Supp. 107, 113 (S.D.N.Y. 1996) (“Thus, a federal court cannot assert

   jurisdiction over a claim that is outside the scope of the Court’s jurisdiction merely by relying on

   the court’s own prior decision that jurisdiction over such claim was proper”).


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           Conversely, the law of the case doctrine does apply to the portion of the County’s motion

   dealing with the merits of the Plaintiff’s theory of liability.     In the section of its motion

   pertaining to the Plaintiff’s liability theory, the County relies on a 2017 summary order from the

   Second Circuit. Summary orders do not have precedential value. See, e.g., Martinez v. Miller,

   330 F. App’x 296 (summary order); Libaire v. Kaplan, 760 F. Supp. 2d 288, 292 (E.D.N.Y.

   2011). Although summary orders may serve as law of the case when they occur within a given

   action, the summary order in Norton v. Town of Islip is from a separate, unrelated action. See

   United States v. Uccio, 940 F. 2d 753, 757 (2d Cir. 1991). Accordingly, the Court will only

   consider the portion of the County’s Rule 12(c) motion as it pertains to the Court’s subject matter

   jurisdiction over the declaratory judgment claim.

           3. The Materials Submitted After the Reply

           Although the Plaintiff in its August 27 letter does not expressly seek the Court’s leave to

   file a sur-reply, the Court construes that letter as such an application. Barbour v. Colvin, 993 F.

   Supp. 2d 284, 287 (E.D.N.Y. 2014) (Spatt, J.). “Motions for leave to file a sur-reply information

   [ ] are subject to the sound discretion of the court.” Anghel v. New York State Dep’t of Health,

   947 F. Supp. 2d 284, 293 (E.D.N.Y. 2013) (quotation marks and citation omitted),

   reconsideration denied (July 20, 2013); Kapiti v. Kelly, No. 07-CV-3782, 2008 WL 754686, at

   *1 n.1 (S.D.N.Y. Mar. 12, 2008) (noting that “the decision to permit a litigant to submit a

   surreply is a matter left to the Court’s discretion, since neither the Federal Rules of Civil

   Procedure nor the Local Civil Rules of this Court [and the Eastern District] authorize litigants to

   file surreplies.”).

           The Court, in its discretion, declines to consider the information offered by the Plaintiff

   in its proposed sur-reply. See, e.g., Prentice v. Port Auth. of N.Y. & N.J., No. 15-CV-738, 2017


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   WL 2271364, at *1 (E.D.N.Y. May 23, 2017) (Spatt, J.). The information offered does not bear

   on the remaining issue before the Court, whether the Court has subject matter jurisdiction over

   the Plaintiff’s declaratory judgment claim against the County.

          4. Subject Matter Jurisdiction

          Article III of the Constitution limits the jurisdiction of federal courts to the resolution of

   “cases” and “controversies.” U.S. CONST. art. III, § 2. In order to ensure that a plaintiff meets

   this fundamental case-or-controversy requirement, courts require that plaintiffs establish their

   “standing” as “the proper part[ies] to bring” suit. Raines v. Byrd, 521 U.S. 811, 818, 117 S. Ct.

   2312, 138 L. Ed. 2d 849 (1997); see also W.R. Huff Asset Mgmt. Co., LLC v. Deloitte & Touche

   LLP, 549 F.3d 100, 106 (2d Cir. 2008). To successfully allege standing to bring suit in federal

   court, a party must allege in her complaint the following:

          first, that the plaintiff has suffered an “injury in fact,” which the Supreme Court
          defines as “an invasion of a legally protected interest which is (a) concrete and
          particularized; and (b) actual or imminent, not [merely] conjectural or
          hypothetical,” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560, 112 S. Ct. 2130,
          119 L. Ed. 2d 351 (1992) (internal citation and quotation marks omitted); second,
          that there is a “causal connection between the injury and the conduct complained
          of,” which requires the injury to be “fairly traceable to the challenged action of
          the defendant, and not the result of the independent action of some third party not
          before the court,” id. (internal quotation marks and alterations omitted); and third,
          that it is “likely, as opposed to merely speculative, that the injury will be
          redressed by a favorable decision.” Id.

   Citizens for Responsibility and Ethics in Washington v. Trump, 939 F.3d 131, 142 (2d Cir. 2019).

          In addition, the Supreme Court has ruled that not only must a controversy be sufficiently

   real and immediate, it must also be ripe for adjudication. Thomas v. City of New York, 143 F.3d

   31, 34 (2d Cir. 1998). To be ripe, a claim must not be a “mere hypothetical question.” Nat’l

   Org. for Marriage, Inc. v. Walsh, 714 F.3d 682, 687 (2d Cir. 2013). “A claim is not ripe if it

   depends upon contingent future events that may or may not occur as anticipated, or indeed may


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   not occur at all.” Id.; see also Kurtz v. Verizon N.Y., Inc., 758 F.3d 506, 511 (2d Cir. 2014);

   Conn. Fund for the Env’t, Inc. v. Untied States Gen. Serv. Admin., 285 F. Supp. 3d 525, 534

   (E.D.N.Y. 2018).

          The Declaratory Judgment Act “provides a specific remedy for plaintiffs who are alleging

   a claim based on a substantive source of rights, but does not itself confer any substantive rights.”

   Khanom v. Kerry, 37 F. Supp. 3d 567, 575 (E.D.N.Y. 2014) (citing Springfield Hosp. v.

   Hofmann, 488 F. App’x 534, 535 (2d Cir. 2012) (summary order) (holding that the plaintiff

   “cannot maintain an action for a declaratory judgment without an underlying federal cause of

   action”); In re Joint E. & S. Dist. Asbsestos Litig., 14 F.3d 726, 731 (2d Cir. 1993) (noting that

   the Declaratory Judgment Act does not “provide an independent cause of action,” and that its

   “operation is procedural only—to provide a form of relief previously unavailable”); and Crewe v.

   Rich Dad Educ., LLC, 884 F. Supp. 2d 60, 80 (S.D.N.Y. 2012) (noting that “the Declaratory

   Judgment Act is not a source of federal substantive rights”)).

          Thus, the Declaratory Judgment Act is merely a procedural vehicle, and cannot form an

   independent basis for subject matter jurisdiction. See Schutte Bagclosures Inc. v. Kwik Lok

   Corp., 48 F. Supp. 3d 675, 688–89 (S.D.N.Y. 2014) (“[F]or subject matter jurisdiction, there

   must be an independent basis for federal jurisdiction because it is well established that the DJA

   does not expand the jurisdiction of the federal courts, and a basis for subject matter jurisdiction

   other than the DJA must be found.”) (citing Albradco, Inc. v. Bevona, 982 F.2d 82, 85 (2d Cir.

   1992)); see also Correspondent Servs. Corp. v. First Equities Corp., 442 F.3d 767, 769 (2d Cir.

   2006) (commenting that “the Declaratory Judgment Act does not by itself confer subject matter

   jurisdiction on the federal courts”), cert. denied sub nom., Waggoner v. Suisse Sec. Bank &

   Trust, Ltd., 549 U.S. 1209, 127 S. Ct. 1329, 167 L. Ed. 2d 81 (2007); DME Constr. Assocs., Inc.


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   v. United States, No. 15-CV-4322, 2016 WL 2992131, at *3 (E.D.N.Y. May 23, 2016) (Spatt,

   J.).

           A plaintiff seeking injunctive or declaratory relief “cannot rely on past injury to satisfy

   the injury requirement,” instead, he “must show a likelihood that that he or she will be injured in

   the future.” Deshawn E. by Charlotte E. v. Safir, 156 F.3d 340, 344 (2d Cir. 1998); see

   McCormick ex rel. McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d 275, 284 (2d Cir. 2004).

   A party’s “[p]ast exposure to illegal conduct does not itself show a present case or controversy

   regarding injunctive relief . . . if unaccompanied by any continuing, present adverse effects.”

   City of Los Angeles v. Lyons, 461 U.S. 95, 111, 103 S. Ct. 1660, 75 L. Ed. 2d 675 (1983);

   Martins v. Cty. of Nassau, No. 15-CV-5120, 2016 WL 8711208, at *3–4 (E.D.N.Y. Apr. 29,

   2016) (Spatt, J.).

           Here, the Plaintiff relies on a past injury, the 2011 charges for Town Code violations, as

   the basis for his claim. This past injury is insufficient to confer subject matter jurisdiction on the

   Court with regard to the claim against the County. See Deshawn E. by Charlotte E., 156 F.3d at

   344.

           In the third amended complaint, there is nothing to suggest that any concern that the

   Plaintiff may have about future prosecution for Town Code violations is anything more than

   speculative; thus, this claim is also not ripe for adjudication. See Conn. Fund for the Env’t, Inc.,

   285 F. Supp. 3d at 534; Dow Jones & Co, Inc. v. Harrods, Ltd., 237 F. Supp. 2d 394, 407

   (S.D.N.Y. 2002) (“Accordingly, a touchstone to guide the probe for sufficient immediacy and

   reality is whether the declaratory relief sought relates to a dispute where the alleged liability has

   already accrued or the threatened risk occurred, or rather whether the feared legal consequence

   remains a mere possibility, or even probability of some contingency that may or may not come to


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   pass.”) (emphasis added). Accordingly, the Court grants the Rule 12(c) motion and dismisses

   the complaint as to the County, for the Plaintiff cannot state a plausible claim against the County

   in the absence of subject matter jurisdiction.

   III.     CONCLUSION

            For the foregoing reasons, the Court grants the Rule 12(c) motion for judgment on the

   pleadings by the Defendant Suffolk County. The Third Amended Complaint is dismissed as to

   the Defendant Suffolk County.



   It is SO ORDERED.




          _____/s/ Artur D. Spatt________                          ____January 21, 2020____

             Arthur D. Spatt, U.S.D.J.                                         Date




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                             UNITED STATES DISTRICT COURT      U.S.DISTRICTCOURT
                             EASTERN DISTRICT OF NEW YORK EASTERNDISTRICTOFNEWYORK
                                                                   LONGISLANDOFFICE

        JEROME NORTON,                .       Civil No. 13-CV-3520(AYS)
                                      .
                   Vs.                .
                                      .       100 Federal Plaza
                                      .       Central Islip, NY 11722
        TOWN OF BROOKHAVEN, ET ALS., .
                                      .       March 16, 2020
        . . . . . . . . . . . . . . . .


                                TRANSCRIPT OF HEARING
                        BEFORE THE HONORABLE ANNE Y. SHIELDS
                           UNITED STATES MAGISTRATE JUDGE



        APPEARANCES (Telephonic):

        For The Plaintiff:            LEEDS BROWN LAW, P.C.
                                      BY: ANDREW COSTELLO, ESQ.
                                      One Old Country Road
                                      Carle Place, NY 11514

        For the Defendant:            DEVITT SPELLMAN & BARRETT, LLP
                                      BY: SCOTT J. KREPPEIN, ESQ.
                                      50 Route 111, Suite 314
                                      Smithtown, NY 11787




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                                     Kreppein/Argument                          16

      1 Court to paragraph 43 of the stip.         That talks about retaining

      2 jurisdiction.

      3              THE COURT:    It’s the intention of the parties and the

      4 plea of the parties that the Court interpret as broadly as

      5 possible its authority to retain jurisdiction and retain the,

      6 yes, it just says that you want him to.          It does say he so

      7 ordered it, but there’s no other language.

      8              MR. COSTELLO:    But Your Honor, it seems that this is,

      9 it was the intention of the parties and a request of the

     10 parties.

     11              THE COURT:    It’s not enough.     Okay, I –-

     12              MR. COSTELLO:    But now, now, Your Honor, all of a

     13 sudden, what the Town seems to be doing is going back on that,

     14 and now saying oh well, you know, there’s no jurisdiction.

     15              THE COURT:    I’m not saying oh well.      Subject matter

     16 jurisdiction is not an oh well, it’s kind of a big issue.

     17              MR. COSTELLO:    I understand that, Your Honor.

     18              THE COURT:    And the first time, when I look at a case

     19 the first thing I ask is what’s the basis of Federal

     20 jurisdiction.     Because I need to understand that so that I can

     21 understand whether we need any discovery.          Is it the

     22 defendant’s position that you don’t need to do anything because

     23 you’re waiting for the Department of State to do something?

     24              MR. KREPPEIN:    Correct.    And if the, the plaintiff,

     25 there’s language in the stipulation that the plaintiff can
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                                     Kreppein/Argument                          17

      1 bring a motion, a dispositive motion on these issues that

      2 limits the Town’s ability to do so.         So if we wait for the

      3 Secretary of State this case is, we would like to is ending to

      4 this case or some path towards resolution.

      5              THE COURT:    Wait I’m sorry, who’s talking now?        I’m

      6 sorry, you’re on the phone.

      7              MR. KREPPEIN:    This is Scott Kreppein for the

      8 defendants.

      9              THE COURT:    Okay.

     10              MR. KREPPEIN:    The stipulation is very open-ended.

     11 The Secretary of State could never do anything and it limits

     12 the Town’s ability to bring a dispositive motion, but allows

     13 the plaintiff to do so.       So what we’re looking for is some path

     14 to bring this case to an end.        And it’s just a question of law.

     15              THE COURT:    But the plaintiff is saying he needs

     16 discovery from you before he makes a declaratory judgment

     17 motion.

     18              MR. KREPPEIN:    From my understanding of what’s been

     19 produced as part of this packet, he’s received every piece of

     20 paper that was considered by the Town Board in connection with

     21 an entire chapter of the town code, and every amendment

     22 thereto, and I don’t know the exact number but it’s probably

     23 over a dozen amendments, it’s a large box of documents with

     24 everything about this town code, and you’re talking about

     25 interpreting a statute.
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   S T A T E O F N E W YO RK
   DEPARTMENT OF STATE
   ONE COMMERCE PLAZA                                                                       A NDREW M. C UOMO
                                                                                                        G O VE RNO R
   99 WASHINGTON AVENUE
   ALBANY, NY 12231-0001                                                                    ROSSANA ROSADO
   WWW.DOS.NY.GOV                                                                              S ECRETARY OF S TATE




                                                                                          August 31, 2020
   Anne C. Leahey, Esq.
   Devitt Spellman Barrett, LLP
   50 Route 111
   Smithtown, New York 11787

   Andrew Costello, Esq.
   Leeds Brown Law, P.C.
   One Old Country Road, Suite 347
   Carle Place, NY 11514

           Re: Brookhaven Town Code Chapter 82

   Dear Ms. Leahey and Mr. Costello:

           This is in response to Ms. Leahey’s letter dated December 20, 2019 (“Ms. Leahey’s letter”)
   and the unsigned letter dated September 2017 attached thereto (the “September 2017 letter”), as well
   as Mr. Costello’s letter dated May 26, 2020 (“Mr. Costello’s letter”).

          Based on the information provided, it appears that Ms. Leahey’s firm represents the Town of
   Brookhaven (the “Town”) in connection with the matter of Jerome Norton, Plaintiff, v. Town of
   Brookhaven, et al, Defendants, in the United States District Court for the Eastern District of New York
   (the “Norton v. Town litigation”); that Mr. Costello’s firm represent Mr. Norton (the “Plaintiff”) in the
   Norton v. Town litigation; and that the Norton v. Town litigation involves certain local laws that have
   been adopted by the Town and codified by the Town as Chapter 82 of the Brookhaven Town Code
   (“Town Code Chapter 82”) and the interplay between Town Code Chapter 82 and Article 18 (§§ 370
   – 382) of the New York State Executive Law (“Article 18”) and the New York State Uniform Fire
   Prevention and Building Code (the “Uniform Code”).

                                 Request for “Interpretation Determination”

           The Town is requesting the Department of State (the “Department”) to issue an “Interpretation
   Determination” regarding the extent to which Town Code Chapter 82 is “legally enforceable” under
   Article 18 and/or the Uniform Code. See Ms. Leahey’s letter and the unsigned copy of the September
   2017 Letter was attached to Ms. Leahey’s letter.

           Ms. Leahey submitted 18 CDs with her letter.

            One of the CDs submitted by Ms. Leahey includes 18 pdf files described by Ms. Leahey as
   containing digitized copies of documents which constitute “the Town Clerk’s file for Chapter 82” and
   which, in paper form, fill two bankers boxes. More specifically, it appears that this CD includes
   certified copies of at least 13 local laws that were adopted by the Town between 1999 and 2015 and


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                                              ORTUNITY.   of State
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   Anne C. Leahey, Esq.
   Andrew Costello, Esq.
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   copies of the Town’s “file” for each of those local laws. Based on the titles of the pdf files (Bates 1,
   Bates 2 to 468, . . . Bates 3253 to 3309), it appears that this CD includes 3,309 pages of documents.

          The remaining 17 CDs are described by Ms. Leahey as containing audio recordings of public
   hearings relating to the adoption of the Town’s local laws.

           Ms. Leahey also submitted a conformed copy of an Order signed by Hon. Gary R. Brown,
   United States Magistrate Judge, on October 18, 2017. The Order provides, in pertinent part, that “. . .
   the Department of State is respectfully requested to consider the petition [presumably, the September
   2017 Letter] and, if appropriate, provide the determination sought in the letter petition consistent with
   the resources and requirements of the Department.”

          Ms. Leahey also submitted a copy of a “Stipulation of Partial Settlement” in the Norton v.
   Town litigation signed by counsel for the parties to that litigation in September 2017 and “so ordered”
   Hon. Arthur D. Spatt, United States District Judge, on October 18, 2017 (the “Partial Stipulation”).

            Mr. Costello’s Letter refers to a provision in the Partial Stipulation in which the Town agreed
   to provide the Department with information in the Town’s files that sets forth any “special conditions”
   prevailing within the Town which warranted the enactment of the local laws giving rise to Town Code
   Chapter 82. Mr. Costello’s letter states that “(a)ll lawsuit parties obviously felt this information level
   was relevant and would provide [the Department] with easy access to an abundance of information,
   including certain Executive Law § 379 petition–type information.” Mr. Costello argues that the
   material provided by Ms. Leahey is inadequate, and does not satisfy the Town’s obligations under the
   Partial Stipulation. More specifically, Mr. Costello argues that, in addition to the material already
   submitted by the Town, the Town should submit (1) electronically stored information (“ESI”),
   including emails; (2) copies of at least three local laws adopted by the Town in 2018; (3) approximately
   350 pages of documents provided by the Town to Plaintiff in 2019; (4) at least 40 additional documents
   claimed by the Town to be privileged; (5) any and all additional documents that may be found by the
   Town following a “valid search of all relevant Town departments” and/or a “[proper] search all relevant
   parts of its government for documents;” and (6) “true, complete and unredacted [copies] of Town
   meeting minutes/transcripts and/or audio recordings regarding Local Laws 2 of 2012, 37 of 2013, 14
   of 2014, 22 of 2015 . . . or 17, 18 and 22 of 2018.” Attached to Mr. Costello’s Letter were (1) a list
   entitled “Town of Brookhaven Town Code Changes” that mentions 11 local laws purportedly adopted
   by the Town in 2017 and 2018; (2) a 35-page long transcript of a conference held before Judge Brown
   in the Norton v. Town litigation on June 19, 2019; and (3) a document described as showing “certain
   proposed changes to Town Code Chapter 82.”

            Please note that the Department is not a party to the Norton v. Town litigation, has not
   participated in any manner in that litigation, and is not bound by any stipulation or order in that
   litigation. In particular, the Department is not a party to the Partial Stipulation, and the Department is
   not bound by the Partial Stipulation. In addition, the Department has not reviewed the Partial
   Stipulation or the transcript attached to Mr. Leahey’s Letter in detail, and the Department expresses no
   opinion regarding the appropriateness of any statement, agreement, or provision in those documents.
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   Anne C. Leahey, Esq.
   Andrew Costello, Esq.
   August 31, 2020
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                                  Background – Article 18 and the Uniform Code

          The Uniform Code is adopted by the State Fire Prevention and Building Code Council (the
   “Code Council”) pursuant to Article 18. The Uniform Code is applicable in all parts of the State (except
   New York City, which has its own building code).

           In general, each local government (defined in Article 18 as a village, town [outside the area of
   any incorporated village], or city) is responsible for administration and enforcement of the Uniform
   Code with respect to buildings and structures located within the local government. Therefore, the Town
   is responsible for administration and enforcement of the Uniform Code with respect to buildings and
   structures located in those parts of the Town that are not within a village.

           Executive Law § 378(1) provides that the Uniform Code shall address “(s)tandards for the
   construction of all buildings or classes of buildings, or the installation of equipment therein, including
   standards for materials to be used in connection therewith, and standards for safety and sanitary
   conditions. . . .” Standards of the type referred to in Executive Law § 378(1) are hereinafter referred to
   as standards for construction.

          Not all provisions in the Uniform Code are standards for construction of the type described in
   Executive Law § 378(1). See Executive Law § 378(2), which provides that the Uniform Code shall
   address “(s)tandards for the condition, occupancy, maintenance, conservation, rehabilitation and
   renewal of certain existing buildings, structures and premises and for the safeguarding of life and
   property therein and thereabout from the hazards of fire, explosion or release of toxic gases arising
   from the storage, handling or use of combustible or hazardous substances, materials or devices.”
   Standards of the type referred to in Executive Law § 378(2) are hereinafter referred to as property
   maintenance standards.

            Article 18 authorizes a local government to enact or adopt local laws or ordinances imposing
   standards for construction within the jurisdiction of such local government that are higher or more
   restrictive than are applicable generally to such local government in the Uniform Code. See the first
   sentence of Executive Law § 379(1). However, that authority is subject to these requirements and
   limitations:

       x    Within 30 days of the enactment or adoption of a local standards for construction, the local
            government must notify the Code Council and petition the Code Council for a determination
            of whether the local standards for construction are more stringent than the Uniform Code. See
            the second sentence of Executive Law § 379(1).

       x    The Code Council must find that the local standards for construction are, in fact, higher or
            more restrictive than the Uniform Code, are reasonably necessary because of special conditions
            prevailing within the local government, and conform with accepted engineering and fire
            prevention practices and the purposes of Article 18. If the Code Council makes those findings,
            the Code Council must “adopt” (or approve) such local standards for construction, in whole
            or in part. See Executive Law § 379(2).1

   1
    Prior to October 23, 2017, Executive Law § 379(1) provided that a local law of ordinance that imposes a higher or
   more restrictive local standard for construction would remain in full force and effect during the period in which the
   Code Council was considering the local government’s petition. Since October 23, 2017, Executive Law § 379(1) has
   provided that a local law of ordinance that imposes a higher or more restrictive local standard for construction “shall
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           In addition to Executive Law §§ 379(1) and (2), which limit a local government’s authority to
   adopt local standards for construction, two other provisions of Article 18 address a local government’s
   authority to adopt local building regulations:

       x   Executive Law § 379(3) provides that nothing in Article 18 “shall be construed to prohibit any
           municipality from adopting or enacting any building regulations relating to any matter as to
           which the uniform fire prevention and building code does not provide, but no municipality
           shall have the power to supersede, void, repeal or make more or less restrictive any provisions
           of this article or of rules or regulations made pursuant hereto.”

       x   Executive Law § 383(1) provides that, subject to certain exceptions, none of which appears to
           be applicable here, the provisions of Article 18 of the Executive Law and of the Uniform Code
           “shall supersede any other provision of a general, special or local law, ordinance,
           administrative code, rule or regulation inconsistent or in conflict therewith . . . .”

           Response to the Request for the Department to Issue an “Interpretation Determination”

           The Town requests an “Interpretation Determination” regarding the “enforceability” of Town
   Code Chapter 82 under Article 18 and/or the Uniform Code. The Town has submitted what purports
   to be the Town’s “complete file” relating to the adoption of each of the local laws that initially enacted
   and/or subsequently amended Town Code Chapter 82. Mr. Costello argues that the Town’s submission
   is insufficient, and that the Town should submit more information, including information regarding
   local laws that Mr. Costello states were not included with Ms. Leahey’s letter, so that the Department
   would have an “abundance of information” relating to “special conditions” prevailing within the Town
   which warranted the enactment of the local laws giving rise to Town Code Chapter 82, as well as other
   “Executive Law § 379 petition–type information.”

          Unfortunately, the Department does not have the resources that would be required to review
   and analyze the thousands of pages of written materials and (presumably) hours of audio recordings
   submitted with Ms. Leahey’s letter, or the hundreds (perhaps thousands) of additional pages of
   materials called for by Mr. Costello’s Letter.2

           Even if the Department did have the resources required to review and analyze the voluminous
   raw data provided by the parties, the Department has no authority to identify any “special conditions”
   prevailing within the Town (or any other “Executive Law § 379 petition–type information” that the
   Town would be required to include in any such petition), or to issue an “interpretation” or
   “determination” regarding the existence of such special conditions or the question of whether such
   special conditions make it “reasonably necessary” for the Town to adopt any particular standards for
   construction. Article 18 provides that:


   take full force and effect upon an affirmative determination by the [Code Council] as provided herein.”
   2
     The Department’s determination that it lacks the resources necessary to review the material submitted with Ms.
   Leahey’s letter was made long before our receipt of Mr. Costello’s letter. Our response to Ms. Leahey’s letter was
   delayed by that very lack of resources, and exacerbated by the COVID-19 pandemic. I can only say that Mr. Costello’s
   letter, which argues that the materials submitted with the Ms. Leahey’s letter were insufficient, and that the Town
   should submit even more material to the Department, only reinforces the Department’s determination.
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       1. the Town, and not the Department, is required to notify the Code Council of the Town’s
          adoption of any local standards for construction and to petition the Code Council for a
          determination of whether such local standards for construction are more stringent than the
          Uniform Code;
       2. that once such a petition is submitted by the Town, the Code Council, and not the Department,
          is authorized to determine whether the local standards for construction described in the petition
          are more stringent than the Uniform Code;
       3. the Code Council, and not the Department, is authorized to determine whether “special
          conditions” exist within the Town;
       4. the Code Council, and not the Department, is authorized to determine whether such “special
          conditions” make it “reasonably necessary” for the Town to adopt the local standards for
          construction; and
       5. the Code Council, and not the Department, is authorized to determine whether the local
          standards for construction conform with accepted engineering and fire prevention practices
          and the purposes of Article 18.

           Therefore, the Department must respectfully decline any request to review and analyze the
   materials submitted with Ms. Leahey’s Letter, or any additional material that might be submitted
   pursuant to Mr. Costello’s Letter, and the Department must respectfully decline any request to issue
   any “interpretation” or “determination” regarding the enforceability of Town Code Chapter 82.3

           Please note that in addition to Article 18, which applies to local laws that impose local
   standards for construction, all local laws, regardless of the topics covered, must be adopted in
   accordance with the Municipal Home Rule Law and other statutes (such as the Open Meetings Law
   and SEQR) relating to the adoption of local laws. In light of the fact that Ms. Leahey has submitted the
   Town’s “complete file” for various local laws adopted by the Town, I add, for the avoidance of doubt,
   that the Department has not reviewed the materials submitted for information relating to compliance
   by the Town with the Municipal Home Rule Law and other statutes relating to the adoption of local
   laws, and the Department expresses no opinion with regard to such compliance.

                               Review of online version of Town Code Chapter 82

           Ms. Leahey indicates that she has provided copies of approximately 13 local laws which, when
   read together, constitute Town Code Chapter 82. Mr. Costello indicates that the Town has adopted
   additional local laws, not provided by Mr. Leahey, that made further changes to Town Code Chapter
   82. Yet providing the Department with all local laws related to Town Code Chapter 82 would not
   provide the Department with a usable copy of Town Code Chapter 82 – the Department would be
   required to review each local law and to go through the detailed process of analyzing all the additions
   and deletions made by each local law and piecing together the current version of Town Code Chapter
   82. The Department does not have the resources required to do that, and the Department has not
   attempted to do that.



   3
     Please note that Executive Law § 376(4) authorizes (but does not require) the Secretary of State to issue written
   interpretations of the Uniform Code. However, Executive Law § 376(4) does not authorize (and certainly does not
   require) the Secretary of State to issue interpretations of local laws, or to issue determinations regarding the
   enforceability of local laws.
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            However, the Department located an online posting of a document that purports to be Town
   Code Chapter 82 (see https://ecode360.com/8596302), and the Department performed a brief review
   of this online version of Town Code Chapter 82. Subject to the caveats that (1) the Department does
   not vouch for the accuracy or completeness of the online version of Town Code Chapter 82; (2) the
   Department has not reviewed the materials provided with Ms. Leahey’s letter and expresses no opinion
   regarding the proper adoption of the local laws giving rise to Town Code Chapter 82; (3) the
   Department has not reviewed any other parts of the Town Code; and (4) the following should not be
   construed as legal advice or as an interpretation or determination of any kind by the Department, we
   offer the following observations:

          The online version of Town Code Chapter 82 includes several standards for construction that
   address matters that are also addressed in the Uniform Code. More specifically:

       x   Paragraph (M) of Section 82-3 addresses carbon monoxide alarms and Section 82-6 addresses
           smoke detectors. The Uniform Code has provisions relating to carbon monoxide alarms and
           smoke alarms.

       x   Paragraph (J) of Section 82-3 provides that “(d)wellings, structures and accessory structures
           shall be free of partitions or locked internal doors barring access between segregated portions
           of the building or dwelling unit.” Chapter 10 of the 2020 Building Code of New York State
           (the “2020 BCNYS”) and Chapter 10 of the 2020 Fire Code of New York State (the “2020
           FCNYS”) regulate locks in certain occupancies and in dwelling units. Partitions are addressed
           in chapters 4-7 of the 2020 BCNYS and renovations to buildings may require dwellings,
           structures and accessory structures to be segregated.4

           Any provision in Town Code Chapter 82 that is a standard for construction and addresses a
   matter that is also addressed in the Uniform Code is subject to the provisions of Executive Law §§
   379(1) and (2). Please note that, except as noted below with respect to the Town’s Local Law No. 5 of
   2014 and Local Law No. 11 of 2016, the Department is unable to locate any record indicating that the
   Town of Brookhaven has ever submitted the notice and petition required by Executive Law § 379(1)
   for any provision in Town Code Chapter 82. If the Town believes that it may have submitted any such
   notice and petition, I ask that Ms. Leahey provide details at her earliest convenience.5

       x   Paragraph (M) of Section 82-3 of the Town Code provides that “Carbon monoxide alarms and
           detectors shall be installed on every habitable floor of any dwelling, structure or accessory
           structure with a carbon monoxide source, in accordance with the New York State Uniform Fire
           Prevention and Building Code and Town Code Chapters 16 and 30” (emphasis added). Please
           note that the Town previously submitted petitions pursuant to Executive Law § 379(1) with
           respect to the Town’s Local Law No. 5 of 2014 and Local Law No. 11 of 2016; that those local
           laws added and/or amended provisions that appear to be in Chapter 30 of the Town Code; and
           the Town’s petitions relating to those local laws were denied by the Code Council. To the
           extent that paragraph (M) of Section 82-3 of the Town Code purports to require installation of

   4
    The 2020 BCNYS, 2020 FCNYS, and 2020 PMCNYS (discussed below) are incorporated by reference in 19
   NYCRR Parts 1220 to 1227 and are parts of the version the Uniform Code which became effective on May 12, 2020.
   5
     Please note that filing a local law with the Department’s State Records Unit pursuant to the Municipal Home Rule
   Law does not constitute providing the notice or filing of the petition required by Executive Law § 379(1).
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          carbon monoxide alarms and detectors pursuant to provisions that were the subject of the
          Town’s previously denied Executive Law § 379(1) petitions, it would appear that the Code
          Council has already determined that such part of paragraph (M) of Section 82-3 cannot be
          enforced by the Town.

           The online version of Town Code Chapter 82 includes several property maintenance
   standards, at least some of which address matters that are also addressed in the Uniform Code. More
   specifically, paragraphs (A) through (I) and paragraphs (K) and (L) of Section 82-3 address property
   maintenance issues, many of which are addressed in the 2020 Property Maintenance Code of New
   York State (the “2020 PMCNYS”). Any provision in Town Code Chapter 82 which is not a standard
   for construction, but which does address a matter addressed in the Uniform Code, is subject to the
   provisions of Executive Law § 383(1), and is superseded by the Uniform Code to the extent of such
   inconsistency or conflict.

           The online version of Town Code Chapter 82 includes several provisions that address matters
   not addressed in the Uniform Code. More specifically, it appears that Sections 82-5 (Fees), 82-8
   (Inspections), 82-9 (Application for search warrant), 82-10 (Rental registration required), 82-11
   (Revocation of permit), 82-12 (Broker's/Agent's responsibility), 82-13 (Enforcement), 82-14 (Penalties
   for offenses), 82-15 (Implementation), and 82-16 (Severability) address matters not addressed in the
   Uniform Code. It does not appear that these provisions could be construed as superseding, voiding,
   repealing, or make more or less restrictive any provisions of Article 18 or the Uniform Code. Therefore,
   pursuant to Executive Law § 379(3), it appears that nothing in Article 18 prohibits the Town from
   adopting these provisions.

                                            Mr. Costello’s letter

                           (A) Alleged non-compliance with the Partial Stipulation

           As discussed above, Mr. Costello argues that the Town’s submission to the Department was
   insufficient, and does not include all of the information and documentation that the Town agreed to
   submit in the Partial Stipulation in the Norton v. Town litigation. The Department does not have the
   authority to resolve any dispute between the Plaintiff and the Town regarding the Town’s compliance
   or non-compliance with the Partial Stipulation. The Department expresses no opinion regarding the
   merits of Mr. Costello’s assertions.

           As stated above, the Department does not have the resources required to review the material
   already provided by the Town. The Department does not have the resources required to review any
   additional material that may be submitted pursuant to Mr. Costello’s letter. With the exception of any
   petition for review of more restrictive local standards for construction that the Town may wish to
   submit pursuant to Executive Law § 379, which may be submitted to the Department’s Division of
   Building Standards and Codes as secretariat for the Code Council, or any “DOS-2134-f complaint”
   (more fully discussed below) that the Plaintiff may wish to submit, the Department respectfully
   requests that the parties refrain from making any further submissions to the Department.
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                 (B) Request that the Department “exercise its lawful state interest powers”

           Mr. Costello states in his May 2020 Letter that:

           “Plaintiff finds very concerning the extent to which Brookhaven in 2020 retains on its
           books/is enforcing local laws voided by the State’s adoption of its 2003 and thereafter
           Property Maintenance Codes. Plaintiff is also concerned that the Town has, since 2002,
           passed many local laws which are inconsistent with, or in conflict with, the
           requirements of New York Executive Law Article 18 and/or the Uniform Code. The
           Town’s authority to petition the Secretary of State is (as per the Partial Stipulation)
           pre-conditioned upon the Town’s compliance with the terms and conditions of Partial
           Stipulation Exhibit B. The Town’s December 20, 2019 petition is, under the terms and
           conditions of the Partial Stipulation, improper and insufficient. The Town’s petition
           specifically says, however, “[s]hould you have any questions and/or require any other
           or further documents and/or information with regard to this sending, please do not
           hesitate to contact me or the Town directly”. As the DOS has plenary powers regarding
           administration and enforcement of New York Executive Law Article 18 and/or the
           Uniform Code, Plaintiff requests that the DOS fully exercise its lawful state interest
           powers.”

            The Department does not fully understand the meaning, in the context of the above-quoted
   paragraph, of the request that the Department “fully exercise its lawful state interest powers.” To the
   extent that Plaintiff is requesting the Department to direct the Town to stop enforcing “local laws
   voided by the State’s adoption of its 2003 and thereafter Property Maintenance Codes,” I note that (1)
   for the most part, provisions in the various editions of the Property Maintenance Code of New York
   State that have been part of the Uniform Code since 2003 are property maintenance standards and not
   standards for construction; (2) to the extent that any property maintenance standard in any local law
   adopted by the Town addresses a matter addressed by the Uniform Code, such local law is not “voided”
   – it is merely superseded to the extent, if any, that such local law is inconsistent with or in conflict with
   the Uniform Code; and (3) in any event, the Department does not have the authority to direct the Town
   to stop enforcing provisions of its local laws that may be inconsistent with or in conflict with the
   Uniform Code. To the extent that Plaintiff is requesting the Department to determine that the Town is
   not in compliance with the terms of the Partial Stipulation and/or to direct the Town to provide further
   documents or information, I note that the Department does not have the authority to make any
   determination regarding the Town’s compliance with the Partial Stipulation or to compel the Town to
   provide additional documents or information to the Department.

                                  (C) Submission of a DOS-2134-f complaint

          Mr. Costello’s letter closes with the following “If Plaintiff can assist the DOS in this process
   by making a DOS-2134-f complaint regarding Partial Stipulation matters (such form first placed on
   the DOS website on or about January 2019, after the Partial Stipulation was so ordered) or by other
   means, please let us know.”

           The “DOS-2134-f complaint” referred to in Mr. Costello’s letter can be used to file a complaint
   alleging a failure by a local government to administer and enforce the Uniform Code in compliance
   with the applicable minimum standards (see Executive Law § 381[3]) and/or a complaint alleging that
   code enforcement personnel “have materially failed to uphold duties of a code enforcement officer,
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   including but not limited to, making material errors or omissions on an inspection report” (see
   Executive Law § 376-a). Please note that for the purposes of Executive Law § 376-a, the term code
   enforcement personnel means “a code enforcement official certified pursuant to this section charged
   with enforcement of the uniform fire prevention and building code or the state energy conservation
   construction code” (see Executive Law § 376-a[1]).

           If Plaintiff believes that the Town is failing to administer and enforce the Uniform Code in
   accordance with the applicable minimum standards, or that code enforcement personnel working for
   the Town have “materially failed to uphold duties of a code enforcement officer” (within the meaning
   of Executive Law § 376-a), Plaintiff should feel free to file a complaint. However, the Department has
   no authority to investigate any alleged failure by the Town to comply with the Partial Stipulation or to
   compel the Town to comply with the Partial Stipulation, and the “DOS-2134-f complaint” cannot be
   used to instigate any such investigation.

                                                 Conclusion

           The foregoing is provided for information only, and should not be construed as legal advice,
   or as an interpretation or determination of any kind by the Department.

          The Department regrets that it is unable to provide the extensive review and interpretation that
   appears to have been requested. We hope the information that we were able to provide is helpful.

   Very truly yours,




   Joseph Ball
   Associate Attorney
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  --------------------------------------------------------------------X
  JEROME NORTON,
                                           Plaintiff,
                                                                              Docket No.: 13-cv-3520
                           - against -

  TOWN OF BROOKHAVEN, COUNTY OF
  SUFFOLK, ROBERT QUINLAN, DAVID J.
  MORAN, JENNIFER LUTZER, JUSTIN FOLBER,
  WILLIAM POWELL, and VALERIE BISCARDI,
  all individually and in their official capacity,

                                           Defendants.
  ---------------------------------------------------------------------X




                PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
               DEFENDANTS’ FRCP RULE 12(c) AND FRCP RULE 56 MOTION




                                                                LEEDS BROWN LAW, P.C.
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                                   PRELIMINARY STATEMENT

         Plaintiff Jerome Norton (“Plaintiff”) submits this memorandum of law in opposition to the

  FRCP Rule 12(c) motion to dismiss and the FRCP Rule 56 motion for summary judgment of

  Defendants Town of Brookhaven (“Town”), Robert Quinlan (“Quinlan”), David J. Moran

  (“Moran”), Jennifer Lutzer (“Lutzer”), Justin Folber (“Folber”), William Powell (“Powell”), and

  Valerie Biscardi (“Biscardi”).

                                      STATEMENT OF FACTS

         As is explained below, the majority of Plaintiff’s claims against the Town were resolved

  by the Stipulation of Partial Settlement (“Stipulation”) that was so-ordered by Judge Arthur Spatt

  on October 18, 2017. Dkt. 89. A recitation of the facts relating to the resolved claims can be found

  in Judge Spatt’s July 30, 2014 Memorandum of Decision and Order. Dkt. 43, p. 3-14. For the

  purpose of this motion, however, the relevant facts relate to the procedural history of the case, the

  negotiation of the Stipulation, and its contents.

                                          Procedural History

         On June 20, 2013, Plaintiff commenced this action against the Town, the County of Suffolk

  (“County”), Quinlan, Moran, Lutzer, Folber, Powell, and Biscardi. Dkt. 1. On October 9, 2013,

  Plaintiff filed an Amended Complaint (Dkt. 4), and on January 14, 2014, he filed a Second

  Amended Complaint. Dkt. 16.

         The Second Amended Complaint listed the following causes of action stemming from the

  wrongful issuance of fourteen criminal appearance tickets: (1) a First Amendment intimate

  association claim under § 1983; (2) a retaliation claim for a First Amendment speech/right to

  petition claim under § 1983; (3) a malicious prosecution claim under New York State Law; (4) a


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  respondeat superior liability claim for the malicious prosecution claim under New York State

  Law; (5) a substantive due process claim under § 1983; (6) an equal protection claim under § 1983;

  (7) a procedural due process claim under § 1983; (8) a Fourth Amendment claim under § 1983;

  (9) a Civil Rights claim under the New York Civil Rights Law § 8; (10) a Monell claim against

  the Town for violating the Plaintiff’s Fourth Amendment rights under § 1983; (11) a Monell claim

  against the Town for violating the Plaintiff’s First Amendment rights, and also based on

  substantive due process, equal protection, and procedural due process; (12) a claim for declaratory

  judgment and injunctive relief against the Town; (13) a claim for declaratory judgment and

  injunctive relief against the County; and (14) a claim for attorney’s fees under 42 U.S.C. § 1988.

                                  Stipulation of Partial Settlement

         Starting in November 2014, the Plaintiff and the Town Defendants engaged in extensive

  settlement discussions. Dkt. 89, p. 2. Magistrate Judge Gary Brown assisted the negotiations,

  holding six settlement conferences between December 2, 2015 and October 16, 2017. See Docket

  Report. On October 17, 2017, after nearly three years of negotiations, the parties reached

  agreement on the 32-page Stipulation. Dkt. 89.

         Pursuant to the Stipulation, the Plaintiff relinquished numerous rights. Among other things,

  he agreed to conditionally resolve all of his claims against the individually named Defendants and

  the Town, except for certain claims against the Town in the Tenth Cause of Action of the Plaintiff’s

  Third Amended Complaint, which was filed contemporaneously with the Stipulation. Dkts. 86 and

  87. He also agreed that the Town would submit to the New York Department of State (“DOS”) the

  question of whether, and to what extent, Town Code Ch. 82 is legally enforceable under New York

  State Executive Law Article 18 and/or the New York State Fire Prevention and Building Code

  (“Uniform Code”). Dkt. 89, ¶ 6, see also Dkt. 88. If the DOS made such a determination, the

                                                   2
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  Plaintiff agreed to be bound by it. Id. at 6(c). However, if the DOS chose not to make such a

  determination, then the Plaintiff would be entitled, but not required, to petition this Court for a

  declaratory ruling on the issue. Id. at 6(e).1

          The Plaintiff did not receive any monetary payments under the Stipulation. Instead, the

  Stipulation required the Town to change its laws and practices.2

          The Town also agreed that it would, “consent to and shall not oppose, by motion or

  otherwise, Plaintiffs filing and service of the proposed Third Amended Complaint, which related




  1
   On August 31, 2020, the DOS responded to the Town’s submission and chose not to make a
  determination, saying that their response was “provided for information only, and should not be
  construed as legal advice, or as an interpretation or determination of any kind by the Department.”
  Ex. D to Town Motion, p. 9.
  2
    Specifically, the Stipulation obligated the Town to: cease using its Department of Housing and
  Human Services (“DHHS”) inspectors to issue tickets or criminal charges relating to violations of
  the Uniform Code (Stipulation, ¶ 1); amend Town Code to clarify that no DHHS inspectors may
  do so (Id.); submit all proposed appearance tickets issued by DHHS inspectors to pre-approval for
  facial sufficiency (Id. at ¶ 2); prepare a standard form for the issuance and filing of accusatory
  instruments by DHHS inspectors (Id. at ¶ 2(e)); place all DHHS inspectors under the supervision
  of the Chief Town Investigator (Id. at ¶ 3); post on its own website all reports required to be filed
  with the New York Department of State pursuant to 19 N.Y.C.R.R. 1203.4(a) (Id. at ¶ 4);
  retroactively post such reports for 2013-15 on its website (Id.); cease the use of outside contractors
  to serve criminal process anywhere in Nassau or Suffolk Counties (Id. at ¶ 5); cease any
  enforcement of Town Code §§ 16-18 and 30-16 and repeal the same (Id. at ¶ 6); serve a copy of
  New York Town Law § 267-a(5) (which relates to Town Boards of Zoning Appeals) on any
  defendant charged with a zoning law violation (Id. at ¶ 9); provide a course of mandatory annual
  training to its DHHS inspectors and Town Investigators (Id. at ¶ 10); post and maintain a list of
  state-certified DHHS inspectors and Town Investigators on its website (Id. at ¶ 12); attach a copy
  of the Town’s affidavit of service to any applications for arrest warrants or criminal summonses
  (Id. at ¶ 13); promptly review, immediately cease enforcement of, and repeal any Town Code
  provisions that provide: i) for criminal violation penalties that are not in keeping with provisions
  of the New York Executive Law Article 18 and/or the Uniform Code (Id. at ¶ 32(a)); or ii) for the
  commencement or continuation of any criminal or civil actions that are inconsistent with or in
  conflict with, the requirements of New York Executive Law Article 18 and/or the Uniform Code.
  (Id. at ¶ 32(c)).

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  to the Town’s failure to properly pass its Town Code Ch. 82 under the mandates of New York

  General Municipal Law 239-m. Dkt. 89, ¶ 7(a). Further, the Town agreed that, “Plaintiff shall be

  entitled to, but is not required to, submit to the Court a motion for a declaratory judgment seeking

  a determination of the issue of the extent to which Town Code Ch. 82: constitutes a lawful exercise

  by the Town of the Town's powers pursuant to the requirements of New York General Municipal

  Law §239-m (“239-m Determination”)”. Id. at 7(c).

          Further, Town Defendants stipulated that:

          “[f]or the purposes of this matter and the Stipulation, and of any action to enforce
          this Stipulation, Plaintiff and Town Defendants consent to: a) the Court's exercise
          of subject matter jurisdiction over this matter and Stipulation…” (Id. at ¶ 34) and
          that, “[i]t is the intention of the Parties to this stipulation, and the plea of the
          aforesaid Parties to the Court, that the Court interpret as broadly as possible its
          authority to retain jurisdiction over all matters raised by the above-captioned matter
          that have not been resolved by this Stipulation.”

  Id. at ¶ 43 (emphasis added).

               Judge Brown Endorses Stipulation, including Retention of Jurisdiction

          At a hearing on October 16, 2017, the parties presented the final Stipulation to Judge

  Brown. Dkt. 90. Judge Brown said, “[t]his is a case which we’re settling a case in part by amending

  the law. You know, I think all of you know I get involved in settlements pretty deeply, I try to

  come up with every creative solution that I can think of. I’ve never done this before. So this is, this

  is cutting edge stuff...This is, it’s big.” Id. at pp. 24-25. Counsel for Town Defendants thanked

  Judge Brown for his assistance in facilitating the Stipulation, saying, “Your Honor, thank you very

  much because it truly would not have happened without all of the, without your extraordinary

  effort.” Id. at 25.

          At the October 16, 2017 hearing, the County, which was then a party, explained it was

  contemplating filing a Rule 12 motion to dismiss the Third Amended Complaint insofar as it

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  applied to them.3 The Court asked if the Town would be reserving its rights to file a motion to

  dismiss as well. The Town said it was not, and went on to say that it consented to the Court’s

  jurisdiction over the newly plead matters:

         THE COURT: All right. So I’ll note that for today’s purpose the amended
         complaint is filed on consent, and that’s so-ordered. The County, and I presume the
         Town, are you reserving your Rule 12 rights on the new complaint?

         MS. LEAHEY4: No, we’re not, Your Honor, because we are agreeing to allow this
         to be filed as part of the settlement.

         THE COURT: Fair enough. So, but the County will have 45 days to move or
         otherwise respond to that amended complaint, yes?

         MR. MITCHELL: Yes, thank you, Judge.

         MS. LEAHEY: Just to clarify, the amended complaint raises one new issue which
         is whether the Town violated general Municipal Law 239M, and that issue is one
         of the issues reserved for litigation if Mr. Norton so chooses to do so.

         THE COURT: Okay.

         MS. LEAHEY: So we would be contesting that there was a 239M violation, but
         we’ve agreed to do that in the confines of the settlement.

         THE COURT: And I presume that’s all under ancillary jurisdiction, is that the
         notion?

         MS. LEAHEY: Yes, Your Honor.

         THE COURT: Okay. Technically speaking that’s probably a question for Judge
         Spatt. But I’m going to say that to the best of my knowledge of him, which is fairly
         extensive, I can’t imagine he’s going to have a problem with that given the amount.
         How far down the road we’ve gone, right, on this case. I think we’re okay with that,
         so I don’t think there’s going to be a problem.



  3
   On March 1, 2019, the County filed a FRCP Rule 12(c) motion to dismiss the Third Amended
  Complaint. Dkt. 121. On January 21, 2020, the Court granted the County’s motion. Dkt. 132.
  4
    Anne Leahey was the Town Defendants’ counsel at the time of the October 16, 2017 hearing
  before Judge Brown. Although Ms. Leahey no longer represents any Town Defendants, her former
  law firm, Devitt Spellman Barrett, LLP, continues to serve as Town Defendants’ attorneys.
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          MS. LEAHEY: Okay.

          MR. MESSINA: Your Honor, I just want to, I don’t know if this makes a difference
          or anything, but to the extent in the agreement we opine unto the Court to, you
          know, to try to keep jurisdiction if that’s what your, you know, the intent of it is to
          hope that the Court will –

          THE COURT: Got it.

          MS. LEAHEY: Right.

          THE COURT: Got it, got it, got it. Yes, okay, that’s fine.

  Id. at 11-12.
  --

          Judge Brown issued an Order consistent with the Town’s representations at the hearing,

  setting a motion schedule for the County, but not the Town, to move to dismiss. Minute Entry for

  October 16, 2017 Proceedings: “Amended complaint will be filed on consent of all parties. The

  County defendants will have 45 days from the date of filing to move to dismiss or otherwise

  respond to the amended complaint…” The Town was not given permission to so move.

                   Judge Spatt So-Orders the Stipulation, Retaining Jurisdiction

          On October 18, 2017, two days after the hearing with Judge Brown, Judge Arthur Spatt so-

  ordered the Stipulation, including the portion relating to the retention of jurisdiction.

                                        Town’s Current Motion

          Despite all the effort that Judge Brown and the parties put into negotiating the Stipulation,

  despite its prior representations to the Court, despite its promises to the contrary in the Stipulation

  itself, and despite the fact that the retention of jurisdiction was so-ordered by Judge Spatt, the

  Town now moves to dismiss Plaintiff’s remaining claims for lack of jurisdiction under FRCP 12(c)

  and for summary judgment under FRCP 56.


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                                        LEGAL STANDARD

         The standard for addressing a Rule 12(c) motion for judgment on the pleadings is the same

  as that for a Rule 12(b)(6) motion to dismiss for failure to state a claim. Karedes v. Ackerley

  Group, Inc., 423 F.3d 107, 113 (2d Cir. 2005). In both cases, the court must “accept[] as true the

  complaint's factual allegations and draw[] all inferences in the plaintiff's favor.” Id. A complaint

  will not be dismissed on the pleadings unless it “appears beyond doubt that the plaintiff can prove

  no set of facts in support of his claim which would entitle him to relief.” Sheppard v. Beerman, 18

  F.3d 147, 150 (2d Cir. 1994) (citing Conley v. Gibson, 355 U.S. 41, 45-46, (1957)).

         The judicial standard applied in granting a Rule 56 motion for summary judgment is narrow

  because the motion must be denied if any genuine issue of fact exists. Celotex Corp. v. Catrett,

  477 U.S. 317 (1986). Granting of a motion for summary judgment is a drastic remedy which must

  be used sparingly. Gallo v. Prudential Residential Serv., 22 F. 3d 1219 (2d Cir. 1994); Egelston v.

  State Univ. College, 535 F. 2d 752 (2d Cir. 1976). It is drastic because it has res judicata effect

  and deprives the litigant of his day in court and his opportunity to cross-examine the movant and

  movant’s witnesses. Eastway Contr. Corp. v. City of N.Y., 762 F.2d 243 (2d Cir. 1985), cert.

  denied, 484 U.S. 918 (1987); Egelston, 535 F.2d at 754. If there is any doubt as to the existence of

  a material issue of fact or if one is even arguable, summary judgment must be denied. Jaroslawicz

  v. Seedman, 528 F.2d 727, 731 (2d Cir. 1975). The district court is limited in granting summary

  judgment because the court must carefully scrutinize the proofs in the light which is most favorable

  to the non-movant and accord the non-movant the full benefits of all favorable inferences. Howlett

  v. Birkdale Shipping Co., S.A., 512 U.S. 92 (1994); Waters v. Churchill, 511 U.S. 611 (1994).




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                                               ARGUMENT


   I.      The Town’s Motion is Barred by the Terms of the Stipulation and the Doctrine of
           Judicial Estoppel

           The doctrine of judicial estoppel (also known as the doctrine of preclusion of inconsistent

   positions) prevents litigants from playing “fast and loose” with the courts. In re Petition of Transrol

   Navegacao S.A., 782 F. Supp. 848, 852 (S.D.N.Y. 1991). The Supreme Court has identified three

   factors that are considered in a judicial estoppel inquiry: first, whether a party's current position is

   “clearly inconsistent with its earlier position”; second, whether a court “accept[ed] that party's

   earlier position”; and third, whether “the party seeking to assert an inconsistent position

   would derive an unfair advantage or impose an unfair detriment on the opposing party if not

   estopped.” New Hampshire v. Maine, 532 U.S. 742, 750-51 (2001) (internal quotation marks

   omitted). The doctrine is applicable when the inconsistent positions are taken in the same

   proceeding. Intellivision v. Microsoft Corp., 784 F. Supp. 2d 356, 364 (S.D.N.Y. 2011)

           All three prongs of the judicial estoppel test are met in this case. First, the Town’s position

   that the Court does not have jurisdiction is clearly inconsistent with its earlier position that the

   Court has jurisdiction. Second, the Court accepted the Town’s earlier position when it so-ordered

   the Stipulation in which the Town stated that, “Town Defendants consent to: a) the Court's exercise

   of subject matter jurisdiction over this matter” and that “[i]t is the intention of the Parties to this

   stipulation, and the plea of the aforesaid Parties to the Court, that the Court interpret as broadly as

   possible its authority to retain jurisdiction over all matters raised by the above-captioned matter

   that have not been resolved by this Stipulation.” Dkt. 89, ¶¶ 34, 43. Third, the Town’s change in

   position would give it an unfair advantage and would impose an unfair detriment on the Plaintiff.

   The Plaintiff relinquished a number of claims and rights in exchange for the Town’s acceptance

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   of the Stipulation, including its consent to the continued jurisdiction of this Court over the matters

   that “have not been resolved by this Stipulation.” Id. at ¶ 43. If the Town prevails with its changed

   position now, the Plaintiff will be forced out of the federal forum he chose into state court, where

   he may face a judge who could be more politically inclined to be sympathetic to the Town than a

   lifetime-appointed federal judge. A change in forum at this point would also impose a significant

   cost to the Plaintiff in both time and money. Discovery has commenced in this matter and a

   discovery schedule is in place. Scheduling Order, 11/17/20. Not only would the case be re-started

   in state court at square one, but much of the money and time that the Plaintiff has expended up to

   this point in federal court would be wasted. Therefore, all three of the New Hampshire

   requirements are satisfied here.

          These facts also meet the Second Circuit's requirement that allowing a change in position

   would risk inconsistent results and undermine judicial integrity. See DeRosa v. Nat’l Envelope

   Corp., 595 F.3d 99, 103 (2d Cir. 2010).

          As the Supreme Court has held, the purpose of judicial estoppel is to protect the integrity

   of the judicial process by “prohibiting parties from deliberately changing positions according to

   the exigencies of the moment.” New Hampshire, 532 U.S. at 749-50 (internal quotation marks and

   citations omitted). Allowing the Town to adopt a stance now that is materially adverse to its prior

   stance would undermine the integrity of the judicial process and the ability of courts to accept and

   rely upon the unequivocal representations of parties. Therefore, it should not be allowed.

   Moreover, the Town agreed as a condition of settlement for jurisdiction to be retained. If that

   material term is breached, then the settlement may be entirely unwound.




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   II.    The Town’s Motion is Duplicitous and in Violation of Multiple Court Orders


          A.      The Town’s Motion Violates Judge Brown’s Order

          The Town’s current motion violates Judge Brown’s October 16, 2017 Order, which gave

   the County, but not the Town, permission to move for dismissal. Minute Entry for October 16,

   2017 Proceedings.

          B.      The Town’s Motion is in Violation of Judge Spatt’s So-Ordered
                  Stipulation

          As is also set forth above, counsel for the Town executed the Stipulation consenting to the

   retention of jurisdiction and affirmed that the Town Board had authorized its signing. Dkt. 89, ¶

   33. In reliance on these representations, Judge Spatt so-ordered the Stipulation, retaining

   jurisdiction over the Plaintiff’s remaining claims. Dkt. 89.

          In other words, prior to moving for dismissal based on a lack of jurisdiction, the Town had

   contended the exact opposite – that this Court properly had jurisdiction over this matter, and that

   it should retain jurisdiction. The Town extracted concessions from the Plaintiff based on these

   representations and executed a Stipulation that was so-ordered by the Court. To now argue the

   opposite is in direct violation of the so-ordered Stipulation. The Court should not abet such a

   transgression. “[A]ll litigants…have an obligation to comply with court orders. When they flout

   that obligation they…must suffer the consequences of their actions.” McDonald v. Head Criminal

   Court Supervisor Officer, 850 F.2d 121, 124 (2d Cir. 1988).

          Additionally, the Stipulation is a consent decree. “A consent decree is essentially a

   settlement agreement subject to continued judicial policing. Consent decrees typically have two

   key attributes that make them different from private settlements. First, when a court enters a

   consent decree, it retains jurisdiction to enforce the decree. In contrast, the parties to a private

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   settlement typically must bring another suit (for breach of contract) to enforce it. Second, a consent

   decree puts ‘the power and prestige of the court behind the compromise struck by the

   parties.’” Pedreira v. Sunrise Children's Servs., 802 F.3d 865, 871 (6th Cir. 2015). Both of these

   attributes are present here: this Court expressly retained jurisdiction to enforce compliance with

   the Stipulation’s terms (Dkt. 89, ¶15), and the Court gave its imprimatur to the Stipulation.

          Regarding the interpretation of consent decrees, the Supreme Court has held:

          Consent decrees are entered into by parties to a case after careful negotiation has
          produced agreement on their precise terms. The parties waive their right to litigate
          the issues involved in the case and thus save themselves the time, expense, and
          inevitable risk of litigation. Naturally, the agreement reached normally embodies a
          compromise; in exchange for the saving of cost and elimination of risk, the parties
          each give up something they might have won had they proceeded with the litigation.
          Thus the decree itself cannot be said to have a purpose; rather the parties have
          purposes, generally opposed to each other, and the resultant decree embodies as
          much of those opposing purposes as the respective parties have the bargaining
          power and skill to achieve. For these reasons, the scope of a consent decree must
          be discerned within its four corners, and not by reference to what might satisfy the
          purposes of one of the parties to it. Because the defendant has, by the decree, waived
          his right to litigate the issues raised, a right guaranteed to him by the Due Process
          Clause, the conditions upon which he has given that waiver must be respected, and
          the instrument must be construed as it is written, and not as it might have been
          written had the plaintiff established his factual claims and legal theories in
          litigation.

   United States v. Armour & Co., 402 U.S. 673, 681-82 (1971) (internal citations omitted). See also,

   Perez v. Danbury Hosp., 347 F.3d 419, 424 (2d Cir. 2003) (“Consistent with this narrow

   construction, we have recognized that courts must abide by the express terms of a consent decree

   and may not impose supplementary obligations on the parties even to fulfill the purposes of the

   decree more effectively.”); United States v. Int'l Bhd. of Teamsters, 998 F.2d 1101, 1107 (2d Cir.

   1993) (“A court may not replace the terms of a consent decree with its own, no matter how much

   of an improvement it would make in effectuating the decree's goals.”); EEOC v. N.Y. Times Co.,

   196 F.3d 72, 78 (2d Cir. 1999) (“Although courts have equitable powers to enforce consent

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   decrees, such power exists only to ensure compliance with the decrees' terms.”)

          “The proper procedure for seeking relief from a consent decree is a Rule 60(b) motion.”

   Hook v. Ariz., Dep't of Corr., 1992 U.S. App. LEXIS 20465, at *13 (9th Cir. Sep. 1, 1992). The

   movant has not brought its motion under FRCP 60(b), and even if it did, no Rule 60(b) grounds

   exist to modify the Order.


   III.   The Town’s Motion is Actually Seeking Reconsideration of Judge Spatt’s Order

          The Town’s argument that this matter should be dismissed because the Court lacks subject

   matter jurisdiction over the state law claims comes four years too late. Judge Spatt exercised

   supplemental jurisdiction over the relevant state law claims by so-ordering the Stipulation and

   accepting the Third Amended Complaint on October 18, 2017. Dkt. 89. The Town’s motion, then,

   is in reality a motion to reconsider Judge Spatt’s 2017 Order. Under the Local Rules, a movant has

   14 days to move for reconsideration. Local Civil Rule 6.3. It cannot wait nearly four years, until

   after the Judge who made the order has passed, to move.

          Even if its motion was timely, however, there is no reason why the Court should depart

   from Judge Spatt’s decision. The state of the case when the Stipulation accepting the Third

   Amended Complaint was so-ordered is essentially the same as it is now, apart from the fact that

   the Department of State’s response has been received by the parties. The “remaining” claims now

   are the same as the “remaining” claims when the Stipulation was so-ordered. No federal claims

   have been resolved since, and the Town points to no new evidence, intervening change in

   controlling law, or clear error that would justify revisiting Judge Spatt’s Order. Further, the Town’s

   motion puts this Court in the “somewhat unusual position of being asked to reconsider the ruling

   of another judge.” Goldfarb v. Channel One Russ., 2021 U.S. Dist. LEXIS 71324, at *17 (S.D.N.Y.


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   Apr. 13, 2021). “Courts in similar positions have emphasized that they are ‘understandably

   reluctant to reopen a ruling once made, especially when one judge or court is asked to consider the

   ruling of a different judge.’” Id., (quoting Murray v. Dutcavich, 2020 U.S. Dist. LEXIS 107040

   (S.D.N.Y. June 18, 2020)).

   IV.    Remaining Claims Arise out of Same “Common Nucleus of Operative Fact” as 1983
          Claims

          The Town’s contention that “Plaintiff’s remaining claims do not arise out of ‘a common

   nucleus of operative fact’ from the Section 1983 claim that originally provided the basis for

   jurisdiction in this action” is incorrect. The Plaintiff’s 1983 claims arose from his prosecution by

   the Town for, inter alia, alleged criminal violations of Town Code § 82 Dkt. 1, ¶¶ 100, 106. § 82

   is the very chapter he now seeks review of for compliance with GML § 239-m and Town Law §

   262 requirements. Furthermore, by accepting supplemental jurisdiction over the state law claims,

   Judge Spatt in 2017 already determined that these claims arise from a common nucleus of operative

   facts. Otherwise, he would not have accepted them.


   V.     Plaintiff’s GML § 239 Claim is Timely

          The Town also alleges that the Plaintiff’s GML § 239 claim is untimely, as the time period

   to challenge compliance with the law is either four months under CPLR Article 78 or six years

   under CPLR § 213. The Town is mistaken. Plaintiff is challenging the very validity of the Town’s

   votes to adopt certain § 82 local laws due to the jurisdictional defect of failing to follow the

   mandates of GML § 239. As such, the statute of limitations does not begin to run upon the Board’s

   invalid vote. See S. Shore Audubon Soc'y, Inc. v. Bd. of Zoning Appeals, 185 A.D.2d 984, 985

   (2d Dep’t 1992) (where a jurisdictional defect is present, “[t]he Statute of Limitations does not

   preclude a challenge to the Board's jurisdiction to act.”); Nager v. Saddle Rock, 140 Misc.2d 644,

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   646 (Sup. Ct. Nassau Co. 1988) (if plaintiffs show a jurisdictional defect they “avoid the bar of the

   Statute of Limitations”); Matter of Foy v. Schechter, 1 N.Y.2d 604 (1956) (Statute of Limitations

   is not applicable where a decision is attacked for lack of power); Matter of Hampshire Mgt. Co.,

   No. 20, LLC v. Feiner, 52 A.D.3d 714, 715, (2d Dep’t 2008); Matter of Stankavich v. Duanesburg

   Planning Bd., 246 A.D.2d 891 (3d Dep’t 1998). Therefore, the GML § 239 claim is timely.

   VI.    The Court cannot Determine whether § 82 is a Zoning Law Based on the Pleadings

          In addition to seeking the dismissal of this matter on grounds of jurisdiction and timeliness,

   the Town also argues that GML § 239 is inapplicable because, “[c]ontrary to Plaintiff’s arguments,

   Chapter 82 of the Brookhaven Town Code is not a zoning law.” However, at the November 17,

   2020 conference before Magistrate Judge Anne Shields, the Court made it clear that it would only

   accept motions to dismiss, not motions for summary judgment:

          MR. OSTROVE: Your Honor, the only thing I would say is -- in response to that
          is, you know, if they’re talking about making a jurisdictional argument, that’s one
          thing.

          THE COURT: Right.

          MR. OSTROVE: But if they’re making a substantive argument, we -- you know,
          we would want to do discovery before that gets in.

          THE COURT: They are making a pure motion to dismiss, directed to the pleadings.
          Right, Mr. Kreppein?

          MR. KREPPEIN: That’s correct.

          THE COURT: Okay, and if it requires more than the pleadings, then it will be
          denied. So it’s as simple as that.

   Dkt. 147, p. 28. A ruling that § 82 is not a zoning law cannot be made on record now before the




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   Court. This question requires discovery, which Judge Shields has authorized5, and which is now

   ongoing. Therefore, not only has the Court made clear that it would not accept a Rule 56 motion

   at this time, even if such a motion was properly filed the Court cannot determine, at this point, the

   full extent to which Chapter 82 is a zoning law, as discovery has not been conducted.

   VII.   The SCPC’s Letters do not Support the Town’s Contentions

          The Town’s suggestion that the Court can rely on the determinations of the Suffolk County

   Planning Commission (“SCPC”) is incorrect for a number of reasons. First, under GML § 239-m,

   a county planning commission is referred amendments to local laws only if they are related to

   zoning. GML § 239-m; Smithtown v. Howell, 31 N.Y.2d 369, 339 (1972) (“Section 239-m

   provides for regional review of zoning changes…”) The fact that the Town referred the matters to

   the SCPC shows the Town considered them to be a zoning laws. If they weren’t, then the Town

   would have had no reason to make the referrals.

          Second, the SCPC’s letters do not prove that the three proposed laws are not zoning related.

   The letters merely state, “the above referenced application is not within the jurisdiction of the

   [SCPC].” Exhibit A to Town Motion. There is no explanation from the SCPC as to why it reached

   that conclusion, which could have been for a number of reasons other than the fact that § 82 is not

   a zoning law. Furthermore, the letters say that the SCPC reached its decision “[p]ursuant to A 14-

   14 to 23 of the Suffolk County administrative Code” and make no reference at all to GML § 239-




   5
    11/17/20 Scheduling Order issued by Judge Shields: As stated on the record during the conference
   held today, Plaintiff shall review the documents previously provided by Defendants and determine
   whether the production is sufficient and, if not, why it is insufficient. Plaintiff shall serve any new
   document requests on Defendants by February 19, 2021. Defendants shall respond to those
   document requests by April 19, 2021. Counsel for the parties shall then confer and create a
   schedule for depositions.

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   m. It is unclear on the face of the letters whether the SCPC considered the referrals in light of GML

   § 239-m at all. Id.

          Third, the laws referred to in the SCPC letters are not inclusive of the entirety of § 82 and

   its amendments. § 82 has been amended seventeen times between 2002 and 2018. Ex. 1. Only two

   of the seventeen amendments (presently the subject of discovery by Plaintiff) may relate to the

   SCPC letters. In addition, when the Town passed many of these amendments it specifically

   referred to NY Town zoning laws as providing it the authority for doing so. 56.1 Response, ¶ 3.

          Fourth, the Town itself acknowledged, when it first adopted Ch. 82, that it involved “a

   planning or zoning decision.” Ex. 2, p. 6..

          Fifth, in Nasca v. Town of Brookhaven, 2008 U.S. Dist. LEXIS 73644 (E.D.N.Y, Sep. 25,

   2008), Judge Bianco analyzed one aspect of § 82 by applying tests used in other cases dealing with

   zoning laws (i.e., Pompa Construction Corp. v. Saratoga Springs, 706 F.2d 418 (2d Cir. 1983),

   Cordi-Allen v. Conlon, 494 F.3d 245 (1st Cir. 2007), and Village of Willowbrook v. Olech, 528

   U.S. 562 (2000)). This endorses the view that this portion of § 82 is also a zoning law.

          Sixth, in People v Sieger Agency Inc., the Court found that “§85-12A6 of the Brookhaven




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    Although the Court’s decision referenced §85-12A, that is a typo. The law at issue in this case
   was one that prohibited “placement of defendant's ‘For Rent’ broker's sign on property where a
   current rental permit was not issued by the Town”. Sieger Agency Inc., 56 Misc 3d 1213(A) at *2.
   At the relevant time (July 2016), the Town law that prohibited such activity was actually §82-12,
   which stated: “It shall be unlawful and a violation of this chapter and an offense within the meaning
   of the Penal Law of the State of New York for any broker or agent to list, show or otherwise offer
   for lease, rent or sale on behalf of the owner any dwelling unit for which a current rental occupancy
   permit has not been issued by the Chief Building Inspector.” Ex. 3. § 85-12A, on the other hand,
   related to the “Issuance of Building Permits and Universal Design Permit to Build; Restrictive
   Covenants” and did not touch on the behavior that the Defendant in Sieger Agency was accused
   of. Ex. 4. Also see the Town’s Memorandum of Law, which admits that Town Code § 82
   “prohibited real estate agents from listing rental units that do not have proper permits.” Town’s
   Memorandum of Law, p. 2.
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   Town Code is a regulatory statute enacted under the zoning authority of the Town. People v. Sieger

   Agency Inc., 65 N.Y.S.3d 493, *10 (Suffolk County Dist. Ct. 2017) This shows that, at least part

   of Chapter 82 has already been judicially determined to be related to zoning.

          Seventh, there is no evidence before the Court that the referral to the SCPC was properly

   made and contained the required documents. GML § 239-m(1)(c) requires a municipality to submit

   to the local planning commission “the complete text of the proposed ordinance or local law as well

   as all existing provisions to be affected thereby”. The failure to properly refer is a jurisdictional

   defect which renders any subsequent vote null and void. Matter of Calverton Manor, LLC v.

   Riverhead, 160 A.D.3d 842, 845 (2d Dep’t 2018); Matter of Zelnick v. Small, 268 A.D.2d 527,

   529 (2d Dep’t 2000); Annabi v. City Council of Yonkers, 47 A.D.3d 856, 857 (2d Dep’t 2008);

   Matter of Ernalex Const. Realty Corp. v. Glen Cove, 256 A.D.2d 336, 338 (2d Dep’t 1998); Matter

   of Burchetta v. Town Bd. of Carmel, 167 A.D.2d 339, 341 (2d Dep’t 1990). Therefore, the Court

   cannot rule, based on the items now before it, that the Town complied with the referral

   requirements of GML § 239-m based on the letters from the SCPC, as there is no evidence before

   the Court showing that the proper documents were sent to the SCPC, and that a GML § 239-m

   ruling was made by the SCPC. Discovery must be conducted on this point before the Court can

   draw any conclusions, which is why Judge Shields ordered discovery and did not give the Town

   permission to move for summary judgment.

   VIII. Plaintiff has Standing

          Finally, the Town also argues that the Plaintiff lacks standing to bring the state law claims

   in question “because he has not alleged an injury in fact that is ‘actual or imminent’ rather than

   ‘conjectural or hypothetical.’” Town Motion, p. 12. This argument has already been raised by the

   Town and rejected by this Court. In its July 30, 2014 ruling, this Court held that, “since the Plaintiff

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   seeks declaratory relief after he has been criminally prosecuted as a result of the practices he

   challenges, his claim is ripe for adjudication.” Dkt. 43, p. 41. Therefore, the law of the case is that

   standing exists.

                                             CONCLUSION

          For the foregoing reasons, the Defendants’ motion should be denied.

   Dated: May 19, 2021

                                                          Respectfully submitted,

                                                          LEEDS BROWN LAW, P.C.

                                                          s/
                                                          Andrew Costello
                                                          Rick Ostrove




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------X
  JEROME NORTON,

                                     Plaintiff,                         REPORT AND
                                                                        RECOMMENDATION
                   -against-                                            CV 13-3520 (JMA)(AYS)

  TOWN OF BROOKHAVEN, COUNTY OF SUFFOLK,
  ROBERT QUINLAN, DAVID J. MORAN, JENNIFER
  LUTZER, JUSTIN FOLBER, WILLIAM POWELL,
  and VALERIE BISCARDI, all individually and in their
  official capacity,

                                      Defendants.
  -----------------------------------------------------------------X
  ANNE Y. SHIELDS, United States Magistrate Judge:

          Before the Court, on referral from the Honorable Joan M. Azrack, is Defendant Town of

  Brookhaven’s motion for judgment on the pleadings, pursuant to Federal Rule of Civil Procedure

  12(c), and for summary judgment, pursuant to Federal Rule of Civil Procedure 56. For the

  reasons set forth below, this Court respectfully recommends that Defendant’s motion be treated

  as a motion for judgment on the pleadings – not as one for summary judgment – and that, as

  such, the motion be denied with respect to the argument that the Court lacks subject matter

  jurisdiction over the action, but granted overall as one of the remaining claims asserted is

  deemed abandoned and the other is time-barred.

                                                  BACKGROUND

          Plaintiff, Jerome Norton (“Plaintiff” or “Norton”), commenced this action on June 20,

  2013, against the Town of Brookhaven, various officers and employees of the Town

  (collectively, the “Town”), and the County of Suffolk (the “County”), pursuant to 42 U.S.C. §

  1983, 28 U.S.C. § 2201, and New York State law. (Compl., Docket Entry (“DE”) [1].) The

  Complaint originally filed contained thirteen causes of action. (DE [1].) On October 9, 2013,

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  Plaintiff filed an Amended Complaint, (Am. Compl., DE [4]), and on January 14, 2014, he filed

  a Second Amended Complaint, omitting one of the initial individual defendants and asserting

  fourteen causes of action. (2d Am. Compl., DE [16].)

          By Order dated July 30, 2014, then-assigned District Judge Arthur D. Spatt issued a

  Memorandum of Decision and Order, determining motions to dismiss brought by the Town and

  the County, pursuant to Federal Rule of Civil Procedure 12(b)(6). (DE [43].) In that decision,

  Judge Spatt granted the County’s motion to dismiss in its entirety and granted in part and denied

  in part the Town’s motion. (Id.)

          After extensive settlement negotiations, Plaintiff and the Town entered into a Stipulation

  of Partial Settlement on October 18, 2017 (the “Stipulation”), by which Plaintiff dismissed all

  remaining claims against the Town with the exception of certain claims in the Tenth Cause of

  Action of his Third Amended Complaint, which was filed contemporaneously with the

  Stipulation. (DE [87], [89].) As part of the Stipulation, the parties agreed to submit to the New

  York Department of State (“DOS”) the question of whether, and to what extent, Chapter 82 of

  the Town Code – the relevant portion of the Town Code underlying this action – is legally

  enforceable under New York State Executive Law Article 18 and/or the New York State Fire

  Prevention and Building Code (the “Uniform Code”). (DE [89] ¶ 6.) If the DOS made such a

  determination, Plaintiff agreed to be bound by it. (Id. ¶ 6(c).) If the DOS chose not to make such

  a determination, Plaintiff would be entitled, but not required, to petition the Court for a

  declaratory ruling on the issue. (Id. ¶ 6(e).)

          Pursuant to the Stipulation, the Plaintiff did not receive any monetary payment; rather,

  the Stipulation required the Town to change its laws and practices. (Id. ¶ 1-6, 9-10, 12-13, 32.)

  The Town also agreed that it would “consent to and shall not oppose, by motion or otherwise,



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  Plaintiff’s filing and service of the proposed Third Amended Complaint,” which is the current

  operative complaint before the Court. (Id. ¶ 7(a).)

         As set forth in the Third Amended Complaint, and the July 30, 2014 decision of Judge

  Spatt, Plaintiff is a 50% owner of residential real property located at 66 Norfleet Lane in Coram,

  New York (the “Norfleet Property”), located within the Town. Plaintiff’s two brothers own the

  remaining 50% of the Norfleet Property. (3d Am. Compl. ¶¶ 22-23.) In September 2011, Plaintiff

  was issued fourteen appearance tickets (the “Appearance Tickets”) for various violations of the

  Town Code with respect to the Norfleet Property. (Id. ¶ 136.) In 2012, state court criminal

  proceedings were commenced against Plaintiff with respect to the Appearance Tickets. (Id. ¶

  199.) After protracted proceedings in state court, on April 19, 2012, all charges against Plaintiff

  were dismissed in the furtherance of justice, pursuant to Section 170.40 of the New York

  Criminal Procedure Law. (Id. ¶¶ 206-63.)

         As set forth above, Plaintiff then commenced the within action on June 20, 2013. All

  claims alleged in the Second – and now, Third – Amended Complaint were settled by the

  Stipulation dated October 18, 2017, except for two aspects of the Tenth Cause of Action for a

  declaratory judgment against the Town: (1) that the fire and safety provisions in Chapter 82 of

  the Town Code are more restrictive than the State’s Uniform Code and thus require further state

  approval prior to becoming effective (the “Uniform Code Claim”), (DE [89] ¶ 6; 3d Am. Compl.

  ¶ 413); and, (2) that Chapter 82 is a zoning ordinance that required referral to the Suffolk County

  Planning Commission (“SCPC”) for review and recommendation under Section 239-m of the

  New York General Municipal Law prior to being enacted (the “Section 239 Claim”). (DE [89] ¶

  7; Third Am. Compl. ¶ 385-402.)




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          The Town now moves for judgment on the pleadings and for summary judgment

  dismissing Plaintiff’s remaining declaratory judgment claims on the following grounds: (1) the

  Court lacks subject matter jurisdiction over the action; (2) the claims are untimely; (3) Plaintiff

  lacks standing to pursue this action; and, (4) Plaintiff’s claims fail to state a plausible cause of

  action. (Def. Mem. of Law in Supp. 1.) Plaintiff opposes the Town’s motion.

                                              DISCUSSION

  I.      The Motion to be Considered

          In its motion papers, the Town states that the within motion is brought pursuant to

  Federal Rules of Civil Procedure 12(c) and 56 – accordingly, the Town seeks to make both a

  motion to dismiss and a motion for summary judgment in one. (DE [53].) Plaintiff opposes such

  a motion on the ground that this Court only granted the Town leave to move to dismiss, not to

  move for summary judgment. (Pl. Mem. of Law in Opp’n 14-15.) The Court agrees with

  Plaintiff.

          As evidenced by the docket herein, this Court held a telephone status conference in this

  matter on November 17, 2020. During that conference, counsel for the Town advised the Court

  that the Town would be seeking to make a motion “to dismiss the case.” (DE [147] at 22.) In

  granting leave to make such a motion, the Court specifically inquired of the Town’s counsel as

  follows: “They are making a pure motion to dismiss, directed to the pleadings. Right, Mr.

  Kreppein?” (Id. at 28.) Counsel for the Town responded “[t]hat’s correct.” (Id.) The Court then

  advised the Town’s counsel that if the motion “requires more than the pleadings, then it will be

  denied. So it’s as simple as that.” 1 (Id.) As is clear from the foregoing, the Town was only



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    The Court also notes that prior counsel of record for the Town represented to then-Magistrate
  Judge Brown during the settlement conference held on October 16, 2017, that the Town was not
  reserving its “Rule 12 rights” with respect to Plaintiff’s Amended Complaint. (DE [90] at 11.)
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  afforded leave to make a motion directed to the pleadings; it was not granted leave to move for

  summary judgment. Accordingly, this Court respectfully recommends that the within motion be

  construed solely as a motion to dismiss, pursuant to Rule 12(c), and not as one for summary

  judgment.

  II.     Legal Standard

          “On a Rule 12(c) motion, ‘the court’s task is to assess the legal feasibility of the

  complaint; it is not to assess the weight of the evidence that might be offered on either side.’”

  Lively v. WAFRA Investment Advisory Group, Inc., 6 F.4th 293, 304 (2d Cir. 2021) (quoting

  Lynch v. City of New York, 952 F.3d 67, 75 (2d Cir. 2020). As such, “[t]he standard for granting

  a Rule 12(c) motion for judgment on the pleadings is identical to that of a Rule 12(b)(6) motion

  for failure to state a claim.” Patel v. Contemp. Classics of Beverly Hills, 259 F.3d 123, 126 (2d

  Cir. 2001).

          “To survive a motion to dismiss [pursuant to Rule 12(b)(6) or 12(c)], a complaint must

  contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

  face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

  U.S. 544, 570 (2007)). “Facial plausibility” is achieved when “the plaintiff pleads factual

  content that allows the court to draw the reasonable inference that the defendant is liable of the

  misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). As a general

  rule, the court is required to accept all of the factual allegations in the complaint as true and to




  Rather, the Town’s counsel at the time – which is the same firm that represents the Town herein,
  just a different attorney – stated that the Town “was agreeing to allow [the Amended Complaint]
  to be filed as part of the settlement.” (Id.)


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  draw all reasonable inferences in the plaintiff’s favor. See Ashcroft v. Iqbal, 556 U.S. 662, 678

  (2009); Town of Babylon v. Fed. Hous. Fin. Agency, 699 F.3d 221, 227 (2d Cir. 2012).

          Consistent with this Court’s recommendation that the within motion be construed solely

  as a motion for judgment on the pleadings, the Court has only considered the pleadings herein

  and not the exhibits offered as evidence by the parties in rendering the instant Report and

  Recommendation.

  III.    Subject Matter Jurisdiction

          The Town seeks to dismiss Plaintiff’s Amended Complaint on the ground that the Court

  lack subject matter jurisdiction since there are no federal claims remaining in this action. (Def.

  Mem. of Law in Supp. 4-6.) In response, Plaintiff argues that the Stipulation entered into by the

  parties explicitly stated that the Court would retain jurisdiction over this action. (Pl. Mem. of

  Law in Opp’n 10-12.)

          Paragraph 34 of the Stipulation endorsed by Judge Spatt on October 18, 2017 specifically

  states that the Plaintiff and the Town Defendants “consent to . . . the Court’s exercise of subject

  matter jurisdiction over this matter and Stipulation . . . .” (DE [89] ¶ 34.) Moreover, Paragraph

  43 of the Stipulation states that “[i]t is the intention of the Parties to this stipulation . . . that the

  Court interpret as broadly as possible its authority to retain jurisdiction over all matters raised by

  the above-captioned matter that have not been resolved by this Stipulation.” (Id. ¶ 43.) Clearly,

  the parties intended for this Court to retain jurisdiction over this action, notwithstanding the lack

  of any remaining federal claims.

          However, as the Town correctly points out, “[s]ubject matter jurisdiction can never be

  waived or forfeited.” Liu v. 88 Harborview Realty, LLC, 5 F. Supp. 3d 443, 446 (S.D.N.Y.

  2014). Nor can parties’ consent confer subject matter jurisdiction upon a court. See Woods v.



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  Roundout Valley Cent. Sch. Dist. Bd. of Educ., 466 F.3d 232, 238 (2d Cir. 2006) (“The law is

  well established that a party’s consent cannot by itself confer subject matter jurisdiction upon a

  court.”); see also Platinum-Montaur Life Scis., LLC v. Navidea Biopharmaceuticals, Inc., 943

  F.3d 613, 617 (2d Cir. 2019) (“[B]ecause it involves a court’s power to hear a case, subject

  matter jurisdiction cannot be forfeited, waived, or conferred by consent of the parties.”).

  Accordingly, even if not raised by a party, the Court must satisfy itself that subject matter

  jurisdiction exists. See Wynn v. AC Rochester, 273 F.3d 157, 157 (2d Cir. 2001).

         Here, this Court is satisfied that subject matter jurisdiction exists. While all federal claims

  were settled by the parties’ Stipulation executed in 2017, Judge Spatt had the power to – and

  clearly intended to – retain supplemental jurisdiction over the remaining claims. This is

  evidenced by his endorsement of the Stipulation, as well as the parties’ representation to then-

  Magistrate Judge Brown that they intended for Judge Spatt to retain “ancillary jurisdiction” over

  the Amended Complaint. (DE [90] at 11.) Even after Judge Spatt endorsed the parties’

  Stipulation, status reports were filed, conferences were held, and the Court continued to make

  rulings with respect to matters that arose. If Judge Spatt had not intended to retain supplemental

  jurisdiction over the remaining claims, he would have closed the case upon the endorsement of

  the Stipulation.

         The Town also challenges Plaintiff’s standing to assert the within claims for declaratory

  relief on the grounds that he has not alleged in injury in fact that is actual or imminent. (Def.

  Mem. of Law in Supp. 12.) However, as Plaintiff points out, Judge Spatt already considered and

  rejected this same argument in 2014, finding that “since Plaintiff seeks declaratory relief after he

  has been criminally prosecuted as a result of the practices he challenges, his claim is ripe for

  adjudication.” (DE [43] at 41.) Accordingly, Plaintiff’s standing has already been established.



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         Based on the foregoing, this Court finds that the Court has subject matter jurisdiction

  over the claims remaining in the Amended Complaint under the doctrine of supplemental

  jurisdiction and as such, respectfully recommends that the Town’s motion to dismiss for lack of

  subject matter jurisdiction be denied.

  IV.    The Uniform Code Claim

         Plaintiff’s Uniform Code Claim alleges that Chapter 82 of the Town Code is inconsistent

  with the State Uniform Code and should, therefore, be rendered void. (3d Am. Compl. ¶¶ 86-89,

  413.) The Town moves to dismiss this claim, asserting that “New York State expressly allows

  local jurisdictions to enact more restrictive standards for construction, but provides that more

  restrictive local laws are superseded by the Uniform Code to the extent of any inconsistency

  unless – after enacting the law – the municipality seeks and obtains approval from the State Code

  Council.” (Def. Mem of Law in Supp. 10 (citing N.Y. Exec. Law §§ 379, 389).) Plaintiff does

  not challenge this argument in his opposition; in fact, Plaintiff fails to address this claim entirely.

         “It is well-settled that the failure to oppose an argument raised in a motion to dismiss is

  deemed concession of the argument and abandonment of the claim[].” Ross v. Port Chester

  Housing Auth., No. 17-CV-4770, 2019 WL 4738941, at *7 (S.D.N.Y. Sept. 27, 2019) (collecting

  cases); see also Hanig v. Yorktwon Cent. Sch. Dist., 384 F. Supp. 2d 710, 723 (S.D.N.Y. 2005)

  (“[B]ecause Plaintiff did not address defendant’s motion to dismiss with regard to this claim, it is

  deemed abandoned and is hereby dismissed.”). Since Plaintiff failed to oppose the Town’s

  arguments for dismissal of the Uniform Code Claim, the claim should be deemed abandoned.

         Accordingly, this Court respectfully recommends that the Town’s motion to dismiss be

  granted with respect to Plaintiff’s Uniform Code Claim.




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  V.     Timeliness of the Section 239 Claim

         The Town’s next ground for dismissal is that Plaintiff’s Section 239 Claim is untimely.

  (Def. Mem. of Law in Supp. 6-7.) Plaintiff counters that because he is asserting a jurisdictional

  defect in the implementation of Chapter 82 of the Town Code, in that the Town failed to follow

  the mandates of General Municipal Law Section 239, a statute of limitations does not apply. (Pl.

  Mem. of Law in Opp’n 13-14.) The Court agrees with the Town.

         “In order to determine what limitations period governs a particular declaratory judgment

  action, the court is required to look to ‘the substance of [the] action to identify the relationship

  out of which the claim arises and the relief sought.’” P & N Tiffany Props., Inc. v. Vill. of

  Tuckahoe, 33 A.D.3d 61, 63 (2d Dep’t 2006) (quoting Solnick v. Whalen, 49 N.Y.2d 224, 229

  (1980)) (alteration in original). “If the dispute can be, or could have been, resolved through a

  form of action or proceeding for which a specific statute of limitations is furnished by statute,

  then that limitations period will govern the action, regardless of the form in which it is

  presented.” P & N Tiffany Props., 33 A.D.3d at 63 (citing Solnick, 49 N.Y.2d at 229-30). If not,

  “the six-year ‘catch-all’ provision of CPLR 213(1) will apply.” P & N Tiffany Props., 33 A.D.3d

  at 63 (citing American Ind. Paper Mills Supply Co., Inc. v. County of Westchester, 16 A.D.3d

  443 (2005)).

         Typically, a CPLR article 78 proceeding, which is subject to a four-month statute of

  limitations, is “not available to challenge a legislative act such as a zoning ordinance.” P & N

  Tiffany Props., 33 A.D.3d at 64 (citing Matter of Save the Pine Bush v. City of Albany, 70

  N.Y.2d 193, 202 (1987)). However, “when the challenge is directed not at the substance of the

  ordinance but at the procedures followed in its enactment, it is maintainable in an article 78

  proceeding.” Matter of Save the Pine Bush, 70 N.Y.2d at 202. Put another way, if an action is



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   addressed to the substance of a zoning law or its constitutionality, a declaratory judgment action

   is the proper procedural vehicle; “issues that arise from the procedures by which the law was

   enacted . . . may be raised in a CPLR article 78 proceeding.” P & N Tiffany Props., 33 A.D.3d at

   64 (citing Matter of Llana v. Town of Pittstown, 234 A.D.2d 881, 883-84 (1996)).

           Notwithstanding the foregoing, Plaintiff argues that because he is alleging a jurisdictional

   defect in the enactment of Chapter 82, in that the Town failed to comply with the mandates of

   Section 239, there is no statute of limitations with respect to his claim. (Pl. Mem. of Law in

   Opp’n 13-14.) Indeed, there are cases that appear to support Plaintiff’s position. See, e.g., South

   Shore Audubon Soc’y, Inc. v. Bd. of Zoning Appeals, 185 A.D.2d 984, 985 (2d Dep’t 1992)

   (finding that a failure to comply with Section 239 in enacting a zoning law constituted a

   “jurisdictional defect” for which “[t]he Statute of Limitations does not preclude a challenge to

   the Board’s jurisdiction to act”); Home Depot USA, Inc. v. Baum, 226 A.D.2d 725, 726 (2d

   Dep’t 1996) (holding that an ordinance improperly enacted is “ultra vires and the Statute of

   Limitations would not preclude a challenge to the Board’s jurisdiction with respect to that act”);

   Nager v. Inc. Vill. of Saddle Rock, 140 Misc. 2d 644, 646 (Sup. Ct. 1988) (stating that “a

   jurisdictional defect renders [Board] approval void and tolls the Statute of Limitations”).

           However, another line of cases supports the Town’s position, holding that even where a

   jurisdictional defect is alleged, as Plaintiff herein does, the claim is subject to a statute of

   limitations, whether it be four months or six years. See, e.g., P & N Tiffany Props., 33 A.D.3d at

   65-66 (holding that the challenge to a local law’s enactment is subject to a four-month statute of

   limitations); Smith v. Plattekill, 13 A.D.3d 695, 697 (3d Dep’t 2004) (holding that a Town

   Board’s failure to comply with Section 239 is a jurisdictional defect and that “a challenge based

   on that defect would be subject to the statute of limitations”); McCarthy v. Zoning Bd. of



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   Appeals, 283 A.D.2d 857, 857-58 (3d Dep’t 2001) (finding that petitioner’s challenge “directed

   at the procedures followed in . . . enactment” of a local law was subject to the four-month statute

   of limitations for an article 78 proceeding); Stankavich v. Town of Duanesburg Planning Bd.,

   246 A.D.2d 891, 892 (3d Dep’t 1998) (stating that “it does not necessarily follow . . . that the

   Statute of Limitations defense is negated in light of [an] apparent jurisdictional defect” and

   finding that a failure to comply with Section 239 claim is subject to a four-month statute of

   limitations); Janiak v. Town of Greenville, 203 A.D.2d 329, 331 (2d Dep’t 1994) (holding that a

   challenge to the enactment of a local law is subject to the six-year statute of limitations).

          The New York Court of Appeals has yet to speak to this apparent split within the

   departments of the Appellate Division. In this Court’s view, however, the line of cases finding

   that claims such as Plaintiff’s are subject to a statute of limitations is of more sound reasoning.

   The purpose of statutes of limitations is to “allow[] potential defendants predictability and

   ultimate repose.” Veltri v. Building Servs. 32B-J Pension Fund, 393 F.3d 318, 326 (2d Cir.

   2004). Exempting certain claims from such limitations would expose defendants, such as the

   Town herein, to endless litigation and expense.

          Moreover, while Plaintiff cites to Nager v. Inc. Vill. of Saddle Rock, 140 Misc. 2d 644

   (Sup. Ct. 1988), for the proposition that where plaintiffs “show a jurisdictional defect,” they

   “avoid the bar of the Statute of Limitations,” (Pl. Mem. of Law in Opp’n 13-14), Plaintiff

   appears to overlook more recent case law from the Appellate Division, Second Department,

   wherein the Court states that “it is a jurisdictional defect itself which renders agency action void

   and tolls the statute of limitations, not merely an allegation of such a defect.” Hampshire Mgmt.

   Co. v. Feiner, 52 A.D.3d 714, 715 (2d Dep’t 2008) (emphasis added).

          In the within action, the Town enacted Chapter 82, entitled Neighborhood Preservation,



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   in 1999, with an effective date of December 10, 1999. See Brookhaven Town Code § 82.

   Plaintiff commenced this action on June 20, 2013, more than thirteen years after Chapter 82 was

   enacted. (DE [1].) Whether the four-month statute of limitations applicable to an article 78

   proceeding is applied, or the six-year “catch-all” limitations period, under either statute,

   Plaintiff’s action is untimely. Accordingly, this Court respectfully recommends that Defendant’s

   motion to dismiss the remaining declaratory judgment claim contained in the Third Amended

   Complaint be granted on the grounds that this action is untimely.

   VI.    Leave to Replead

          While Plaintiff has not sought leave to replead his claims, the Court finds that, in any

   event, the right to replead should be denied. Although “it is the usual practice upon granting a

   motion to dismiss to allow leave to replead,” Cruz v. TD Bank, N.A., 742 F.3d 520, 523 (2d Cir.

   2013), doing so here would be futile as Plaintiff’s remaining declaratory judgment claim is time-

   barred. No amount of repleading will alter that outcome. Accordingly, this Court respectfully

   recommends that Plaintiff’s Third Amended Complaint be dismissed without leave to replead.

                                         RECOMMENDATION

          For the foregoing reasons, this Court respectfully recommends that Defendant’s motion

   to dismiss be denied with respect to the argument that the Court lacks subject matter jurisdiction

   over the action, but granted overall as one of the remaining claims asserted is deemed abandoned

   and the other is time-barred. Accordingly, the only claims remaining in the Third Amended

   Complaint should be dismissed, without leave to replead.

                                              OBJECTIONS

          A copy of this Report and Recommendation is being provided to all counsel via ECF. Any

   written objections to this Report and Recommendation must be filed with the Clerk of the Court



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   within fourteen (14) days of filing of this report. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a),

   72(b). Any requests for an extension of time for filing objections must be directed to the District

   Judge assigned to this action prior to the expiration of the fourteen (14) day period for filing

   objections. Failure to file objections within fourteen (14) days will preclude further review of

   this report and recommendation either by the District Court or Court of Appeals. Thomas v. Arn,

   474 U.S. 140, 145 (1985) (“[A] party shall file objections with the district court or else waive

   right to appeal.”); Caidor v. Onondaga Cnty., 517 F.3d 601, 604 (2d Cir. 2008) (“[F]ailure to

   object timely to a magistrate’s report operates as a waiver of any further judicial review of the

   magistrate’s decision”).



   SO ORDERED:

   Dated: Central Islip, New York
          January 27, 2022                                       /s/     Anne. Y. Shields
                                                                 ANNE Y. SHIELDS
                                                                 United States Magistrate Judge




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------X   For Online Publication Only
  JEROME NORTON,

                                     Plaintiff,
                                                                   MEMORANDUM AND ORDER
                   -against-                                       13-CV-3520 (JMA) (AYS)

  TOWN OF BROOKHAVEN, COUNTY OF
  SUFFOLK, ROBERT QUINLAN, DAVID J.
  MORAN, JENNIFER LUTZER, JUSTIN
  FOLBER, WILLIAM POWELL, and VALERIE
  BISCARDI, all individually and in their official
  capacity,

                                   Defendants.
  -------------------------------------------------------------X
  AZRACK, United States District Judge:

          Plaintiff, Jerome Norton (“Plaintiff”), commenced this action on June 20, 2013, against the

  Town of Brookhaven and various officers and employees of the Town (collectively, the “Town”)

  pursuant to 42 U.S.C. § 1983, 28 U.S.C. § 2201, and New York State law. (Compl., ECF No. 1.)

  After extensive settlement negotiations, all claims alleged in the Third Amended Complaint were

  settled by the stipulation dated October 18, 2017, except for two aspects of the Tenth Cause of

  Action for a declaratory judgment against the Town: (1) that the fire and safety provisions in

  Chapter 82 of the Town Code are more restrictive than the State’s Uniform Code and thus require

  further state approval prior to becoming effective (the “Uniform Code Claim”); and (2) that

  Chapter 82 is a zoning ordinance that required referral to the Suffolk County Planning Commission

  (“SCPC”) for review and recommendation under Section 239-m of the New York General

  Municipal Law prior to being enacted (the “Section 239 Claim”).

          On June 2, 2021, the Town moved for judgment on the pleadings and for summary

  judgment to dismiss Plaintiff’s remaining declaratory judgment claims. (ECF No. 153.) On

  October 22, 2021, the Court referred the motion to Magistrate Judge Anne Y. Shields for a Report


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  and Recommendation (“R&R”). (Electronic Order, 10/22/2021.) Judge Shields issued an R&R

  dated January 27, 2022, which recommends that Town’s motion be treated as a motion for

  judgment on the pleadings – not as one for summary judgment – and that, as such, the motion be

  denied with respect to the argument that the Court lacks subject matter jurisdiction over the action,

  but granted overall because (1) the Uniform Code Claim is deemed abandoned; and (2) the Section

  239-m claim is time-barred. (ECF No. 156.)

          Plaintiff filed timely objections to the R&R, to which Defendant filed a response in

  opposition. (ECF Nos. 158, 159.) After conducting a review of the full record (including the

  motion papers, R&R, and objections,) and applicable law, the Court adopts Judge Shields’s R&R

  in its entirety as the opinion of the Court.

          In reviewing a magistrate judge’s report and recommendation, a court must “make

  a de novo determination of those portions of the report or . . . recommendations to which

  objection[s] [are] made.” 28 U.S.C. § 636(b)(1)(C); -
                                                      see also -
                                                        - ---  Brown
                                                                 - - - -v.
                                                                        - -Ebert,
                                                                            - - - No. 5-CV-5579,

  2006 WL 3851152, at *2 (S.D.N.Y. Dec. 29, 2006). The Court “may accept, reject, or modify, in

  whole or in part, the findings or recommendations made by the magistrate judge.” 28 U.S.C. §

  636(b)(1)(C). Those portions of a report and recommendation to which there is no specific

  reasoned objection are reviewed for clear error. See Pall Corp. v. Entegris, Inc., 249 F.R.D. 48,

  51 (E.D.N.Y. 2008).

          The Court finds no clear error in the portions of Judge Shields’s R&R to which there are

  no specific objections. In particular, Judge Shields recommended the Town’s motion be treated

  as a motion for judgment on the pleadings and that the motion be denied with respect to the

  argument that the Court lacks subject matter jurisdiction over the action. Applying clear error

  review, the Court adopts Judge Shields’s recommendations on these issues.




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         I next address the portions of the R&R to which the parties have objected. For the

  objections, I have undertaken a -
                                  de-novo
                                      - - review of the record, the R&R, the objections, and the

  opposition. For the reasons stated below, the Court denies those objections and adopts the R&R.

         First, Plaintiff argues that his Section 239-m claim is not time-barred. Judge Shields

  already addressed Plaintiff’s arguments regarding the statute of limitations. The Court agrees with

  Judge Shields’s well-reasoned analysis of this issue. Plaintiff also argues that the Town is estopped

  from arguing that this claim is barred by the statute of limitations because the stipulation entered

  into by the parties states that: “Plaintiff shall be entitled to, but is not required to, submit to the

  Court a motion for a declaratory judgment seeking a determination of the issue of the extent to

  which Town Code Ch. 82: constitutes a lawful exercise by the Town of the Town’s powers

  pursuant to the requirements of New York General Municipal Law §239-m.” (Stipulation at ¶

  7(c), ECF No. 89.) While the stipulation allows Plaintiff to bring a motion for a declaratory

  judgment regarding this claim, it does not limit, in any fashion, the defenses or arguments that the

  Town could make. Accordingly, the Court finds that the Town was not estopped from raising its

  argument regarding the statute of limitations. Finally, with respect to Plaintiff’s argument that he

  should be allowed to challenge certain portions of Chapter 82 that were amended after its

  enactment in 1999 because they are not time-barred, the Court finds this argument is without merit.

  The portions of the code that Plaintiff challenged in his third amended complaint were enacted in

  1999. To the extent, Plaintiff attempts to add new allegations regarding other portions of the code,

  the Court declines to consider them.

         Second, with respect to the Uniform Code claim, Plaintiff admits that he did not challenge

  the Town’s argument as to this claim in his opposition. (Pl. Obj. at 22.) Accordingly, the Court




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  agrees that this claim is abandoned. To the extent, Plaintiff alleges an estoppel argument regarding

  this claim, it also fails.

          Based on the foregoing, the Court adopts Judge Shields’s R&R in its entirety as the

  opinion of this Court. Accordingly, the Court grants Defendant s motion for judgment on the

  pleadings. The Clerk of the Court is directed to close this case.

  SO ORDERED.

  Dated: March 31, 2022
         Central Islip, New York

                                                               /s/ (JMA)
                                                       JOAN M. AZRACK
                                                       UNITED STATES DISTRICT JUDGE




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                                                        A267

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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------X
 JEROME NORTON,
                                                                        13-cv-3520
                                    Plaintiff,

                  -against-                                             PLAINTIFF’S RESPONSE TO
                                                                        DEFENDANTS’ LOCAL RULE 56.1
 TOWN OF BROOKHAVEN, COUNTY OF SUFFOLK,                                 STATEMENT
 ROBERT QUINLAN, DAVID J. MORAN, JENNIFER
 LUTZER, JUSTIN FOLBER, WILLIAM POWELL,
 VALERIE BASCARDI,

                                     Defendants.
 -------------------------------------------------------------------X

         Plaintiff, JEROME NORTON, submits the following Counterstatement of Material Facts in

 response to the Rule 56.1 Statement of Defendant Town of Brookhaven (“Town”), Robert Quinlan, David

 J. Moran, Jennifer Lutzer, Justin Folber, William Powell, and Valerie Biscardi:



     1. All claims against the individually-named Defendants have been and/or should be discontinued

 pursuant to the 2017 Stipulation of Settlement. (Exhibit “B,” Docket Entry 89).

         Plaintiff’s Response: Disputed. The so-ordered Stipulation of Partial Settlement (“Stipulation”)

 states that claims against the individually-named Defendants were discontinued, “except to the extent any

 Claim(s) are otherwise provided for herein and/or concern allegation(s) that any herein Individual

 Defendant(s) have, and/or that the Town has, violated any obligations created by the Stipulation.” Dkt. 89,

 ¶ 19. Furthermore, the Town apparently believes the individually-named Defendants are still parties, as

 they are listed as submitting the Rule 56.1 Statement. Defendants’ Rule 56.1 Statement, p. 1.




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     2. The only remaining claim in this action is Plaintiff’s 10th Cause of Action, for declaratory relief,

 as limited by the 2017 Stipulation of Settlement. Id.

        Plaintiff’s Response: Undisputed to the extent that the only currently active cause of action is

 number ten. However, cause of action number ten encompasses multiple claims, including that Town

 Code § 82:

        a) is invalid under NY Executive Law Article 18 and/or the NY State Fire Prevention and

              Building Code (see, e.g., Dkt. 87 ¶¶ 85-86, 89, 398-402);

        b) is legally void under Stipulation ¶ 32 (Dkt. 89);

        c) is legally void under NY GML § 239-m because the Town did not comply with NY General

              Municipal Law § 239-m requirements relative to § 82 (see, e.g., Dkt. 87 ¶¶ 142, 387 and 402);

        d) is legally void under NY Town Law § 262 because it violates § 262’s uniformity requirements

              by discriminating between owner-occupied dwelling units and rental dwelling units (see, e.g.,

              Dkt. 87 ¶¶ 142, 392-97, 402). Plaintiff’s § 262 claim is not contested by the Town via this

              motion, and Judge Spatt in 2014 rejected Town Defendants’ prior motion to dismiss this claim.

              Dkt. 43, p. 41-43.

 Further, Plaintiff retains the right, under the Stipulation, to bring and/or revive certain causes of action.

 Under Stipulation ¶ 6, if the New York Department of State (“DOS”) does not issue a Uniform Code

 Interpretation1, then the Plaintiff is entitled, but not required, to submit a motion to this Court for a

 declaratory judgment on the issue of whether Town Code Ch. 82 is legally enforceable under New York

 Executive Law and /or the New York State Fire Prevention and Building Code.




 1
   The letter from the DOS states that it is “provided for information only, and should not be construed as
 legal advice, or as an interpretation or determination of any kind by the Department. The Department
 regrets that it is unable to provide the extensive review and interpretation that appears to have been
 requested.” Ex. D to Town Motion, p. 9 (emphasis added).

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    3.   By letter dated October 26, 1999, the County of Suffolk Department of Planning found that the

 Application of the Town Board to establish Chapter 82 of the Town Code, with a public hearing then-

 scheduled for November 16, 1999, was “not within the jurisdiction of the Suffolk County Planning

 Commission.” (Exhibit “A,” 10/26/1999 Letter from Suffolk County Department of Planning.)

         Plaintiff’s Response: Disputed in that, while the October 26, 1999 letter is accurately quoted, it

 does not follow that this letter establishes that the Town’s Town Board made a proper GML § 239-m

 referral to the Suffolk County Planning Commission (“SCPC”) on § 82, or that the Town adopted its 1999

 § 82 in conformance with the requirements of GML § 239-m. The letter states that the Town referred the

 matter to the SCPC “[p]ursuant to Sections A14-14 to 23 of the Suffolk County Administrative Code”.

 Exhibit A to Defendants’ Motion. This does not establish that the local law draft was referred pursuant to

 GML § 239-m. (It is also of relevance that the Town has failed to provide the Court with Sections A14-14

 to 23 of the Suffolk County Administrative Code as they existed at the time.) Further, the SCPC’s

 statement that the referred law was “not within the [SCPC’s] jurisdiction” does not prove that the SCPC

 believed that the law was unrelated to zoning. There are a myriad of reasons why the SCPC could have

 made this determination that have nothing to do with whether the law is zoning related or not.

 Furthermore, the letter only refers to a certain portion of § 82 that was adopted in 1999, and not any of its

 numerous subsequent amendments (i.e., local laws 22 of 2002, 18 of 2003, 27 of 2007, 7 of 2009, 41 of

 2010, 2 of 2012, 20 of 2012, 19 of 2013, 33 of 2013, 37 of 2013, 14 of 2014, 19 of 2015, 22 of 2015, 16

 of 2017, 17 of 2018, 18 of 2018, and 22 of 2018). Ex. 1.

         There are also other reasons why § 82 should be considered a zoning law. For example:

    a) The Town itself acknowledged, when it first adopted Ch. 82, that it involved “a planning or zoning

         decision” Ex. 2, p. 16.

    b) In Nasca v. Town of Brookhaven, 2008 U.S. Dist. LEXIS 73644 (E.D.N.Y, Sep. 25, 2008), Judge

         Bianco analyzed one aspect of § 82 by applying tests used in other cases dealing with zoning laws


                                                      3
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        (i.e., Pompa Construction Corp. v. Saratoga Springs, 706 F.2d 418 (2d Cir. 1983), Cordi-Allen v.

        Conlon, 494 F.3d 245 (1st Cir. 2007), and Village of Willowbrook v. Olech, 528 U.S. 562 (2000)).

     c) A New York Court has already found one section of Chapter 82 is a zoning law. People v. Sieger

        Agency Inc., 56 Misc. 3d 1213(A), 65 N.Y.S.3d 493 (Suffolk County Dist. Ct., 2017).

     d) When the Town passed the following amendments to Ch. 82, it specifically referred to the

        following laws, each of which is contained in Town Law Article 16, entitled “Zoning and

        Planning”:

                x      Local law 7 of 2009 (Ex. 1, p. 16) expressly cites to NY Town Law § 2682;

                x      Local law 2 of 2012 (Id. at 48) expressly cites to NY Town Law § 265;

                x      Local law 19 of 2013 (Id. at 54) expressly cites to NY Town Law § 268;

                x      Local law 14 of 2014 (Id. at 73) expressly cites to NY Town Law § 265;

                x      Local law 22 of 2015 (Id. at 84) expressly cites to NY Town Law §§ 264 and 265;

                x      Local law 16 of 2017 (Id. at 90) expressly cites to NY Town Law §§ 264 and 265;

                x      Local law 22 of 2018 (Id. at 111) expressly cites to NY Town Law §265;

 For a more detailed analysis of the above, see Plaintiff’s Memorandum in Opposition, pp.15-17.



     4. Chapter 82 of the Brookhaven Town Code, entitled “Neighborhood Preservation,” was enacted by

 the Town Board of the Town of Brookhaven on December 7, 1999, effective December 10, 1999, by the

 passage of Local Law 12-1999.


 2
   The Town Memo. p. 9 claim that “[w]hen Chapter 82 and Chapter 85 (the Town’s Zoning Law) were
 both amended in 2009, the [SCPC] received copies of [Introductory Local Law # 12 of 2009], but only
 exercised jurisdiction over the Chapter 85 amendment and issued a letter indicating that it was a matter of
 local determination” is puzzling not only because no copy of the “proposed local law” is before this court
 but because “Section 9. Authority [of the Town’s 7 of 2009 law (the only Town Code § 82 amendment
 passed by the Town in 2009 (Ex. _)) expressly says t]he Town Board is vested with the authority to make
 these amendments by local law pursuant to Town Law §§ 64, 130 and 268 and Municipal Home Rule
 Law § 10 and in accordance with Municipal Home Rule Law § 20” (emphasis added).
                                                     4
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        Plaintiff’s Response: Disputed. While a version of the Brookhaven Town Code, entitled

 “Neighborhood Preservation,” was first enacted on December 7, 1999 by the passage of Local Law 12-

 1999, this version has been extensively amended by the Town’s passage of local law 22 of 2002, 18 of

 2003, 27 of 2007, 7 of 2009, 41 of 2010, 2 of 2012, 20 of 2012, 19 of 2013, 33 of 2013, 37 of 2013, 14 of

 2014, 19 of 2015, 22 of 2015, 16 of 2017, 17 of 2018, 18 of 2018, and 22 of 2018. Ex. 1.



        Dated: May 19, 2021

                                                            Respectfully submitted,

                                                            LEEDS BROWN LAW, P.C.

                                                            s/
                                                            Andrew Costello
                                                            Rick Ostrove




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                                                      A272

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    UNITED STATES DISTRICT COURT                             Docket No.: 13-cv-3520-JMA-AYS
    EASTERN DISTRICT OF NEW YORK
    ----------------------------------------------------X
    JEROME NORTON,

                              Plaintiff,                         RULE 56.1 STATEMENT

                    -against-

    TOWN OF BROOKHAVEN, COUNTY OF
    SUFFOLK, ROBERT QUINLAN, DAVID J.
    MORAN, JENNIFER LUTZER, JUSTIN
    FOLBER, WILLIAM POWELL, VALERIE
    BISCARDI,

                               Defendants.
    ----------------------------------------------------X

           Defendants TOWN OF BROOKHAVEN, ROBERT QUINLAN, DAVID J. MORAN,

   JENNIFER LUTZER, JUSTIN FOLBER, WILLIAM POWELL, and VALERIE BISCARDI, by

   their undersigned counsel, pursuant to Local Rule 56.1, as and for a statement of uncontested

   material facts, state as follows:


           1.       All claims against the individually-named Defendants have been and/or should be

   discontinued pursuant to the 2017 Stipulation of Settlement. (Exhibit “B,” Docket Entry 89).

           2.       The only remaining claim in this action is Plaintiff’s 10th Cause of Action, for

   declaratory relief, as limited by the 2017 Stipulation of Settlement. -Id.

           3.       By letter dated October 26, 1999, the County of Suffolk Department of Planning

   found that the Application of the Town Board to establish Chapter 82 of the Town Code, with a

   public hearing then-scheduled for November 16, 1999, was “not within the jurisdiction of the

   Suffolk County Planning Commission.” (Exhibit “A,” 10/26/1999 Letter from Suffolk County

   Department of Planning).
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          4.     Chapter 82 of the Brookhaven Town Code, entitled “Neighborhood Preservation,”

   was enacted by the Town Board of the Town of Brookhaven on December 7, 1999, effective

   December 10, 1999, by the passage of Local Law 12-1999.



   Dated: February 19, 2021                        Respectfully submitted,

                                                   DEVITT SPELLMAN BARRETT, LLP

                                                   /s/ Scott Kreppein
                                                   ____________________________
                                                   By: Scott J. Kreppein
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                                                   A274

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                                       COUNlY OF SUFFOLK




                                                ROBERT J. GAffNEY
                                           SUFFOLK COUN'TY EXEClmVE

     DEPARTMENT OF PLANNING                                                              DIRECTOR OF PLANNING




                                               October 26, 1999


        Town Clerk
        Town of Brookhaven

                                     Re:     Application of the Town Board to establish a new Chapter
                                             82 to the Code of Ordinances of the Town of Brookhaven
                                             (public hearing: 11 /16/99).
        Gentlemen:

               Pursuant to Sections A 14-14 to 23 of the Suffolk County Administrative Code, the above
        referenced application is not within the jurisdiction of the Suffolk County Planning Commission.

                                                                     Very truly yours,

                                                                     Stephen M. Jones
                                                                     Director of Planning


                                                                 S/s Gerald G. Newman
                                                                     Chief Planner

        GGN:cc




LOCATION                                             MAfLING ADDRESS
H. LEE DENNISON BLOG. · 4TH FLOOR                     P,O.BOX6100                                        (5 l 61 853·5 190
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            ,·..•
Town of
Brookhaven                                                                                     Noyember 4, 2002
Office oftheTown Clerk

Stanley Allan -Town Clerk & Registrar
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J11Y- Short • S.-wy to Town Clelk




Gmera/ Code Publishing Corp.
72 Hinchey Road
Rochester, New York 14624

Re:        LOCAL LA. W #22 OF THE Y.EAR 2002
           AMENDING CHAPTER 82 ''NEIGHBORHOOD PRESERYA.TION"

Dear Sirs:

       Anne:«d hereto pleasefind copy ofthe above-mentioned Local Law, which was adopted at the October 15, 2002
Brookhaven Town Board meeting. Having been filed with the Secretary ofState, this Local Law became effective
October 21. 2002.
                                                                                               Sincerely,


                                                                                               ~f/lJ',tt
                                                                                               TOWNCLERK
SA:jslenc.
cc:     Supervisor John Jay La Valle
        TownCouna1
        Hon. Glenn Murphy, Deputy Supervisor
        George Hoffman, ChiefofStaff
        Edward Morris, Deputy ChiefofStaff
        Karen M. Wilutis, Town Attorney
        Harold Steuerwald, 9hiefDeputy Town Attorney
        J. Piscitello, Prin. Law Ass't, Dist. Court ofSC
        Clerk ofthe Sixth District Court
        Joyce Fordham, Law Department
        Daniel Gulizio, Commissioner ofP.E.D.
        Brenda Prusinowsk,: ChiefDeputy Commissioner - PED
        Linda Petersen, Deputy Commissioner ofP.E.D.
        Vincent Dragone, ChiefBuilding Inspector
        Joseph Sanzano, Planning
        Planning Board/ Environmental Protection!ZBA
        SC Planning Commission
                                    Town Hin    •   Patchogue. Long Island, NewYoltt 11772 •   (6311654-7827

                                                              www.broollhaven.o,g
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                                               COUNTY OF SUFFOL K




                                                           ROBERTJ . GAFFNEY
                                                     SUFFOLK COUNlY EXEClJTIVE

    DEPARTMENT OF PLANNING




                                                                        July 14, 2003


        Town Clerk
        Town of Brookhaven
                                             Re:       Proposed amendments to Chapter 82 ofthe Code of
                                                       Ordinances of the Town of Brookhaven (public hearing:
                                                       7/22/03).
        Gentlemen:

               Pursuant to Sections A 14-14 to 23 of the Suffolk County Administrat ive Code, the above
        referenced application is not within the jurisdiction of the Suffolk County Planning Commission.

                                                                                   Very truly yours,


                                                                                  Thomas Isles
                                                                                  Director of Planning


                                                                              Sis Gerald G. Newman
                                                                                  Chief Planner

         GGN:cc
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                  Town of Brookhaven
                     Long Island

Pamela). Bethell, Town Clerk & Re gistrar

                                                                                    December 17, 2007




General Code Publishing Corp.
72 Hinchey Road
Rochester, New York 14624

Re:    LOCAL LAW #27 OF THE YEAR 2007
       AMENDING CHAPTER 82 "NEIGHBORHOOD PRESERVATION" §82-4 ENTITLED
       "RENTAL OCCUPANCY REGISTRATION REQUIRED" OF THE TOWN CODE OF THE
       TOWN OF BROOKHAVEN

Dear Sirs:

        Attached please find a copy of the above-mentioned Local Law, which was adopted at the December 4,
2007 Brookhaven Town Board meeting. Having been filed with the Secretary of State, this Local Law became
effective December 10, 2007.

                                                                                   Sincerely,


                                                                                         f,/~~
                                                                                   PAMELA J. BETHEIL
                                                                                   TOWN CLERK
PJB:kb:Enc.
cc:   Supervisor Brian X. Foley                        Arthur Gerhauser, Chief Building Inspector
      Members of the Town Board                       John Weis, Zoning Inspector, - Bldg.
      Robert F. Quinlan, Town Attorney                 SC Planning Commission
      James M. Burke, Deputy Town Attorney             Steven Miller, Prin. Law Asst., Dist. Court of SC
      Eileen Munn, Executive Assistant, Law           Clerk of the Sixth District
      Kim G. Brandeau, Commissioner of Finance
      Beth Ann Reilly, Asst. Town Attorney
      Joseph Sauerwein, Commissioner Bldg. & Fire Prev.
      Kathleen Meade, Dep. Commissioner Bldg. & Fire Prev.

                                             Office of the Town Clerk
             One l11depc ndence Hill• Farmin~ille • NY 11738 • Phone (fi31) 451 -9101 • Fax (fi'.ll ) 4:il-9264
                                                www.brookhavcn.org
                   Case 22-1015, Document 36, 09/16/2022, 3383928, Page281 of 286
                                                              A278

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                      Town of Brookhaven
                         Lon g Island

  Pamela J. Bethei l,      Town Clerk &   Registrar

                                                                                          March 26, 2009




 Deputy Supervisor (Acting Supervisor) Lori Bladassare
 Council man Steve Fiore-Rosenfeld
 Council woman Jane Bonner
 Council woman Kathleen A. Walsh
 Council woman Constance M . Kepert
 Councilman Timothy P. Mazzei
 Council man Keith Romaine

 Re:     INTRO DUCTO RY LOCAL LAW# 12 OF 2009
         AMEND ING THE "PENA LTIES FOR OFFEN SES" SECTIO NS CONTA
                                                                      INED WITHI N EACH
         OF THE FOLLO WING CHAPT ERS; CHAPT ER 45 ENTITL ED "SANIT
                                                                      ATION ", CHAPT ER 48
         ENTITL ED "GRAF FITI AND DEFAC EMENT OJ' PROPE RTY", CHAPT
                                                                       ER 49 ENTITL ED
         "PROP ERY MAINT ENANC E", CHAPT ER 70 ENTITL ED "TREE PRESE
                                                                       RVATI ON",
         CHAPT ER 71 ENTITL ED "TRESP ASSING ", CHAPT ER 82 ENTITL
                                                                   ED "NEIGH BORHO OD
         PRESE RVATI ON", AND CHAPT ER 85 ENTITL ED "ZONIN G"

Dear Mr. Supervisor and Members of the Town Board:

        Attached please find a copy of the above-mentioned Local Law, which will
                                                                                 be the subject of a Public
Hearing on the 16th day of April, 2009, by the Town Board of the Town of
                                                                         Brookha  ven in the Town Board
Auditorium, One Independence Hill, 2 nd Floor, Farmingville, New York 11738
                                                                            at 6:30 P.M.

                                                                                         Sincerely,




                                                                                         PAMELA J. BETHEIL
                                                                                         TOWN CLERK
PJB:kb:Enc.
cc:    Karen M. Wilutis, Town Attorney                                     Diane Mazarakis, Planning
       Barbara Wiplush, Sr. Assistant Town Attorney                        John Weis, Zoning Inspecto r~ Building
       Eileen Munn, Sr. Admin. Asst., Law                                  Vincent Pascale, Planning Bd. Chaim1an
       Brenda Prusinowski, Deputy Comm. of PELM                           Paul DeChance, ZBA Chairman
       Martin Haley, Commis sioner Bldg. & Fire Prevention                Ed Hubbard, Comm. Of Waste Mgmnt.
       John Turner, Director of Environmental Protection                  Anthony Gallino, Comm. Of Public Safety
       Jeff Kassner, Asst. Director of Environmental Pro1e.ctiun      Cl ,?C Planning Commission
               .                               Office 01· the Town er"
       Be th ~~{U11i1JfiLJN.;YP/}HR11lr~nningTille. N Y l I f;) K . Phone ((i:H ) 4:'J l-9
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                   Case 22-1015, Document 36, 09/16/2022, 3383928, Page282 of 286
                                                         A279

t     Case 2:13-cv-03520-JMA-AYS Document 153-4 Filed 06/02/21 Page 6 of 7 PageID #: 2979
f



                                         COUNTY OF SUFFOLK




                                                     STEVE LEVY
                                          SUFFOLK COUNTY EXECUTIVE
                                                                                    1 ; ·· . .: THOMAS   A.   ISLES,   A.I.C .P
    DEPARTMENT OF PLANNING
                                                                                              DIRECTOR OF PLANNING


                                                                April 9, 2009

        Town of Brookhaven
        1 Independence Hill
        Farmingville, New York 11738
        ATT: Pamela J. Betheil, Clerk

                                                  Applicant:       Town of Brookhaven
                                              Zoning Action:       Amendment; Section 85-432
                                                                   Chapter 85 (Zoning)
                                                                   "Penalties for Offenses"
                                         Public Hearing Date:      April 16, 2009
                                                 Local Reso.:      IR #12 of 2009
                                           S.C.P.D. File No.:      BR-09-LD

        Dear Ms. Betheil:

               Pursuant to the requirements of Sections A 14 14-23 of the Suffolk County Administrative
        Code, the above referenced application which has been submitted to the Suffolk County Planning
        Commission is considered to be a matter for local determination as there is no apparent significant
        county-wide or inter-community impact(s). A decision of local determination should not be
        construed as either an approval or disapproval.


                                                                Very truly yours,


                                                                Thomas A. Isles, AICP
                                                                D'




        APF:ds




                                                                                                                                  I
     LOCATION                                         MAILING ADDRESS
     H. LEE DENNISON BLDG. - 4TH FLOOR                 P. 0 . BOX 6100                               (631) 853-5191
     100 VETERANS MEMORIAL HIGHWAY                 HAUPPAUGE, NY 11788-0099               TELECOPIER (631) 853-4044
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                                                    A280

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                 Town of Brookhaven
                    Long Island

Patricia A. Eddington, LCSW
Town Clerk and Registrar
                                                                             December 20, 2010




General Code Publishing Corp.
72 Hinchey Road
Rochester, New York 14624

Re:     LOCAL LAW #41 OF THE YEAR 2010
        AMENDING CHAPTER 82OF THE CODE OF THE TOWN ENTITLED "NEIGHBORHOOD
        PRESERVATION"

Dear Sirs:

        Attached please find a copy of the above-mentioned Local Law, which was adopted at the November 23,
2010 Brookhaven Town Board meeting. Having been filed with the Secretary of State, this Local Law became
effective December 7, 2010.

                                                                             Sincerely,

                                                                                     ··/~
                                                                             r:
                                                                                 .


                                                                               TRICIA~- .EDD,GTON
                                                                             TOWN CLERK
PAE:kb:Enc.
cc:   Supervisor, Mark Lesko                       Arthur Gerhauser, Chief Building Inspector
      Members of the Town Board                    John Weis - Zoning Inspector - Building
      Robert F. Quinlan, Town Attorney             John Dembek, Chief Fire Marshal
      David Moran, Deputy Town Attorney
      Janet Ford, Senior Asst. Town Attorney
      Anthony Gallino, Commissioner of Public Safety
      Martin Haley, Commissioner of Bldg. & Fire Prevention
      Steven Miller, Prin. Law Asst., Dist. Court of SC
      Clerk of the Sixth District Court
      SC Planning Commission


                                            Office of the Town Clerk
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                                               www.hrookhaven.org
                                      General Information : (631) 451-TOWN
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                                                      A281

Case 2:13-cv-03520-JMA-AYS Document 161 Filed 04/04/22 Page 1 of 2 PageID #: 3408




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------X
  JEROME NORTON,

                            Plaintiff,
                                                                JUDGMENT
          - against -                                           CV 13-3520 (JMA)(AYS)

  TOWN OF BROOKHAVEN, COUNTY OF
  SUFFOLK, ROBERT QUINLAN, DAVID J.
  MORAN, JENNIFER LUTZER, JUSTIN
  FOLBER, WILLIAM POWELL, and
  VALERIE BISCARDI, all individually and in
  their official capacity,

                             Defendants
  ----------------------------------------------------------X


          A Memorandum of Decision and Order of Honorable Arthur D. Spatt, United States

  District Judge, having been filed on January 21, 2020, granting the Defendant County of

  Suffolk’s motion for judgment of the pleadings pursuant to Rule 12(c) of the Federal Rules of

  Civil Procedure; and a Memorandum and Order of Honorable Joan M. Azrack, United States

  District Judge, having been filed on March 31, 2022, adopting the January 27, 2022 Report and

  Recommendation of United States Magistrate Judge Anne Y. Shields in its entirety as the

  opinion of the Court; granting Defendants Town of Brookhaven, Robert Quinlan, David J.

  Moran, Jennifer Lutzer, Justin Folber, William Powell, and Valerie Biscardi’s motion for

  judgment on the pleadings, and directing the Clerk of the Court to close this case, it is

          ORDERED AND ADJUDGED that Plaintiff Jerome Norton take nothing of Defendants

  Town of Brookhaven, County of Suffolk, Robert Quinlan, David J. Moran, Jennifer Lutzer,

  Justin Folber, William Powell, and Valerie Biscardi; that Defendants’ motions for judgment on

  the pleadings are granted; and that this case is closed.
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                                     A282

Case 2:13-cv-03520-JMA-AYS Document 161 Filed 04/04/22 Page 2 of 2 PageID #: 3409




  Dated: April 4, 2022
         Central Islip, New York


                                                  BRENNA B. MAHONEY
                                                  CLERK OF THE COURT

                                            BY:   /S/ JAMES J. TORITTO
                                                  DEPUTY CLERK




                                        2
         Case 22-1015, Document 36, 09/16/2022, 3383928, Page286 of 286
                                             A283

Case 2:13-cv-03520-JMA-AYS Document 162 Filed 05/04/22 Page 1 of 9 PageID #: 3410




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------                   X
  JEROME NORTON,
                                                                 Docket No.: 13-CV-3520
                               Plaintiff,

             -against-                                           NOTICE OF APPEAL

  TOWN OF BROOKHAVEN, COUNTY OF SUFFOLK,
  ROBERT QUINLAN, DAVID J. MORAN, JENNIFER
  LUTZER, JUSTIN FOLBER, WILLIAM POWELL and
  VALERIE BASCARDI, all individually and in their official :
  capacity,

                       Defendant.
  ----------------------------------------                   X


         Notice is hereby given that Plaintiff, Jerome Norton, hereby appeals to the United States
  Court of Appeals for the Second Circuit from all aspects of the Memorandum and Order dated
  March 31, 2022 (Docket # 160, attached hereto as Attachment 1), issued by the Honorable Joan
  M. Azrack, United States District Judge, for which judgment was entered in this action on April
  4, 2022 (Docket# 161, attached hereto as Attachment 2).


  Dated: May 4, 2022
         Carle Place, New York




                                                     Rick Os ove
                                                     One Old Country Road, Suite 347
                                                     Carle Place, New York 11514
                                                     (516) 873-9550
                                                     rostrove@leedsbrownlaw.com

  To:    Scott J. Kreppein, Esq. (via ECF)
